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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                    STATE DEFENDANTS’ BRIEF IN RESPONSE TO
               THE UNITED STATES’ MOTION FOR SUMMARY JUDGMENT



                                APPENDIX O
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     Keith Ingram                                                           March 28, 2023
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·1· · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION
· · ·LA UNION DEL PUEBLO ENTERO,· · )
·3· ·et al.,· · · · · · · · · · · · )
· · · · · · · · · · · Plaintiffs,· ·)
·4· · · · vs.· · · · · · · · · · · ·)Civil Action No.
· · ·STATE OF TEXAS, et al.,· · · · )5:21-cv-844(XR)
·5· · · · · · · · · · Defendants.· ·)(Consolidated Cases)

·6
· · · · · · · · · · · ------------------------
·7· · · · · · · · · · · · ·ORAL DEPOSITION OF
· · · · · · · · · · · · · ·KEITH INGRAM
·8· · · · · · · · · · · · ·March 28, 2023
· · · · · · · · · · · · · · · ·Volume l
·9· · · · · · · · · · -------------------------

10

11· · · · ORAL 30(b)(6) DEPOSITION OF KEITH INGRAM, Volume

12· ·1, produced as a witness at the instance of the

13· ·Plaintiff, and duly sworn, was taken in the

14· ·above-styled and numbered cause on March 28, 2023, from

15· ·4:22 p.m. to 7:22 p.m., before Dana Shapiro, CSR, in

16· ·and for the State of Illinois, reported by machine

17· ·shorthand, at 209 W. 14th Street, Austin, Texas 78701,

18· ·pursuant to the Federal Rules of Civil Procedure and

19· ·any provisions stated on the record or attached

20· ·hereto.

21

22

23

24

25
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                                                            Page 14                                                                 Page 16
·1· · · · ·Q.· · ·That remain -- does that remain accurate            ·1· ·determined or not?
·2· ·today?                                                           ·2· · · · ·A.· · ·Well, Kristi Hart would be the one to ask
·3· · · · ·A.· · ·It does.                                            ·3· ·the detailed information like that.
·4· · · · ·Q.· · ·Does the statement that -- strike that.             ·4· · · · ·Q.· · ·When --
·5· · · · · · · · Are these the only limitations on providing         ·5· · · · ·A.· · ·Don't tell her I used her name.· I will get
·6· ·cure data through the general election period?                   ·6· ·killed.
·7· · · · ·MS. HUNKER:· Objection, form.                              ·7· · · · ·Q.· · ·During your prior deposition today when
·8· ·BY THE WITNESS:                                                  ·8· ·Mr. Freeman was asking questions, you spoke about the
·9· · · · ·A.· · ·Well, I mean it's subject to the obvious            ·9· ·ballot tracker at votetexas.gov, correct?
10· ·limitation of whether or not the counties reported it.           10· · · · ·MS. HUNKER:· Objection, form.
11· ·BY MR. STEWART:                                                  11· ·BY THE WITNESS:
12· · · · ·Q.· · ·Besides the -- whether the counties                 12· · · · ·A.· · ·So the ballot by mail tracker I don't think
13· ·reported it and the limitations stated here, any other           13· ·is -- I mean I know it's not at votetexas.gov.· You can
14· ·limitations you are aware of?                                    14· ·get to it from there and you can get to it from SOS
15· · · · ·A.· · ·Those would be them.                                15· ·website, but it's hosted actually by our third party
16· · · · ·Q.· · ·Then looking now at the supplemental                16· ·vendor who does TEAM for us.
17· ·response on page 12.· To the best of your knowledge,             17· ·BY MR. STEWART:
18· ·does this response remain accurate today?                        18· · · · ·Q.· · ·Understood.· Can that tracker be used to
19· · · · ·A.· · ·Yes.                                                19· ·cancel an ABBM?
20· · · · ·Q.· · ·Focusing on the November 8, 2022 general            20· · · · ·A.· · ·No.
21· ·election.· I want to focus on the final number under             21· · · · ·Q.· · ·No.· It can be used to correct information,
22· ·here where it says total number of voters who use the            22· ·right?
23· ·ballot by mail tracker to correct the defects in their           23· · · · ·A.· · ·Well, it can be used to correct a defective
24· ·ABBM, and had their ABBM accepted or cancelled, their            24· ·number so if somebody transposed digits, whenever they
25· ·application and voted in person:· 419.                           25· ·send in their application for ballot by mail that can

                                                            Page 15                                                               Page 17
·1· · · · · · · · Do you see that?                                    ·1· ·be corrected in the tracker.
·2· · · · ·A.· · ·I see that, but I don't think that's what           ·2· · · · ·Q.· · ·Is there anything else that can be
·3· ·it says.                                                         ·3· ·corrected in the tracker?
·4· · · · ·Q.· · ·Sorry.· Could you restate it accurately.            ·4· · · · ·A.· · ·If they left off the information but TEAM
·5· · · · ·A.· · ·Well, I just want to make sure you                  ·5· ·has it, they can do that in the tracker as well.
·6· ·understand there is two different categories of folks            ·6· · · · ·Q.· · ·How can a voter cancel ABBM?
·7· ·who are in here.· There is some that corrected a defect          ·7· · · · ·A.· · ·So cancellation is not one of those things
·8· ·and had their application for ballot by mail accepted,           ·8· ·I want to talk about off the top of my head.· Do you
·9· ·and there are some who just canceled the application             ·9· ·want me to go up election code and talk about the
10· ·and voted in person.· There is two different categories          10· ·different ways of cancelling?
11· ·of folks in this number.                                         11· · · · ·Q.· · ·If you could tell me where in the election
12· · · · ·Q.· · ·That 419 response does that capture both of         12· ·code it is.
13· ·those categories conjunctively?                                  13· · · · ·A.· · ·Chapter 84.
14· · · · ·A.· · ·It does.                                            14· · · · ·Q.· · ·The law I guess -- withdraw that.
15· · · · ·Q.· · ·Does The Secretary of State maintain data           15· · · · · · · · What is in chapter 84 details all of the
16· ·that could separately identify those two categories?             16· ·ways by which an ABBM canceled?
17· · · · ·A.· · ·No.· Because what we know is that they              17· · · · ·A.· · ·That's correct.· You know, generally a
18· ·either had a vote history that was successful or not.            18· ·voter can do it by surrendering their mail ballot in
19· · · · ·Q.· · ·I see.· There is no way to separate out the         19· ·person at the polling place and voting in person or go
20· ·ones who had either been accepted or those that                  20· ·to voting clerk office and fill out a cancellation form
21· ·canceled and voted in person?                                    21· ·and then go vote in person.
22· · · · ·A.· · ·There might be a way to do it.· It might            22· · · · ·Q.· · ·Would you say those are the two most common
23· ·require a query for, you know, early voting in person            23· ·ways it's done?
24· ·or election day in person as opposed to voting by mail.          24· · · · ·A.· · ·That's generally what it is and there is
25· · · · ·Q.· · ·Who would know whether that could be                25· ·other permeations of those two that get very




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·1· ·complicated.                                                     ·1· ·supplement response as far as I know supplemental
·2· · · · ·Q.· · ·Does the Secretary of State's Office                ·2· ·response is accurate as well.· I want to separate the
·3· ·consider cancellation of ABBM to be a form of cure?              ·3· ·two.
·4· · · · ·A.· · ·Well, it's choice of voter as to whether or         ·4· · · · ·Q.· · ·For the clean record, specifically for the
·5· ·not to pursue voting by mail or decide to vote in                ·5· ·supplemental response do the numbers there appear
·6· ·person.· From my perspective if the voter successfully           ·6· ·accurate to you?
·7· ·votes that's a win.                                              ·7· · · · ·A.· · ·Yes.
·8· · · · ·Q.· · ·You haven't considered specifically to put          ·8· · · · ·Q.· · ·So if we turn to page 14 what appears to be
·9· ·that under the umbrella of cure, if it's aimed towards           ·9· ·the final item or the final paragraph says total number
10· ·successful voting?                                               10· ·of voters who use the ballot by mail tracker to correct
11· · · · ·MS. HUNKER:· Objection, form.                              11· ·defective carrier envelope and had their mail ballot
12· ·BY THE WITNESS:                                                  12· ·accepted or cancelled --· withdraw that.
13· · · · ·A.· · ·Right.· It's not a cure of application if           13· · · · · · · · Total number of voters who use the ballot
14· ·they decide to vote by person, but it is a successful            14· ·by mail tracker to correct a defective carrier envelope
15· ·vote.                                                            15· ·and had their mail ballot accepted or cancel their mail
16· ·BY MR. STEWART:                                                  16· ·ballot voted in person: 1,496.
17· · · · ·Q.· · ·So then turning back to the same language           17· · · · · · · · Do you see where I am?
18· ·you looked at on page 12.· This was presented this way           18· · · · ·A.· · ·I do.
19· ·and then as use ballot by mail tracker to correct the            19· · · · ·Q.· · ·I may know the answer to this, but similar
20· ·defects and have ABBM corrected or canceled their                20· ·question as before, does the Secretary of State
21· ·application and voted in person because that's the way           21· ·maintain data that could separately show the number of
22· ·data is maintained with those two things together,               22· ·voters who used the tracker to correct a carrier
23· ·right?                                                           23· ·envelope and separately the number of voters who
24· · · · ·A.· · ·The data is maintained as to whether or not         24· ·cancelled?
25· ·there was successful vote, yes.                                  25· · · · ·A.· · ·I think we could get there.

                                                           Page 19                                                               Page 21
·1· · · · ·Q.· · ·Turning to Exhibit 8 beginning on the               ·1· · · · ·Q.· · ·How would you get there?
·2· ·bottom of page 12 on the same exhibit.· Do you see               ·2· · · · ·A.· · ·With a separate query for people who using
·3· ·where I am?                                                      ·3· ·this universe of numbers at 1531, if we still have that
·4· · · · ·A.· · ·Yes.                                                ·4· ·list, and using it to who voted to decide to check who
·5· · · · ·Q.· · ·There is a portion where that asks state            ·5· ·voted in person.
·6· ·the number of voters who have cured carrier envelope             ·6· · · · ·Q.· · ·Is it Ms. Hart who would know how to do
·7· ·identification defects using any on-line portal                  ·7· ·that as well?
·8· ·provided pursuant to SB1 from February 9, 2022 to                ·8· · · · ·A.· · ·Well, she would know if there is a query
·9· ·present, correct?                                                ·9· ·they could get that info.
10· · · · ·A.· · ·Correct.                                            10· · · · ·Q.· · ·Is it correct that similar to an ABBM, the
11· · · · ·Q.· · ·The original response identified that TEAM          11· ·tracker cannot be used to cancel a mail ballot request?
12· ·captures only the current or most recent status seeked           12· · · · ·A.· · ·That's correct.
13· ·with any information in voter records, correct?                  13· · · · ·Q.· · ·What was the overall statewide rejection
14· · · · ·A.· · ·That's correct.                                     14· ·rate of ABBM for the November 22 general election?
15· · · · ·Q.· · ·Does that remain true for data collected            15· · · · ·MS. HUNKER:· Objection, form.
16· ·through the November 8, 2022 general election?                   16· ·BY THE WITNESS:
17· · · · ·A.· · ·That's correct.                                     17· · · · ·A.· · ·I don't know.
18· · · · ·Q.· · ·Looking at the supplemental response on             18· ·BY MR. STEWART:
19· ·page 13 and take a moment if you need to.· But does the          19· · · · ·Q.· · ·Do you know if there was somewhere we could
20· ·data information here remain accurate, to the best of            20· ·find that information?
21· ·your understanding today?                                        21· · · · ·A.· · ·We can check and see what TEAM says, but
22· · · · ·A.· · ·From the first answer, yes.                         22· ·it's not accurate.
23· · · · ·Q.· · ·By the first answer which one are you               23· · · · ·Q.· · ·Why is it inaccurate?
24· ·identifying?                                                     24· · · · ·A.· · ·Because not all of the counties entered the
25· · · · ·A.· · ·I'm talking about the response and not the          25· ·information.




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·1· ·one voter a certain way they have got to treat all               ·1· · · · ·Q.· · ·She says that Tarrant's reply was that the
·2· ·voters similarly situated the same way.                          ·2· ·voter had to come to their office to fix the issue,
·3· · · · ·Q.· · ·Did the Secretary of State's Office issue,          ·3· ·correct?
·4· ·leaving aside those responses to those questions, any            ·4· · · · ·A.· · ·That's what she says.
·5· ·new guidance regarding the ID number requirements after          ·5· · · · ·Q.· · ·Would advice be correct, to the best of
·6· ·the primary runoff?                                              ·6· ·your knowledge?
·7· · · · ·A.· · ·No.                                                 ·7· · · · ·A.· · ·Well, it kind of depends what issue they
·8· · · · ·Q.· · ·Nothing about the implementation should             ·8· ·were telling her that she needed to correct.· If she
·9· ·have changed following the primary runoff, correct?              ·9· ·needed to correct the number in the voter registration
10· · · · ·A.· · ·I don't believe so.· I mean we sent                 10· ·record obviously she could do that with a voter
11· ·reminders about that implementation, we had seminar              11· ·registration application and she doesn't need to come
12· ·presentations about that implementation.· We sent, you           12· ·in person.· If she's trying to fix the problem with the
13· ·know, materials that they could print and distribute to          13· ·application for ballot by mail then probably she needs
14· ·voters about that implementation, but the guidance               14· ·to show up in person or fill out a new application with
15· ·itself didn't change after that.                                 15· ·the transposed digits.
16· · · · ·Q.· · ·Did any county request to modify a form             16· · · · ·Q.· · ·I see.· So if the problem were with the
17· ·used to implement the ID number requirement following            17· ·ABBM, would she be able to correct that in the portal?
18· ·the primary runoff?                                              18· · · · ·A.· · ·If the problem was that the original number
19· · · · ·A.· · ·We had some requests for different sizes            19· ·was transposed, the only way to fix it in the portal
20· ·and shapes and orientations of the carry envelope. I             20· ·was to create the transposed numbers are correct.
21· ·believe all of those were before the runoff.                     21· · · · ·Q.· · ·The portal can't be used to change what's
22· · · · ·Q.· · ·Anything that would have changed the                22· ·in TEAM, it only be used to change what's on the ABBM?
23· ·substance of either the carrier envelope or the ABBM             23· · · · ·A.· · ·That's correct.
24· ·form?                                                            24· · · · ·Q.· · ·So how would she fix the issue -- if it is
25· · · · ·A.· · ·No.                                                 25· ·correct that the issue in TEAM, what ways could she be

                                                         Page 35                                                                   Page 37
·1· · · · ·Q.· · ·Anything that would have changed the                ·1· ·directed to fix that?
·2· ·substance of any of the instruction forms that the SOS           ·2· · · · ·A.· · ·I think the only way you can fix that to
·3· ·prepares?                                                        ·3· ·fill out a new voter registration application with the
·4· · · · ·A.· · ·No.                                                 ·4· ·correct number.
·5· · · · ·MR. STEWART:· I think this is SOS 4.                       ·5· · · · ·Q.· · ·So if TEAM then is the source of
·6· · · · · · · · · · · ·(WHEREUPON, a certain document was           ·6· ·transposition, it would be correct from Tarrant that
·7· · · · · · · · · · · ·marked Deposition Exhibit No. 4,             ·7· ·she would need to go into the office to correct that?
·8· · · · · · · · · · · ·for identification, as of 3/28/23.)          ·8· · · · ·MS. HUNKER:· Objection, form.
·9· ·BY MR. STEWART:                                                  ·9· ·BY THE WITNESS:
10· · · · ·Q.· · ·You should have document SOS 4, state               10· · · · ·A.· · ·You don't need to fill out a voter
11· ·122242.· I will give you a second to read that.· That's          11· ·registration application in person.
12· ·the double-sided.· Let me know when you have had a               12· ·BY MR. STEWART:
13· ·chance to read it.· Are you good?                                13· · · · ·Q.· · ·That's something she also could have done
14· · · · ·A.· · ·Yes.                                                14· ·remotely, correct?
15· · · · ·Q.· · ·This appears to be an email from a voter to         15· · · · ·A.· · ·That's correct.
16· ·Secretary of State's Office, correct?                            16· · · · ·Q.· · ·If it's correct in fact that the numbers
17· · · · ·A.· · ·I agree with that.                                  17· ·are transposed in TEAM, she would not be able to enter
18· · · · ·Q.· · ·The voter identifies, would you agree with          18· ·the portal entering the correct number, right?
19· ·the characterization, that they say the Tarrant County           19· · · · ·A.· · ·That's correct.· She would have to enter
20· ·election office said the numbers in the voter                    20· ·the transposed number and agree it's the correct number
21· ·registration database, I take that to mean their ID              21· ·for her mail bound application to be accepted.
22· ·numbers were transposed.                                         22· · · · ·Q.· · ·Got it.· I want to turn to -- I think last
23· · · · ·A.· · ·That's what she says that her Social                23· ·year when we spoke we discussed the HB2512 process; do
24· ·Security number was entered incorrectly when she                 24· ·you recall?
25· ·originally registered back in 1980.                              25· · · · ·A.· · ·I do.




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·1· · · · ·Q.· · ·That's the process for present purposes by           ·1· · · · ·A.· · ·That's correct.· If an individual went to
·2· ·which driver's license, ID number or SSN data is                  ·2· ·DPS to renew driver's license and supplied a new number
·3· ·imported from DPS database into team, correct?                    ·3· ·or changed a number, it would be reflected in this.
·4· · · · ·A.· · ·That's correct.                                      ·4· ·BY MR. STEWART:
·5· · · · ·Q.· · ·Was the HB2512 process run at any point in           ·5· · · · ·Q.· · ·And then the post numbers reflect the state
·6· ·2022 following the primary election?                              ·6· ·of the database following the HB2512 process in
·7· · · · ·A.· · ·No.                                                  ·7· ·December of 2022, correct?
·8· · · · ·Q.· · ·Was it --                                            ·8· · · · ·A.· · ·Agree with that.
·9· · · · ·A.· · ·It was in December.                                  ·9· · · · ·Q.· · ·Looking at these numbers.· There would be
10· · · · ·Q.· · ·In December following the general election?          10· ·some organic change in these numbers without the HP2512
11· · · · ·A.· · ·Not before the general.                              11· ·process perhaps not to this degree, but they wouldn't
12· · · · ·Q.· · ·Not before the general, but in 2022                  12· ·look the same as the 2021 numbers, correct?
13· ·following -- let me withdraw that.· It was not run                13· · · · ·A.· · ·Agree with that.
14· ·between the primary and the general, correct?                     14· · · · ·Q.· · ·Would you agree that though the HP2512
15· · · · ·A.· · ·That's correct.                                      15· ·process did change these numbers to some extent?
16· · · · ·Q.· · ·It was run following the general before the          16· · · · ·A.· · ·Yes.
17· ·end of the year?                                                  17· · · · ·Q.· · ·Do you think the majority of this change is
18· · · · ·A.· · ·I agree.                                             18· ·due to HP2512?
19· · · · ·Q.· · ·Has it been run again since then?                    19· · · · ·MS. HUNKER:· Objection, form.
20· · · · ·A.· · ·No, sir.                                             20· ·BY THE WITNESS:
21· · · · ·Q.· · ·Is that a regular annual process is that             21· · · · ·A.· · ·When you say this change what do you mean?
22· ·why it was run in December?                                       22· ·BY MR. STEWART:
23· · · · ·A.· · ·It has historically been run in December,            23· · · · ·Q.· · ·From the initial numbers on the left to the
24· ·not every December, but obviously the last two.                   24· ·post numbers on the right, each of which decreased.
25· · · · ·Q.· · ·I'm going to hand you what will be SOS 5. I          25· ·For each of those categories, would you say the

                                                             Page 39                                                              Page 41
·1· ·will state I don't know why this document presented               ·1· ·majority of the decrease is attributable to the HP2512
·2· ·without a Bates number.· You Bates number on it.· It is           ·2· ·process?
·3· ·state 137751.· Just to put that on the record.                    ·3· · · · ·A.· · ·I would say the changes exclusively related
·4· · · · · · · · · · · ·(WHEREUPON, a certain document was            ·4· ·to 2512 process.
·5· · · · · · · · · · · ·marked Deposition Exhibit No. 5,              ·5· · · · ·Q.· · ·Why do you think additional numbers were
·6· · · · · · · · · · · ·for identification, as of 3/28/23.)           ·6· ·caught in the 2022 process that were not caught in the
·7· · · · ·MS. HUNKER:· Thank you.                                     ·7· ·2021 process?
·8· ·BY MR. STEWART:                                                   ·8· · · · ·A.· · ·Because database is not the same.
·9· · · · ·Q.· · ·Do you recognize this document, Mr. Ingram?          ·9· · · · ·Q.· · ·You are saying some individuals may have,
10· · · · ·A.· · ·I do.                                                10· ·for example, added an SSN or a driver's license to the
11· · · · ·Q.· · ·What is this?                                        11· ·DPS database during the year 2022 before this was run
12· · · · ·A.· · ·This is the result of the comparison                 12· ·that are then pulled into the team database?
13· ·process from December of '22.                                     13· · · · ·A.· · ·No.· I mean that could happen.· But more
14· · · · ·Q.· · ·That's the same HB2512 process we were just          14· ·likely is the information in the TEAM database changed
15· ·discussing?                                                       15· ·so our matching was more efficient.
16· · · · ·A.· · ·That's correct.                                      16· · · · ·Q.· · ·I see.· So do you think it was mostly
17· · · · ·Q.· · ·So the initial numbers, would they reflect           17· ·attributable to improvement in matching on these
18· ·the state of the database following the 2021 process?             18· ·records?
19· · · · ·A.· · ·Plus whatever changes were made in the               19· · · · ·A.· · ·Not -- the matching criteria didn't change.
20· ·course of the 2022.                                               20· ·So the data that we use improves and the matching gets
21· · · · ·Q.· · ·So they wouldn't reflect any changes from a          21· ·better.· So if a voter supplied one or the other of the
22· ·systemic process, but they could represent -- reflect             22· ·numbers then it's easier to pull in the other number.
23· ·what I will call ad hoc changes to individual records?            23· · · · ·Q.· · ·You anticipated my next question.· The
24· · · · ·MS. HUNKER:· Objection, form.                               24· ·matching criteria was the same in the 2022 process as
25· ·BY THE WITNESS:                                                   25· ·in the 2021 process?




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·1· · · · ·A.· · ·Yes.                                                ·1· ·registration record that the county gets from the voter
·2· · · · ·Q.· · ·Would there have been any new registrants           ·2· ·is supposed to be reported nightly.· So that's what we
·3· ·who were able to register with only one of the driver's          ·3· ·call our batch process.· That's not the same as syncing
·4· ·license or SSN numbers?                                          ·4· ·the data.· Syncing the data means we want to make sure
·5· · · · ·A.· · ·One of those numbers is the only thing              ·5· ·everything we have got in our system is captured in
·6· ·that's required so definitely we could have had new              ·6· ·off-line system so the databases are identical, right.
·7· ·registrants who registered with one number or the                ·7· ·So the goal is to have zero differences in the sync
·8· ·other, and we were able to get the other number for              ·8· ·file.· This kind of change in the SOS file is what we
·9· ·that voter pulled in through that process.                       ·9· ·are trying to sync to the voters.· Then of course there
10· · · · ·Q.· · ·Just so it's clear in my mind, this would           10· ·are other kinds of changes the county makes with regard
11· ·have -- the change in these numbers from initial to              11· ·to pre-syncing in particular that aren't reflected in
12· ·post would capture 2021 first time registrants who               12· ·an individual voter change that we would get in a batch
13· ·registered with one number, and then had the other               13· ·process.· We want to sync those up as well.· So those
14· ·number pulled in through this HP2512 process?                    14· ·are the two things that we are syncing is making sure
15· · · · ·A.· · ·I agree with that.· I think you meant to            15· ·that everything from our database is in theirs and
16· ·say '22 in that question.                                        16· ·making sure all of their precinct lines they may have
17· · · · ·Q.· · ·I appreciate that correction.                       17· ·re-drawn are in ours.
18· · · · · · · · Looking at these individual categories,             18· · · · ·Q.· · ·Taking those two processes separately
19· ·looking at the third category, number of active and              19· ·because I assume -- do those processes run at the same
20· ·suspense, I'm going from top to bottom, the third                20· ·time?
21· ·category number of active and suspense voters that have          21· · · · ·A.· · ·Yes.
22· ·neither a TDL or SSN on their voter record, no value             22· · · · ·Q.· · ·They do?
23· ·for both fields.· So those are the individuals in TEAM           23· · · · ·A.· · ·The sync is simultaneous.
24· ·who did not have either the TDL or the -- any portion            24· · · · ·Q.· · ·So the sync is referring to information
25· ·of an SSN, correct?                                              25· ·from TEAM filtering down to the counties?

                                                          Page 43                                                                Page 45
·1· · · · ·A.· · ·Agree with that.                                    ·1· · · · ·A.· · ·That's right.
·2· · · · ·Q.· · ·That number moved by less than 2,000,               ·2· · · · ·Q.· · ·That occurs monthly?
·3· ·correct?                                                         ·3· · · · ·A.· · ·It's supposed to occur monthly.· We have to
·4· · · · ·A.· · ·It looks like about 1,300 maybe.                    ·4· ·do it much less often.· With this change in law it
·5· · · · ·Q.· · ·Why do you think the movement in that was           ·5· ·became expedient to do it more often.
·6· ·smaller than in the other categories?                            ·6· · · · ·Q.· · ·All new registrations are entered by the
·7· · · · ·A.· · ·Because it's the hardest category to do             ·7· ·county into their databases, correct?
·8· ·anything with.                                                   ·8· · · · ·A.· · ·That's right, many changes to registration
·9· · · · ·Q.· · ·Have you discussed any way to capture more,         ·9· ·is entered.
10· ·improve the HP2512 process for that category of voters           10· · · · ·Q.· · ·Those changes are coming upward to TEAM
11· ·in the future?                                                   11· ·daily?
12· · · · ·A.· · ·No.                                                 12· · · · ·A.· · ·That's right.
13· · · · ·Q.· · ·Just a couple quick questions.· After the           13· · · · ·Q.· · ·Then new information from HP2512 is going
14· ·HP2512 process is run, how are those changes filtered            14· ·from TEAM to the counties monthly?
15· ·out to off-line counties?                                        15· · · · ·A.· · ·Well, we sync the database monthly.· The
16· · · · ·A.· · ·They are supposed to sync their data with           16· ·new information from 2512 is obviously an annual thing.
17· ·ours on a monthly basis.                                         17· · · · ·Q.· · ·I see.· It would be part of that monthly
18· · · · ·Q.· · ·That occurs monthly?                                18· ·sync process?
19· · · · ·A.· · ·It does or it's supposed to.                        19· · · · ·A.· · ·It would.
20· · · · ·Q.· · ·Is that a two-way sync?· So, for example,           20· · · · ·Q.· · ·Information entered into the texas.gov
21· ·if something gets changed in the county's off-line               21· ·portal that gets pulled over, where does that go first?
22· ·database more recently than the information in TEAM,             22· · · · ·A.· · ·To TEAM.
23· ·should that be then filtering into TEAM as well?                 23· · · · ·Q.· · ·That will to the counties as part of the
24· · · · ·A.· · ·So there is two different things that you           24· ·monthly process?
25· ·might be confusing here.· Any changes in voter                   25· · · · ·A.· · ·That's right.




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·1· · · · ·Q.· · ·If there is any difference in the county           ·1· · · · · · · · · · · ·marked SOS Exhibit No. 6, for
·2· ·and state databases, would those likely be due to a lag         ·2· · · · · · · · · · · ·identification, as of 3/28/23.)
·3· ·in time between basically the monthly process                   ·3· ·BY MR. STEWART:
·4· ·occurring?                                                      ·4· · · · ·Q.· · ·Give you a second to read, Mr. Ingram.
·5· · · · ·MS. HUNKER:· Objection, form.                             ·5· · · · ·A.· · ·Okay.
·6· ·BY THE WITNESS:                                                 ·6· · · · ·Q.· · ·This is a mass email from the Secretary of
·7· · · · ·A.· · ·That's right, or they haven't resolved             ·7· ·State's Office to county election officials?
·8· ·everything that was a difference in the last sync file.         ·8· · · · ·A.· · ·That's correct.
·9· ·BY MR. STEWART:                                                 ·9· · · · ·Q.· · ·That's with instructions on finalizing
10· · · · ·Q.· · ·What does it mean to resolve it?                   10· ·election reporting for the March 1 primary, correct?
11· · · · ·A.· · ·To choose one or the other.                        11· · · · ·A.· · ·That's correct.
12· · · · ·Q.· · ·When something comes down from the sync            12· · · · ·Q.· · ·I want to focus on the section that
13· ·file from TEAM to the county, the county needs to               13· ·bulleted incomplete or missing TDL/SSN/on-line cure
14· ·resolve each of those in their own database?                    14· ·available.· I'm going to look at the last paragraph
15· · · · ·A.· · ·That's correct.                                    15· ·there to make sure I understand what it's saying.· Are
16· · · · ·Q.· · ·If there is an import from Texas.gov, those        16· ·these directions on how ABBM information should be
17· ·cannot be used by the county in the cure process until          17· ·entered into TEAM?
18· ·the next sync occurs; is that correct?                          18· · · · ·A.· · ·Yes.
19· · · · ·A.· · ·No, they can use TEAM.· They are -- all            19· · · · ·Q.· · ·It says, "For ballots marked incomplete or
20· ·have access to TEAM and we told them to use tell.               20· ·missing TDL/SSN on-line cure available following the
21· · · · ·Q.· · ·They wouldn't be reflected in the county,          21· ·deadline for correction the ABBM records will need to
22· ·but the instruction from the SOS is to also look in the         22· ·be updated to received after deadline.· Off-line
23· ·TEAM database?                                                  23· ·counties will need to submit status update for these
24· · · · ·A.· · ·That's right.                                      24· ·records.· Please verify correct coding for these
25· · · · ·Q.· · ·Do you know if all counties follow that            25· ·statuses with your vendors."

                                                        Page 47                                                                   Page 49
·1· ·instruction?                                                    ·1· · · · · · · · Did I read that right?
·2· · · · ·A.· · ·I don't know that for sure.· I'm pretty            ·2· · · · ·A.· · ·You did.
·3· ·sure Bexar County didn't.· Jackie does what Jackie              ·3· · · · ·Q.· · ·Does this mean that in TEAM no ABBM would
·4· ·does.                                                           ·4· ·ultimately be identified as incomplete or missing
·5· · · · ·Q.· · ·Any others you think may not have?                 ·5· ·TDL/SSN on-line cure available once the cure deadline
·6· · · · ·A.· · ·No, I'm pretty sure they mostly did.               ·6· ·has passed?
·7· · · · ·Q.· · ·Are you aware of any counties -- withdraw          ·7· · · · ·A.· · ·That's what it looks like.· I'm not sure
·8· ·that.· Good news is I'm shortening my questions here.           ·8· ·why it says for ballots marked and then talks about
·9· · · · · · · · Did any county report -- rephrase that.            ·9· ·ABBMs.
10· · · · · · · · Did any off-line counties report to the SOS        10· · · · ·Q.· · ·So you are saying there's a mismatch there
11· ·their vendors having issues with information keeping            11· ·between describing ballots on the one hand and ABBM on
12· ·for mail ballots for the general election?                      12· ·the other?
13· · · · ·A.· · ·Not for the general.                               13· · · · ·A.· · ·Agreed.
14· · · · ·Q.· · ·For the primary?                                   14· · · · ·Q.· · ·Would these instructions effect ballot
15· · · · ·A.· · ·Yes.                                               15· ·recordkeeping?
16· · · · ·Q.· · ·Which counties were those if you recall?           16· · · · ·A.· · ·Well, they reflect final status.
17· · · · ·A.· · ·The VOTEC counties.                                17· · · · ·Q.· · ·The final status of ABBMs?
18· · · · ·MR. STEWART:· Could we take a short break.                18· · · · ·A.· · ·Exactly.
19· · · · · · · · · · · ·(WHEREUPON, a recess was had.)              19· · · · ·Q.· · ·Would any -- I'm sorry.
20· ·BY MR. STEWART:                                                 20· · · · ·A.· · ·It's got the same discrepancy in the first
21· · · · ·Q.· · ·I'm going to show you, Mr. Ingram, the next        21· ·paragraph.· Not sure.
22· ·document if I can find it.                                      22· · · · ·Q.· · ·What I'm trying to understand is would you
23· · · · ·MR. STEWART:· I believe we are at SOS 6.· It's            23· ·be able to tell using TEAM then whether any ABBM was
24· ·Bates stamped 123228.                                           24· ·rejected for incomplete or missing TDL/SSN on-line cure
25· · · · · · · · · · · ·(WHEREUPON, a certain document was          25· ·available after the cure deadline has passed using the




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                                                        Page 82                                                                Page 84
·1· · · · ·MS. HUNKER:· Objection, form.                             ·1· ·related to the prohibition on drive-thru voting?
·2· ·BY THE WITNESS:                                                 ·2· · · · ·A.· · ·No.
·3· · · · ·A.· · ·The absolute number probably has increased,        ·3· · · · ·MS. HUNKER:· I'm going to remind my client to
·4· ·but the percentage has probably gone down.                      ·4· ·give me a second to object.
·5· ·BY MS. PERALES:                                                 ·5· ·BY MS. PERALES:
·6· · · · ·Q.· · ·Understood.· Do you keep track of number of        ·6· · · · ·Q.· · ·We had talked earlier about a provision of
·7· ·referrals you make to law enforcement?                          ·7· ·SB 1 that was given an effective date of 2026 that you
·8· · · · ·A.· · ·Yes.                                               ·8· ·had some concerns might be problematic to carry out.
·9· · · · ·Q.· · ·With respect to section 2.11.                      ·9· ·And so I wanted to ask you a similar question with
10· · · · ·A.· · ·Yes.                                               10· ·respect to section 3.04.· Since May of 2022, which
11· · · · ·Q.· · ·This is also related to persons excused            11· ·takes us into the March of 2023, have you had
12· ·from jury duty for non-residence in the county.· And it         12· ·conversations with legislators or legislative staff
13· ·adds a requirement for the clerk to report not only to          13· ·about making changes to SB 1 other than that provision
14· ·the voter registrar, but also to the Secretary of               14· ·that we were talking about that has an effective date
15· ·State.· So in some ways it's connected to that previous         15· ·of 2026?
16· ·provision that we looked at together.· And is your              16· · · · ·MS. HUNKER:· Objection, form.
17· ·testimony the same then that with respect to section            17· ·BY THE WITNESS:
18· ·2.11 you, the Secretary of State, have not received any         18· · · · ·A.· · ·Yes.
19· ·referrals or lists from county jury clerks?                     19· ·BY MS. PERALES:
20· · · · ·A.· · ·That's correct of people who have been             20· · · · ·Q.· · ·Can you describe those?
21· ·excused because of non-residence in the county.                 21· · · · ·A.· · ·Yes. Well, what we have talked about is the
22· · · · ·Q.· · ·Thank you. Section 3.04 on page 14.· I feel        22· ·corrective action procedure needs a little bit of
23· ·bad for massacring some of my descriptions of these             23· ·tweaking for better implementation, smoother
24· ·provisions.· But this is basically a requirement that           24· ·implementation, more uniform implementation.· The main
25· ·polling places be located inside a building, and                25· ·change would be to stop the possibility of sending the

                                                           Page 83                                                             Page 85
·1· ·essentially a prohibition on what people might call             ·1· ·ballot back to the voter instead of just sending a
·2· ·drive-thru voting; is that right?                               ·2· ·corrective action form and having them mail it back.
·3· · · · ·MS. HUNKER:· Objection, form.                             ·3· · · · · · · · The second thing is standardizing the cure
·4· ·BY THE WITNESS:                                                 ·4· ·period so that it is not the case that some people have
·5· · · · ·A.· · ·I agree it's a prohibition on generalized          ·5· ·until 7:00 p.m. on election day and other people have
·6· ·drive-thru voting and says that only people who qualify         ·6· ·six days after election day.· Have everybody have the
·7· ·for curbside voting can vote from a car.                        ·7· ·same cure period.· Then to allow the ballot boards more
·8· ·BY MS. PERALES:                                                 ·8· ·time on the front end to start meeting earlier so that
·9· · · · ·Q.· · ·I accept your distinction between curbside         ·9· ·they get notice to the voters sooner.
10· ·voting and drive-thru --                                        10· · · · ·Q.· · ·Do you think that with respect to item
11· · · · ·A.· · ·Right.                                             11· ·number one, the cure procedure, do you think that if
12· · · · ·Q.· · ·-- voting.                                         12· ·the ballot board is able to retain custody of the
13· · · · · · · · Since the primary runoff election in 2022,         13· ·ballot and send the cure form, do you think that will
14· ·have you -- has your office received any expressions of         14· ·result in more ballots being cured?
15· ·concern or opposition to the elimination of drive-thru          15· · · · ·A.· · ·Yes, fewer ballots being lost in the mail.
16· ·voting?                                                         16· · · · ·Q.· · ·Why would it result in more ballots being
17· · · · ·A.· · ·Not that I'm aware of, no, ma'am, from             17· ·cured?
18· ·either the public or counties?                                  18· · · · ·A.· · ·Because the opportunity to mail back the
19· · · · ·Q.· · ·For you -- sorry?                                  19· ·correction form instead of having to deliver it in
20· · · · ·A.· · ·From either the public or counties.                20· ·person makes it more available.
21· · · · ·Q.· · ·Okay.                                              21· · · · ·Q.· · ·Is that because a voter is more likely to
22· · · · · · · · Did you have any communications from the           22· ·mail back the cure form than they are to physically
23· ·Secretary of State with, for example, the Office of             23· ·travel to the election administrator's office to
24· ·Attorney General that's separate and apart from                 24· ·personally drop off the ballot?
25· ·attorney-client stuff related to this litigation                25· · · · ·MS. HUNKER:· Objection, form.




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                                                                                                                Pages 86 to 89
                                                          Page 86                                                            Page 88
·1· ·BY THE WITNESS:                                                ·1· ·questioning including sealing this portion of the
·2· · · · ·A.· · ·I mean we don't know.· I mean some voters         ·2· ·transcript, preventing its further disclosure or use at
·3· ·can drive it in as easily as they can mail it, but             ·3· ·trial, appealing or seeking any emergency relief from
·4· ·there is a reason why people vote by mail.· Generally          ·4· ·the Fifth Circuit, and any other relief allowed by law.
·5· ·it's because they are not as mobile.· So to increase           ·5· ·We further designate this testimony as confidential
·6· ·the odds of them curing we need to have a mail back            ·6· ·under the protected order in this matter.
·7· ·form.                                                          ·7· ·BY THE WITNESS:
·8· ·BY MS. PERALES:                                                ·8· · · · ·A.· · ·So what we talked to him about was the
·9· · · · ·Q.· · ·Texas vote by mail eligibility involves           ·9· ·incident in Dallas County where the poll watcher had a
10· ·being for the most part either over age 65 or                  10· ·certificate that -- of appointment and had a
11· ·physically disabled, is that correct -- or disabled in         11· ·certificate that they had been trained, but they didn't
12· ·some way?                                                      12· ·have to show an ID they were the same person on those
13· · · · ·A.· · ·Agreed.                                           13· ·certificates.· So he wondered if maybe an ID
14· · · · ·Q.· · ·So you had listed basically four things,          14· ·requirement for poll watchers should be added to the
15· ·the 2026 effective date provision, and then the three          15· ·code.· And we told him that was his choice.· But, you
16· ·things you just talked to me about now.· Have you had          16· ·know, that's an incident that we had with a poll
17· ·any discussions with members of the legislator or              17· ·watcher that blew up into a confrontation that probably
18· ·legislative staff about amending any of the provisions         18· ·didn't need to happen.
19· ·in SB 1 that are the subject of this lawsuit?                  19· ·BY MS. PERALES:
20· · · · ·A.· · ·No.                                               20· · · · ·Q.· · ·Do you know where the precinct was located
21· · · · ·Q.· · ·So then I won't have to ask it for each           21· ·in Dallas County?
22· ·individual provision.                                          22· · · · ·A.· · ·I don't.
23· · · · · · · · Let's look at --                                  23· · · · ·Q.· · ·Do you know if the poll worker and the poll
24· · · · ·A.· · ·Oh, we did talk to one senator's office           24· ·watcher were of different races?
25· ·about possible changes to poll watchers.                       25· · · · ·A.· · ·I don't know.

                                                          Page 87                                                             Page 89
·1· · · · ·Q.· · ·Which senator's office was that?                  ·1· · · · ·MS. HUNKER:· Objection, form.
·2· · · · ·A.· · ·Royce West.                                       ·2· ·BY MS. PERALES:
·3· · · · ·Q.· · ·Now I will take a deep breath and I will          ·3· · · · ·Q.· · ·When you say that you told Senator West
·4· ·put my question on the record.· My question is what            ·4· ·that it was ultimately up to him whether he wanted to
·5· ·communications if you could describe the substance of          ·5· ·propose such a change, did you make a recommendation
·6· ·the communication with Senator West's office regarding         ·6· ·either way?
·7· ·making changes to SB 1's provisions related to poll            ·7· · · · ·MS. HUNKER:· I'm going to object on legislative
·8· ·watchers?                                                      ·8· ·privilege grounds.
·9· · · · ·MS. HUNKER:· I object on legislative privilege           ·9· ·BY THE WITNESS:
10· ·grounds.· I represent Senator West for the purposes of         10· · · · ·A.· · ·No.
11· ·protecting his privilege today.· On behalf of Senator          11· · · · ·MS. PERALES:· I will give you your fully
12· ·West I object to that on the basis of legislative              12· ·expressed objection.
13· ·privilege.· It's wholly inappropriate for this question        13· · · · ·MS. HUNKER:· Thank you.
14· ·to be asked at all given the pending appeals to which          14· · · · ·THE WITNESS: Sorry.
15· ·we are all a party.· We vehemently disagree with the           15· ·BY THE WITNESS:
16· ·district court's decision to permit this kind of               16· · · · ·A.· · ·No.
17· ·questioning while we await a decision from the Fifth           17· ·BY MS. PERALES:
18· ·Circuit.· Nonetheless the district court has wrongly           18· · · · ·Q.· · ·So having recalled that discussion with
19· ·made clear that attorneys who raise these objections           19· ·Senator West related to poll watchers, do you recall
20· ·face the possibility of contempt.· We have a duty to           20· ·having any discussions with any other members of the
21· ·our clients to protect their privileged information.           21· ·legislator or legislative staff about changing any of
22· ·Because of the district court's orders and threat we           22· ·the language in SB 1 related to poll watchers?· Anybody
23· ·cannot instruct the witness not to answer this                 23· ·else besides Senator West?
24· ·question.· However, the State Defendants and Senator           24· · · · ·A.· · ·No, that was -- that would be the only one.
25· ·West reserve all rights to challenge this improper             25· · · · ·Q.· · ·Then so just to see if I can jog your




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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                     STATE DEFENDANTS’ BRIEF IN RESPONSE TO
                THE UNITED STATES’ MOTION FOR SUMMARY JUDGMENT



                                APPENDIX P
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               Transcript of the Testimony of
                          Isabel Longoria


                                 Date:
                            April 20, 2022



                                Case:
LA UNION DEL PUEBLO ENTERO V. GREGORY W. ABBOTT
        Case 5:21-cv-00844-XR     Document 645-4    Filed 06/24/23   Page 13 of 162
     Isabel Longoria                                                           April 20, 2022
                                                                                            ·


·1· · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· · · · · · · · · · · WESTERN DISTRICT OF TEXAS
·3· · · · · · · · · · · · ·SAN ANTONIO DIVISION
·4
·5· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
·6· LA UNION DEL PUEBLO ENTERO, et al *
·7· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 5:21-cv-844-XR
·8· GREGORY W. ABBOTT, et al· · · · · *
·9· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
10· OCA-GREATER HOUSTON, et al· · · · *
11· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 1:21-cv-780-XR
12· JOHN SCOTT, et al· · · · · · · · ·*
13· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
14· HOUSTON JUSTICE, et al· · · · · · *
15· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 5:21-cv-848-XR
16· GREGORY WAYNE ABBOTT, et al· · · ·*
17· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
18· LULAC TEXAS, et al· · · · · · · · *
19· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 1:21-cv-0786-XR
20· JOHN SCOTT, et al· · · · · · · · ·*
21· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
22· MI FAMILIA VOTA, et al· · · · · · *
23· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 5:21-cv-0920-XR
24· GREG ABBOTT, et al· · · · · · · · *
25· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *

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                                                                                                                              Pages 2 to 5
                                                                 Page 2                                                                 Page 4
·1· UNITED STATES OF AMERICA· · · · · *                                   ·1· · · ·PHONE: 713-274-5101
·2· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 5:21-cv-1085-XR      ·2· · · ·EMAIL: Jonathan.Fombonne@cao.hctx.net
·3· THE STATE OF TEXAS, et al· · · · ·*                                   ·3
·4· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *     ·4· FOR DEFENDANT YVONNE RAMON:
·5                                                                        ·5· · · ·MS. JOSEPHINE RAMIREZ SOLIS (Present via Zoom)
·6· · · · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF                     ·6· · · ·OFFICE OF CRIMINAL DISTRICT ATTORNEY - HIDALGO COUNTY, TEXAS
·7· · · · · · · · · · · · · ·ISABEL LONGORIA                              ·7· · · ·CHIEF, CIVIL DIVISION
·8· · · · · · · · · · · · · · APRIL 20, 2022                              ·8· · · ·100 E. CANO
·9· · · · · · · · · · · · · · VOLUME 1 OF 1                               ·9· · · ·EDINBURG, TEXAS· 78539
10                                                                        10· · · ·PHONE: 956-292-7609
11· · · · · · Oral and videotaped deposition of Isabel Longoria,          11· · · ·EMAIL: josephine.ramirez@da.co.hidalgo.tx.us
12· produced as a witness at the instance of the defense, and duly        12
13· sworn, was taken in the above-styled and numbered cause on April      13· FOR PLAINTIFFS LULAC TEXAS and VOTO LATINO:
14· 20, 2022, from 9:24 a.m. to 2:32 p.m., before Terrie Doyle            14· · · ·MR. MIKE JONES (Present via Zoom)
15· Escobar, CSR in and for the State of Texas, reported by oral          15· · · ·ELIAS LAW GROUP, LLP
16· stenography, at the Office of the Texas Attorney General,             16· · · ·10 G ST. NE, STE. 600
17· Consumer Protection Division, Houston Regional Office, 808 Travis     17· · · ·WASHINGTON, D.C.· 20002
18· Street, Suite 1520, Houston, Texas· 77002, pursuant to Rule 30 of     18· · · ·PHONE: 202-985-1752
19· the Federal Rules of Civil Procedure.                                 19· · · ·EMAIL: mjones@elias.law
20                                                                        20
21                                                                        21· FOR PLAINTIFF UNITED STATES OF AMERICA:
22                                                                        22· · · ·MS. L. BRADY BENDER (Present via Zoom)
23                                                                        23· · · ·UNITED STATES DEPARTMENT OF JUSTICE
24                                                                        24· · · ·CIVIL RIGHTS DIVISION, VOTING SECTION
25                                                                        25· · · ·950 PENNSYLVANIA AVENUE NW


                                                                 Page 3                                                                 Page 5
·1· · · · · · · · · · · · A P P E A R A N C E S                           ·1· · · ·4CON 8TH FLOOR
·2                                                                        ·2· · · ·WASHINGTON, DC· 20530
·3· FOR THE HAUL PLAINTIFFS:                                              ·3· · · ·PHONE: 202-353-5373
·4· · · ·MR. KENNETH E. BROUGHTON                                         ·4· · · ·EMAIL: laura.bender@usdoj.gov
·5· · · ·REED SMITH, LLP                                                  ·5
·6· · · ·811 MAIN STREET, SUITE 1700                                      ·6· ALSO PRESENT:
·7· · · ·HOUSTON, TEXAS· 77002                                            ·7· · · ·MR. TERRY HARRISON, VIDEOGRAPHER
·8· · · ·PHONE: 713-806-8434                                              ·8
·9· · · ·EMAIL: kbroughton@reedsmith.com                                  ·9
10                                                                        10
11· FOR STATE DEFENDANTS:                                                 11
12· · · ·MR. WILLIAM T. THOMPSON                                          12
13· · · ·OFFICE OF THE ATTORNEY GENERAL                                   13
14· · · ·DEPUTY CHIEF, SPECIAL LITIGATION UNIT                            14
15· · · ·POST OFFICE BOX 12548                                            15
16· · · ·AUSTIN, TEXAS· 78711                                             16
17· · · ·PHONE: 512-936-2567                                              17
18· · · ·EMAIL: will.thompson@oag.texas.gov                               18
19                                                                        19
20· FOR DEFENDANT ISABEL LONGORIA:                                        20
21· · · ·MS. CHRISTINA BEELER                                             21
22· · · ·MR. JONATHAN FOMBONNE                                            22
23· · · ·OFFICE OF THE HARRIS COUNTY ATTORNEY                             23
24· · · ·1019 CONGRESS PLAZA, 15TH FLOOR                                  24
25· · · ·HOUSTON, TEXAS· 77002                                            25



Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900                                                   San Antonio, Texas 78232
210-697-3400                                                                                                             210-697-3408             YVer1f
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·1· voters or were registered voters, perhaps, at the time they            ·1· another registered voter's name and address; right?
·2· applied, but for whatever reason, their voter registration lapsed      ·2· · · ·A.· ·Their name and address?· Yes.
·3· or, you know, for example, provisional voters weren't able to          ·3· · · ·Q.· ·And, you know, if they wanted to be clever, they could
·4· then cure whatever provisional defect there was, so, ultimately,       ·4· even do it for someone who's registered to vote but who has a
·5· they were unable to vote by mail.                                      ·5· practice of not voting in recent elections; right?
·6· · · ·Q.· ·Are you aware of instances in which someone has tried        ·6· · · · · · · · ·MR. FOMBONNE:· Objection to form.
·7· to vote by mail but pretending to be somebody else?                    ·7· (BY MR. THOMPSON:)
·8· · · ·A.· ·Not to my knowledge, no.                                     ·8· · · ·A.· ·To the extent that they would have access to that kind
·9· · · ·Q.· ·Before SB1 took effect, what information would someone ·9· of information to determine that, yes.
10· need to apply for a ballot by mail?                                    10· · · ·Q.· ·Right.· So if someone got access to the publicly
11· · · ·A.· ·Someone would need to submit an application to vote by 11· available information from Harris County, he'd be able to submit
12· mail that contains their name, residential address, mailing            12· all the information required to request a ballot by mail on
13· address -- name, address -- the reason for their qualification to      13· someone else's behalf and do so in a way that targets people who
14· vote by mail -- for example, being in the military, disabled, or       14· are registered to vote but who have not, in fact, voted recently;
15· over the age of 65 -- they had to sign the form essentially            15· right?
16· saying, you know, I swear I am who I say I am, and then                16· · · ·A.· ·No.· No.
17· submitting the election that they needed a ballot for.· I think        17· · · ·Q.· ·Why?
18· those are the general categories on there.                             18· · · ·A.· ·The voter file would not contain information about a
19· · · ·Q.· ·Right.· And so the kind of identifying information on        19· voter's age, and, so, if -- again, I can't 100 percent remember,
20· there would be the name and address; right?                            20· but I'm trying to remember -- if you -- if you need -- to the
21· · · ·A.· ·Yes.                                                         21· extent you need to include your date of birth on the application,
22· · · ·Q.· ·Are voters' names and addresses publicly available in        22· an individual would have to find that date of birth not through
23· Harris County?                                                         23· the voter file or some other means, in addition to which you
24· · · ·A.· ·Yes.                                                         24· would still have to fill out the reason for which you could apply
25· · · ·Q.· ·They're available through the voter file, for example;       25· to vote by mail, which would not be found in a voter file.

                                                                Page 143                                                                    Page 145
·1· right?                                                                 ·1· · · ·Q.· ·Of course, the reason to vote by mail could just be a
·2· · · ·A.· ·Yes.                                                         ·2· lie; right?
·3· · · ·Q.· ·And your office will give out copies of the voter file       ·3· · · ·A.· ·Uh, any -- sure.
·4· when requested; right?                                                 ·4· · · ·Q.· ·It's not something you verify; right?
·5· · · ·A.· ·If the request is eligible for such information, yes.        ·5· · · ·A.· ·Our office couldn't determine what is a lie or not a
·6· · · ·Q.· ·Are political parties eligible to request the voter          ·6· lie, but, yes, a -- you know, an individual could fill out a
·7· file?                                                                  ·7· form.
·8· · · ·A.· ·Yes.                                                         ·8· · · ·Q.· ·If someone submits an application to vote by mail and
·9· · · ·Q.· ·Who else is eligible to request the voter file?              ·9· the reason given for voting by mail is that he expects to be out
10· · · ·A.· ·As I believe, if I understand correctly or remember          10· of the county when in-person voting is happening, you wouldn't
11· correctly, any eligible citizen is able to, you know, public           11· have any way of verifying or not verifying that information;
12· information request, request a copy of the voter file.· And I          12· right?
13· believe you may even be able to download it from our website. I 13· · · ·A.· ·Correct.
14· just can't remember if it's the voter file or the vote record for      14· · · ·Q.· ·Are you aware that on an application to vote by mail
15· any given election.                                                    15· providing a date of birth is optional?
16· · · ·Q.· ·And for publicly available records, one could determine      16· · · ·A.· ·I did not remember, but --
17· whether another individual is registered to vote; right?               17· · · · · · · · ·MR. FOMBONNE:· Objection to form.
18· · · ·A.· ·Yes.                                                         18· (BY MR. THOMPSON:)
19· · · ·Q.· ·And one could determine whether someone who is               19· · · ·Q.· ·Do you have any reason to disagree with that?
20· registered to vote has in fact voted in recent elections; right?       20· · · ·A.· ·No.
21· · · ·A.· ·If you got the vote history file, yes.                       21· · · ·Q.· ·So if a person wanted to submit an application to vote
22· · · ·Q.· ·And that's publicly available?                               22· by mail using someone else's information, he could gather the
23· · · ·A.· ·Yes.                                                         23· required personal information from publicly available sources;
24· · · ·Q.· ·So based on publicly available information, someone          24· right?
25· could submit before SB1 an application to vote by mail with            25· · · ·A.· ·Yes.


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                                                                    Page 146                                                                   Page 148
·1· · · ·Q.· ·At least, before SB1; right?                                     ·1· the mail.
·2· · · ·A.· ·Yes.                                                             ·2· · · ·Q.· ·When voters call to express concerns about election
·3· · · ·Q.· ·But with SB1, the application to vote by mail is                 ·3· integrity to your office, do you know whether they are sincere?
·4· supposed to include some ID numbers; right?                                ·4· · · · · · · · ·MR. FOMBONNE:· Objection to form.
·5· · · ·A.· ·Yes.                                                             ·5· (BY MR. THOMPSON:)
·6· · · ·Q.· ·And what are those numbers?                                      ·6· · · ·A.· ·To the extent that anyone -- that we assume anyone who
·7· · · ·A.· ·The last four digits of your Social Security number,             ·7· calls our office has a valid concern, and so we share the
·8· your driver's license number; absent of either of those, a Texas           ·8· information we can with them to alleviate any concerns they might
·9· election ID number or a statement certifying that you have access ·9· have.
10· to neither of those documents -- or not access, but you don't              10· · · ·Q.· ·That's not quite what I was asking.· Let me try again.
11· have either a Social Security, driver's license, or election ID            11· · · ·A.· ·Sure.
12· number.                                                                    12· · · ·Q.· ·You've spoken on the phone with people who are
13· · · ·Q.· ·To the best of your knowledge, are driver's license              13· expressing concerns about election integrity; right?
14· numbers publicly available?                                                14· · · ·A.· ·I have not; the call center that we run as part of the
15· · · ·A.· ·No.                                                              15· office has.
16· · · ·Q.· ·To the best of your knowledge, are Social Security               16· · · ·Q.· ·So people in your call center have spoken on the phone
17· numbers publicly available?                                                17· with Harris County residents who are expressing concern about
18· · · ·A.· ·No.                                                              18· election integrity; right?
19· · · ·Q.· ·To the best of your knowledge, are the last four digits          19· · · ·A.· ·Yes.
20· of a Social Security number publicly available?                            20· · · ·Q.· ·Do the people in this call center ever tell you whether
21· · · ·A.· ·No.                                                              21· they think the callers are expressing sincere concerns?
22· · · ·Q.· ·So would it be fair to say that SB1, by imposing an ID           22· · · · · · · · ·MR. FOMBONNE:· Objection to form.
23· number requirement on an application to vote by mail, now                  23· (BY MR. THOMPSON:)
24· requires information that is not publicly available?                       24· · · ·A.· ·Yes, as in the voters are sincerely expressing those
25· · · ·A.· ·Yes.                                                             25· concerns.

                                                                    Page 147                                                                   Page 149
·1· · · ·Q.· ·And that's change from the pre-SB1 law; right?                   ·1· · · ·Q.· ·The voters may be saying something that's inaccurate;
·2· · · ·A.· ·Yes.                                                             ·2· right?
·3· · · ·Q.· ·Do people in Harris County ever express concerns about           ·3· · · ·A.· ·Yes.
·4· election integrity to you?                                                 ·4· · · ·Q.· ·But they honestly believe it when they say it; right?
·5· · · ·A.· ·Yes.                                                             ·5· · · ·A.· ·Yes.
·6· · · ·Q.· ·Can you tell me about those.                                     ·6· · · ·Q.· ·And your office tries to alleviate those concerns?
·7· · · ·A.· ·Broadly, calls -- again, calls that might come into the          ·7· · · ·A.· ·Yes.
·8· office in broad buckets expressing voters who are worried                  ·8· · · ·Q.· ·Why?
·9· Russians are hacking elections in Harris County, are worried               ·9· · · ·A.· ·If voters have concerns about voting, whether or not be
10· that, you know, broadly, they hear claims of national election             10· about election integrity or anything else, it's our duty to make
11· stories and worried that somehow Harris County is also, you know,          11· sure that we give voters the most accurate information we have to
12· prone or could be a victim of hacking or other issues related to           12· help them feel, you know, good and taken care of, just in general
13· elections.                                                                 13· customer service and constituent responses.
14· · · ·Q.· ·So are all of the concerns about election integrity              14· · · ·Q.· ·Do you think it's important for voters to believe that
15· that you receive related to hacking?                                       15· the system is secure?
16· · · ·A.· ·Hacking?· Yes, and, you know, can the machines be                16· · · ·A.· ·Yes.
17· hacked, are the machines connected to the internet, are the                17· · · ·Q.· ·What is the purpose of having poll watchers in Harris
18· machines faxing my vote to the Russians, broadly based conspiracy 18· County elections?
19· or -- or hacking questions.                                                19· · · ·A.· ·As I understand it, poll watchers are representatives
20· · · ·Q.· ·Do you ever receive calls expressing concerns about              20· of campaigns who are there to observe that election clerks and
21· election integrity related to ballot harvesting, for example?              21· election judges and workers broadly are upholding the Texas
22· · · ·A.· ·Ballot harvesting?· No.· Again, only related to                  22· Election Code in the administration of elections.
23· complaints of voters sharing that they prefer not to put their ID          23· · · ·Q.· ·So is the idea that someone were violating the law in
24· numbers in mail as they have worries about identity theft, if              24· the administration of the election, a poll watcher might be able
25· they include, you know, sensitive information that is then put in          25· to observe it and report it?


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210-697-3400                                                                                                                  210-697-3408                YVer1f
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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                     STATE DEFENDANTS’ BRIEF IN RESPONSE TO
                THE UNITED STATES’ MOTION FOR SUMMARY JUDGMENT



                                APPENDIX Q
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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                     STATE DEFENDANTS’ BRIEF IN RESPONSE TO
                THE UNITED STATES’ MOTION FOR SUMMARY JUDGMENT



                                APPENDIX R
      Case 5:21-cv-00844-XR   Document 645-4   Filed 06/24/23   Page 21 of 162
   Frank Phillips                                                         March 31, 2023
                                                                                       ·


·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3· · LA UNIÓN DEL PUEBLO §
· · · ENTERO, ET AL.,· · · §
·4· · · · · · · · · · · · ·§
· · · · · · PLAINTIFFS,· · §
·5· · · · · · · · · · · · ·§
· · · · · · V.· · · · · · ·§· CIVIL ACTION NO.5:21-CV-844 (XR)
·6· · · · · · · · · · · · ·§· (CONSOLIDATED CASES)
· · · STATE OF TEXAS, ET· ·§
·7· · AL.,· · · · · · · · ·§
· · · · · · · · · · · · · ·§
·8· · · · · DEFENDANTS.· · §

·9
· · ·********************************************************
10
· · · · · · · · · · · · ORAL DEPOSITION OF
11
· · · · · · · · · · · · · FRANK PHILLIPS
12
· · · · · · · · · · · · · MARCH 31, 2023
13
· · ·*******************************************************
14

15· · · · · ORAL DEPOSITION OF FRANK PHILLIPS, PRODUCED AS A

16· ·WITNESS AT THE INSTANCE OF THE PLAINTIFF, AND DULY

17· ·SWORN, WAS TAKEN IN THE ABOVE-STYLED AND -NUMBERED CAUSE

18· ·ON THE 31ST DAY OF MARCH, 2023, FROM 9:14 A.M. TO

19· ·12:40 P.M., BEFORE KAREN A. GONZALEZ, COMMISSIONED

20· ·NOTARY, IN AND FOR THE STATE OF TEXAS, REPORTED BY

21· ·MACHINE SHORTHAND, FROM DALLAS COUNTY, TEXAS, PURSUANT

22· ·TO THE TEXAS RULES OF CIVIL PROCEDURE, THE TEXAS SUPREME

23· ·COURT EMERGENCY ORDER REGARDING THE COVID-19 STATE OF

24· ·DISASTER AND THE PROVISIONS STATED ON THE RECORD OR

25· ·ATTACHED HERETO.




                                                                                       YVer1f
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Frank Phillips                                                                                                                March 31, 2023
                                                                                                                              Pages 94 to 97
                                                               Page 94                                                                 Page 96
·1· · · Q.· LET'S GO WITH DENTON COUNTY FIRST, AND THEN YOU              ·1· ·ANYTHING ELSE THAT YOU DISCUSSED WITH THE STATE ABOUT
·2· ·CAN TALK ABOUT IN GENERAL.                                          ·2· ·YOUR TRIAL TESTIMONY THAT WE HAVEN'T DISCUSSED THUS FAR
·3· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.                           ·3· ·TODAY?
·4· · · A.· SURE.· ONE WOULD BE JUST OUR GENERAL INCREASE IN             ·4· · · A.· I HAVEN'T DISCUSSED WITH THE STATE ABOUT MY --
·5· ·POPULATION.                                                         ·5· · · · · · · ·THE WITNESS:· OH, ARE YOU THE STATE?
·6· · · Q.· (BY MS. YUN)· UH-HUH.                                        ·6· · · · · · · ·MS. HUNKER:· I'M THE STATE.
·7· · · A.· AND I THINK IT'S JUST BECOME MORE -- I HATE TO               ·7· · · Q.· (BY MS. YUN)· SORRY.· THE AG'S OFFICE,
·8· ·SAY ADVERTISED.· I THINK IT'S PROMOTED MORE THAN IT USED            ·8· ·MS. HUNKER.
·9· ·TO BE.                                                              ·9· · · A.· NO.
10· · · Q.· UH-HUH.                                                      10· · · · · · · ·MS. YUN:· NOTHING ELSE.· AND SO I'LL PASS
11· · · A.· I THINK PEOPLE TAKE ADVANTAGE OF MAIL VOTING. I              11· ·THE WITNESS.
12· ·MEAN, I JUST THINK PEOPLE -- A LOT OF PEOPLE DO IT JUST             12· · · · · · · ·MS. HUNKER:· ARE THERE ANY OTHER PLAINTIFF
13· ·BECAUSE IT'S CONVENIENT.· SO A POPULATION INCREASE AND              13· ·GROUP THAT WOULD LIKE TO ASK QUESTIONS OF THE WITNESS ON
14· ·THE GENERAL PROMOTION OF VOTING BY MAIL IS CAUSING AN               14· ·THE ZOOM CALL?
15· ·INCREASE.                                                           15· · · · · · · ·MR. D'ANGELO:· NOT FOR ME, THANK YOU.
16· · · Q.· UH-HUH.                                                      16· · · · · · · ·MS. HUNKER:· THAT WAS WILLIAM D'ANGELO.
17· · · · · AND WOULD YOU AGREE THAT FOR SOME FOLKS IN DENTON            17· · · · · · · ·ANY OTHER PLAINTIFF GROUPS HAVE ANY
18· ·COUNTY, THAT IT IS THE ONLY WAY FOR THEM TO VOTE?                   18· ·QUESTIONS FOR THE WITNESS?
19· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.                           19· · · · · · · ·HEARING NONE, THE STATE IS GOING TO DO A
20· · · A.· FOR SOME FOLKS, YES.                                         20· ·SHORT DIRECT EXAMINATION.
21· · · Q.· (BY MS. YUN)· DUE TO DISABILITY, FOR EXAMPLE?                21· · · · · · · · · · · · EXAMINATION
22· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.                           22· ·BY MS. HUNKER:
23· · · A.· PROBABLY DISABILITY, YES.                                    23· · · Q.· MR. PHILLIPS, HAVE VOTERS CONVEYED TO YOU
24· · · Q.· (BY MS. YUN)· AND WOULD YOU AGREE THAT FOR SOME              24· ·CONCERNS ABOUT VOTER FRAUD?
25· ·FOLKS, IT IS VERY DIFFICULT FOR THEM TO CURE THEIR MAIL             25· · · A.· YES.


                                                               Page 95                                                                 Page 97
·1· ·BALLOT ERROR?                                                       ·1· · · Q.· HAVE VOTERS CONVEYED TO YOU CONCERNS ABOUT MAIL
·2· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.                           ·2· ·BALLOT VOTER FRAUD SPECIFICALLY?
·3· · · A.· I WOULD SAY YES.                                             ·3· · · A.· YES.
·4· · · Q.· (BY MS. YUN)· OKAY.· AND I THINK YOU TESTIFIED               ·4· · · Q.· IN YOUR EXPERIENCE, DOES VOTERS' PERCEPTION THAT
·5· ·EARLIER -- AND CORRECT ME IF I'M WRONG -- THAT SOMETIMES            ·5· ·VOTER FRAUD, INCLUDING MAIL BALLOT VOTING FRAUD, EXISTS
·6· ·FOLKS DON'T GET NOTIFIED IN TIME TO CURE THEIR MAIL                 ·6· ·UNDERMINE THEIR CONFIDENCE IN ELECTION RESULTS?
·7· ·BALLOT IN ORDER FOR THEIR BALLOT TO COUNT; IS THAT                  ·7· · · A.· ABSOLUTELY.
·8· ·RIGHT?                                                              ·8· · · Q.· IN YOUR EXPERIENCE, DOES VOTERS' PERCEPTION THAT
·9· · · A.· YEAH, ESPECIALLY IF THEY TURN IT IN NEAR THE END,            ·9· ·VOTER FRAUD, INCLUDING MAIL VOTER FRAUD, EXISTS
10· ·YOU KNOW, THE LAST DAY OF EARLY VOTING, THEN, YES, IT'S             10· ·UNDERMINE THEIR TRUST IN THE ELECTORAL PROCESS?
11· ·GOING TO BE TOUGH.                                                  11· · · A.· YES.
12· · · · · · · ·MS. YUN:· I THINK I AM ALMOST DONE.· I JUST             12· · · Q.· HAVE YOU SEEN AN INCREASE IN THE LACK OF TRUST IN
13· ·WANT TO TAKE A QUICK BREAK.                                         13· ·THE ELECTORAL PROCESS OVER THE LAST FEW YEARS?
14· · · · · · · ·THE REPORTER:· THE TIME IS 11:58 A.M.· WE               14· · · A.· WITHOUT A DOUBT.
15· ·ARE OFF THE RECORD.                                                 15· · · Q.· DO YOU RECALL TALKING WITH COUNSEL ABOUT HOW THE
16· · · · · · · ·(OFF THE RECORD.)                                       16· ·SB 1 ID REQUIREMENT FOR MAIL-IN BALLOTS ADDED ANOTHER
17· · · · · · · ·THE REPORTER:· THE TIME IS 12:05 P.M.· WE               17· ·LAYER OF PROTECTION?
18· ·ARE BACK ON THE RECORD.                                             18· · · A.· YES.
19· · · · · · · ·MS. YUN:· OKAY.· JUST FOR THE RECORD, SO                19· · · Q.· WHAT DID YOU MEAN BY THAT?
20· ·WE'RE GOING TO MARK THE ABBM FORM THAT MR. PHILLIPS                 20· · · A.· I BELIEVE WE WERE TALKING ABOUT PRIOR TO SB 1 AND
21· ·LOOKED AT AS EXHIBIT 8.· AND THEN THE CARRIER ENVELOPE              21· ·THE ID REQUIREMENTS, YOU KNOW, HAD WE DISCOVERED ANY
22· ·THAT HE LOOKED AT TO REFRESH HIS RECOLLECTION AS EXHIBIT            22· ·MAIL FRAUD.· AND THE ANSWER WAS NO.· BUT, IN MY MIND,
23· ·NO. 9.                                                              23· ·THAT DOESN'T MEAN YOU DON'T ADD ANOTHER SECURITY --
24· · · · · · · ·(EXHIBITS 8 AND 9 MARKED.)                              24· ·ANOTHER LEVEL OF SECURITY, ESPECIALLY WHEN IT COMES TO
25· · · Q.· (BY MS. YUN)· SO JUST TO WRAP UP, IS THERE                   25· ·WHAT YOU WERE JUST TALKING ABOUT, ABOUT THE PERCEPTION




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·1· ·OF THE INTEGRITY OF THE VOTING PROCESS.· AND ANYTHING WE             ·1· ·SO THEY WERE TIED, SO THAT LEFT THEM THE OPPORTUNITY FOR
·2· ·CAN DO TO STRENGTHEN THE INTEGRITY OF THE VOTING PROCESS             ·2· ·ONE OF THEM TO ASK FOR A RECOUNT.
·3· ·OR EVEN THE APPEARANCE OF IT I'M FOR.                                ·3· · · · · WE CAN LOOK AT OUR RESULTS AND SEE THAT EVEN
·4· · · Q.· BASED ON YOUR EXPERIENCE, HAD SB 1'S MAIL BALLOT              ·4· ·THOUGH THEY WERE TIED, THERE WAS A PERSON WHO SUBMITTED
·5· ·ID REQUIREMENTS BEEN IN PLACE IN 2020, WOULD IT HAVE                 ·5· ·A BALLOT THAT DIDN'T VOTE.· SO IT WAS UNDERVOTE -- OR
·6· ·HELPED YOU IDENTIFY THE MAIL VOTING FRAUD INITIATED BY               ·6· ·OVERVOTE -- I'M SORRY.· IT WAS NOT AN UNDERVOTE.· IT WAS
·7· ·THE CARROLLTON MAYORAL CANDIDATE?                                    ·7· ·AN OVERVOTE, MEANING ON THEIR BALLOT, THEY HAD SOMEHOW
·8· · · A.· I THINK IT WOULD HAVE HELPED IDENTIFY IT, BECAUSE             ·8· ·MARKED THE BALLOT THAT MADE THE SCAN THINK THIS PERSON
·9· ·HE WOULD HAVE HAD A MUCH HARDER TIME SUBMITTING THAT                 ·9· ·HAD VOTED FOR BOTH CANDIDATES.
10· ·MANY APPLICATIONS THAT COULD HAVE POTENTIALLY MADE IT                10· · · · · SO WE TOLD BOTH THE CANDIDATES THAT THEY COULD
11· ·THROUGH THE PROCESS.· I THINK IT WOULD HAVE BEEN MUCH                11· ·HAVE AN OPTION OF REQUESTING A RECOUNT.· "IF ONE OF YOU
12· ·HARDER FOR HIM TO SUCCESSFULLY SEND APPLICATIONS THROUGH             12· ·REQUESTS A RECOUNT, WE CAN FIND THAT OVERVOTE.· AND
13· ·THE PROCESS.                                                         13· ·UNDER THE TEXAS ELECTION CODE, DURING A RECOUNT, IF YOU
14· · · Q.· I WANT TO TURN BACK TO EXHIBIT 1 THAT WAS                     14· ·CAN LOOK AT AN OVERVOTE AND MAKE THE VOTER'S INTENT
15· ·INTRODUCED BY THE UNITED STATES.                                     15· ·DETERMINATION, THEN THAT VOTE CAN BE AWARDED TO A
16· · · A.· OKAY.                                                         16· ·CANDIDATE.· SO POTENTIALLY, WITHOUT HAVING TO GO TO A
17· · · Q.· DO YOU HAVE THAT EXHIBIT IN FRONT OF YOU?                     17· ·NEW ELECTION, WE CAN SOLVE THIS."
18· · · A.· I DO.                                                         18· · · · · NEITHER ONE OF THEM WANTED TO, I GUESS, RISK
19· · · Q.· PLEASE TURN TO PAGE 2.                                        19· ·GOING FOR IT.· SO WE ENDED UP HAVING A SECOND ELECTION,
20· · · A.· OKAY.                                                         20· ·WHICH WAS DECIDED BY THREE VOTES.
21· · · Q.· CAN YOU PLEASE READ OUT LOUD THE PARAGRAPH JUST               21· · · Q.· BASED IN YOUR EXPERIENCE, IN THE CASE OF A CLOSE
22· ·BEFORE THE PICTURE.                                                  22· ·ELECTION AS THE ONE YOU JUST DESCRIBED, IS IT MORE
23· · · A.· "'INVESTIGATORS MADE CONTACT WITH THE CARROLLTON              23· ·LIKELY THAN OTHER ELECTIONS THAT VOTER FRAUD COULD
24· ·RESIDENTS WHOSE BALLOTS HAD BEEN REQUESTED AND LEARNED               24· ·CHANGE THE OUTCOME OF THE ELECTION?
25· ·THE RESIDENTS TOLD THEM THAT THEY HAD NOT REQUESTED ANY              25· · · A.· ABSOLUTELY, JUST BASED ON THE NUMBERS.


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·1· ·BALLOTS BE MAILED TO THE P.O. BOX,' THE SHERIFF'S OFFICE             ·1· · · Q.· AND IS THAT TRUE EVEN IF VOTER FRAUD ONLY HAPPENS
·2· ·SAID."                                                               ·2· ·ON OCCASION AS OPPOSED TO SYSTEMATICALLY?
·3· · · Q.· THANK YOU.· CAN YOU PLEASE READ THE PARAGRAPH                 ·3· · · A.· YES.
·4· ·IMMEDIATELY FOLLOWING THE PHOTO.                                     ·4· · · Q.· DO YOU RECALL DISCUSSING WITH COUNSEL THE
·5· · · A.· "'THESE INDIVIDUALS IN CARROLLTON, IF THIS GUY                ·5· ·DIFFERENT POSSIBLE REASONS FOR A MISMATCH WITH RESPECT
·6· ·HAD BEEN SUCCESSFUL, THEY COULD HAVE SHOWN UP ON                     ·6· ·TO THE ID REQUIREMENT?
·7· ·ELECTION DAY AND BEEN DENIED THEIR RIGHT TO VOTE BECAUSE             ·7· · · A.· YES.
·8· ·IT WOULD HAVE SHOWN THAT THEY'D ALREADY VOTED,' SAID                 ·8· · · Q.· AND DO YOU RECALL THAT THAT DISCUSSION TALKED
·9· ·DENTON COUNTY SHERIFF TRACY MURPHREE."                               ·9· ·ABOUT VOTERS WHO FAILED TO PUT AN ID NUMBER DOWN, PUT
10· · · Q.· BASED ON YOUR EXPERIENCE IN THE ELECTIONS OFFICE              10· ·THE -- PUT A TYPO OR TRANSPOSED NUMBERS ON THEIR
11· ·AND YOUR UNDERSTANDING OF TEXAS ELECTION LAW, WAS THE                11· ·APPLICATION OR BALLOT OR HAD A TRANSPOSED NUMBER INSIDE
12· ·DENTON COUNTY SHERIFF CORRECT THAT IF THIS GUY HAD BEEN              12· ·THE SYSTEM?
13· ·SUCCESSFUL, VOTERS COULD HAVE BEEN DENIED THEIR RIGHT TO             13· · · A.· YES.
14· ·VOTE?                                                                14· · · Q.· WERE THERE FEWER INSTANCES OF THAT IN THE
15· · · A.· ABSOLUTELY.                                                   15· ·NOVEMBER ELECTION AS COMPARED TO THE MARCH PRIMARY?· AND
16· · · Q.· CAN INCIDENTS OF VOTER FRAUD DENY VOTERS THEIR                16· ·I CAN REPHRASE IF YOU NEED ME TO.
17· ·RIGHT TO VOTE?                                                       17· · · A.· NO.· I BELIEVE THE ANSWER TO THAT IS YES, BECAUSE
18· · · A.· YES.                                                          18· ·THERE WAS A MUCH HIGHER REJECTION RATE.· SO I WOULD SAY
19· · · Q.· ARE YOU AWARE OF ANY ELECTION DECIDED BY A                    19· ·YES.
20· ·HANDFUL OF VOTES?                                                    20· · · Q.· DID YOU OBSERVE FEWER DATABASE ERRORS WHERE THE
21· · · A.· OH, YES.                                                      21· ·REGISTRATION RECORD HAD THE WRONG NUMBER?
22· · · Q.· CAN YOU PERHAPS GIVE ME AN EXAMPLE?                           22· · · A.· YES.
23· · · A.· YES.· IN NOVEMBER, WE HAD A CITY THAT HAD -- THE              23· · · Q.· DID YOU OBSERVE FEWER INSTANCES OF VOTERS HAVING
24· ·CITY OF PILOT POINT HAD A MAYORAL RACE.· AND AT THE END              24· ·A TEXAS ID, BUT NOT THEIR SSN IN THEIR SYSTEM OR
25· ·OF THE ELECTION, THEY WERE -- THEY WERE TIED.· AND WE --             25· ·VICE-VERSA?· IN OTHER WORDS -- DO YOU NEED A




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                                                               Page 102                                                              Page 104
·1· ·CLARIFICATION?                                                       ·1· · · Q.· (BY MS. HUNKER)· LET'S TAKE A LOOK AT DENTON
·2· · · A.· NO.· THEY PRESENTED A NUMBER THAT WE DIDN'T HAVE.             ·2· ·COUNTY.
·3· · · Q.· THAT'S CORRECT.                                               ·3· · · · · · · ·MS. YUN:· COUNSEL, COULD YOU CLARIFY ON THE
·4· · · A.· I CAN'T SAY DEFINITIVELY ON THAT ONE.                         ·4· ·RECORD, WHERE THE REJECTION RATE DOCUMENT CAME FROM?
·5· · · Q.· OKAY.· WHEN A BALLOT ARRIVES TO YOUR OFFICE, DOES             ·5· · · · · · · ·MS. HUNKER:· THIS WAS PROVIDED BY THE
·6· ·THE DENTON COUNTY ELECTIONS OFFICE USE THE ID NUMBER,                ·6· ·SECRETARY OF STATE'S OFFICE AND PRODUCED I BELIEVE IN
·7· ·WHETHER IT BE THE SOCIAL SECURITY NUMBER OR TEXAS ID                 ·7· ·NOVEMBER.
·8· ·NUMBER, TO CONFIRM THE VOTER'S IDENTITY?                             ·8· · · · · · · ·MS. YUN:· OKAY.· THANK YOU.
·9· · · A.· WE DO.                                                        ·9· · · · · · · ·MS. HUNKER:· I BELIEVE NOVEMBER OR DECEMBER.
10· · · Q.· DO YOU REMEMBER TALKING ABOUT YOUR EFFORTS TO                 10· · · Q.· (BY MS. HUNKER)· DO YOU SEE WHERE IT SAYS DENTON
11· ·EDUCATE VOTERS ABOUT THE ID REQUIREMENT?                             11· ·COUNTY?
12· · · A.· YES.                                                          12· · · A.· I DO.
13· · · Q.· WOULD YOU CONSIDER YOUR EFFORTS TO EDUCATE VOTERS             13· · · Q.· CAN YOU PLEASE TELL ME WHAT THE REJECTION RATE IS
14· ·ABOUT THE ID REQUIREMENT SUCCESSFUL?                                 14· ·STATED ON THE SPREADSHEET?
15· · · A.· YES.                                                          15· · · A.· 1.66 PERCENT.
16· · · Q.· WERE YOU ABLE TO REDUCE THE REJECTION RATE FROM               16· · · Q.· AND DOES THAT REFRESH YOUR RECOLLECTION?
17· ·THE MARCH PRIMARY TO THE NOVEMBER ELECTION?                          17· · · A.· IT DOES.· BEFORE I WAS JUST GENERALLY SPEAKING
18· · · A.· YES.                                                          18· ·OFF OF A GUT FEELING, BUT THIS MAKES MORE SENSE.
19· · · Q.· DO YOU RECALL WHAT THE REJECTION RATE IN NOVEMBER             19· · · Q.· IS 1.66 PERCENT COMPARABLE TO PREVIOUS
20· ·WAS?                                                                 20· ·ELECTIONS -- GENERAL ELECTIONS AT YOUR OFFICES?
21· · · A.· I BELIEVE -- IT WAS A PRIMARY, WAS IT NOT?                    21· · · A.· I WOULD DEFINITELY SAY YES.
22· · · Q.· THIS DOCUMENT IS, YES.                                        22· · · Q.· ARE YOU AWARE OF ANY ELECTION WHERE THE REJECTION
23· · · A.· I DON'T REMEMBER THE EXACT NUMBER IN NOVEMBER.                23· ·RATE WAS ZERO PERCENT?
24· · · Q.· DO YOU RECALL WHERE IT ROUGHLY FELL?                          24· · · A.· NO.
25· · · A.· I'M GOING TO SAY ROUGHLY IN THE 8 TO 10 PERCENT               25· · · Q.· IF SB 1 WAS ENJOINED OR REPEALED, WOULD THE NEXT


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·1· ·RANGE.· ROUGHLY.· AND THAT COULD BE HIGH.                            ·1· ·ELECTION HAVE A REJECTION RATE OF ZERO PERCENT?
·2· · · · · · · ·MS. HUNKER:· CAN WE GO OFF THE RECORD FOR A              ·2· · · A.· NO.
·3· ·MOMENT?                                                              ·3· · · Q.· WERE VOTERS ABLE TO CURE BALLOT DEFECTS BEFORE
·4· · · · · · · ·MS. YUN:· SURE.                                          ·4· ·SB 1?
·5· · · · · · · ·THE REPORTER:· OFF THE RECORD AT 12:17 P.M.              ·5· · · A.· NOT IN THE SAME MANNER.· I MEAN, WE -- IF SOMEONE
·6· · · · · · · ·(OFF THE RECORD.)                                        ·6· ·LEFT A SIGNATURE OFF, WE WOULD CONTACT THEM TO SEE IF WE
·7· · · · · · · ·THE REPORTER:· THE TIME IS 12:19 P.M.· WE                ·7· ·COULD GET THEM TO FIX THEM.· BUT IT WAS CODIFIED IN THE
·8· ·ARE BACK ON THE RECORD.                                              ·8· ·SAME MANNER.
·9· · · Q.· (BY MS. HUNKER)· MR. PHILLIPS, YOU MENTIONED YOU              ·9· · · Q.· WAS THERE ANY ESTABLISHED PROCESS THAT THE STATE
10· ·WERE NOT SURE ABOUT THE REJECTION RATE FOR THE GENERAL               10· ·PROVIDED FOR A CURE PRIOR TO SB 1?
11· ·ELECTION, CORRECT?                                                   11· · · A.· I DON'T REMEMBER WHAT IT WAS.
12· · · A.· CORRECT.                                                      12· · · Q.· ARE THERE OTHER DEFECTS BESIDES ID -- LET ME
13· · · Q.· I'M GOING TO REFRESH YOUR RECOLLECTION -- OR SEE              13· ·REPHRASE THAT QUESTION.
14· ·IF SOMETHING WOULD REFRESH YOUR RECOLLECTION.                        14· · · · · CAN OTHER DEFECTS BESIDES FAILING TO PUT YOUR ID
15· · · · · CAN YOU PLEASE DESCRIBE WHAT YOU ARE SEEING ON MY             15· ·NUMBER OR HAVING AN ID MISMATCH BE CURED THROUGH THE
16· ·COMPUTER SCREEN.                                                     16· ·CURE PROCESS PROVIDED BY SB 1?
17· · · A.· IT'S AN EXCEL SPREADSHEET THAT HAS THE NOVEMBER               17· · · A.· SURE.· SIGNATURES, MISMATCHED SIGNATURES, NO
18· ·GENERAL ELECTION REJECTION RATES --                                  18· ·SIGNATURES, THINGS LIKE THAT.
19· · · Q.· OKAY.                                                         19· · · Q.· HAD VOTERS UTILIZED THAT CURE PROCESS FOR DEFECTS
20· · · A.· -- BY COUNTY.                                                 20· ·OTHER THAN FAILING TO PUT THEIR ID OR HAVING A
21· · · · · · · ·MS. HUNKER:· AND I'M GOING TO REPRESENT, FOR             21· ·MISMATCHED ID NUMBER?
22· ·THE CLARITY OF THE RECORD, THAT THIS IS THE REJECTION                22· · · A.· YES.
23· ·RATE SPREADSHEET THAT WAS PRODUCED BY THE STATE                      23· · · Q.· DO YOU RECALL TALKING TO COUNSEL ABOUT THE PERSON
24· ·DEFENDANTS AND WILL BE SENT TO THE COURT REPORTER FOR                24· ·YOU ADDED FOR THE CURE PROCESS?
25· ·HER TO INCLUDE IN THE TRANSCRIPT.                                    25· · · A.· YES.




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·1· · · Q.· THAT EMPLOYEE, DOES SHE HANDLE CURES OF BALLOTS         ·1· · · A.· CORRECT.
·2· ·WITH DEFECTS OTHER THAN ID NUMBER REQUIREMENTS?                ·2· · · Q.· SO THOSE VOTERS WOULD NOT HAVE HAD ANY
·3· · · A.· YES.                                                    ·3· ·OPPORTUNITY TO -- THOSE VOTERS WOULD NOT HAVE
·4· · · Q.· DO YOU RECALL TALKING TO COUNSEL ABOUT HOW              ·4· ·EXPERIENCED ANY ID REQUIREMENT PRIOR TO THAT; IS THAT
·5· ·SOMETIMES NOTICE OF DEFECT ARRIVES TOO LATE FOR THE            ·5· ·RIGHT?
·6· ·VOTER TO CURE?                                                 ·6· · · A.· CORRECT.
·7· · · A.· YES.                                                    ·7· · · Q.· AND DO YOU HAVE ANY REASON TO BELIEVE THAT THOSE
·8· · · Q.· WOULD THAT BE TRUE OF VOTERS WHOSE BALLOTS WERE         ·8· ·VOTERS WOULD HAVE LESS DIFFICULT TIMES GOING FORWARD
·9· ·REJECTED FOR REASONS OTHER THAN A MAIL ID NUMBER               ·9· ·WITH THE ID NUMBER REQUIREMENTS?
10· ·REQUIREMENT?                                                   10· · · A.· I MEAN, I WOULD SAY YES BECAUSE IT'S -- IT'S OUT
11· · · A.· YES.                                                    11· ·IN THE COMMON ARENA NOW, YOU KNOW.· WHEN IT FIRST
12· · · Q.· WOULD THAT BE TRUE OF VOTERS WHOSE BALLOTS WERE         12· ·STARTED, IT WAS NEW TO EVERYBODY.· AND NOW THERE'S BEEN
13· ·REJECTED FOR REASONS OTHER THAN THE MAIL ID NUMBER             13· ·SO MUCH DISCUSSION ABOUT IT THAT IT'S NOT ONLY US THAT
14· ·REQUIREMENT BEFORE SB 1?                                       14· ·EDUCATE PEOPLE ON IT.· THE POLITICAL PARTIES EDUCATE
15· · · A.· YES.                                                    15· ·PEOPLE ON IT.· SO YEAH, I THINK THEY'LL HAVE A LESS
16· · · Q.· FOR SOME VOTERS WHO DECIDE TO VOTE BY MAIL, IN          16· ·DIFFICULT TIME.
17· ·YOUR EXPERIENCE, ARE THEY EQUALLY ABLE TO ACCESS VOTING        17· · · Q.· AND WE TALKED -- YOU TALKED BRIEFLY WITH
18· ·IN PERSON?                                                     18· ·MRS. HUNKER ABOUT VOTERS LOSING TRUST IN THE INTEGRITY
19· · · A.· REPEAT IT ONE MORE TIME.                                19· ·OF THE ELECTORAL SYSTEM.
20· · · Q.· SURE.                                                   20· · · · · WHAT IS YOUR -- WHAT IS THE BASIS FOR YOUR
21· · · · · IN YOUR EXPERIENCE, FOR AT LEAST SOME VOTERS WHO        21· ·STATEMENT THAT YOU BELIEVE THAT THAT IS THE CASE?
22· ·VOTE BY MAIL, ARE THEY ABLE TO EQUALLY ACCESS VOTING IN        22· · · A.· SO -- OKAY.· FROM 2009 TO 2016, WE RARELY HEARD
23· ·PERSON?                                                        23· ·ANYTHING THAT QUESTIONED THE INTEGRITY OF THE SYSTEM.
24· · · A.· YES.                                                    24· ·2016, THE QUESTIONING BEGAN.· AND IT WAS AMPLIFIED IN
25· · · Q.· DOES DENTON COUNTY GIVE VOTERS IN DENTON COUNTY         25· ·2020, SO MUCH SO THAT I SPEND PROBABLY THE MAJORITY OF


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·1· ·AMPLE OPPORTUNITIES TO VOTE IN PERSON?                         ·1· ·MY TIME NOW DEBUNKING CONSPIRACY THEORIES OR ANSWERING
·2· · · A.· YES.                                                    ·2· ·PUBLIC INFORMATION REQUESTS RELATED TO CONSPIRACY
·3· · · Q.· IN YOUR EXPERIENCE, DID VOTERS EXHIBIT LESS             ·3· ·THEORIES.· SO THAT'S WHAT I BASE THAT ON, IS HOW MUCH
·4· ·CONFUSION ABOUT SB 1'S MAIL-IN VOTING REQUIREMENT IN           ·4· ·TIME I SPEND ON THOSE MATTERS NOW VERSUS WHAT I USED TO.
·5· ·NOVEMBER OF 2022 COMPARED TO THE MARCH PRIMARY?                ·5· · · Q.· OAK.· AND ARE THOSE CONCERNS RELATED TO ANYTHING
·6· · · A.· YES.                                                    ·6· ·THAT HAPPENED IN DENTON COUNTY OR IN TARRANT COUNTY
·7· · · Q.· IN YOUR EXPERIENCE, IS THERE ALWAYS A LEARNING          ·7· ·WHILE YOU WERE WORKING THERE?
·8· ·CURVE WHEN NEW VOTING REQUIREMENTS ARE INTRODUCED?             ·8· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.
·9· · · A.· ABSOLUTELY.                                             ·9· · · A.· I MEAN, NOT NECESSARILY.· I MEAN, I THINK THEY'RE
10· · · Q.· DO YOU EXPECT THE TREND TO CONTINUE OF VOTERS           10· ·-- THEY TEND TO COME MORE FROM A NATIONAL PERSPECTIVE.
11· ·HAVING LESS CONFUSION ABOUT SB 1'S MAIL-IN VOTING              11· · · Q.· (BY MS. YUN)· OKAY.· DID THE IMPLEMENTATION OF
12· ·REQUIREMENTS?                                                  12· ·SB 1'S ID REQUIREMENTS DO ANYTHING TO THOSE -- THE
13· · · A.· YES.                                                    13· ·AMOUNT OF THE CONSPIRACY THEORIES OR OTHER
14· · · · · · · ·MS. HUNKER:· NO FURTHER QUESTIONS.· I PASS         14· ·MISINFORMATION OUT THERE ABOUT THE INTEGRITY OF THE
15· ·THE WITNESS.                                                   15· ·SYSTEM?
16· · · · · · · · · ·FURTHER EXAMINATION                            16· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.
17· ·BY MS. YUN:                                                    17· · · A.· I THINK IT MAY HAVE SLIGHTLY LESSENED THE
18· · · Q.· JUST A FEW FOLLOW-UP QUESTIONS BASED ON WHAT YOU 18· ·CONSPIRACY THEORIES AROUND MAIL BALLOTS.· THERE'S
19· ·JUST TESTIFIED.                                                19· ·CERTAINLY BEEN NOTHING ABOUT VOTING SYSTEMS, THE
20· · · · · YOU JUST TESTIFIED THAT YOU BELIEVE THAT THERE          20· ·CONSPIRACY THEORIES SURROUNDING VOTING SYSTEMS.
21· ·WILL BE LESS CONFUSION GOING FORWARD ABOUT ID NUMBER           21· · · Q.· (BY MS. YUN)· DID YOUR OFFICE IN DENTON COUNTY OR
22· ·REQUIREMENTS.                                                  22· ·TARRANT COUNTY WHEN YOU WERE THERE DO ANYTHING TO
23· · · · · SO FOR EACH ELECTION, THERE WILL BE NEW VOTERS          23· ·ADDRESS THIS LOSS IN -- LOSS OF TRUST IN THE ELECTORAL
24· ·WHO QUALIFY TO VOTE BY MAIL FOR THE FIRST TIME; IS THAT        24· ·PROCESS?
25· ·RIGHT?                                                         25· · · A.· WE HAVE.· I MEAN, WE'VE -- I'VE MET WITH THESE




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·1· ·GROUPS TO ADDRESS THEIR CONCERNS.· I'VE INVITED PEOPLE               ·1· ·THAT WHAT --
·2· ·TO OUR OFFICE TO SHOW THEM HOW THINGS REALLY WORK VERSUS             ·2· · · Q.· SIMPLE TO SATISFY OTHER VOTERS' CONCERN ABOUT THE
·3· ·HOW THEY THINK THEY WORK.· AND I'VE DONE THAT AS                     ·3· ·INTEGRITY OF THE SYSTEM.
·4· ·RECENTLY AS YESTERDAY.                                               ·4· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.
·5· · · Q.· ARE THESE CONCERNS THAT YOU'VE BEEN -- YOU'RE NOW             ·5· · · A.· I MEAN, HONESTLY, THAT'S A LITTLE BROAD.· BUT I
·6· ·SPENDING THE MAJORITY OF YOUR TIME ADDRESSING, ARE THESE             ·6· ·THINK, SURE, THERE WOULD BE SOME THINGS I WOULD NOT
·7· ·SPECIFICALLY ABOUT -- HOW MUCH OF IT IS ABOUT MAIL                   ·7· ·AGREE WITH.· I'M SURE SOMEBODY COULD THINK OF SOMETHING
·8· ·VOTING VERSUS SOMETHING ELSE?                                        ·8· ·I WOULDN'T AGREE WITH TO REJECT -- IF I UNDERSTAND WHAT
·9· · · A.· IT'S PROBABLY 10 PERCENT MAIL VOTING, 90 PERCENT              ·9· ·YOU'RE ASKING.
10· ·VOTING SYSTEM.                                                       10· · · Q.· (BY MS. YUN)· YEAH.· I GUESS I'M TALKING A LITTLE
11· · · Q.· AND DO YOU BELIEVE THAT THE ID REQUIREMENTS FROM              11· ·BIT MORE GENERALLY THAT -- WHETHER IT WOULD BE -- YOU
12· ·SB 1 ADDRESS THOSE CONCERNS?                                         12· ·WOULD BE IN FAVOR OF A POLICY OR A MEASURE THAT REJECTS
13· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.                            13· ·VALID VOTES THAT IS IMPLEMENTED SIMPLY IN ORDER TO ALLAY
14· · · Q.· (BY MS. YUN)· THE 10 PERCENT CONCERNS.                        14· ·CONCERNS ABOUT THE INTEGRITY OF THE VOTING PROCESS.
15· · · A.· I THINK THEY HELP.· BUT TOTALLY, NO.· I DON'T                 15· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.
16· ·THINK ANYTHING YOU DO WILL TOTALLY CONVINCE SOME PEOPLE.             16· · · A.· YEAH.· I MEAN, MY GUT REACTION IS I WOULDN'T BE
17· · · Q.· SO IF YOU WERE TO SORT OF QUANTIFY HOW MUCH IT                17· ·FOR THAT, BUT IT'S HARD TO SAY WITH THAT SPECIFIC
18· ·HELPS, WHAT WOULD YOU SAY?                                           18· ·EXAMPLE.
19· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.                            19· · · Q.· (BY MS. YUN)· SURE.
20· · · A.· I MEAN, THAT'S -- OF THE 10 PERCENT THAT'S A BAD              20· · · · · WOULD YOU AGREE -- WOULD IT BE A FAIR STATEMENT
21· ·MAIL BALLOTS, IT PROBABLY HELPS HALF OF THOSE PEOPLE                 21· ·OR WOULD YOU AGREE WITH THE STATEMENT THAT SAYS IT'S A
22· ·MAYBE.                                                               22· ·BALANCING THAT YOU WOULD CONSIDER WHETHER A MEASURE HAS
23· · · Q.· (BY MS. YUN)· SO DO YOU -- SO YOU TELL THESE                  23· ·NEGATIVE IMPACTS ON VALID VOTES VERSUS THE STRENGTHENING
24· ·FOLKS ABOUT THE MAIL BALLOT -- THE MAIL VOTING ID                    24· ·OF VOTERS' FAITH IN THE SYSTEM?
25· ·REQUIREMENTS?                                                        25· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.


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·1· · · A.· I DO.                                                         ·1· · · A.· I THINK THAT'S FAIR.· IT IS A BALANCE.· SO YOU'VE
·2· · · Q.· AND YOU'D SAY HALF OF THOSE VOTERS WOULD SAY                  ·2· ·GOT -- NOT ME, THE LEGISLATURE HAS TO PICK THEIR -- YOU
·3· ·LIKE, "OH, OKAY.· THAT WOULD PROBABLY -- THAT ALLAYS MY              ·3· ·KNOW, WHAT THEY THINK IS A FAIR BALANCE.
·4· ·CONCERN"?                                                            ·4· · · Q.· (BY MS. YUN)· YOU SPOKE WITH MS. HUNKER ABOUT
·5· · · A.· IT'S JUST A GUESS.· I MEAN, THEY PROBABLY DON'T               ·5· ·VERY CLOSE ELECTIONS THAT YOU HAVE OVERSEEN.
·6· ·RELAY THAT IN THE MANNER YOU JUST DID.· IT'S JUST --                 ·6· · · A.· UH-HUH.
·7· ·IT'S JUST A GUESS.                                                   ·7· · · Q.· AND REJECTING A VALID VOTE CAN ALSO IMPACT THE
·8· · · Q.· OKAY.· SO YOU TESTIFIED EARLIER, I BELIEVE -- AND             ·8· ·OUTCOME OF SUCH CLOSE ELECTIONS; RIGHT?
·9· ·CORRECT ME IF I'M WRONG -- THAT THERE'S SOME MEASURES                ·9· · · A.· CORRECT.
10· ·THAT -- THAT WE SHOULD IMPLEMENT MEASURES THAT                       10· · · Q.· SO, FOR EXAMPLE, IF A BALLOT WHOSE ID NUMBER DID
11· ·STRENGTHEN VOTERS' CONFIDENCE IN THE SYSTEM.                         11· ·NOT MATCH THE VOTER REGISTRATION RECORD, BUT IT IS A
12· · · · · IS THAT -- DO YOU RECALL THAT?                                12· ·VALID ID NUMBER AND IF THAT VOTE DID NOT COUNT, THE FACT
13· · · A.· I DO.                                                         13· ·THAT IT DID NOT COUNT WOULD IMPACT A VERY CLOSE
14· · · Q.· YEAH.                                                         14· ·ELECTION, CORRECT?
15· · · · · IS THERE ANY LIMIT TO WHAT YOU WOULD DO TO                    15· · · · · · · ·MS. HUNKER:· OBJECTION; FORM, INCOMPLETE
16· ·STRENGTHEN VOTERS' CONFIDENCE IN THE INTEGRITY OF THE                16· ·HYPOTHETICAL.
17· ·SYSTEM?                                                              17· · · A.· YES.
18· · · A.· I'M SURE THERE IS, BUT I DON'T KNOW WHAT THAT                 18· · · · · · · ·MS. YUN:· OKAY.· JUST A SECOND.
19· ·WOULD BE, THE SPECIFIC EXAMPLE.                                      19· · · · · · · ·I THINK THAT'S IT.· DID YOU HAVE ANY?
20· · · Q.· SURE.                                                         20· · · · · · · ·MS. HUNKER:· YEAH, JUST A VERY SMALL NUMBER.
21· · · · · WOULD YOU BE COMFORTABLE -- OR WOULD YOU BE IN                21· · · · · · · ·MS. YUN:· OKAY.
22· ·FAVOR OF IMPLEMENTING MEASURES THAT REJECT BALLOT VOTES              22· · · · · · · · · ·FURTHER EXAMINATION
23· ·IN ORDER TO SIMPLY SATISFY SOME VOTERS' CONCERNS ABOUT               23· ·BY MS. HUNKER:
24· ·THE INTEGRITY OF THE SYSTEM?                                         24· · · Q.· HAS SB 1 REDUCED CONCERNS AMONG VOTERS ABOUT MAIL
25· · · A.· I MEAN, SIMPLY TO SATISFY SOMEBODY'S DESIRE?· IS              25· ·VOTING FRAUD?




                                                                                                                                                     YVer1f
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Frank Phillips                                                                                                    March 31, 2023
                                                                                                                Pages 114 to 117
                                                            Page 114                                                         Page 116
·1· · · A.· I WOULD SAY YES.                                           ·1· · · · · · C H A N G E S· A N D· S I G N A T U R E
·2· · · Q.· DO YOU RECALL EARLY IN THE DEPOSITION MENTIONING           ·2· ·WITNESS NAME:· FRANK PHILLIPS
·3· ·THAT YOU THOUGHT THAT MAIL VOTING WAS VULNERABLE TO               ·3· ·DATE OF DEPOSITION:· MARCH 31, 2023

·4· ·FRAUD?                                                            ·4
                                                                       · · · · PLEASE INDICATE CHANGES ON THIS SHEET OF PAPER,
·5· · · A.· YES.
                                                                       ·5· ·GIVING THE CHANGE, PAGE NUMBER, LINE NUMBER, AND REASON
·6· · · Q.· HOW IS MAIL VOTING VULNERABLE TO FRAUD?
                                                                       · · ·FOR THE CHANGE.· PLEASE SIGN EACH PAGE OF CHANGES.
·7· · · A.· BECAUSE IN ANY OTHER TYPE OF VOTING, THAT BALLOT
                                                                       ·6
·8· ·REMAINS UNDER OUR CONTROL, EITHER OUR CONTROL AT THE
                                                                       ·7· · ·PAGE/LINE· · · ·CORRECTION· · · · REASON FOR CHANGE
·9· ·OFFICE OR THE POLL WORKERS' CONTROL OUT IN THE FIELD.
                                                                       ·8· ·________________________________________________________
10· · · · · THAT DOESN'T HAPPEN WITH MAIL BALLOTS.· ONCE THAT          ·9· ·________________________________________________________
11· ·BALLOT IS MAILED, I DON'T KNOW WHAT HAPPENS TO IT. I              10· ·________________________________________________________
12· ·DON'T KNOW WHO RECEIVES IT, WHO INTERCEPTS IT, WHO GOT            11· ·________________________________________________________
13· ·IT OUT OF A MAILBOX.· AND SO THAT'S WHY I SAY IT'S                12· ·________________________________________________________
14· ·SUSCEPTIBLE.                                                      13· ·________________________________________________________
15· · · · · SO THERE HAS TO BE A WAY OF DETERMINING WHEN IT            14· ·________________________________________________________
16· ·COMES BACK THAT THE PERSON WHO GOT THE BALLOT AND                 15· ·________________________________________________________

17· ·RETURNED IT IS THE PERSON WHO IT WAS MEANT TO GO TO.              16· ·________________________________________________________
                                                                       17· ·________________________________________________________
18· · · · · · · ·MS. YUN:· I WILL JUST NOTE THAT IT'S OUTSIDE
                                                                       18· ·________________________________________________________
19· ·THE SCOPE OF THE REDIRECT, BUT KEEP GOING.
                                                                       19· ·________________________________________________________
20· · · Q.· (BY MS. HUNKER)· IN YOUR OPINION, DOES SB 1
                                                                       20· ·________________________________________________________
21· ·ADDRESS THAT VULNERABILITY OR SUSCEPTIBILITY?
                                                                       21· ·________________________________________________________
22· · · · · · · ·MS. YUN:· SAME OBJECTION.
                                                                       22· ·________________________________________________________
23· · · A.· YES, IT DEFINITELY HELPS.                                  23· ·________________________________________________________
24· · · · · · · ·MS. HUNKER:· NO FURTHER QUESTIONS.                    24· ·________________________________________________________
25· · · · · · · ·MS. YUN:· OKAY.                                       25· ·________________________________________________________


                                                            Page 115                                                         Page 117
·1· · · · · · · ·THE REPORTER:· ARE WE DONE?                           ·1· · · · · · · · · · · · · ·J U R A T
·2· · · · · · · ·MS. YUN:· YES.                                        ·2· · · · · · · ·I,· · · · · · · · , HAVE READ THE FOREGOING
·3· · · · · · · ·THE REPORTER:· IS ANYONE REQUESTING A COPY ·3· ·DEPOSITION AND HEREBY AFFIX MY SIGNATURE THAT SAME IS
·4· ·OF THE TRANSCRIPT?                                                ·4· ·TRUE AND CORRECT, EXCEPT AS NOTED ABOVE;
·5· · · · · · · ·MS. YUN:· YES.                                        ·5
·6· · · · · · · ·AND, COUNSEL, I'LL JUST REQUEST THAT YOU              ·6
·7· ·COPY ME WHEN YOU E-MAIL THE EXHIBIT.                              ·7· · · · · · · · · · · · · · FRANK PHILLIPS
·8· · · · · · · ·THE REPORTER:· NO ONE ONLINE -- OR THROUGH            ·8
·9· ·ZOOM?                                                             ·9· ·THE STATE OF TEXAS· ·)
10· · · · · · · ·MR. KENNY:· THIS IS STEPHEN KENNY.· I'D LIKE          10· ·COUNTY OF DALLAS· · ·)
11· ·TO REQUEST A COPY OF THE TRANSCRIPT, PLEASE.                      11
12· · · · · · · ·MR. D'ANGELO:· THIS IS WILLIAM D'ANGELO ALSO          12· · · · · BEFORE ME, ______________________, ON THIS DAY
13· ·REQUESTING A COPY OF THE TRANSCRIPT.                              13· ·PERSONALLY APPEARED _____· · ·____, KNOWN TO ME OR
14· · · · · · · ·THE REPORTER:· THE TIME IS NOW 12:40.· THIS           14· ·PROVED TO ME UNDER OATH OR THROUGH IDENTITY CARD OR
15· ·CONCLUDES OUR DEPOSITION FOR TODAY.                               15· ·OTHER DOCUMENT TO BE THE PERSON WHOSE NAME IS SUBSCRIBED
16                                                                     16· ·TO THE FOREGOING INSTRUMENT AND ACKNOWLEDGED TO ME THAT
17                                                                     17· ·THEY EXECUTED THE SAME OF THE PURPOSES AND CONSIDERATION
18· · · · · · · ·(DEPOSITION CONCLUDED AT 12:40 P.M.)                  18· ·THEREIN EXPRESSED.
19                                                                     19· · · · · GIVEN UNDER MY HAND AND SEAL OF OFFICE THIS ____
20                                                                     20· ·DAY OF __________________, 2023.
21                                                                     21
22                                                                     22· · · · · · · · · · · · ·_________________________
23                                                                     23· · · · · · · · · · · · ·NOTARY PUBLIC IN AND FOR
24                                                                     24· · · · · · · · · · · · ·THE STATE OF TEXAS
25                                                                     25
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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                     STATE DEFENDANTS’ BRIEF IN RESPONSE TO
                THE UNITED STATES’ MOTION FOR SUMMARY JUDGMENT



                                APPENDIX S
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                             IN THE UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION


 LA UNION DEL PUEBLO ENTERO, et al.,               §
       Plaintiffs,                                 §
                                                   §
  v.                                               §   Case No. 5:21-cv-844-XR
                                                   §
  GREGORY W. ABBOTT, et al.,                       §
       Defendants.                                 §




                            DECLARATION OF FRANK PHILLIPS

         I, Frank Phillips, pursuant to 28 U.S.C. 1746, am executing this declaration. I declare under

penalty of perjury that the facts stated below are true and correct to the best of my personal

knowledge and belief.

   1. I am over 18 years of age, of sound mind, and otherwise competent to make this
      Declaration. The evidence set out in the foregoing Declaration is based on my personal
      knowledge and experience.

   2. I am the Election Administrator of Denton County, Texas, a position I have held since 2016
      and previously held from 2009 to 2014. From 2014 to 2016, I was the Election
      Administrator of Tarrant County, Texas.

   3. My experience gives me substantial insight into the procedures, administration, and the
      various complexities of conducting elections in Texas.

   4. In 2020, in my capacity as Denton County Election Administrator, I identified irregularities
      that led to an investigation into a major vote harvesting scheme.

   5. That investigation indicated that Zul Mirza Mohamed, a 2020 candidate for Mayor of
      Carrollton, Texas, sought to improperly influence the outcome of that election by engaging
      in an illicit vote harvesting scheme. Mohamed was prosecuted for the fraud and currently
      awaits trial.

   6. All available evidence uncovered in the course of investigation tend to establish that Mr.
      Mohamed forged several dozen applications for ballot by mail (ABBMs), which directed
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       my office to issue mail-ballots to a single post office box that Mr. Mohamed had obtained
       with false identification.

   7. At the time of his arrest, Mr. Mohamed was found stuffing envelopes with applications for
      ballot by mail and appears to have sent fraudulent mail-in ballots prior to his arrest.

   8. If Mr. Mohamed succeeded in his efforts, Denton County voters would have been
      disenfranchised by his scheme—legitimate Denton County voters could have shown up to
      the polls on election day and been told that their ballots had already been cast. As it was,
      multiple voters who Mr. Mohamed impersonated attempted to request their own mail-
      ballot. My office had to confirm with them which ABBM was legitimate.

   9. While my office in Denton County sequestered any fraudulent ABBM or ballot cast by Mr.
      Mohamed, the City of Carrollton spans two other counties (Dallas County and Collin
      County), and I cannot confirm that fraudulent ABBMs or mail-ballots submitted as part of
      Mr. Mohamed’s scheme were appropriately sequestered in those other two counties.

   10. The signature requirements did not adequately prevent or detect the voter fraud scheme
       perpetrated by Mr. Mohamed. Only one county out of the three counties covered by the
       voting district in question detected the fraud scheme. If Mr. Mohamed had not routed so
       many voter registration documents through a single post office box, the attempted fraud
       may have gone undetected.

   11. Based on my experience, SB 1’s mail ballot identification requirements would have helped
       me identify the mail voting fraud scheme initiated by the Carrollton mayoral candidate
       earlier or would have prevented the scheme altogether.

   12. Since SB 1’s identification number requirement has been passed, my office’s standard
       operating procedure has been to use that unique identifier as a reliable way to positively
       identify voters and help ensure that each person casting a ballot is in fact a qualified and
       registered Texas voter.

   13. Because the identification number requirement was not in place in 2020, it was
       significantly easier for Mr. Mohamed to complete fraudulent ABBMs and actually receive
       illegitimate mail-ballots.



Executed in Denton County on the 21st day of June, 2023.




                                                    Frank Phillips
                                                    Denton County Election Administrator
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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                     STATE DEFENDANTS’ BRIEF IN RESPONSE TO
                THE UNITED STATES’ MOTION FOR SUMMARY JUDGMENT



                                APPENDIX T
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               Transcript of the Testimony of
                          Yvonne Ramon


                                 Date:
                            April 21, 2022



                                Case:
LA UNION DEL PUEBLO ENTERO vs GREGORY W. ABBOTT
      Case 5:21-cv-00844-XR     Document 645-4    Filed 06/24/23   Page 33 of 162
   Yvonne Ramon                                                              April 21, 2022
                                                                                          ·


·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION

·3· LA UNION DEL PUEBLO ENTERO,· ·)(
· · ET AL.,· · · · · · · · · · · ·)(
·4· · · · · · PLAINTIFFS,· · · · ·)(
· · · · · · · · · · · · · · · · · )(
·5· VS.· · · · · · · · · · · · · ·)(· ·CASE NO.
· · · · · · · · · · · · · · · · · )(· ·5:21-cv-844-XR
·6· GREGORY W. ABBOTT, ET AL.,· · )(
· · · · · · · DEFENDANTS.· · · · ·)(
·7· ___________________________· ·__· ·_____________________

·8· OCA-GREATER HOUSTON, ET· · · ·)(
· · AL.,· · · · · · · · · · · · · )(
·9· · · · · · PLAINTIFFS,· · · · ·)(· ·CASE NO.
· · · · · · · · · · · · · · · · · )(· ·1:21-cv-780-XR
10· VS.· · · · · · · · · · · · · ·)(
· · · · · · · · · · · · · · · · · )(
11· JOHN SCOTT, ET AL.,· · · · · ·)(
· · · · · · · DEFENDANTS.· · · · ·)(
12· ___________________________· ·__· ·_____________________
· · · · · · · · · · · · · · · · · )(
13· HOUSTON JUSTICE, ET AL.,· · · )(
· · · · · · · PLAINTIFFS,· · · · ·)(
14· · · · · · · · · · · · · · · · )(· ·CASE NO.
· · VS.· · · · · · · · · · · · · ·)(· ·5:21-cv-848-XR
15· · · · · · · · · · · · · · · · )(
· · GREGORY WAYNE ABBOTT, ET· · · )(
16· AL.,· · · · · · · · · · · · · )(
· · · · · · · DEFENDANTS.· · · · ·)(
17· ___________________________· ·__· ·_____________________
· · · · · · · · · · · · · · · · · )(
18· LULAC TEXAS, ET AL.,· · · · · )(
· · · · · · · PLAINTIFFS,· · · · ·)(
19· · · · · · · · · · · · · · · · )(· ·CASE NO.
· · VS.· · · · · · · · · · · · · ·)(· ·1:21-cv-0786-XR
20· · · · · · · · · · · · · · · · )(
· · JOHN SCOTT, ET AL.,· · · · · ·)(
21· · · · · · DEFENDANTS.· · · · ·)(
· · ___________________________· ·__· ·_____________________
22· · · · · · · · · · · · · · · · )(
· · MI FAMILIA VOTA, ET AL.,· · · )(
23· · · · · · PLAINTIFFS,· · · · ·)(
· · · · · · · · · · · · · · · · · )(· ·CASE No.
24· VS.· · · · · · · · · · · · · ·)(· ·5:21-cv-0920-XR
· · · · · · · · · · · · · · · · · )(
25· GREG ABBOTT, ET AL.,· · · · · )(
· · · · · · · DEFENDANTS.· · · · ·)(


   Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900      San Antonio, Texas 78232
   210-697-3400                                                                210-697-3408
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·1· ___________________________· ·__· ·_____________________   ·1· Conference)
· · · · · · · · · · · · · · · · · )(                           · · · · ·Julia Longoria (Zoom Video Conference)
·2· UNITED STATES OF AMERICA,· · ·)(                           ·2· · · ·Knychelle Passmore, DOJ (Zoom Video Conference)
· · · · · · · PLAINTIFF,· · · · · )(                           · · · · ·Lisa Cubriel, Bexar County (Zoom Video Conference)
·3· · · · · · · · · · · · · · · · )(· ·CASE NO.
                                                               ·3· · · ·Tony Nelson, Travis County (Zoom Video Conference)
· · VS.· · · · · · · · · · · · · ·)(· ·5:21-cv-1085-XR
                                                               ·4
·4· · · · · · · · · · · · · · · · )(
                                                               ·5
· · THE STATE OF TEXAS, ET AL.,· ·)(
·5· · · · · · DEFENDANTS.· · · · ·)(                           ·6
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·6                                                             ·8
·7· · · · · · ·-----------------------------------             ·9
·8· · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF              10
·9· · · · · · · · · · · · YVONNE RAMON                         11
10· · · · · · · · · · · ·APRIL 21, 2022
                                                               12
11· · · · · · ·-----------------------------------
                                                               13
12· · · · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF YVONNE
                                                               14
13· RAMON, produced as a witness at the instance of the
14· STATE DEFENDANT, and duly sworn, was taken in the          15
15· above-styled and numbered cause on April 21, 2022, from    16
16· 10:06 a.m. to 4:26 p.m., before Maribel Hernandez, CSR     17
17· in and for the State of Texas, reported by machine         18
18· shorthand at the Offices of Texas Attorney General,        19
19· Child Support Division, Pharr Regional Office, 3508        20
20· North Jackson Road, Pharr, Texas, pursuant to the
                                                               21
21· Federal Rules of Civil Procedure and the provisions
                                                               22
22· stated on the record or attached hereto.
                                                               23
23
24                                                             24
25                                                             25


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                                                                                                              Pages 150 to 153
                                                        Page 150                                                              Page 152
·1· has changed, so -- but prior to Senate Bill 1.                 ·1· · · ·Q.· Okay.· Do you have any idea of the number of
·2· · · · · · · · As soon as the second week of early vote,        ·2· mail ballots that were cured through the process that
·3· so we bring them in because there are various processes        ·3· you put in place under Senate Bill 1?
·4· that I can speak to if you want me to after this.· So          ·4· · · ·A.· I do.
·5· they start to meet early enough, and -- and then they          ·5· · · ·Q.· What's the number?
·6· make the determination.· It's the early voting ballot          ·6· · · ·A.· 95.
·7· board, not my office, that makes the determination to          ·7· · · ·Q.· Okay.· So it's 95 voters that prior to Senate
·8· accept or reject a carrier envelope with the ballot that       ·8· Bill 1 would have their ballots rejected?
·9· is inside.                                                     ·9· · · ·A.· Yes.
10· · · ·Q.· Have you ever served as a member of a early           10· · · ·Q.· Okay.· To your understanding, what is the
11· voting ballot board?                                           11· method for matching identification numbers on a carrier
12· · · ·A.· I have not.                                           12· envelope at a ballot -- a mail ballot?
13· · · ·Q.· Have you ever witnessed an early voting ballot        13· · · ·A.· So the process has changed from when senate
14· board processing mail-in ballots?                              14· bill was enacted on December the 2nd to now.
15· · · ·A.· When I started, I did, and as per the Election        15· · · ·Q.· Well -- well, let's start with the before time
16· Code, I am not involved.· It is the early voting ballot        16· if we can.· So can you walk the Court through the
17· board, the members who are part of the ballot board that       17· process for examining a mail ballot by the early voting
18· make these determinations, not mine.· So I have a person       18· ballot board prior to the passage of Senate Bill 1?
19· who is in charge of and over -- and helping in                 19· · · ·A.· So the -- the process is quite extensive
20· overseeing because the law does allow a tabulator, is in       20· because the law requires that once the application has
21· a sense it's called because we have to help them.              21· been reviewed and deemed to be a qualified voter to vote
22· But -- but basically, that's the extent of our                 22· by mail, there is -- and I don't want to call it a kit,
23· involvement.                                                   23· but there -- there are envelopes that are created,
24· · · ·Q.· Does the Hidalgo County Elections                     24· pocket envelopes that now hold that application in place
25· Administrator's office assist in any way with cure             25· while the carrier envelope, which has various pieces, is

                                                     Page 151                                                              Page 153
·1· process for --                                                 ·1· sent to the voter.
·2· · · ·A.· Yes.                                                  ·2· · · · · · · · Then when that carrier envelope is
·3· · · ·Q.· -- carrier envelopes?                                 ·3· returned, then it's matched up with the application,
·4· · · ·A.· Yes, we do.· When the ballot board has advised        ·4· because prior to Senate Bill 1, what needed to be
·5· us that there is a ballot to be cured, then we do create       ·5· matched were the signatures, the signatures on the
·6· a list and that voter comes to our office, and we then         ·6· application and the signature on the back of the carrier
·7· set the process for curing and assisting the voter to          ·7· envelope.
·8· cure the ballot, and then that ballot carrier/envelope         ·8· · · ·Q.· Now, let's talk about that for a moment.· So
·9· is returned to ballot board.                                   ·9· prior to Senate Bill 1, the only way to marry up an
10· · · ·Q.· So you do have a process in place to cure             10· application and a ballot was by looking at the
11· defective mail ballots?                                        11· signature, right?
12· · · ·A.· Yes.                                                  12· · · ·A.· Yes.
13· · · ·Q.· All right.· Have you used that process prior to       13· · · ·Q.· Okay.· Do you know if Hidalgo County had ever
14· Senate Bill 1?                                                 14· been sued over the signature match requirements prior to
15· · · ·A.· No.· There was no curing of the -- of the             15· passage of Senate Bill 1?
16· carrier envelope.· Once it's with ballot board, that --        16· · · ·A.· Not to my knowledge.
17· those laws were completely different from now.                 17· · · ·Q.· Okay.· Let me ask you, in -- in your opinion,
18· · · ·Q.· And so since Senate Bill 1, you don't have this       18· do you think the signature match is the best way to
19· cure process?                                                  19· match ballots and applications?
20· · · ·A.· Yes.                                                  20· · · · · · · · MR. WHITE:· Objection; form.
21· · · ·Q.· Have you used the cure process since the              21· · · · · · · · MS. RAMIREZ:· Object to form.
22· passage of Senate Bill 1?                                      22· · · ·A.· It's my opinion, not the law, but I don't
23· · · ·A.· Yes.                                                  23· believe it is.· I -- I always have wanted there to be a
24· · · ·Q.· Was it effective in your opinion?                     24· new signature on file every so many years.· I don't know
25· · · ·A.· I believe for being the first time it was, yes.       25· what that length of time would be, but we see the


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·1· elderly especially that registered at a young age whose           ·1· which is called Team, and they work with DPS directly
·2· signature is no longer the same signature.                        ·2· and they upload to Team, but we had to work out to the
·3· · · · · · · · Mine isn't the same signature now that              ·3· process of also uploading to the offline counties.
·4· they're voting by mail.· So that in and of itself was a           ·4· · · ·Q.· Well, let's explain to the court what you mean
·5· difficult process sometimes.                                      ·5· by offline county.· So can you describe what that term
·6· · · ·Q.· (BY MR. HUDSON)· Okay.· Now, under Senate Bill           ·6· means, offline --
·7· 1, you have the signature, but you also have the                  ·7· · · ·A.· Yes.
·8· alternative of the identification numbers, right?                 ·8· · · ·Q.· -- so that the judge understands?
·9· · · ·A.· Yes.                                                     ·9· · · ·A.· Yes.· So as I mentioned, the official voter
10· · · ·Q.· Assuming that somebody doesn't get a second              10· registration database is called Team, and it is managed
11· driver's license, are they going to have the same                 11· by the Secretary of State's office.· They have a whole
12· driver's license number throughout their voting history           12· department on this.
13· in Hidalgo County?                                                13· · · · · · · · So when we are an offline county, and if
14· · · · · · · · MS. RAMIREZ:· Object to form.                       14· this was before my time that I came in, we were already
15· · · ·A.· Yes.                                                     15· deemed an offline county.· Apparently at that time, the
16· · · ·Q.· (BY MR. HUDSON)· What about Social Security              16· Secretary of State's team division was not strong enough
17· numbers?· Are you aware of anybody getting a different            17· to handle all 254 counties.
18· Social Security number over the course of their                   18· · · · · · · · So the larger counties broke away and, in
19· lifetime?                                                         19· fact, we pay for a voter registration vendor while Team
20· · · ·A.· I am not aware.· I don't know that process.              20· is still providing that service to the counties that are
21· · · ·Q.· Okay.· So if someone were, for instance, to use          21· with them, I believe at no cost still.· I'm not sure
22· a Social Security number as opposed to a signature, in            22· because I'm not an online county.
23· your experience and in your opinion, you would assume             23· · · · · · · · Regardless, every day we have to submit to
24· that that Social Security number belonged to the person           24· the State whatever has been processed.· So every day
25· who used it, right?                                               25· there is an upload to the State, and we work very hard

                                                           Page 155                                                             Page 157
·1· · · ·A.· Yes.                                                     ·1· at synchronizing our data so that both Team and our
·2· · · ·Q.· Okay.· Do you think that that's a more                   ·2· vems, is our vendor under VOTEC, databases are
·3· effective way to match ballots and applications?                  ·3· synchronized and the same.
·4· · · · · · · · MR. WHITE:· Objection; form.                        ·4· · · ·Q.· Okay.· So that it's clear, when you say
·5· · · · · · · · MS. RAMIREZ:· Object to form.                       ·5· offline, what you're referring to is your offline from
·6· · · ·A.· It is effective.· It doesn't -- this Senate              ·6· the Teams database?
·7· Bill 1 does not exclude the signature, because if there           ·7· · · ·A.· Yes.· And we -- they, that are online, actually
·8· is no signature on that carrier envelope, it is also              ·8· go into the team portal and set up their election.· We
·9· rejected.                                                         ·9· also do that, but as an upload --
10· · · ·Q.· (BY MR. HUDSON)· Uh-huh.                                 10· · · ·Q.· Okay.
11· · · ·A.· But it is not the bate -- primary basis for the          11· · · ·A.· -- when it comes to voter records.
12· acceptance of that carrier envelope.                              12· · · ·Q.· Now, the third-party vendor that Hidalgo County
13· · · ·Q.· Okay.· Do you think that the identification              13· uses to manage its voter registration information, does
14· number system is superior to the signature match system?          14· that synchronize with the Team database operated by the
15· · · · · · · · MR. WHITE:· Objection; form.                        15· Texas Secretary of State?
16· · · ·A.· As we have -- as we have worked with the                 16· · · ·A.· We do.· We utilize their software, but we are
17· Secretary of State to -- to work out all the bumps and            17· the ones that have to synchronize with the state, not
18· bruises along the way, eventually we hope that it will            18· our vendor.
19· be a more effective way.                                          19· · · ·Q.· Okay.
20· · · ·Q.· (BY MR. HUDSON)· Okay.                                   20· · · ·A.· We manage our -- our software.
21· · · ·A.· To begin with, it was difficult.                         21· · · ·Q.· So Hidalgo County has access to the Team
22· · · ·Q.· Okay.· Why was it difficult?                             22· database --
23· · · ·A.· Because -- because not all IDs were in offline           23· · · ·A.· Yes.
24· county, which is a Hidalgo County databases.· The                 24· · · ·Q.· -- to identify voter identification numbers,
25· Secretary of State has the official data -- database,             25· right?


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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                     STATE DEFENDANTS’ BRIEF IN RESPONSE TO
                THE UNITED STATES’ MOTION FOR SUMMARY JUDGMENT



                                APPENDIX U
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                Transcript of the Testimony of
The Office of the Dallas County Elections Administrator


                                  Date:
                             April 29, 2022



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 LA UNION DEL PUEBLO ENTERO vs GREGORY W. ABBOTT
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·1· · · · · · · · UNITED STATES DISTRICT COURT
· · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION
·3· LA UNION DEL PUEBLO ENTERO,)(
· · ET AL.,· · · · · · · · · · )(
·4· · · · · · · · · · · · · · ·)(
· · · · PLAINTIFFS,· · · · · · )(
·5· · · · · · · · · · · · · · ·)(· ·CIVIL ACTION
· · VS.· · · · · · · · · · · · )(· ·NO. SA-21-CV-00844-XR
·6· · · · · · · · · · · · · · ·)(
· · GREGORY W. ABBOTT, ET AL., )(
·7· · · · · · · · · · · · · · ·)(
· · · · · · · · · · · · · · · ·)(
·8· · · DEFENDANTS.· · · · · · )(
· · --------------------------------------------------------
·9
· · · · · · · · VIDEOTAPED AND VIDEOCONFERENCED
10· · · · · · · · · · ·ORAL DEPOSITION OF
· · · · · · · · RIVELINO LOPEZ, TACOMA PHILLIPS
11· · · · · · · · · ·AND MICHAEL SCARPELLO
· · · · · · · · · · · · ·APRIL 29, 2022
12
13· · · · · ·VIDEOTAPED AND VIDEOCONFERENCED ORAL DEPOSITION
14· OF RIVELINO LOPEZ, TACOMA PHILLIPS AND MICHAEL
15· SCARPELLO, produced as witnesses at the instance of the
16· Plaintiff LUPE, and duly sworn, was taken in the
17· above-styled and numbered cause on the 29th day of
18· April, 2022, from 10:47 a.m. to 8:02 p.m., before Holly
19· R. Swinford, CSR in and for the State of Texas, reported
20· by machine shorthand, at the Office of the Dallas
21· Elections Administrator, located at the Records
22· Building, 500 Elm Street, 7th Floor, Room 7Y11, in the
23· City of Dallas, County of Dallas, State of Texas,
24· pursuant to Notice, the Federal Rules, and the
25· provisions stated on the record or attached hereto.

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·6· · · Suite 3550                                             · · · · ·designating topics and witnesses to speak
· · · · Austin, Texas· 78711                                   ·6· · · ·to topics regarding Dallas County Elections
·7· · · (512) 936-2275
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18· · · HIDALGO COUNTY, TEXAS                                  16
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19· · · Edinburg, Texas· 78539                                 18
· · · · (956) 292-7609                                         19
20· · · jacqueline.villareal@da.co.hidalgo.tx.us               20
21                                                             21
· · ALSO PRESENT:· MR. JEREMY ROVNY, VIDEOGRAPHER
22                                                             22
23                                                             23
24                                                             24
25                                                             25

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·1· · · · · · · · · ·P R O C E E D I N G S                          ·1· · · · · · · · MR. STOOL:· I understand.
·2· · · · · · · · THE VIDEOGRAPHER:· Okay.· We are now on           ·2· · · · · · · · MS. PERALES:· Okay.· And then, finally,
·3· record for the video deposition of Michael Scarpello,           ·3· the last thing is that I wanted to note for the record
·4· Tacoma Phillips and Rivelino Lopez on April 29th, 2022,         ·4· that Counsel for Dallas County brought some documents
·5· at 10:47 a.m.· Would Counsel state your appearances for         ·5· with them today to the deposition, which I understand
·6· the record?                                                     ·6· are additional responsive production to a number of
·7· · · · · · · · MS. PERALES:· For Plaintiff LUPE, Nina            ·7· Requests for Production by Plaintiffs.· The documents --
·8· Perales of MALDEF.                                              ·8· and I don't know, there's got to be at least 50 pages
·9· · · · · · · · MR. WHITE:· For -- for the LULAC                  ·9· here -- they are not Bates stamped.
10· Plaintiffs, Graham White of the Elias Law Group.                10· · · · · · · · Is it -- can you clarify on the record
11· · · · · · · · MS. HUNKER:· For the State Defendants,            11· whether you plan or have already sent these in
12· Kathleen Hunker.                                                12· electronic form to Plaintiffs?
13· · · · · · · · MR. STOOL:· For Dallas County, Texas, Ben         13· · · · · · · · MR. STOOL:· They have already been sent in
14· Stool, Assistant District Attorney, Dallas County,              14· electronic form to Plaintiffs this morning.
15· Texas.                                                          15· · · · · · · · MS. PERALES:· And --
16· · · · · · · · MR. SCHUETTE:· And Jason Schuette,                16· · · · · · · · MR. STOOL:· The --
17· Assistant District Attorney.                                    17· · · · · · · · MS. PERALES:· -- can you tell me who the
18· · · · · · · · MS. PERALES:· Before we swear in the              18· sender was because I did not see --
19· witness, I would like to get a couple of agreements on          19· · · · · · · · MR. STOOL:· Barbara Nicholas.
20· the record.· First, Plaintiffs have agreed to waive             20· · · · · · · · MS. PERALES:· Barbara -- Barbara
21· the -- the reading, under Rule 30, by the court                 21· Nicholas --
22· reporter.                                                       22· · · · · · · · MR. STOOL:· Yes.
23· · · · · · · · Defense Counsel, do you have any -- do you        23· · · · · · · · MS. PERALES:· -- is the sender?· Okay.
24· also agree to waive that initial reading?                       24· I'll look for that, and --
25· · · · · · · · MR. STOOL:· Dallas County agrees to waive         25· · · · · · · · MR. STOOL:· 9:53 this morning.

                                                           Page 7                                                             Page 9
·1· the reading.                                                    ·1· · · · · · · · MS. PERALES:· Okay.· 9:53 a.m.· And
·2· · · · · · · · MS. HUNKER:· State Defendants agree to            ·2· then --
·3· waive.                                                          ·3· · · · · · · · MS. HUNKER:· The State Defense can confirm
·4· · · · · · · · MS. PERALES:· And the second item I want          ·4· that we received the email at that time.
·5· to address is the order of the witnesses today.                 ·5· · · · · · · · MS. PERALES:· Okay.· Thank you.
·6· · · · · · · · Mr. Stool, you've designated three                ·6· · · · · · · · And then is -- can you give me any
·7· witnesses in response to the Notice of Topics for the           ·7· information on when you plan to produce these documents
·8· Notice of Deposition under Rule 30(b)(6), Michael               ·8· with Bates stamps?· Would that be by the end of the day
·9· Scarpello, Tacoma Phillips and Rivelino Lopez.· And is          ·9· or, more likely, at some other time?
10· it correct to say Mr. Lopez is here.· He's being                10· · · · · · · · MR. STOOL:· No.· I very much hope that it
11· produced first, and it's your plan, then, to provide            11· will be by the end of the day, as a matter of fact, yes.
12· Ms. Phillips and then, at the end, Mr. Scarpello?               12· · · · · · · · MS. PERALES:· Okay.· And just, for the
13· · · · · · · · MR. STOOL:· That is correct.                      13· record -- and you and I have spoken off the record about
14· · · · · · · · MS. PERALES:· All right.· If -- and -- and        14· this -- I'm going to need some time to go through these
15· just for the purpose of the record, it was my plan to           15· documents and decide whether I want to ask questions
16· start with Mr. Scarpello to try to cover as much ground         16· about them.· So that may require us to take either a
17· as possible before having to bring in these additional          17· longer break for lunch off the record or take some other
18· witnesses.· And so, because we are starting with Mr.            18· kind of break.
19· Lopez and                                                       19· · · · · · · · Is there anything else that we should
20· Ms. Phillips, I just want to say on the record, that if         20· discuss on the record before we swear in the witness?
21· we get to Mr. Scarpello and he can't answer something,          21· · · · · · · · MR. STOOL:· I don't think so.· Not from
22· we want to reserve the ability today to bring back              22· Dallas County.
23· either Mr. Lopez or Ms. Phillips to answer those                23· · · · · · · · MS. PERALES:· Okay.· Will you swear in the
24· questions.                                                      24· witness, please?
25· · · · · · · · RIVELINO LOPEZ:· Or whatever.                     25· · · · · · · · THE REPORTER:· Yes.


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·1· · · · · · · · Would you raise your right hand, please?          ·1· understanding and answering accurately?
·2· · · · · ·(Witness sworn by the court reporter.)                 ·2· · · A.· ·No.· I'm ready.
·3· · · · · · · · THE REPORTER:· Thank you.                         ·3· · · Q.· ·Okay.· Thank you.· This is your deposition.
·4· · · · · · · · And statements -- you can put your hand           ·4· You are not noticed for very many topics, so I don't --
·5· down --                                                         ·5· I don't see this going too long, but I want you to know
·6· · · · · · · · THE WITNESS:· Okay.                               ·6· that if you have a need for a break at any time, you are
·7· · · · · · · · THE REPORTER:· Statements by the court            ·7· not my hostage; you can take a break.· The only thing I
·8· reporter, according to Rule 30(b) have been waived by           ·8· ask is that we take the break after you answer my
·9· all parties present.                                            ·9· question.· So if there's a question still out there on
10· · · · · · · · Would Counsel please state any agreements         10· the table, that you answer it before we go on the break.
11· that haven't already been stated on the record, on the          11· · · · · ·Is that all right with you?
12· record.· Just according to the Federal Rules, correct?          12· · · A.· ·Yes.
13· · · · · · · · MS. PERALES:· We have no additional               13· · · Q.· ·All right.· And you're doing a great job of
14· agreements to state.                                            14· answering out loud, but I'm going to remind you that the
15· · · · · · · · THE REPORTER:· Thank you.                         15· court reporter cannot take down head nods or shakes or
16· · · · · · · · MS. PERALES:· Are you ready, Mr. Lopez?           16· shrugs, so will you agree to make your answers out loud?
17· · · · · · · · THE WITNESS:· Oh, yeah.                           17· · · A.· ·Yes.
18· · · · · · · · · · · REVELINO LOPEZ,                             18· · · Q.· ·Thank you.· And then, of course, if you would,
19· having being first duly sworn, testified as follows:            19· wait for me to finish my question before you start your
20· · · · · · · · · · · · EXAMINATION                               20· answer and I'll wait for you to finish your answer
21· BY MS. PERALES:                                                 21· before I start my next question so we don't talk over
22· · · Q.· ·Can you please state your name for the record?         22· each other.· Is that okay?
23· · · A.· ·Rivelino Lopez.                                        23· · · A.· ·Yes.
24· · · Q.· ·Thank you.· My name is Nina Perales, and I             24· · · Q.· ·Thank you.· I'm entitled to your best estimate
25· represent some of the Plaintiffs in this case.· I'm with        25· but I don't want you to guess on anything.

                                                          Page 11                                                               Page 13
·1· the Mexican American Legal Defense and Educational Fund,        ·1· · · · · ·Do you understand that instruction?
·2· MALDEF, and I represent organizations and voters in this        ·2· · · A.· ·Yes.
·3· case who are challenging the law we refer to as SB 1.           ·3· · · Q.· ·Okay.· Thank you.· If you don't understand a
·4· · · A.· ·Okay.                                                  ·4· question, will you please ask me to rephrase it or
·5· · · Q.· ·Have you ever had your deposition taken before?        ·5· repeat it.
·6· · · A.· ·Before February, I had zero.· Now this is my           ·6· · · A.· ·Okay.
·7· third one in the last two months, yeah, so...                   ·7· · · Q.· ·All right.· So I want to make sure if you give
·8· · · Q.· ·Well, then you're an expert.                           ·8· me an answer, that you have a good understanding of what
·9· · · A.· ·Yeah.                                                  ·9· I'm asking.· Okay?
10· · · Q.· ·I'm just going to, quickly, because you are            10· · · A.· ·Okay.
11· experienced, go through some of the ground rules to             11· · · Q.· ·And then, finally, I might use some terms
12· refresh your memory of how we do some of this.                  12· interchangeably.· So, for example, if I use the term
13· · · A.· ·All right.                                             13· "Hispanic" or "Latino," will you understand those two
14· · · Q.· ·Do you understand that you are under oath?             14· terms to mean the same thing for the purpose of this
15· · · A.· ·Yes.                                                   15· deposition?
16· · · Q.· ·And that the testimony that you provide today          16· · · A.· ·Yes.
17· in this deposition is as if you were sitting in court           17· · · Q.· ·And if I use the term "limited English
18· giving that testimony to a Judge?· Do you understand            18· proficient," will you understand, for the purpose of
19· that?                                                           19· this deposition, that I mean that it is a person for
20· · · A.· ·Yes.                                                   20· whom English is not their primary language and they have
21· · · Q.· ·Okay.· Is there anything today that would              21· difficulty communicating in English?
22· prevent you from giving me your full attention and              22· · · A.· ·Okay.· Yes.
23· responding accurately?· For example, are you ill, or are        23· · · Q.· ·All right.· And then if I use the term "ABBM,"
24· you taking any medication that makes your head fuzzy?           24· do you understand that to mean application for ballot by
25· Is there anything that would prevent you from                   25· mail, or is that not a term you're familiar with?


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·1· · · A.· ·Yes, I'm familiar.                                     ·1· highlighted my part.· This whole binder is kind of all
·2· · · Q.· ·Okay.· And would that be any application for           ·2· the reference material from the case.· I haven't really
·3· ballot by mail, annual or just for a single election?           ·3· gone through; but yeah, this is just my -- my stuff
·4· · · A.· ·I just take it as a application; it could be           ·4· (indicating) I brought.
·5· either-or.                                                      ·5· · · Q.· ·Okay.· Thank you.· And when you say "a binder
·6· · · Q.· ·Okay.· Thank you.                                      ·6· of reference material" -- I just want to be sure I'm
·7· · · A.· ·Yes.                                                   ·7· following the rules when I ask you that question.
·8· · · Q.· ·Thank you.                                             ·8· · · · · ·Is -- that's -- can you tell me where those --
·9· · · A.· ·Okay.                                                  ·9· how do -- how did those materials get to you?· How did
10· · · Q.· ·Are the attorneys who are here today for Dallas        10· you get those materials?
11· County, Mr. Stool and Mr. Schuette, are they your               11· · · A.· ·They were on my desk when I walked in this
12· attorneys for this deposition?                                  12· morning, so I'm not sure, yeah, who put it there or --
13· · · A.· ·Yes.                                                   13· · · Q.· ·So you don't know who the source is --
14· · · Q.· ·Okay.· Thank you.· Now, I'm not going to ask           14· · · A.· ·No.
15· you to tell me any conversation or any communication            15· · · Q.· ·-- of that?
16· (indicating) that you had with your attorneys, but I            16· · · A.· ·No.
17· will ask you whether you met with your attorneys to             17· · · Q.· ·Okay.· So we might -- do you know if there's
18· prepare for this deposition.                                    18· anything in there that is going to help you that you
19· · · A.· ·Yes.                                                   19· would refer to it during this deposition?
20· · · Q.· ·Okay.· And for about how long did you meet with        20· · · A.· ·Huh-uh.· My stuff's right here, what I brought.
21· your attorneys, just time?                                      21· · · Q.· ·Oh, okay.
22· · · A.· ·Probably about two hours.                              22· · · A.· ·Yeah.· This is, like, 200 pages (indicating).
23· · · Q.· ·Okay.· Thank you.· Did you talk with anyone to         23· I -- yeah, I didn't have time for all that.
24· prepare for this deposition who is an attorney with the         24· · · Q.· ·You haven't looked at that yet.
25· Texas Attorney General's Office?                                25· · · A.· ·Huh-uh.

                                                        Page 15                                                        Page 17
·1· · · A.· ·No.                                                    ·1· · · Q.· ·So underneath the piece of paper that you said
·2· · · Q.· ·Did you review any information to prepare for          ·2· has your designated topics, it looks like there's
·3· this deposition?                                                ·3· another maybe couple of pieces of paper.
·4· · · A.· ·Yes.                                                   ·4· · · · · ·Can you tell me what those are?
·5· · · Q.· ·Tell me, generally, what you reviewed to               ·5· · · A.· ·Statistical data, early voting counts from a
·6· prepare.                                                        ·6· couple of elections.
·7· · · A.· ·I reviewed the topics that I'm going to be             ·7· · · Q.· ·Okay.· So just straight how many early votes
·8· asked questions on and -- just to prepare.                      ·8· were cast --
·9· · · Q.· ·Okay.· Thank you.· Did you talk to anybody             ·9· · · A.· ·Yes.
10· besides your attorneys to prepare for the deposition?           10· · · Q.· ·-- information?
11· · · A.· ·Yes, we had a get-together, a Zoom call; and it        11· · · A.· ·Uh-huh.
12· was also Ms. Phillips and Mr. Scarpello.                        12· · · Q.· ·Anything in there about whether it was broken
13· · · Q.· ·Okay.· Anybody else besides Ms. Phillips and           13· down by mail ballot or early voting by personal
14· Mr. Scarpello on the Zoom and your attorneys --                 14· appearance, anything like that?
15· · · A.· ·No.                                                    15· · · A.· ·It has -- it's broken down -- it's just for the
16· · · Q.· ·-- if they were there?                                 16· primary election comparison, so it's broken down by
17· · · · · ·Okay.· So here, on my outline (pointing), I            17· party.
18· usually will ask if you brought anything here with you          18· · · Q.· ·Okay.· Okay.· So just the number of votes or
19· that's related to the case, and I do see a little bit of        19· voters who turned out or the number of ballots cast?
20· paperwork there in front of you.                                20· · · A.· ·Right.
21· · · · · ·Can you just show me?· It looks like that --           21· · · Q.· ·Does it break down the means that the voter
22· · · A.· ·Well, this --                                          22· voted, like in-person early or mail?
23· · · Q.· ·-- you've got a little chart there right on top        23· · · A.· ·It breaks down early voting and election day.
24· that has yellow and orange.· What's that?                       24· · · Q.· ·Does it break down early voting by in-person or
25· · · A.· ·This is what I'm going to be asked. I                  25· mail ballot?

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·1· · · A.· ·In-person early voting, in-person election day          ·1· (indicating) from your attorneys at Dallas County.
·2· and then other, which includes mail ballot and                   ·2· · · A.· ·Okay.
·3· provisionals.                                                    ·3· · · Q.· ·And do you see --
·4· · · Q.· ·Okay.· And does that have just data for 2022?           ·4· · · A.· ·Do I need to hold it up or -- so that --
·5· · · A.· ·'22, 2018 and 2014.                                     ·5· · · Q.· ·No.
·6· · · Q.· ·Okay.                                                   ·6· · · A.· ·-- everybody -- oh.
·7· · · A.· ·Yeah.                                                   ·7· · · Q.· ·It's okay --
·8· · · Q.· ·Thank you.· And later on, when we're on a               ·8· · · A.· ·Okay.
·9· break, I'll ask your lawyers if that's been produced to          ·9· · · Q.· ·-- but it's very kind of you to offer.
10· us.· And if it hasn't been produced to us, I'll ask to           10· · · A.· ·Okay.
11· take a copy of that.· Okay?                                      11· · · Q.· ·Do you see that your name is listed on here, on
12· · · A.· ·Okay.                                                   12· the far right column (indicating) next to certain
13· · · Q.· ·And then I'll also ask you some questions about         13· topics?
14· it, too.                                                         14· · · A.· ·Yes.
15· · · A.· ·Okay.                                                   15· · · Q.· ·Okay.· And are you prepared to speak on those
16· · · Q.· ·Okay?                                                   16· topics that your name is associated with?
17· · · · · · · · MS. PERALES:· I'd like to mark this                17· · · A.· ·Yes.
18· Exhibit 1.                                                       18· · · Q.· ·Now, do you understand that because you are
19· · · · · ·(Deposition Exhibit Number 1 marked.)                   19· designated on certain topics, the answers that you give
20· · · · · · · · THE REPORTER:· Would you like me to hand           20· are on behalf of the Dallas County Elections Department?
21· it to him?                                                       21· · · A.· ·Yes.
22· · · · · · · · MS. PERALES:· Yes, please.                         22· · · Q.· ·Tell me your current job title.
23· · · · · · · · THE REPORTER:· Okay.                               23· · · A.· ·Voter Registration Manager.
24· · · · · · · · MS. PERALES:· My arms are not long enough.         24· · · Q.· ·Okay.· How long have you held that position?
25· · · ·(Document handed to the witness and Counsel.)               25· · · A.· ·11 years.

                                                           Page 19                                                           Page 21
·1· · · Q.· ·Mr. Lopez, I have handed you what has been --           ·1· · · Q.· ·And what was your job before you became the
·2· or you -- you have received what has been marked Exhibit         ·2· Voter Registration Manager?
·3· 1 for this deposition.                                           ·3· · · A.· ·I worked with the City of Dallas.
·4· · · · · ·Do you recognize this document?                         ·4· · · Q.· ·And what were you doing there?
·5· · · A.· ·I think I have seen it.· I haven't gone through         ·5· · · A.· ·I was a supervisor at one of the local rec
·6· it; but I have seen it, yes.                                     ·6· centers.
·7· · · Q.· ·Okay.· Do you understand that you're testifying         ·7· · · Q.· ·And where was that rec center?
·8· today in response to this Notice of Deposition?                  ·8· · · A.· ·At Harry Stone Recreation Center.
·9· · · A.· ·Yes.                                                    ·9· · · Q.· ·And what neighborhood is that in?
10· · · Q.· ·Okay.· And if you'll turn with me to Page 9, do         10· · · A.· ·Kind of far East Dallas.
11· you see up at the top it's marked Exhibit A?                     11· · · Q.· ·Okay.· And so you went from that position with
12· · · A.· ·Yes.                                                    12· the City of Dallas to become the Voter Registration
13· · · Q.· ·Okay.· And then if you just look through it,            13· Manager --
14· there are some definitions and then there are some               14· · · A.· ·Uh-huh.
15· topics, some numbered topics that begin on Page 12, but          15· · · Q.· ·-- for Dallas --
16· I will -- yeah.· They begin on Page 12.                          16· · · A.· ·Yes.
17· · · · · ·Do you see those there?                                 17· · · Q.· ·-- County?
18· · · A.· ·Yes.                                                    18· · · A.· ·Yes.
19· · · Q.· ·Okay.                                                   19· · · Q.· ·Okay.· Are you from Dallas originally?
20· · · · · · · · MS. PERALES:· Can we mark this Number 2?           20· · · A.· ·Born and raised, yes.
21· · · · · ·(Deposition Exhibit Number 2 marked.)                   21· · · Q.· ·Where did you go to high school?
22· · · ·(Document handed to the witness and Counsel.)               22· · · A.· ·I lived in Houston about five years, so I did
23· · · Q.· ·And Mr. Lopez, you -- you have been handed what         23· my whole high school career down in Houston at Clear
24· has been marked Deposition Exhibit Number 2, and I'll            24· Creek High School.
25· represent to you that this is a chart that we received           25· · · Q.· ·Okay.· Clear Creek.

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·1· · · A.· ·And then I came back to Dallas.                      ·1· · · Q.· ·-- I understand.
·2· · · Q.· ·Then you came back here?                             ·2· · · · · ·Do you know how many voters in Dallas County
·3· · · A.· ·Uh-huh.                                              ·3· you do not have either a driver's license number or the
·4· · · Q.· ·Did you do any schooling after high school?          ·4· last four of the Social?
·5· · · A.· ·Yes.· I went to Mountain View College for a few      ·5· · · A.· ·It's -- I know 99.46 percent do have a driver's
·6· years and then I transferred over to Dallas Baptist           ·6· license or a Social on record.· So about a half a
·7· University and that's where I graduated.                      ·7· percent of our -- our registered voters.· I guess it
·8· · · Q.· ·Okay.· And you got a bachelor's degree?              ·8· would be close to 70,000.
·9· · · A.· ·Yes.                                                 ·9· · · Q.· ·Do you know how many people only have one
10· · · Q.· ·Have you done any schooling after that?              10· number and not both numbers?
11· · · A.· ·No.                                                  11· · · A.· ·97.13 percent have at least one.
12· · · Q.· ·So, with respect to your current position as         12· · · Q.· ·Have at least one?
13· the Voter Registration Manager, what are your duties?         13· · · A.· ·Uh-huh.
14· · · A.· ·I oversee the voter registration area, and we        14· · · Q.· ·But do you -- can you tell me how many lack
15· maintain voter lists, add and update voter information,       15· both numbers?
16· whether they're changing their address, changing their        16· · · A.· ·Probably close to 70,000.
17· name.· We work with the Secretary of State, uploading         17· · · Q.· ·Okay.· Yes.· I asked that question --
18· files, downloading files, sending voter history over to       18· · · A.· ·Yeah.
19· the Secretary of State, working on mapping, you know,         19· · · Q.· ·-- wrong.· Let me try again.
20· precincts and -- and stuff like that.· So we just --          20· · · · · ·How many of your registered voters only have
21· just maintain all the voters, 1.4 million voters in           21· one number and not a second number?
22· Dallas County.                                                22· · · A.· ·That would be -- I want to say -- well, because
23· · · Q.· ·That's a lot of voters.                              23· 97 percent of them have either a Texas Driver's License
24· · · A.· ·Oh, yeah.                                            24· or --
25· · · Q.· ·Earlier I was telling you that the Bexar County      25· · · Q.· ·Uh-huh.

                                                        Page 23                                                                Page 25
·1· Elections Administrator refers to the big counties as         ·1· · · A.· ·-- an ID.
·2· "the big boys."· Have you heard that before?                  ·2· · · Q.· ·Uh-huh.
·3· · · A.· ·Yes.                                                 ·3· · · A.· ·So, yeah, I'll have to look at that.· I don't
·4· · · Q.· ·Yeah.· Dallas County is one of the big boys,         ·4· know that number off the top of my head.
·5· isn't it?                                                     ·5· · · Q.· ·Okay.· And so what you -- just so you
·6· · · A.· ·Oh, yeah.                                            ·6· understand what I'm getting at, if you have a driver's
·7· · · Q.· ·Yeah.· Are you familiar with the TEAM system?        ·7· license number for me --
·8· · · A.· ·Yes.                                                 ·8· · · A.· ·Uh-huh.
·9· · · Q.· ·Is Dallas County an online county or an offline      ·9· · · Q.· ·-- but you don't have my Social --
10· county?                                                       10· · · A.· ·Right.
11· · · A.· ·Offline.                                             11· · · Q.· ·-- or you have my Social, but you don't have my
12· · · Q.· ·Do you know why Dallas County is an offline          12· driver's license.
13· county?                                                       13· · · · · ·So people for whom you have one number filled
14· · · A.· ·I think the larger counties, it would be too         14· in, but you don't have a second number for them, you
15· much for the State system to handle.· So I guess about        15· would have to go back and try to see how many that were?
16· half the state, especially the larger ones, have their        16· · · A.· ·Uh-huh.
17· own VR database.                                              17· · · Q.· ·Okay.
18· · · Q.· ·Okay.· I'm going to ask these questions just --      18· · · A.· ·Yes.
19· not because I'm going to go into them deeply with you.        19· · · Q.· ·Okay.· And now with respect to TEAM, do you
20· I just want to make sure I understand what you know --        20· have knowledge of whether you received an update from
21· · · A.· ·Okay.                                                21· TEAM -- "you," meaning Dallas County -- received an
22· · · Q.· ·-- about your relationship with the TEAM             22· update for TEAM sometime around December or January that
23· system.· And like I said, I'm not going to go deep, but       23· was from the Secretary of State that went into your
24· I just want to make sure --                                   24· system that had additional ID numbers for your
25· · · A.· ·Okay.                                                25· registered voters?


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·1· · · A.· ·Not in December and January.· On February 22nd,       ·1· · · Q.· ·-- before they start closing precinct-based
·2· we received an import that contained driver's license or       ·2· polling places.
·3· Socials.· And our vendor matched those up, and whatever        ·3· · · · · ·Is that an approach that Dallas County is
·4· voters didn't have a driver's license or Social, they          ·4· taking place, as well; or have you started closing
·5· applied it to their record.                                    ·5· precinct-based in-person polls systematically?
·6· · · Q.· ·And you were able to bring that import in; you        ·6· · · A.· ·Right.· We don't have any precinct-based
·7· didn't have any problems with your data coming in?             ·7· anymore.· We just went straight to vote centers.
·8· · · A.· ·No.                                                   ·8· · · Q.· ·Okay.· So if there's a particular elementary
·9· · · Q.· ·And that was on February 22nd?                        ·9· school, for example, that people know that they -- that
10· · · A.· ·Yes.                                                  10· they historically would vote at, from that
11· · · Q.· ·Okay.· Okay.· Okay.· I'm going to ask you some        11· neighborhood -- let's say they would all go to that
12· questions about the period 2018 to the present.                12· elementary school -- have you started closing those
13· · · A.· ·Okay.                                                 13· types of, you know, polling places and redirecting
14· · · Q.· ·First, let me ask you whether, in 2018, you           14· (indicating) voters to the vote centers that might be
15· used what are sometimes called vote centers or                 15· fewer?
16· countywide polling places.· Let's just start with for          16· · · A.· ·That is currently happening right now.· In
17· early voting.                                                  17· 2019, they decided to keep all polling places open for
18· · · A.· ·Uh-huh.                                               18· vote centers.
19· · · Q.· ·Did you use vote centers or countywide polling        19· · · Q.· ·Uh-huh.
20· places for early voting since 2018?                            20· · · A.· ·So right now, they are in the process of doing
21· · · A.· ·Yes.· Where anybody can vote at any early             21· that --
22· voting location, yes.                                          22· · · Q.· ·Okay.
23· · · Q.· ·Yes.· Do you have a phrase that you use for           23· · · A.· ·-- yes.
24· that here in Dallas?                                           24· · · Q.· ·Got it.· Thank you.· And so for the March 1st,
25· · · A.· ·Well, before we went to vote centers for              25· 2022, primary, all your polling places were vote

                                                       Page 27                                                        Page 29
·1· election day, we just called it early voting, yeah.· So,       ·1· centers; is that correct?
·2· yeah.                                                          ·2· · · A.· ·Correct.
·3· · · Q.· ·Okay.· And so you've mentioned vote centers for       ·3· · · Q.· ·And you expect to do that, as well, for the
·4· election day.                                                  ·4· November 2022 general election?
·5· · · A.· ·Uh-huh.                                               ·5· · · A.· ·Yes.
·6· · · Q.· ·Do you use vote centers for election day now?         ·6· · · Q.· ·Okay.· In -- do you recall -- do you recall the
·7· · · A.· ·Yes.                                                  ·7· hours that you had polling places open in 2018?
·8· · · Q.· ·And can you tell me when you started using vote       ·8· · · A.· ·No.· I'd have to look at the time, but it's --
·9· centers for election day?                                      ·9· it's pretty standard.· Usually the first week's 8:00 to
10· · · A.· ·2019.                                                 10· 5:00; second week, 7:00 to 7:00 and then Saturdays,
11· · · Q.· ·Okay.· Have you closed any precinct polling           11· usually 7:00 to 7:00 and Sundays 12:00 to 6:00.· It's
12· places since you implemented vote centers on election          12· pretty -- that's our pretty standard hours each
13· day?                                                           13· election.
14· · · A.· ·Me, personally (pointing), like --                    14· · · Q.· ·Uh-huh.· Okay.· And did you do anything with
15· · · Q.· ·Dallas County.                                        15· extended hours for voting in 2020?
16· · · A.· ·Oh, Dallas County?                                    16· · · A.· ·They extended an extra week of early voting --
17· · · Q.· ·Yeah.                                                 17· · · Q.· ·Uh-huh.
18· · · A.· ·Yes.· Each election, polling places sometimes         18· · · A.· ·-- so we had an extra week, and every day was
19· have to be closed, yes.                                        19· 7:00 to 7:00.· So they extended -- instead of 8:00 to
20· · · Q.· ·So I know that, for some counties, they are           20· 5:00, it was 7:00 to 7:00 --
21· bringing in vote centers for election day; but they            21· · · Q.· ·Okay.
22· haven't yet started closing or eliminating (indicating)        22· · · A.· ·-- with the exception of Sunday, which was
23· precinct-based polling places.· They are trying to, I          23· still 12:00 to 6:00.
24· think, get the vote center thing in there --                   24· · · Q.· ·Okay.· So for -- we were just talking about
25· · · A.· ·Oh, okay.                                             25· 2020 --

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·1· · · A.· ·(Witness moves head up and down.)                        ·1· duties that are related to the actual casting of
·2· · · Q.· ·-- when you did that.                                    ·2· ballots; is that right?
·3· · · · · ·Have you then, with respect to 2022, for the             ·3· · · A.· ·No.· I stick to voter registration.· So we
·4· March primary, did you keep those same hours as you had           ·4· help -- like, if a judge calls, has a voter that's
·5· in 2020; or did you make any adjustments?                         ·5· having an issue, they can't find them in the poll book,
·6· · · A.· ·No.· Went back to our standard 8:00 to 5:00,             ·6· we look them up and help them.· Like, during early
·7· 7:00 to 7:00.· We did extend the last day of early                ·7· voting, we offer limited ballot process.· Election Day,
·8· voting for the primary to 10:00 o'clock.                          ·8· they offer the provisional process, so we help them,
·9· · · Q.· ·To 10:00 p.m.?                                           ·9· help the judge and the voter through that.
10· · · A.· ·Uh-huh.                                                  10· · · Q.· ·Okay.· And then, as the Voter Registration
11· · · Q.· ·And that was --                                          11· Manager, were you involved in trying to process, for
12· · · A.· ·I believe it was the 25th of February. I                 12· March 2022, people's applications for ballot by mail and
13· believe that was the last day of early voting.                    13· mail ballots to the extent that there was this new
14· · · Q.· ·And why did you extend voting until 10:00 p.m.           14· requirement to match the ID number, that was being
15· on February 25th, 2022?                                           15· provided, to the voter?
16· · · A.· ·It was ordered by the County Judge.· We kind of          16· · · A.· ·No.
17· found out at the last minute.· They let us know, Hey              17· · · Q.· ·You weren't doing any of that matching work?
18· we're staying opened till 10:00.                                  18· · · A.· ·No.· If they -- if the ballot by mail
19· · · · · ·And I don't even know if they advertised it or           19· department gave us a form, we -- like, because it had a
20· whatever.· But yeah, we found out at the last minute, so          20· Statement of Residence, also --
21· we just kept the polls open till 10:00.                           21· · · Q.· ·Uh-huh.
22· · · Q.· ·You asked the poll workers to stay and --                22· · · A.· ·-- on the form.· So if they filled out a form,
23· · · A.· ·Yeah.· We had to send, like, a mass -- our               23· they would give it to us and we would update their
24· ePollbook has a messaging.· So we sent a mass message,            24· information.
25· and we were also calling them, too, so -- to let them             25· · · Q.· ·Okay.· So that's if you had the person at the

                                                        Page 31                                                                 Page 33
·1· know.                                                             ·1· wrong address.
·2· · · Q.· ·Okay.· And do you know if staying open until             ·2· · · · · ·Do you have any knowledge, in March of 2022,
·3· 10:00 p.m. on February 25th afforded voters in Dallas             ·3· this most recent primary election, of voters having to
·4· County an additional opportunity to go to the polls and           ·4· put an ID number, either driver's license or last four
·5· cast their ballot that day?                                       ·5· of the Social, on their application for ballot by mail
·6· · · · · · · · MS. HUNKER:· Objection, form.                       ·6· or on the carrier envelope?
·7· · · A.· ·It did, yes.                                             ·7· · · A.· ·Yes, I knew about that.
·8· · · Q.· ·(By Ms. Perales)· Do you know or do you have a           ·8· · · Q.· ·Okay.
·9· sense of why the County Judge ordered you to stay open            ·9· · · A.· ·Yes.
10· till 10:00 p.m. on the last day?                                  10· · · Q.· ·Were you involved in doing any of the checking
11· · · A.· ·I do not.                                                11· of those numbers or trying to match those numbers to the
12· · · Q.· ·Okay.                                                    12· voter roll?
13· · · A.· ·Can't recall.                                            13· · · A.· ·No, I wasn't.
14· · · Q.· ·All right.· Do you know if there were voters             14· · · Q.· ·Okay.· You've been designated to talk about
15· who were trying to vote mail ballots who were then                15· Dallas County's experience with voters who vote with
16· coming to the polls on that last day, including up till           16· assistance in person from 2018 to the present.
17· 10:00 p.m., to -- to hand drop-off their mail ballots?            17· · · · · ·Do you have knowledge about Dallas County
18· · · · · · · · MS. HUNKER:· Objection to form.                     18· Election's experience with voters who come with another
19· · · A.· ·I don't know.                                            19· person to vote in person, so at the polls?
20· · · Q.· ·(By Ms. Perales)· Okay.· So I have a question            20· · · A.· ·When we were preparing, they asked if we can
21· about your involvement in kind of voting during the               21· pull statistics.· And so I went into our ePollbook, and
22· election days when people are voting.                             22· we -- we can.· We do track that with our new ePollbook,
23· · · · · ·You're the Voter Registration Manager --                 23· our current one.· Before, we weren't tracking it; but I
24· · · A.· ·Uh-huh.                                                  24· was able to pull statistics to show how many people
25· · · Q.· ·-- but it sounds like you've also got some               25· requested assistance.


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·1· · · Q.· ·Uh-huh.· And I just learned yesterday that the           ·1· · · A.· ·All right.
·2· ePollbook can be handy for figuring that information              ·2· · · Q.· ·So since it sounds like you've already run a
·3· out.                                                              ·3· few reports, so you're familiar with how to run these
·4· · · A.· ·Yeah.                                                    ·4· reports, is that right, on the ePollbook?
·5· · · Q.· ·So a couple of questions.· When you say that             ·5· · · A.· ·Yes.
·6· you didn't track it before, what does "before" mean?              ·6· · · Q.· ·Okay.· Can you also get the names of the
·7· · · A.· ·Before we implement our current ePollbook,               ·7· voters?
·8· which is before 2020.                                             ·8· · · A.· ·Yes.· The names are on the report.
·9· · · Q.· ·Okay.· But for -- at least for 2020 onward, you          ·9· · · Q.· ·Okay.· Okay.· So, for example, you could see
10· can run a report that tells you how many voters voted at          10· which voters have a Spanish surname, like Lopez or
11· the polling place with assistance; is that right?                 11· Perales versus another kind of name?
12· · · A.· ·Yes.                                                     12· · · A.· ·Yes.
13· · · Q.· ·And the poll book, the ePollbook is used in the          13· · · Q.· ·Okay.· What is the software that you're using
14· polling places where the people come personally to vote;          14· now that allows you to run the report?
15· is that right?                                                    15· · · A.· ·It's called ExpressPoll Connect, and the vendor
16· · · A.· ·Yes.                                                     16· is ES&S, which is Election Systems & Software.
17· · · Q.· ·Would you have that same information for who             17· · · Q.· ·Have you ever assisted a voter to vote?· Have
18· voted with assistance by mail ballot, where the assistor          18· you ever gone with someone and helped them?
19· signs on the mail ballot --                                       19· · · A.· ·I have not.
20· · · A.· ·I wouldn't have that, no.                                20· · · Q.· ·Okay.· Do you have anyone in your family here
21· · · Q.· ·Okay.· Did you run any reports about how many            21· in Dallas County who uses assistants to vote?
22· voters used assistants in either this most recent 2022            22· · · A.· ·No.
23· or prior elections?                                               23· · · Q.· ·No viejitos?
24· · · A.· ·I did.· I didn't -- I -- I ran the reports to            24· · · A.· ·No.
25· get the numbers.· I wrote the numbers down, but I don't           25· · · Q.· ·Okay.· Does Dallas County -- or from January of

                                                            Page 35                                                            Page 37
·1· have the reports.                                                 ·1· 2018 until now, has Dallas County done any kind of voter
·2· · · Q.· ·Okay.· So I'm going to ask you for the numbers           ·2· registration or voter outreach to specific communities
·3· so you can --                                                     ·3· within Dallas County, either aiming the outreach at
·4· · · A.· ·Okay.                                                    ·4· particular neighborhoods or particular populations,
·5· · · Q.· ·-- tell me them, and then I'm going to ask for           ·5· either voter registration outreach or voter outreach?
·6· the reports, themselves, to be produced because I                 ·6· · · A.· ·Not specifically.· Anytime we've gone out to do
·7· believe that information is responsive to at least one            ·7· voter drives, we go to high schools, we go to colleges,
·8· of our Requests for Production.                                   ·8· college campuses.· If somebody invites us because they
·9· · · A.· ·Okay.                                                    ·9· are having a big event -- it could be in the southern
10· · · Q.· ·Okay.· So tell me the numbers that you have.             10· sector, west side, east, we attend those.· And so we
11· · · A.· ·For this recent primary election, 2022, there            11· don't specifically target one area over the other.
12· was 752 voters requested assistance.· For November 2021,          12· · · Q.· ·Okay.· Have you ever done any special outreach,
13· there was a hundred and thirty.· For June 2021, we had            13· for either registration or voting, to disabled folks in
14· 88.· For May 2021, we had 228.· And for November 2020,            14· the community, any special disability outreach?
15· we had 4,335.· And we had a small run-off election                15· · · A.· ·No.
16· December '21.· We only had one.                                   16· · · Q.· ·Let's talk about immigrants to the United
17· · · Q.· ·That must have been a very small run-off.                17· States.
18· · · A.· ·Yeah.                                                    18· · · · · ·Do you do any voter registration drives outside
19· · · Q.· ·December of 2021.· I'm just trying to think of           19· of naturalization ceremonies?
20· what office would have been in a run-off in December of           20· · · A.· ·No.· We do inside.· We -- we go inside to the
21· 2021, but it must --                                              21· naturalization ceremony.
22· · · A.· ·I --                                                     22· · · Q.· ·Okay.· So --
23· · · Q.· ·-- must have been something special.                     23· · · A.· ·-- so...
24· · · A.· ·Yeah.                                                    24· · · Q.· ·-- somewhere in the building, you set up a
25· · · Q.· ·Okay.· Thank you.                                        25· table.· Is that it?


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·1· · · A.· ·Yes.· We used to, in the past, me and my staff,        ·1· patience with us today.· You are not done, but you
·2· we'd go to -- I mean, a couple of times a week                  ·2· are done with me, and I'm going to pass you along to
·3· sometimes -- and we would register newly citizens.· Now         ·3· Mr. White here.· But I did want to note for the record
·4· we have an Outreach Coordinator that kind of handles            ·4· that, based on our discussion, that the ExpressPoll Pad
·5· that.· She was hired to do that, so she has volunteer           ·5· Connect software can run reports on how many voters
·6· deputy registrars that go out to those locations now.           ·6· voted in person with an assistor, that we believe that
·7· · · Q.· ·Do you have any records on how many people you         ·7· that information is responsive to some of our request
·8· have registered to vote in connection with                      ·8· for production.· And we are happy to continue this
·9· naturalization ceremonies?                                      ·9· conversation, but I want to note for the record that we
10· · · A.· ·I don't.                                               10· believe that the reports that Mr. Lopez is referencing
11· · · Q.· ·Nowhere do you -- do you have, like, something         11· is something that we've asked for in the case, and that
12· in your office that says, okay, for this past year, this        12· Mr. Lopez also suggested there might be records
13· is how many people we registered outside of                     13· maintained by the Outreach Coordinator on voters --
14· naturalization ceremonies, just to --                           14· voter outreach at naturalization ceremonies, which may
15· · · A.· ·Right.                                                 15· also be responsive to our discovery requests.· And I'd
16· · · Q.· ·-- show like how much work you're doing?               16· be happy to sort of pinpoint that for you at a later
17· · · A.· ·Right.· Maybe our Outreach Coordinator would.          17· point, but I want to make sure that I get that on the
18· I just wouldn't have that right now.                            18· record before I pass the witness.
19· · · Q.· ·Okay.· Do you do any outreach for voter                19· · · · · · · · MR. STOOL:· Understood.
20· registration or voting in languages other than English?         20· · · · · · · · MS. PERALES:· And now I pass the witness.
21· · · A.· ·Spanish, yes.· And we just got a third                 21· · · · · · · · MR. STOOL:· All right.
22· language, so I'm sure we'll be doing Vietnamese                 22· · · · · · · · MS. PERALES:· And we're just going to --
23· outreach, as well.                                              23· · · · · · · · MR. WHITE:· Yeah, I'll --
24· · · Q.· ·You're newly covered for Vietnamese, right?            24· · · · · · · · MS. PERALES:· -- hand this microphone to
25· · · A.· ·Yes.                                                   25· Mr. White.

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·1· · · Q.· ·And what's your other language?· You said it's         ·1· · · · · · · · · · · · EXAMINATION
·2· the third, so Spanish, Vietnamese --                            ·2· BY MR. WHITE:
·3· · · A.· ·And English.                                           ·3· · · Q.· ·Mr. Lopez, how are you?
·4· · · Q.· ·Oh.· Okay.· Have you ever done any voter               ·4· · · A.· ·Doing good.
·5· registration or voter outreach in minority neighborhoods        ·5· · · Q.· ·I just have a couple of questions about your
·6· (indicating) specifically, or that just happens                 ·6· testimony earlier about extended hours in voting.
·7· naturally as a result of your regular work?                     ·7· · · · · ·And you testified earlier that polling places
·8· · · A.· ·Right.· It happens --                                  ·8· were open until 10:00 p.m. on February 25th, 2022 --
·9· · · · · · · · MS. HUNKER:· Objection, form.                     ·9· · · A.· ·Yes.
10· · · A.· ·-- naturally.· I mean, if the high school or           10· · · Q.· ·-- is that right?
11· the college is in a minority area, I mean, yes, we're --        11· · · · · ·And was that because of a Court Order?
12· we're there.                                                    12· · · A.· ·Yes.
13· · · Q.· ·(By Ms. Perales)· Okay.· Do you -- do you have         13· · · Q.· ·And do you remember what the reason was for the
14· any involvement in where you choose to locate polling           14· judge ordering the extended voting hours?
15· places for voting?                                              15· · · A.· ·I don't.
16· · · A.· ·I don't.                                               16· · · Q.· ·Okay.· And how late were polling places
17· · · · · · · · MS. PERALES:· I would like to take a              17· supposed to stay open prior to that Court Order?
18· couple of minutes off the record, if I could.                   18· · · A.· ·7:00.
19· · · · · · · · THE VIDEOGRAPHER:· Okay.· We're going off         19· · · Q.· ·Until 7:00 p.m.?
20· the record.· The time is 11:29 a.m.                             20· · · A.· ·Well, If there's no voters in line at 7:00
21· · · · · · · · · · · ·(Break taken.)                             21· o'clock.· But if there's voters, they got to vote.
22· · · · · · · · THE VIDEOGRAPHER:· Okay.· We are back on          22· · · Q.· ·Were you concerned that having polling places
23· the record.· The time is 11:33 a.m.                             23· open until 10:00 p.m. on that day would lead to a voter
24· · · · · · · · MS. PERALES:· Okay.· Before I pass the            24· fraud?
25· witness, Mr. Lopez, I want to thank you for your                25· · · A.· ·No.


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·1· · · Q.· ·Why not?                                                ·1· witness, I guess, to anyone on the Zoom who wants to ask
·2· · · · · · · · MS. HUNKER:· Objection, form.                      ·2· questions remotely --
·3· · · A.· ·I have no reason to believe that, no.                   ·3· · · · · · · · MS. PERALES:· Plaintiffs' side on the
·4· · · Q.· ·(By Mr. White)· Was anyone in your office               ·4· Zoom.
·5· concerned that having the polling places open until              ·5· · · · · · · · MR. WHITE:· -- on the Plaintiffs' side.
·6· 10:00 p.m. would lead to voter fraud?                            ·6· · · · · · · · MS. PERALES:· So I'm not tethered.· Just
·7· · · · · · · · MS. HUNKER:· Objection, form.                      ·7· give me a second to come down the table.
·8· · · A.· ·I can't speak for them, no.                             ·8· · · · · · · · MS. BENDER:· The United States has no
·9· · · Q.· ·(By Mr. White)· Did you hear anyone in your             ·9· questions at this time.· Thank you.
10· office express concerns to you that these extended hours         10· · · · · · · · MS. PERALES:· Thank you.· This is Nina
11· would lead to voter fraud?                                       11· Perales talking to you now.· Is there anybody on the
12· · · A.· ·No.                                                     12· Zoom who has questions for the witness from the
13· · · Q.· ·Did your office receive any complaints from             13· Plaintiffs' side?
14· voters that these extended hours would lead to voter             14· · · · · · · · MS. CAI:· No questions from us at this
15· fraud?                                                           15· time.· Thank you.
16· · · · · · · · MS. HUNKER:· Objection, form.                      16· · · · · · · · THE REPORTER:· And can you identify?
17· · · A.· ·I don't know if we received any complaints.             17· · · · · · · · MS. PERALES:· Yeah.· And just let me know
18· · · Q.· ·(By Mr. White)· Are you aware of any voter              18· who said "No questions for the United States."
19· fraud that occurred during these extended hours on               19· · · · · · · · MS. BENDER:· This is Brady Bender.
20· February 25th?                                                   20· · · · · · · · MS. PERALES:· Brady Bender.
21· · · A.· ·I'm not aware of any.                                   21· · · · · · · · THE REPORTER:· Thank you.
22· · · Q.· ·Do you know how many voters showed up to vote           22· · · · · · · · MS. BENDER:· Yes.
23· during these extended hours on February 25th?                    23· · · · · · · · MS. PERALES:· Thank you so much.· It just
24· · · A.· ·I do not have those numbers.                            24· sounds like --
25· · · Q.· ·Okay.· Do you know if there were particular             25· · · · · · · · MS. BENDER:· Thank you.

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·1· precincts in Dallas County where voters were more likely         ·1· · · · · · · · MS. PERALES:· -- none of the other
·2· to show up during these extended hours on February 25th?         ·2· Plaintiffs have questions.· So I think it's coming
·3· · · A.· ·I don't --                                              ·3· around the table to Ms. Hunker.
·4· · · · · · · · MS. HUNKER:· Objection, form.                      ·4· · · · · · · · · · · · EXAMINATION
·5· · · A.· ·-- know that.                                           ·5· BY MS. HUNKER:
·6· · · Q.· ·Okay.                                                   ·6· · · Q.· ·All right.· Hello, Mr. Lopez.
·7· · · · · · · · THE REPORTER:· I'm sorry.· Okay.· Thank            ·7· · · A.· ·Hello.
·8· you.                                                             ·8· · · Q.· ·It's good seeing you again.
·9· · · Q.· ·(By Mr. White)· As a general matter, are there          ·9· · · A.· ·You, too.
10· voters in Dallas County who struggle to make it to the           10· · · Q.· ·So I have only a handful of questions for you.
11· polls during normal voting hours?                                11· To give you a precursor, my questions are mostly in
12· · · · · · · · MS. HUNKER:· Objection, form.                      12· response to what the Plaintiffs have asked, and so
13· · · A.· ·Repeat the question.                                    13· there's going to be a little bit of jumping around.
14· · · Q.· ·As a general matter, are there voters in Dallas         14· · · · · ·If at any point you get confused by my
15· who struggle to make it to the polls during normal               15· switching subject or I'm not clear, can you please let
16· voting hours?                                                    16· me know?· I am happy to lay either more foundation or to
17· · · · · · · · MS. HUNKER:· Objection, form.                      17· rephrase the question.
18· · · A.· ·I don't know.                                           18· · · A.· ·Okay.
19· · · · · · · · MR. WHITE:· Okay.· I have no further               19· · · Q.· ·Excellent.· So you had spoken about the
20· questions.                                                       20· extended hours on February 25th, 2022; is that correct?
21· · · · · · · · THE REPORTER:· Just a --                           21· · · A.· ·Yes.
22· · · · · · · · MR. WHITE:· And I will pass the --                 22· · · Q.· ·And the extended hours was based off of
23· · · · · · · · THE REPORTER:· Just a second.· Okay.               23· decision from a Court; is that correct?
24· Thank you.                                                       24· · · A.· ·Yes.· The County Judge, yes.
25· · · · · · · · MR. WHITE:· Okay.· Well, I will pass the           25· · · Q.· ·So when you say "a court" and you say "the


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·1· County Judge," are you referring to a judicial action,        ·1· · · A.· ·Yes.
·2· or are you referring to the County Judge acting in his        ·2· · · Q.· ·And you had also discussed the process of
·3· executive capacity in Dallas County?                          ·3· eliminating precincts; is that right?
·4· · · A.· ·The County Judge from the Commissioners Court.       ·4· · · A.· ·Yes.
·5· · · Q.· ·Okay.· So you're referring to the Commissioners      ·5· · · Q.· ·Will precincts be closed in November of 2020
·6· Court made the decision to have extended hours?               ·6· based on the -- let me rephrase that question because I
·7· · · A.· ·Yes.                                                 ·7· used the wrong year.
·8· · · Q.· ·Okay.· So this was not imposed on Dallas             ·8· · · A.· ·Uh-huh.
·9· County.· This was a decision that Dallas County made,         ·9· · · Q.· ·Will precincts be closed in November 2022 based
10· itself; is that correct?                                      10· on the switch to countywide voting in 2019?
11· · · A.· ·Yes.                                                 11· · · A.· ·That is a plan, to close --
12· · · Q.· ·And they did not communicate why they asked for      12· · · Q.· ·Okay.
13· extended hours on February 25th?                              13· · · A.· ·-- those centers, yes.
14· · · A.· ·They may have.· I just don't know that answer.       14· · · Q.· ·Do you know how many?
15· · · Q.· ·And so let me break that question down twice,        15· · · A.· ·I don't have that number yet.
16· just to -- to clarify.                                        16· · · Q.· ·Do you know how many early voting locations
17· · · · · ·You were not aware of the reasons they               17· were available for voters in November 2018?
18· requested extended hours at all during that election; is      18· · · A.· ·I don't know that number.
19· that correct?                                                 19· · · Q.· ·Okay.· What about November 2020?
20· · · A.· ·Correct.                                             20· · · A.· ·I don't have that number either.
21· · · Q.· ·And you do not know why they requested extended      21· · · Q.· ·Okay.· And you wouldn't know the amount of
22· hours on the specific day of February 25th; is that           22· election day locations on either of those years, would
23· correct?                                                      23· you?
24· · · A.· ·Correct.                                             24· · · A.· ·No, not off the top of my head.· No.
25· · · Q.· ·When you extended hours from -- ending at 7:00       25· · · Q.· ·Do you know if they'll be -- let's start with

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·1· moving it to 10:00 p.m., were there any logistical            ·1· early voting -- if it will be the same number or
·2· challenges that you faced with that?                          ·2· approximately the same number of polling locations in
·3· · · A.· ·Not that I'm aware of.                               ·3· the early voting period in November 2022 as there was in
·4· · · Q.· ·And when you're answering this question, are         ·4· November 2018?
·5· you speaking about your specific subdivision within the       ·5· · · A.· ·Approximately, yes, it should be close.
·6· Election Administrator's Office, or are you talking           ·6· · · Q.· ·Okay.· And I'm going to ask the same question
·7· about the Election Administrators as a whole?                 ·7· with respect to November 2020.
·8· · · A.· ·As a whole.                                          ·8· · · · · ·Do you know if this might be approximately the
·9· · · Q.· ·Okay.· And so did you have problems, for             ·9· same number of locations in 2022, November, as there
10· example, securing additional poll watcher- -- poll            10· were in November 2020?
11· workers?                                                      11· · · A.· ·Approximately, yes, should be close.
12· · · A.· ·Not that I'm aware of.                               12· · · Q.· ·And I'm going to ask the same question with
13· · · Q.· ·And did you have any problem securing any            13· respect to Election Day.
14· election judges?                                              14· · · · · ·To your knowledge, are there going to be
15· · · A.· ·Not that I'm aware of.                               15· approximately the same number of polling locations on
16· · · Q.· ·Did you consider hosting 24-hour voting              16· Election Day in November 2022 as there were in November
17· locations during November 2020?                               17· 2020?
18· · · A.· ·No.                                                  18· · · A.· ·No.· It will be less.
19· · · Q.· ·And do you know if your office considered            19· · · Q.· ·And do you know by how much, roughly?
20· hosting extended hours during November 2020 at all?           20· · · A.· ·I don't.
21· · · A.· ·Not that I'm aware of.                               21· · · Q.· ·And what about based on 2018?· Would there be
22· · · Q.· ·So Ms. Perales had mentioned county-wide             22· approximately the same number of polling locations in
23· voting, and you said you had -- Dallas County started         23· November 2022 as there would be -- as there were in
24· county-wide voting on Election Day in 2019; is that           24· '20 -- November 2020?· Let me rephrase that question
25· right?                                                        25· because I completely messed up while stating it.


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·1· · · · · ·Do you know if it will be approximately the              ·1· bring my grandmother in to vote and she's in a
·2· same number of polling locations in November 2022 as              ·2· wheelchair and I helped push her to the polling
·3· there were in November 2018?                                      ·3· location, but then she voted on her own, would she --
·4· · · A.· ·It will be less.                                         ·4· would I have had to sign the poll book?
·5· · · Q.· ·It will be less.                                         ·5· · · · · · · · MR. WHITE:· Objection --
·6· · · A.· ·Yes.                                                     ·6· · · · · · · · MS. PERALES:· Objection --
·7· · · Q.· ·And what was the reason for the decline?                 ·7· · · · · · · · MR. WHITE:· -- form.
·8· · · A.· ·It was -- in 2019, they decided to keep all of           ·8· · · A.· ·No.
·9· them open, when we went to vote centers.· They wanted to          ·9· · · · · · · · THE REPORTER:· I'm sorry.· Thank you.
10· keep every single precinct open.· And then they said              10· · · Q.· ·(By Ms. Hunker)· And so only certain types of
11· after a two-year cycle, they would go down.· They                 11· assistance are marked on the poll book; is that correct?
12· would -- the Commissioners Court would decide on                  12· · · · · · · · MS. PERALES:· Objec- --
13· decreasing the number of locations to save on cost and            13· · · A.· ·Voting assistance.
14· number of poll workers --                                         14· · · · · · · · MS. PERALES:· -- -tion --
15· · · Q.· ·Uh-huh.                                                  15· · · Q.· ·(By Ms. Hunker)· Voting assistance.
16· · · A.· ·-- so...                                                 16· · · · · · · · MS. PERALES:· -- this is --
17· · · Q.· ·And did they have voter input with this, or did          17· · · A.· ·Yes.
18· they open the -- the decision-making process to voter             18· · · · · · · · THE REPORTER:· Sorry.
19· input?                                                            19· · · · · · · · MS. PERALES:· Objection -- hold up --
20· · · A.· ·They opened it up.                                       20· · · · · · · · THE WITNESS:· Okay.
21· · · Q.· ·And so voters were able to voice their concerns          21· · · · · · · · MS. PERALES:· -- for one second --
22· or their support for the initiative?                              22· · · · · · · · THE WITNESS:· Okay.
23· · · A.· ·They have.                                               23· · · · · · · · MS. PERALES:· -- if you would.
24· · · · · · · · MR. WHITE:· Objection to form.                      24· · · · · · · · First, objection, form; second, I want to
25· · · A.· ·They have -- they put a committee together,              25· object that this is outside the scope of the designated

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·1· Vote Center Advisory Committee.                                   ·1· topic of this witness and possibly outside the scope of
·2· · · Q.· ·(By Ms. Hunker)· Do you know if any of the vote          ·2· his knowledge as the Voter Registration Director.
·3· center committees findings or discussions are online?             ·3· · · · · · · · THE REPORTER:· And I didn't hear your
·4· · · A.· ·I don't know if they are online.                         ·4· answer.· Can you say your answer again?· You just said a
·5· · · Q.· ·Now, you had also discussed the ePad or the --           ·5· few words, I know, but I did not hear you.
·6· where you sign in on -- when in-person voting.· And I             ·6· · · · · · · · THE WITNESS:· Yes.
·7· believe you said that that picks up who has requested             ·7· · · · · · · · THE REPORTER:· Thank you.
·8· assistance, all for the last few years; is that right?            ·8· · · Q.· ·(By Ms. Hunker)· And so let me ask the question
·9· · · A.· ·Yes.                                                     ·9· again because I actually lost my place of thought.
10· · · Q.· ·How does that work exactly?                              10· · · · · · · · MS. HUNKER:· And I would ask that we keep
11· · · A.· ·The ePollbook has -- you can sign on the                 11· speaking objections to a minimum under local rules, 30,
12· ePollbook, so there's a oath on there if somebody                 12· only because it does disrupt my thought process.
13· requests assistance, and then the person giving the               13· · · · · · · · MS. PERALES:· And I will, however, be
14· assistance signs the oath on there.· And so when we do            14· making the same objections again.
15· the report, even the signature comes on the report, as            15· · · · · · · · Go ahead, Ms. Hunker.
16· well.                                                             16· · · Q.· ·(By Ms. Hunker)· So only certain types of
17· · · Q.· ·Okay.· And so when it comes to assistants, it's          17· voting assistance are -- let me -- let me rephrase the
18· only picking up individuals who took the oath; is that            18· question.
19· correct?                                                          19· · · · · ·Only people who are offering certain types of
20· · · A.· ·Yes.                                                     20· voting assistance sign on the ePad; is that correct?
21· · · Q.· ·And so it's only taking individuals who assist           21· · · A.· ·Yes.
22· with the actual marking of the ballot; is that correct?           22· · · · · · · · MS. PERALES:· Same objection.
23· · · · · · · · MS. PERALES:· Objection, vague.                     23· · · Q.· ·(By Ms. Hunker)· And how much familiarity do
24· · · A.· ·The -- for the ballot-marking device, yes.               24· you have with the ePad or the process in which an
25· · · Q.· ·(By Ms. Hunker)· So if, let's say, I were to             25· assistor would sign the ePad?


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·1· · · A.· ·I've been trained on it, and I've helped --       ·1· assistor?
·2· I've trained others on my staff.· I've trained them on     ·2· · · A.· ·Uh-huh.
·3· it, as well.                                               ·3· · · Q.· ·The voter says, I -- I want to bring this
·4· · · Q.· ·So is this part of your responsibilities?         ·4· person here to help me vote, and then the assistor signs
·5· · · A.· ·Not at the polls.                                 ·5· the oath; is that correct?
·6· · · Q.· ·But you said you have trained on this             ·6· · · A.· ·Yes.
·7· particular device; is that correct?                        ·7· · · Q.· ·And are -- do you know if there's criteria that
·8· · · A.· ·Yes.                                              ·8· election judges and poll workers use to decide whether
·9· · · Q.· ·And you've trained others?                        ·9· someone who's pushing a wheelchair, for example, is or
10· · · A.· ·Right.                                            10· isn't an assistor?
11· · · Q.· ·And have you seen it work and function?           11· · · A.· ·Is there a criteria?
12· · · A.· ·Yes.                                              12· · · Q.· ·Yeah.· Do the poll workers make the decision,
13· · · Q.· ·And are you familiar with how it operates?        13· who is an assistor?· You know, what kind of help makes
14· · · A.· ·Yes.                                              14· you an assistor or not?· Do -- are you aware of any
15· · · Q.· ·And you're familiar with the procedures in        15· criteria that the poll workers use to make that
16· which it -- it operates on this?                           16· decision?
17· · · A.· ·Yes.                                              17· · · A.· ·They have a training guide, yes.
18· · · · · · · · MS. HUNKER:· All right.· No further          18· · · Q.· ·Okay.· And so do you -- can you say, sitting
19· questions.                                                 19· here today, whether someone who's pushing a wheelchair
20· · · · · · · · MS. PERALES:· I have questions if Defense    20· with a voter and then comes in with them and over to the
21· Counsel don't.                                             21· voting station, can you say whether, sitting here today,
22· · · · · · · · MR. STOOL:· No, I don't have any.            22· you know whether the poll workers would ask that person
23· · · · · · · · MS. PERALES:· Okay.                          23· who was pushing a wheelchair to sign the oath or not?
24· · · · · · · · · · · ·REEXAMINATION                         24· · · · · · · · MS. HUNKER:· Objection, form.
25· BY MS. PERALES:                                            25· · · A.· ·Yes, because that person would have to say, "I

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·1· · · Q.· ·Well, Mr. Lopez, I spoke too soon when I said I   ·1· need assistance, and here's my assistor" --
·2· was done with you.                                         ·2· · · Q.· ·(By Ms. Perales)· Okay.
·3· · · · · ·Do you work at the polling place on Election      ·3· · · A.· ·-- yes.
·4· Day?                                                       ·4· · · Q.· ·So, in that instance, the person pushing the
·5· · · A.· ·No.                                               ·5· wheelchair and going over to the voting station with the
·6· · · Q.· ·Do you make a decision or have you ever made      ·6· voter is the assistor who would sign the oath; is that
·7· the decision whether somebody who is coming into the       ·7· right?
·8· polling place to assist another voter has to sign the      ·8· · · A.· ·Yes.
·9· Oath of Assistance?                                        ·9· · · · · · · · MS. PERALES:· Okay.· Thank you.
10· · · A.· ·Not at the polls, no.                             10· · · · · · · · I pass the witness.
11· · · Q.· ·Are you aware of the criteria that poll workers   11· · · · · · · · MR. WHITE:· I have no further questions.
12· and election judges use to decide who has to sign the      12· · · · · · · · MS. HUNKER:· Just to quickly clarify on a
13· Oath of Assistance when they come with a voter to the      13· point, assuming there's no other questions from the
14· polling place?                                             14· attorneys on Zoom.· Hearing none --
15· · · · · · · · MS. HUNKER:· Ob- --                          15· · · · · · · · MS. BENDER:· No questions.
16· · · A.· ·Yes.                                              16· · · · · · · · MR. STOOL:· ID.· ID.· Who said that?
17· · · · · · · · MS. HUNKER:· -- -jection, form.              17· · · · · · · · MS. PERALES:· Oh, that's -- that's Brady.
18· · · A.· ·Yes.                                              18· · · · · · · · THE REPORTER:· Thank you.
19· · · Q.· ·(By Ms. Perales)· Say that again.                 19· · · · · · · · MS. BENDER:· I'm sorry.· That's right.· No
20· · · A.· ·Yes.                                              20· questions at this time.· Thank you.
21· · · Q.· ·And what is that criteria, then?                  21· · · · · · · · · · · ·REEXAMINATION
22· · · A.· ·If they are -- if the voter requests              22· BY MS. HUNKER:
23· assistance, that's the person that will be signing the     23· · · Q.· ·So in the example where an individual is being
24· ePollbook.                                                 24· pushed, the way that the as- -- the way they would sign
25· · · Q.· ·Okay.· And so the voter comes with the            25· the eBook or ePad is if they were announced, "This is my


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·1· assistor"; is that correct?                                   ·1· · · Q.· ·What does that mean?
·2· · · A.· ·Correct.                                             ·2· · · A.· ·That means a voter can go into the polls and
·3· · · Q.· ·And so if the person who is voting chooses not       ·3· just select a party, and it would select all those
·4· to state, "This is my assistor," that person would not        ·4· candidates on that party.
·5· sign the eBook; is that correct?                              ·5· · · Q.· ·So voters had an opportunity to vote straight
·6· · · A.· ·Correct.                                             ·6· ticket in 2018, correct?
·7· · · · · · · · MS. HUNKER:· Thank you.                         ·7· · · A.· ·Yes.
·8· · · · · · · · MS. PERALES:· And so subject to another         ·8· · · Q.· ·They did not have that opportunity in November
·9· witness saying that they can't testify on a topic that        ·9· 2020; is that correct?
10· Mr. Lopez says he has knowledge of, then I think we can       10· · · A.· ·That's correct.
11· switch over to the next witness now.                          11· · · Q.· ·And they will not have that opportunity in
12· · · · · · · · MR. STOOL:· Okay.· Mr. Lopez needs to get       12· November 2022; is that correct?
13· back to the Elections Department, which is not that far       13· · · A.· ·That's correct.
14· from here, but -- so if he has to come back, he'll have       14· · · Q.· ·And that's because the law changed in
15· to drive back down here.· But he's got duties he's got        15· between -- or I should say before November 2020
16· to take care of because early voting is going on as           16· election; is that correct?
17· we're having this conversation.                               17· · · A.· ·Correct.
18· · · · · · · · MS. PERALES:· Understood.                       18· · · Q.· ·And so Texas no longer allows straight ticket
19· · · · · · · · MR. STOOL:· Okay.· So --                        19· voting; is that correct?
20· · · · · · · · MS. PERALES:· Shall we take a moment off        20· · · A.· ·Yes.
21· the record --                                                 21· · · · · · · · MS. HUNKER:· Thank you.
22· · · · · · · · MR. STOOL:· Sure.                               22· · · · · · · · THE WITNESS:· Okay.· Thanks.
23· · · · · · · · MS. PERALES:· -- to switch out our              23· · · · · · · · MS. PERALES:· And --
24· witnesses.                                                    24· · · · · · · · THE REPORTER:· I'm sorry.· Can you wait
25· · · · · · · · MR. STOOL:· Yes.                                25· one second?· Thank you.

                                                      Page 59                                                               Page 61
·1· · · · · · · · THE VIDEOGRAPHER:· Okay.· We're going off       ·1· · · · · · · · · · · ·REEXAMINATION
·2· the record.· The time is 11:53 a.m.                           ·2· BY MS. PERALES:
·3· · · · · · · · · · · ·(Break taken.)                           ·3· · · Q.· ·And just a couple of questions also about this
·4· · · · · ·(Deposition Exhibit Number 3 marked.)                ·4· document, which I would like the court reporter to hand
·5· · · · · · · · THE VIDEOGRAPHER:· Okay.· We're back on         ·5· to you, and it has been marked as Exhibit 3.
·6· the record.· The time is 12:06 p.m.                           ·6· · · · · · ·(Document handed to the witness.)
·7· · · · · · · · · · · ·REEXAMINATION                            ·7· · · Q.· ·So, Mr. Lopez, you've been handed what has been
·8· · · · · · · · · · · · (Continued)                             ·8· marked Exhibit 3, and do you recognize those as the two
·9· BY MS. HUNKER:                                                ·9· pages that you brought with you today to the deposition?
10· · · Q.· ·Hi, Mr. Lopez.                                       10· · · A.· ·Yes.
11· · · A.· ·Hi.                                                  11· · · Q.· ·And you described them a little bit earlier in
12· · · Q.· ·I am sorry to bring you back onto the hot seat,      12· the deposition; is that right?
13· but I had one or two more questions for you in relation       13· · · A.· ·Yes.
14· to the document that you and your Counsel had produced        14· · · Q.· ·And just for the sake of the record, on this
15· to us during the deposition.                                  15· first page of the exhibit, which is dated November 6th,
16· · · A.· ·(Witness moves head up and down.)                    16· 2018, can you tell me what that last column is that is
17· · · Q.· ·So you see -- do you have in front of you the        17· titled ED, underscore, ADA?
18· document that says "Summary Report GRP-Detail," and then      18· · · A.· ·ED's for Election Day.· ADA is for America's
19· it says "2018 General & Joint Election"?                      19· Disability Act, and that's for voters with disabilities
20· · · A.· ·Yes.                                                 20· that are voting.
21· · · Q.· ·And this is for November 6, 2018, correct?           21· · · Q.· ·And is it voters who used a special machine to
22· · · A.· ·Correct.                                             22· vote?
23· · · Q.· ·And then there's a part here that says straight      23· · · A.· ·Yes.· An ADA machine, yes.
24· ticket; is that right?                                        24· · · Q.· ·All right.· So if a voter came in with an
25· · · A.· ·Yes.                                                 25· assistant to help that voter vote on a regular machine,


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·1· would the voter be listed in this column, ED,                   ·1· · · Q.· ·Okay.· But this is only for primary elections
·2· underscore, ADA?                                                ·2· in 2022, 2018 and 2014; is that right?
·3· · · A.· ·If they had a disability and had to use that           ·3· · · A.· ·Yes.
·4· machine, they would be listed on that column.                   ·4· · · Q.· ·We were talking earlier about the polls staying
·5· · · Q.· ·Okay.· Let's say they don't use an ADA machine;        ·5· open until 10:00 p.m. on the last day of Early Voting in
·6· they use a regular machine, because they bring someone          ·6· a particular election.
·7· with them to help them.· If the voter uses a regular            ·7· · · · · ·And are the number of votes cast in each party
·8· machine --                                                      ·8· primary for that day that the polls stayed open until
·9· · · A.· ·Okay.                                                  ·9· 10:00 p.m., is that represented on this chart here?
10· · · Q.· ·-- non-ADA machine, with an assistor, would            10· · · A.· ·Yes, that's Day 12.
11· that voter turn up here (pointing) in the column ED,            11· · · Q.· ·For which year?
12· underscore, ADA?                                                12· · · A.· ·2022.
13· · · A.· ·No.                                                    13· · · Q.· ·So is it correct to say that for Day 12 in the
14· · · Q.· ·Let me just check and see if I have any other          14· 2022 primary, the number of ballots cast was 18,101 --
15· questions.                                                      15· · · A.· ·Yes.
16· · · A.· ·Okay.                                                  16· · · Q.· ·-- for Democrat, and 10,270 for Republican?
17· · · Q.· ·Is it correct to say that the column EV-ED,            17· · · A.· ·Yes.
18· underscore, PROV is for provisional ballots that were           18· · · Q.· ·Are those numbers just of in-person Early
19· cast and counted in the election?                               19· Voting?
20· · · A.· ·Yes, for both early voting and Election Day.           20· · · A.· ·Yes.
21· Yes.                                                            21· · · Q.· ·So that doesn't include any tabulation of mail
22· · · Q.· ·And then I recognize the column, Election Day.         22· ballots, correct --
23· · · · · ·Now, that would be votes cast in person on             23· · · A.· ·Correct.
24· Election Day; is that right?                                    24· · · Q.· ·-- or Election Day votes?
25· · · A.· ·Yes.                                                   25· · · A.· ·Correct.

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·1· · · Q.· ·And then the column, EV, underscore, Mail is           ·1· · · Q.· ·Would it be fair to say, then, that for both
·2· mail ballots that you counted?                                  ·2· the Democratic and Republican Primaries in November
·3· · · A.· ·Yes.                                                   ·3· 2022, that on that day that you held the polls open
·4· · · Q.· ·And the column, EV, underscore, in Person is           ·4· until 10:00 p.m., more votes were cast than in the two
·5· people who voted in person early; is that correct?              ·5· previous comparison years?
·6· · · A.· ·Yes.                                                   ·6· · · · · · · · MS. HUNKER:· Objection to form.
·7· · · Q.· ·And then under Total Votes, I see the number           ·7· · · A.· ·Can you repeat?· Did you say in November?· Will
·8· there, 731,576.                                                 ·8· you repeat?
·9· · · · · ·Is that the total number of ballots cast in            ·9· · · Q.· ·(By Ms. Perales)· No.· I was asking if in
10· that election?                                                  10· Nov- -- I did say November of --
11· · · A.· ·Yes.                                                   11· · · A.· ·Yeah.
12· · · Q.· ·And then I -- is it correct to say that the            12· · · Q.· ·-- 2022.
13· orange highlighting on "Straight Party" and some of             13· · · A.· ·Okay.
14· those numbers, that came from you; is that right?               14· · · Q.· ·That's my mistake.
15· · · A.· ·Yes.                                                   15· · · · · ·Would it be fair to say that for the March
16· · · Q.· ·Okay.· On the second page of the exhibit, which        16· primary in 2022 on Day 12, Friday, which was the day the
17· says:· "Primary Election Comparison," is that the               17· polls stayed open until 10:00 p.m., that more votes were
18· document you mentioned earlier that totals up how many          18· cast in both the Democratic and Republican Primaries
19· votes were cast in either the Democratic Primary or the         19· when compared to previous years?
20· Republican Primary?                                             20· · · A.· ·Yes.
21· · · A.· ·Yes.                                                   21· · · · · · · · MS. HUNKER:· Objection to form.
22· · · Q.· ·And there's a -- there is a list of days here,         22· · · · · · · · MS. PERALES:· I pass the witness.
23· Day 1, Day 2; and then towards the bottom, it says Day          23· · · · · · · · MR. WHITE:· I have no further questions.
24· 12.· Is that right?                                             24· · · · · · · · MS. HUNKER:· ·I --
25· · · A.· ·Yes.                                                   25· · · · · · · · THE REPORTER:· Can you slow down just a


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·1· little bit for me, please?· Can you slow down?                 ·1· · · · · · · · THE VIDEOGRAPHER:· Okay.· We're back on
·2· · · · · · · · MS. HUNKER:· Yes.                                ·2· the record.· The time is 12:19 p.m.
·3· · · · · · · · THE REPORTER:· Thank you.· Okay.· I'm            ·3· · · · · · · · · · · · EXAMINATION
·4· ready.                                                         ·4· BY MS. PERALES:
·5· · · · · · · · MS. HUNKER:· Ready?                              ·5· · · Q.· ·Good afternoon, Ms. Phillips.
·6· · · · · · · · THE REPORTER:· Uh-huh.                           ·6· · · A.· ·Hello.
·7· · · · · · · · · · · ·REEXAMINATION                             ·7· · · Q.· ·Can you please --
·8· BY MS. HUNKER:                                                 ·8· · · · · · · · THE REPORTER:· Oh, I forgot to swear her
·9· · · Q.· ·Mr. Lopez, when we were talking about the             ·9· in.
10· document just earlier, we were referencing the                 10· · · · · · · · MS. PERALES:· I know.· I just thought of
11· Plaintiff's Exhibit Number 3, correct?                         11· that.
12· · · A.· ·Number 3?                                             12· · · Q.· ·Can you please give us a second because we want
13· · · · · · ·(Ms. Perales holding document up.)                  13· to make sure that you're sworn in.
14· · · A.· ·Yes.                                                  14· · · A.· ·Okay.
15· · · Q.· ·And so let's look on the second page of that          15· · · · · · · · THE REPORTER:· Okay.· Can you please raise
16· exhibit.                                                       16· your right hand?
17· · · A.· ·Okay.                                                 17· · · · · ·(Witness sworn by the court reporter.)
18· · · Q.· ·And this is where it says "Primary Election           18· · · · · · · · THE REPORTER:· Okay.· Thank you.
19· Comparison," correct?                                          19· · · · · · · · MS. PERALES:· Do we know -- can we mute
20· · · A.· ·Yes.                                                  20· that participant?
21· · · Q.· ·And you were speaking to Counsel about Day 12,        21· · · · ·(The Videographer moves head up and down.)
22· correct?                                                       22· · · · · · · · MS. PERALES:· We're going to take a minute
23· · · A.· ·Yes.                                                  23· to mute someone.
24· · · Q.· ·And that was February 25th, 2022, correct?            24· · · · · · · · THE WITNESS:· Okay.
25· · · A.· ·Yes.                                                  25· · · · · · · · THE VIDEOGRAPHER:· I don't have the

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·1· · · Q.· ·And that is the day that the polls were               ·1· permission to mute them, so we'll just have to ask them.
·2· extended an additional three hours; is that correct?           ·2· · · · · · · · MR. STOOL:· Just to --
·3· · · A.· ·Yes.                                                  ·3· · · · · · · · THE VIDEOGRAPHER:· Never mind.· We're
·4· · · Q.· ·This chart does not list the times in which           ·4· good.
·5· voters voted, correct?                                         ·5· · · · · · · · MS. PERALES:· Thank you.
·6· · · A.· ·Correct.                                              ·6· · · · · · · · · · · TACOMA PHILLIPS,
·7· · · Q.· ·And so you don't know when the voters voted           ·7· having being first duly sworn, testified as follows:
·8· that day, is that correct?                                     ·8· · · · · · · · · · · · EXAMINATION
·9· · · A.· ·That's correct.                                       ·9· · · · · · · · · · · · (Continued)
10· · · Q.· ·And if we look at 2018 and 2014, it appears           10· BY MS. PERALES:
11· that the last day of Early Voting has the most number of       11· · · Q.· ·Ms. Phillips, you've been here since the start
12· in-person votes for the Early Voting period; is that           12· of Mr. Lopez's testimony; is that correct?
13· correct?                                                       13· · · A.· ·Yes.
14· · · A.· ·That's correct.                                       14· · · Q.· ·And so you've already heard me introduce myself
15· · · · · · · · MS. PERALES:· Objection.                         15· and walk him through some of the rules of the road for a
16· · · · · · · · MS. HUNKER:· No more questions.                  16· deposition; is that right?
17· · · · · · · · MS. PERALES:· No more questions here.            17· · · A.· ·Yes.
18· · · · · · · · MR. STOOL:· We don't have any questions.         18· · · Q.· ·So I'll -- I'll ask you a shorter version of
19· · · · · · · · MS. PERALES:· Shall we go off the record         19· those questions --
20· while they switch microphones?                                 20· · · A.· ·Okay.
21· · · · · · · · MS. HUNKER:· I think so.                         21· · · Q.· ·-- which is, first:· Have you ever had your
22· · · · · · · · MR. STOOL:· Yes.                                 22· deposition taken?
23· · · · · · · · THE VIDEOGRAPHER:· Okay.· We're going back       23· · · A.· ·No.
24· off the record.· The time is 12:16 p.m.                        24· · · Q.· ·Okay.· First time.· It's an honor to be taking
25· · · · · · · · (Discussion off the record.)                     25· your deposition.


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·1· · · · · ·Do you understand that the testimony that              ·1· · · A.· ·Robert Heard.· He's in -- a contractor in our
·2· you're giving is under oath?                                    ·2· office.· And it's another gentleman, the gentleman's
·3· · · A.· ·Yes.                                                   ·3· name -- I cannot remember his name.
·4· · · Q.· ·And that your testimony today is as if you are         ·4· · · Q.· ·And Mr. Heard, who is a contractor, is he what
·5· sitting in the courtroom testifying to the Judge?               ·5· somebody might call a temp?
·6· · · A.· ·Yes.                                                   ·6· · · A.· ·Yes, a temp contractor.
·7· · · Q.· ·Is there any reason for you, either that you're        ·7· · · Q.· ·Okay.
·8· taking medication or you don't feel well, that you              ·8· · · A.· ·He's helping with the PIAs in our office.
·9· cannot understand my questions or testify accurately?           ·9· · · Q.· ·Okay.· And when you say "PIA," you mean Public
10· · · A.· ·No.                                                    10· Information --
11· · · Q.· ·From time to time, you may hear one of the             11· · · A.· ·Yes --
12· lawyers making an objection during the deposition, and I        12· · · Q.· ·-- for --
13· think you've probably already heard that.                       13· · · A.· ·Public Information Act, yes.
14· · · A.· ·Yes.                                                   14· · · Q.· ·Okay.· So you're responding to requests for
15· · · Q.· ·In general, unless your lawyer instructs you           15· information?
16· not to answer, you can go ahead and answer.· And so I           16· · · A.· ·Yes.
17· just want to leave you with that instruction.· Okay?            17· · · Q.· ·And then you mentioned one other individual.
18· · · A.· ·Okay.                                                  18· · · A.· ·Yes, I did.· I do not remember his name.
19· · · Q.· ·If I use the term "ABBM," will you understand          19· · · Q.· ·Okay.· And he works in your office, as well?
20· that to mean application for ballot by mail?                    20· · · A.· ·I believe he's a contractor, also.
21· · · A.· ·Yes.                                                   21· · · Q.· ·Okay.· Did you talk to anybody from the Office
22· · · Q.· ·Do you understand that to mean all applications        22· of the Attorney General for Texas?
23· for ballot by mail, both annual, as well as just for a          23· · · A.· ·No.
24· single election; or do you understand ABBM, for example,        24· · · Q.· ·Did you review any paperwork in preparation for
25· to just be limited to the annual?                               25· this deposition?

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·1· · · A.· ·Application for ballot by mail, no.· It's just         ·1· · · A.· ·Just the paperwork that was given to answer my
·2· the -- it's the same.· Everything's the same.                   ·2· portion of the questions.
·3· · · Q.· ·Okay.· Thank you.                                      ·3· · · Q.· ·Okay.· And who gave that paperwork to you?
·4· · · · · ·What steps did you take to prepare for the             ·4· · · A.· ·Ben Stool.
·5· deposition today?                                               ·5· · · Q.· ·Did you bring anything here with you today
·6· · · A.· ·We met, I believe it was Tuesday, I believe,           ·6· related to the case, any personal notes or charts or
·7· for two hours --                                                ·7· other paperwork?
·8· · · Q.· ·Okay.                                                  ·8· · · A.· ·Yes.· I brought the paperwork that was
·9· · · A.· ·-- to go over --                                       ·9· provided -- given to me by Ben Stool, but I just jotted
10· · · Q.· ·Don't tell me --                                       10· down notes on that.
11· · · A.· ·-- the questions.                                      11· · · Q.· ·And do you mean that you jotted notes on the --
12· · · Q.· ·Don't tell me what you said if your lawyers            12· the chart that lists the topic and has your name across
13· were there.                                                     13· from those topics?
14· · · A.· ·No, no, no, just to go over --                         14· · · A.· ·Yes.
15· · · Q.· ·Okay.                                                  15· · · Q.· ·Okay.· So let's go ahead and just refer back to
16· · · A.· ·-- the questions that I'm responsible for.             16· Exhibit 1.· It should be somewhere --
17· · · Q.· ·Okay.· Thank you.                                      17· · · · · · · · THE REPORTER:· It's over here (handing).
18· · · A.· ·Uh-huh.                                                18· · · Q.· ·You have been handed what has been marked
19· · · Q.· ·Thank you.· I'm trying to play by the Rules.           19· Deposition Exhibit Number 1 (holding up a copy of
20· · · · · ·Did you talk to anybody else besides Mr. Lopez,        20· document), and it says Plaintiffs' Third Amended Notice
21· Mr. Scarpello and your attorneys to prepare for this            21· of Rule 30(b)(6) Deposition.
22· deposition?                                                     22· · · · · ·Do you see that at the top?
23· · · A.· ·Yes.                                                   23· · · A.· ·I see that, yes.
24· · · Q.· ·And can you just name that individual or               24· · · Q.· ·Do you recognize this document; have you ever
25· individuals?                                                    25· seen it before?

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·1· · · A.· ·It was sent to me.· Are you --                        ·1· · · Q.· ·Did you work under the supervision of
·2· · · Q.· ·Do you recognize, starting on Page 12 -- no --        ·2· Mr. Lopez?
·3· yes.                                                           ·3· · · A.· ·Yes.
·4· · · · · ·Starting on Page 12, do you recognize the items       ·4· · · Q.· ·How long were you an Assistant Voter
·5· listed under the heading "Deposition Topics"?                  ·5· Registration Supervisor?
·6· · · A.· ·Yes.                                                  ·6· · · A.· ·I'm thinking.· I will say since 2014 through
·7· · · Q.· ·And then let's turn to Deposition Exhibit             ·7· 2021, March of 2021.
·8· Number 2.                                                      ·8· · · Q.· ·So, roughly, seven years?
·9· · · · · · · · THE REPORTER:· Oh, I'm sorry (handing).          ·9· · · A.· ·Yes.
10· · · Q.· ·Can you look at the places where your name is         10· · · Q.· ·And then prior to becoming the Assistant Voter
11· listed in the right-hand column?                               11· Registration Supervisor, what were you doing?
12· · · A.· ·Yes.                                                  12· · · A.· ·I was -- I was a Lead Clerk in Voter
13· · · Q.· ·And that's on Page 1, Page 2, Page 3.                 13· Registration.
14· · · · · ·It looks like just pages 1, 2 and 3; is that          14· · · Q.· ·And do you know about how many years you did
15· right?                                                         15· that?
16· · · A.· ·Yes.                                                  16· · · A.· ·I did that for probably a year.
17· · · Q.· ·Are you prepared to testify on those topics           17· · · Q.· ·And then before that?
18· today?                                                         18· · · A.· ·I was a clerk in Voter Registration.
19· · · A.· ·Yes.                                                  19· · · Q.· ·I think they call those battlefield promotions.
20· · · Q.· ·And do you understand that when you're                20· · · A.· ·Yes.
21· answering questions on these topics, that you're               21· · · Q.· ·Okay.· And how long were you a clerk in Voter
22· speaking for the Dallas County Elections Department?           22· Registration?
23· · · A.· ·Yes.                                                  23· · · A.· ·Since 1998, August of 1998.
24· · · Q.· ·Because you are designated representative of          24· · · · · · · · THE REPORTER:· You said August of nineteen
25· the department.· Yes?                                          25· ninety- --

                                                         Page 75                                                          Page 77
·1· · · A.· ·Yes.                                                  ·1· · · · · · · · THE WITNESS:· 1998, yes.
·2· · · Q.· ·Okay.· And so when I say "you" or "yours,"            ·2· · · · · · · · THE REPORTER:· Thank you.
·3· please understand that to mean Dallas County Elections         ·3· · · Q.· ·So that would be -- and before you were a clerk
·4· Department.                                                    ·4· in Voter Registration, were you working for Dallas
·5· · · A.· ·Yes.                                                  ·5· County?
·6· · · Q.· ·Now, if there is something outside your               ·6· · · A.· ·No.
·7· knowledge, it's perfectly okay to say that.                    ·7· · · Q.· ·Okay.· So all in all, about how many years have
·8· · · A.· ·Okay.                                                 ·8· you been working for Dallas County Elections?
·9· · · Q.· ·And we can talk through whether there's               ·9· · · A.· ·August of 2022 would be 24 years.
10· somebody else who maybe has more knowledge and -- and          10· · · Q.· ·Wonderful.· Congratulations.
11· then we can work through that with the attorneys.· Okay?       11· · · A.· ·Thank you.
12· · · A.· ·Okay.                                                 12· · · Q.· ·Before you became Mail Ballot Supervisor a year
13· · · Q.· ·So even though you're testifying for Dallas           13· ago, did somebody else hold that job?
14· County Elections, I want to make sure that if something        14· · · A.· ·Yes.
15· is simply outside the scope of your knowledge, that you        15· · · Q.· ·Who was that?
16· feel comfortable saying that.                                  16· · · A.· ·Brylon Franklin.
17· · · A.· ·Okay.                                                 17· · · Q.· ·Spell the first name.
18· · · Q.· ·What is your title and your job?                      18· · · A.· ·B-r-y-l-o-n.
19· · · A.· ·Mail Ballot Supervisor.                               19· · · Q.· ·Brylon.· And then the last name?
20· · · Q.· ·How long have you held that position?                 20· · · A.· ·Franklin.
21· · · A.· ·One year.                                             21· · · Q.· ·Franklin.· Do you know how long Brylon Franklin
22· · · Q.· ·What did you do before you became the Mail            22· was in the position of Mail Ballot Supervisor?
23· Ballot Supervisor?                                             23· · · A.· ·No, I do not.
24· · · A.· ·I was the Assistant Voter Registration                24· · · Q.· ·Was it more than a year?
25· Supervisor.                                                    25· · · A.· ·Yes.· Yes, it was more than a year, but I can't

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·1· tell you how long.                                               ·1· · · · · ·When I'm quiet, it's because I'm not going to
·2· · · Q.· ·Who does the Mail Ballot Supervisor report to?          ·2· ask you questions, so I'm just moving through my list.
·3· · · A.· ·Michael Scar- -- oh, I'm sorry.· Let me -- it's         ·3· · · A.· ·Okay.
·4· Malissa Kouba.                                                   ·4· · · Q.· ·Do you know, in general, what percent of votes
·5· · · Q.· ·And who is Malissa Kouba?                               ·5· that are cast in Dallas County are vote by mail?
·6· · · A.· ·Assistant Administrator Deputy.· I don't know           ·6· · · A.· ·In general, no, I do not.
·7· the exact title, the name of the title, but I know she's         ·7· · · Q.· ·For -- well, let me ask you this:· In the past,
·8· the Assistant Administrator Deputy.                              ·8· to the best of your knowledge or from 2018 (indicating)
·9· · · Q.· ·So do you report to Malissa Kouba?                      ·9· up until now, has Dallas County ever sent voters
10· · · A.· ·I report to Malissa Kouba, yes.                         10· application for ballot by mail on Dallas County's
11· · · Q.· ·Do you know how long she's been in her                  11· initiative?
12· position?                                                        12· · · · · · · · MS. HUNKER:· Objection, form.
13· · · A.· ·A year -- less than a year, I believe.                  13· · · A.· ·Not to my knowledge.
14· · · Q.· ·Less than a year.· So then who did Brylon               14· · · Q.· ·(By Ms. Perales)· So is it correct to say,
15· Franklin report to?                                              15· then, that Dallas County, from 2018 forward, has only
16· · · A.· ·Tony Pippin-Poole.                                      16· ever sent somebody an application for ballot by mail
17· · · · · · · · THE REPORTER:· Tony -- what was the last           17· because that voter requested it first?
18· name?                                                            18· · · A.· ·To my knowledge, yes.
19· · · · · · · · THE WITNESS:· Pippins-Poole (sic).                 19· · · Q.· ·So, for example, Dallas County never did a
20· · · Q.· ·Was Tony Pippins-Poole the Elections                    20· mailing out to voters over 65, saying, Here's an
21· Administrator since you joined the Elections Department          21· application for ballot by mail in case you want to use
22· in 1998?                                                         22· it, or something like that?
23· · · A.· ·No.                                                     23· · · A.· ·Not to my knowledge.
24· · · Q.· ·When you first got to the Elections Department,         24· · · Q.· ·Before you became -- or before you were in your
25· who was the Election Administrator, if anybody?                  25· current position, were you involved in processing or

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·1· · · A.· ·Bruce R. Sherbert.                                      ·1· accepting applications for ballot by mail?
·2· · · Q.· ·Bruce R., like the letter R --                          ·2· · · A.· ·No.
·3· · · A.· ·Like the letter.                                        ·3· · · Q.· ·Okay.· And before you took your current
·4· · · Q.· ·And then --                                             ·4· position, were you involved in processing or accepting
·5· · · A.· ·Sherbert --                                             ·5· mail ballots?
·6· · · Q.· ·-- Sherbert --                                          ·6· · · A.· ·No.
·7· · · A.· ·-- yes.                                                 ·7· · · Q.· ·Do you have any personal experience with
·8· · · Q.· ·-- like the dessert?· Yeah, got it.                     ·8· processing applications for ballot by mail or mail
·9· · · · · ·Are you from Dallas County?                             ·9· ballots prior to the March 2022 election?
10· · · A.· ·Yes.                                                    10· · · A.· ·Yes.
11· · · Q.· ·Where did you go to high school?                        11· · · Q.· ·And which elections would that be for?
12· · · A.· ·I went to Business Management High School,              12· · · A.· ·That would be for the elections that was in May
13· Business Management Magna High School.                           13· of 2021 and November of 2021.
14· · · Q.· ·Okay.· That's here in Dallas?                           14· · · Q.· ·Okay.· So it would be fair to say that you
15· · · A.· ·That was here in Dallas.                                15· don't have personal experience with processing
16· · · Q.· ·Did you do any education after high school?             16· applications for ballot by mail or mail ballots in
17· · · A.· ·No.                                                     17· either 2020 or 2018; is that correct?
18· · · Q.· ·Okay.· Did you start working for Dallas County          18· · · A.· ·I did not process in 2020, November 2020, but I
19· Elections after you completed high school?                       19· did assist in the Mail Ballot Department in '20 -- in
20· · · A.· ·No.                                                     20· November of 2020.
21· · · Q.· ·Okay.· Sometimes I ask people, like what was            21· · · Q.· ·Okay.· Did you assist in the Mail Ballot
22· the most interesting thing they did before they got to           22· Department in March of 2018 for the primary?
23· their position.· Senator Hughes told me he sold                  23· · · A.· ·No.
24· appliances door to door, but I will not ask you that             24· · · Q.· ·So you have some experience with the procedures
25· question in the interest of time.                                25· of the office handling the applications for ballot by


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·1· mail and the mail ballots from November 2020?                   ·1· · · A.· ·That way, we will have the image of the either
·2· · · A.· ·Yes.                                                   ·2· completed application or the incomplete application.
·3· · · Q.· ·So I'm going to ask you some questions about           ·3· · · Q.· ·Does it also get a bar code?
·4· the procedures of the office --                                 ·4· · · A.· ·Yes.
·5· · · A.· ·Okay.                                                  ·5· · · Q.· ·Okay.· So, then, after it gets the bar code,
·6· · · Q.· ·-- that were used prior to SB 1 --                     ·6· what happens next?
·7· · · A.· ·(Witness moves head up and down.)                      ·7· · · A.· ·Once it gets the bar code, then we would go
·8· · · Q.· ·-- so before this March primary.                       ·8· ahead and process that application in the -- in the
·9· · · · · ·Were there changes in the way the Elections            ·9· Vemacs voter registration system.· And we will process
10· Department processed applications for ballot by mail or         10· it if it's complete.· If the application's complete,
11· mail ballots between November 2020 and November 2021            11· then we will process it and prepare it for the election.
12· that you're aware of?                                           12· · · · · ·If it's not complete, then we will process it
13· · · A.· ·Can you repeat that question again?                    13· still and then send the voter a notice letting them know
14· · · Q.· ·Yeah.· I want to ask some questions about the          14· what was incomplete about the application.
15· procedures of your office in handling applications for          15· · · Q.· ·Okay.· And when you're -- let's assume that
16· ballot by mail, processing them, and also mail ballots.         16· you've got an application for ballot by mail and it is
17· But I want to make sure that when I ask those questions,        17· complete.· How -- what would your office do to make sure
18· I'm sort of capturing what your office does.                    18· that you knew this was coming from a real voter?· Is --
19· · · · · ·And so my first question is whether you changed        19· was there anything you would check about the voter
20· (indicating) any of the ways that you processed                 20· besides that you have a voter registration record for
21· applications for ballot by mail or mail ballots between         21· that voter?
22· November 2020 and November 2021.                                22· · · A.· ·Just -- just checking them in that voter
23· · · · · ·Did your office undergo any kind of changes in         23· registration system.· They have to be a registered voter
24· the way you handled these materials or processed them?          24· in order -- and if they are not a registered voter, then
25· · · A.· ·Not to my knowledge.                                   25· we will send them a letter letting them know, You are

                                                          Page 83                                                           Page 85
·1· · · Q.· ·So then I will ask you:· Prior to SB 1, prior          ·1· not a registered voter, and also a voter registration
·2· to the March 2022 primary, when you received an                 ·2· application.
·3· application for ballot by mail in the mail, what would          ·3· · · Q.· ·Okay.· And so assuming the application for
·4· you do from the moment that you opened it (indicating)?         ·4· ballot by mail makes it through the system, is it fair
·5· · · A.· ·We'll open it, look to see -- date-stamp it,           ·5· to say you would then send that voter a mail ballot?
·6· and then we'll put it in a category of how it came in.          ·6· · · A.· ·We'll send them a ballot for every election
·7· If it was a Y65, which is yearly person who's over the          ·7· that they are eligible to vote in.
·8· age -- anyone over the age of 65, or is disabled, or if         ·8· · · Q.· ·So if you got an application for ballot by mail
·9· they are going to be a RM, which is regular mail, out of        ·9· in January, for example, and the voter had checked
10· county, or they just particularly want one particular           10· "annual," you would put that person in the system and
11· election, they're -- they're selecting, or if it's a            11· send them mail ballots for the rest of the year; is that
12· military or something like that, well, then, we'll put          12· right?
13· it in its category (indicating).                                13· · · A.· ·Uh-huh.· You said just check annual, so we'll
14· · · · · ·And then we will put a bar code label on there.        14· just send them a ballot for an election that's not a
15· That way we can scan or capture the image of the                15· political party election because they have to declare.
16· application and put it into the VR system.                      16· · · Q.· ·Okay.· So if they wanted to vote in one primary
17· · · Q.· ·What would you be checking when you first open         17· or another, they would still -- they'd have to send you
18· it, or would you scan it even if it was, for example,           18· another --
19· incomplete or unsigned?· Is there a point at which              19· · · A.· ·No.
20· you're checking to make sure it's complete?                     20· · · Q.· ·-- application?
21· · · · · · · · MS. HUNKER:· Objection, form.                     21· · · A.· ·They would have to state that on the
22· · · A.· ·We are actually doing -- I believe -- first, we        22· application.
23· will scan it.· The process of it -- the process now             23· · · Q.· ·Okay.· Got it.· Now, walk me through the
24· would be still to image it, to capture the image of it.         24· process pre-SB 1 (indicating) --
25· · · Q.· ·Okay.                                                  25· · · A.· ·Okay.

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·1· · · Q.· ·-- of rece- -- your office would receive a mail       ·1· during early -- when Early Voting begins or Election
·2· ballot now from a voter.                                       ·2· Day, and they can turn that carrier envelope in and vote
·3· · · · · ·What would you -- what would be the process of        ·3· ballot for ballot.
·4· dealing with that?                                             ·4· · · Q.· ·So would you have a letter, like a form letter,
·5· · · A.· ·We'll take the actual carrier envelope, which         ·5· that you would send the carrier envelope back to the
·6· contains the ballot inside the carrier envelope.· We           ·6· voter with the letter explaining kind of what their
·7· will datestamp that carrier envelope, and then we will         ·7· options are?
·8· run it through our Agilis machine to capture the image         ·8· · · A.· ·And you're still asking the questions before --
·9· of the side of the envelope that would contain the             ·9· prior to 20- --
10· voter's signature on there, and then we will wait for          10· · · Q.· ·Before SB 1.
11· SVC, which is Signature Verification Committee to verify       11· · · · · · · · ·(Simultaneously speaking.)
12· the signature.                                                 12· · · A.· ·SB 1.
13· · · Q.· ·Okay.· Have you ever done work to verify              13· · · · · · · · THE REPORTER:· I'm sorry.· Can you slow
14· signatures, yourself?                                          14· down just a little bit, and can you repeat the last
15· · · A.· ·No.                                                   15· thing you just said.
16· · · Q.· ·And who's on the Signature Verification               16· · · · · · · · THE WITNESS:· I asked -- I asked -- I
17· Committee?                                                     17· said, Are you still asking the questions before SB 1.
18· · · A.· ·That's a committee that is determined by, I           18· · · · · · · · THE REPORTER:· Thank you.
19· believe, the political parties, the Republican party and       19· · · A.· ·That works -- yes, we did send a notice back
20· Democratic party.· And then they have a -- they have a         20· with the carrier envelope to the voter explaining to
21· elect- -- Early Voting Ballot Board, which has a judge         21· them that they failed to put their signature on the
22· and they determine who is the judge in -- in the ballot        22· carrier envelope and give it -- and -- and explain it to
23· board and who are selected to be on the committee for          23· them, there's the steps they can do next in order for
24· signature verification.                                        24· their vote or ballot to be cast.
25· · · Q.· ·And then, once the -- and so do you have any          25· · · Q.· ·What would you do if there wasn't enough time

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·1· understanding of what the Signature Verification               ·1· before the Election Day to mail the mail ballot back to
·2· Committee does to verify the signature?                        ·2· the voter?
·3· · · A.· ·Say that again, please.                               ·3· · · A.· ·It would be turned over to the SVC.
·4· · · Q.· ·Do you know what the Signature Verification           ·4· · · Q.· ·The Signature Verifi- --
·5· Committee would do to verify the signature?                    ·5· · · A.· ·Signature Verification --
·6· · · A.· ·No.                                                   ·6· · · Q.· ·-- -cation?
·7· · · Q.· ·Do you know if they compare the signature to          ·7· · · A.· ·-- Committee.
·8· anything?                                                      ·8· · · Q.· ·But if the signature was missing, you would
·9· · · · · · · · MS. HUNKER:· Objection to form.                  ·9· just turn it over anyway?
10· · · A.· ·The law states that the Signature Verification        10· · · A.· ·If they're -- if Signature Verification
11· Committee is to verify the signature of the voter,             11· Committee has convened, everything is turned over to
12· compare the signature of the voter's ABBM application          12· them.
13· and compare the signature on the carrier envelope.             13· · · Q.· ·Did you have a process before SB 1 of trying to
14· · · Q.· ·(By Ms. Perales)· Okay.· If you received a mail       14· reach out to a voter, either by phone or some other way,
15· ballot and the signature is missing on the carrier             15· to tell them what their options might be if there wasn't
16· envelope --                                                    16· enough time to mail back the mail ballot?
17· · · A.· ·(Witness moves head up and down.)                     17· · · A.· ·No.
18· · · Q.· ·-- what would you do?                                 18· · · Q.· ·You have a big county.
19· · · A.· ·If it's within the time frame of bef- -- if           19· · · · · ·Okay.· Now I'm ready to move to SB 1.
20· it's within the time frame before the Signature                20· · · A.· ·Okay.
21· Verification Committee convenes, we will take that             21· · · Q.· ·You'll agree with me that SB 1 created new
22· carrier envelope and resubmit it back to the voter for         22· requirements for verification of application for ballot
23· them to be able to either put their signature on that          23· by mail and mail ballots, correct?
24· carrier envelope, mail it back to us; or they can take         24· · · A.· ·Yes.
25· that carrier envelope and take it to the polls, either         25· · · Q.· ·And in your words, could you explain to me what


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·1· these new requirements are as they apply to ABBMs and            ·1· 2022, did your office begin to receive applications for
·2· mail ballots?                                                    ·2· ballot by mail?
·3· · · A.· ·Okay.· For an ABBM application, now we are              ·3· · · A.· ·The first week in January?· I -- maybe.
·4· required to look into the voter registration system, not         ·4· · · Q.· ·Okay.
·5· only to verify that they are a registered voter, but to          ·5· · · A.· ·I don't -- I do not recall when we really start
·6· look at the voter registration identification, Texas             ·6· receiving applications then.
·7· Driver's License, Texas ID or the Soc- -- last four              ·7· · · Q.· ·Would you say that you receive applications for
·8· digits of the Social Security number and see if it               ·8· ballot by mail in January or --
·9· matches what the voter has provided on the ABBM                  ·9· · · A.· ·Yes.
10· application.· Also -- we are also looking for the reason         10· · · Q.· ·-- did?
11· why they are voting by mail --                                   11· · · A.· ·Yes, we did.
12· · · Q.· ·(Moving moves head up and down.)                        12· · · Q.· ·Did you keep track of how many applications for
13· · · A.· ·-- and also if they provided a signature.               13· ballot by mail that you were receiving either daily,
14· · · Q.· ·All right.                                              14· weekly or monthly?
15· · · A.· ·And then if they met all those requirements,            15· · · A.· ·Yes, daily or weekly.
16· then they will get inputted into the system, processed           16· · · Q.· ·And how -- how is that information recorded?
17· as -- this first step as beginning to get a appli- -- I          17· · · A.· ·It's recorded by hand count.
18· mean, a ballot by mail.· If they do not meet those               18· · · Q.· ·Is that in a chart somewhere?
19· requirements, then we will send them, the voter, a               19· · · A.· ·Yes.
20· notice, letting them know which requirements were not            20· · · Q.· ·Okay.· So we are in January.· Your office is
21· met.                                                             21· receiving applications for ballot by mail and because of
22· · · · · ·If a carrier envelope comes into our office             22· SB 1, it's fair to say that you were opening these
23· now, we have a secrecy flap on that envelope, carrier            23· applications for ballot by mail and attempting to match
24· envelope, that we do remove.· The mail ballot staff does         24· the ID number that was provided on the ABBM to your
25· remove that secrecy flap, and we do check to see if that         25· records on voter registration; is that right?

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·1· voter does have either one of those numbers on there or          ·1· · · A.· ·Yes.
·2· they have signed an applica- -- I mean, signed a carrier         ·2· · · Q.· ·Tell me about what that experience was like in
·3· envelope.                                                        ·3· January.
·4· · · · · ·If any of the items are missing, then we would          ·4· · · · · ·For example, were there times when you could
·5· go ahead and do a Corrective Action Form of a defect of          ·5· not match the information that was provided on the ABBM
·6· a carrier envelope, send that voter a notice with that.          ·6· to the voter registration record?
·7· And on that notice, if it's a Corrective Action Form and         ·7· · · A.· ·Well, when we --
·8· if it's not a Number 4 that states that the voter has a          ·8· · · · · · · · MS. HUNKER:· Objection, form.
·9· incorrect driver's license or Social Security or a               ·9· · · A.· ·When we received a application, one of our
10· missing driver's license or Social Security, they will           10· processes were to look at the application and if it was
11· send that form and that ballot back to the voter --              11· missing any of the information, it automatically went
12· · · Q.· ·Okay.                                                   12· aside to one pile; and then all the other information,
13· · · A.· ·-- by mail.                                             13· anything that had other information, went to another.
14· · · Q.· ·Thank you.· I'm going to ask you some questions         14· And they'll still get the same bar code, everything.
15· about Dallas County's experience with these new                  15· · · Q.· ·(By Ms. Perales)· Okay.· So let's take the
16· requirements --                                                  16· example of an ABBM that you received that didn't have
17· · · A.· ·Okay.                                                   17· either a driver's license number or the last four of the
18· · · Q.· ·-- for the March 2022 primary election.                 18· Social.
19· · · A.· ·Okay.                                                   19· · · A.· ·Okay.
20· · · Q.· ·Is it correct to say that the March 2022                20· · · Q.· ·It's correct to say that you described that you
21· primary election was the first election that Dallas              21· would put that ABBM that was missing ID, missing any ID
22· County was implementing the new ID requirements for mail         22· information, over to a pile; is that right?
23· voting?                                                          23· · · A.· ·Yes.
24· · · A.· ·Yes.                                                    24· · · Q.· ·But would you still scan and barcode that ABBM?
25· · · Q.· ·So starting with the first week in January of           25· · · A.· ·Yes.


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·1· · · Q.· ·After you did that for that particular ABBM,            ·1· Security, we create a notice in VEMACS to say, Hey, this
·2· what would you do with it next?                                  ·2· is a multiple request, and the reason why.
·3· · · A.· ·We would submit it into the -- put it into the          ·3· · · Q.· ·Okay.· And so would it be fair to say, then,
·4· system because the person is already a registered voter.         ·4· that there were notices created in VEMACS specifically
·5· So what we did was we created a notice, and the notice           ·5· for people who didn't have an ID number on there or that
·6· would state that it was either missing your Texas                ·6· you couldn't match the ID number?
·7· Driver's License, Social Security or Texas ID.                   ·7· · · A.· ·Yes.
·8· · · Q.· ·When you say "we created a notice," you mean            ·8· · · Q.· ·Okay.· And does VEMACS -- now could you run a
·9· Dallas County created a notice?                                  ·9· report on VEMACS and ask it how many of those particular
10· · · A.· ·Dallas -- Dallas County mail ballot staff, yes.         10· ID-number-related notices went out?
11· · · Q.· ·And that was because you didn't have a notice           11· · · A.· ·Yes.
12· from the Secretary of State that included informing the          12· · · Q.· ·Okay.· So I understand that you would then
13· voter that the ID number was missing or couldn't be              13· notify the voter that you were missing an ID number that
14· matched; isn't that right?                                       14· you could match for -- for their ABBM; is that correct?
15· · · · · · · · MS. HUNKER:· Objection, form.                      15· · · A.· ·Yes.
16· · · A.· ·I do not remember when the notice was given to          16· · · Q.· ·Do you know, sitting here today, about how many
17· us, so...                                                        17· of those notices you sent out to voters -- or let me
18· · · Q.· ·(By Ms. Perales)· Do you --                             18· phrase it another way.· Do you know, sitting here today,
19· · · A.· ·I know the notice was given to us in January,           19· how many applications for ballot by mail you were unable
20· but I do not remember the date that the notice was given         20· to process because they were missing an ID number or the
21· to us.                                                           21· ID number that was provided by the voter could not be
22· · · Q.· ·Do you remember creating your own form before           22· matched to the registration record?
23· you received the notice from the Secretary of State?             23· · · A.· ·Not offhand, no, I do not know the number.
24· · · A.· ·No, we did not create our form.                         24· · · Q.· ·Do you have that number somewhere in your
25· · · Q.· ·All right.· So before you received the notice           25· office?

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·1· or form notice from the Secretary of State, how were you         ·1· · · A.· ·Yes.
·2· responding with these mail ballot applications that were         ·2· · · Q.· ·My next question is whether you know -- let me
·3· missing ID numbers?                                              ·3· see.
·4· · · A.· ·We already had forms, and that was already              ·4· · · · · ·You know how many people submitted an
·5· created in our voter registration system, VEMACS.· So            ·5· application for ballot by mail that you were able to
·6· what we did was just put "other," and then we'll just            ·6· process and send a mail ballot, correct?
·7· write on there, stating the fact -- what was missing.            ·7· · · A.· ·Yes.
·8· · · Q.· ·Okay.· Did you keep track of how many mail              ·8· · · Q.· ·Do you know how many people initially sent you
·9· ballot applications you were unable to process because           ·9· an ABBM that you couldn't match the ID number and they
10· the ID numbers were either missing or you could not              10· managed to cure that defect somehow by sending you
11· match them to the voter's registration record?                   11· another ABBM that you could process?
12· · · A.· ·Yes.                                                    12· · · A.· ·No, I do not know that number.
13· · · Q.· ·Okay.· And where did you keep that information?         13· · · Q.· ·Do you know how many people sent you an ABBM
14· · · A.· ·In the VEMACS voter registration system.· And           14· where you couldn't verify the ID number and, ultimately,
15· let me -- let me go back to say we did create a notice.          15· you never sent that person a mail ballot?
16· We just created a notice in VEMACS, so...                        16· · · A.· ·Say that again.
17· · · Q.· ·When you say that in VEMACS you were able to            17· · · Q.· ·I'll ask it a different way.
18· keep track of how many ABBMs you were not processing,            18· · · · · ·Is it fair to say that some voters submitted an
19· was VEMACS specific to which ABBMs you couldn't process          19· ABBM and you weren't able to verify their number because
20· because of an ID number issue versus an ABBM that you            20· it was either missing or you didn't have that number in
21· couldn't process because it was missing a signature or           21· your records and you sent that voter a notice with a new
22· something like that?                                             22· ABBM and they were able to submit to you information
23· · · A.· ·Yes.· Yes and no, because if it was a multiple          23· that you could verify and you sent them a mail ballot?
24· incompletion, like someone failed to put their signature         24· · · · · · · · MS. HUNKER:· Objection, form.
25· or failed to put their driver's license and Social               25· · · A.· ·If they completed it and then everything was in


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·1· the system, correct, yes.                                       ·1· whose ID number you couldn't verify.
·2· · · Q.· ·(By Ms. Perales)· Okay.· Now I'm asking about          ·2· · · A.· ·When you say "voter registration form," what
·3· the other group of people.                                      ·3· kind of form are you asking about?
·4· · · · · ·Do you have any idea about the number of people        ·4· · · Q.· ·Update.
·5· who submitted an ABBM and you couldn't verify their ID          ·5· · · · · · · · MS. HUNKER:· Objection, form.
·6· number and, ultimately, they were just never able to get        ·6· · · A.· ·Can you explain to me what type of form?· There
·7· a mail ballot; they never received a mail ballot from           ·7· are multiple forms for voter registrations.
·8· you?                                                            ·8· · · Q.· ·(By Ms. Perales)· Okay.· Tell me how many voter
·9· · · · · · · · MS. HUNKER:· Objection to form.                   ·9· registration forms you use here in Dallas County.
10· · · A.· ·I don't have a number for that, no.                    10· · · A.· ·We use a Statement of Residence, and we use
11· · · Q.· ·(By Ms. Perales)· Is there any way that we             11· a -- they have a Address Confirmation Form.· They have
12· could figure out what that number is?                           12· the Voter Registration Application.· That's a form,
13· · · A.· ·Possibly, yes.                                         13· also, so...
14· · · Q.· ·Okay.· How would we try to figure out what that        14· · · Q.· ·Did you ever send a Voter Registration
15· number is?                                                      15· Application to a voter with a notice that you could not
16· · · A.· ·Well, we can take a look at the list of                16· verify their ID number on their ABBM?
17· rejection letters, a list of voters on the rejection            17· · · A.· ·Yes.
18· list, compare them to the list of voters and to compare         18· · · Q.· ·Do you know how many of those you sent out?
19· them, see if they went to the polls to vote or if they,         19· · · A.· ·No.
20· in fact, did vote or if, in fact, they did re- -- submit        20· · · Q.· ·So you did not keep track --
21· another ABBM application.                                       21· · · A.· ·No.
22· · · Q.· ·So we could compare the list of voters on the          22· · · Q.· ·-- of that?
23· rejection list for ABBM and -- and compare them to              23· · · · · ·At what point did you start sending
24· voters who voted.                                               24· applications for voter registration with the notice to
25· · · · · ·Could we also compare the list of voters on the        25· the voter saying you couldn't match the ID number on the

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·1· rejection list for ABBMs with the list of voters who,           ·1· ABBM?
·2· ultimately, got mail ballots?                                   ·2· · · A.· ·That's hard.· We've always sent Voter
·3· · · A.· ·Yes.                                                   ·3· Registration Application forms with the ABBM if the
·4· · · Q.· ·Did you communicate with voters in the weeks           ·4· voter -- even back then, if the voter's address wasn't
·5· and months leading up to the March primary regarding            ·5· the same address in the voter registration system as on
·6· this new requirement to match the ID number?                    ·6· the application, we would send a Voter Registration
·7· · · A.· ·No.                                                    ·7· Form, so...
·8· · · Q.· ·Who would be talking -- who in your office             ·8· · · Q.· ·In terms of what was happening starting in
·9· would be talking to voters who were contacting your             ·9· January --
10· office, for example, when they received a notice saying         10· · · A.· ·Okay.
11· that their ID number could not be matched?                      11· · · Q.· ·-- when you realized that there were voters who
12· · · A.· ·Okay.· Repeat the first question.                      12· had submitted ABBMs and for whom you could not verify
13· · · Q.· ·You -- if a voter received one of these                13· their number --
14· notices --                                                      14· · · A.· ·Okay.
15· · · A.· ·Uh-huh.                                                15· · · Q.· ·-- you -- you -- testified before you started
16· · · Q.· ·-- saying you couldn't verify their ID                 16· sending them notices.· But at what point, in either
17· number --                                                       17· January or February, did you make the decision or did
18· · · A.· ·Uh-huh.                                                18· somebody make the decision at Dallas County to start
19· · · Q.· ·-- would it be fair to say that the voter was          19· sending Voter Registration Applications along with the
20· also receiving a new application for ballot by mail?            20· notice, or was it simply from Day 1 you were doing that?
21· · · A.· ·Yes.                                                   21· · · A.· ·We've always done it, Day 1.
22· · · Q.· ·Okay.· Did you ever send voter registration            22· · · Q.· ·Okay.· And even with respect to the ID numbers.
23· forms out to the voters, as well?                               23· · · · · ·So are you saying that for every voter that you
24· · · A.· ·A voter registration --                                24· could not match the ID number on the ABBM, you were
25· · · Q.· ·Form to -- a voter registration form to a voter        25· sending them Application for Voter Registration?


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·1· · · A.· ·That's what we're -- yes, that's what we're            ·1· · · Q.· ·Okay.· So, in your experience, many ABBMs were
·2· supposed to do.· Yes.                                           ·2· coming to your office and the voter had failed to put
·3· · · Q.· ·I'm going to go back to my question about              ·3· either a driver's license number or the last four of the
·4· the -- the human beings in your office that communicate         ·4· Social?
·5· with voters.                                                    ·5· · · A.· ·Yes, or they forgot to put the correct
·6· · · · · ·If a voter --                                          ·6· information that was on the voter registration file.
·7· · · A.· ·Uh-huh.                                                ·7· · · Q.· ·All right.· So they might have put a driver's
·8· · · Q.· ·-- submitted an ABBM and then received back            ·8· license number when you had the last four of the Social?
·9· from your office a notice saying that you couldn't              ·9· · · A.· ·Yes.
10· process their ABBM and then there's a Voter Registration        10· · · Q.· ·Or vice versa?
11· Application in there --                                         11· · · A.· ·Or vice versa.
12· · · A.· ·Uh-huh.                                                12· · · Q.· ·They might have put the last four of the Social
13· · · Q.· ·-- and also a new ABBM --                              13· and you only had the driver's license --
14· · · A.· ·Uh-huh.                                                14· · · A.· ·Yes.
15· · · Q.· ·-- and that person wanted to call Dallas County        15· · · Q.· ·-- number?
16· Elections and ask questions about that --                       16· · · A.· ·Yes.
17· · · A.· ·Uh-huh.                                                17· · · Q.· ·Did your office keep track of the number of
18· · · Q.· ·-- who would that person have spoken to; who           18· communications you got from voters with questions about
19· would the voter have spoken to?                                 19· the new ID verification requirements?
20· · · A.· ·Anyone who answered the telephone.                     20· · · A.· ·No, we did not.
21· · · Q.· ·Okay.· And you mentioned that you did not speak        21· · · Q.· ·Would you say that your office spent a
22· to voters about that?                                           22· significant amount of time answering questions from
23· · · A.· ·I -- yes, I did speak to voters about that. I          23· voters or responding to their inquiries about the new ID
24· maybe misunderstood your question.                              24· requirements?
25· · · Q.· ·Okay.                                                  25· · · A.· ·Yes.

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·1· · · A.· ·I'm sorry.                                             ·1· · · · · · · · MS. HUNKER:· Objection, form.
·2· · · Q.· ·So you were getting phone calls from voters            ·2· · · Q.· ·(By Ms. Perales)· Is there any way to get a
·3· with questions about this process; is that right?               ·3· sense of how much time that was taking out of your
·4· · · A.· ·Yes.                                                   ·4· regular day?· Can you describe that for me since you
·5· · · Q.· ·And generally, what were voters communicating          ·5· didn't necessarily keep track of the number of calls?
·6· to you?                                                         ·6· · · A.· ·Repeat that again.
·7· · · A.· ·The reason why they received the letter, what          ·7· · · Q.· ·How can I -- how can I get a sense from you of
·8· was the letter for.· If it was for missing their Social         ·8· exactly how much time it was taking to respond to voter
·9· Security or driver's license, we explained to the voter         ·9· inquiries if you're telling me you didn't necessarily
10· that the only thing they had to do was put that on their        10· keep track of the number of phone calls that you were
11· ABBM application.                                               11· getting?· How can I understand how much time or how much
12· · · Q.· ·Did you get any voters asking why they were            12· resources of your office were dedicated in the lead-up
13· being sent a Voter Registration Application when they           13· to the March 2022 primary to answering questions from
14· knew they were already registered to vote?                      14· voters who had rejected ABBMs, for example?
15· · · A.· ·Yes.· We informed them that their -- if, in            15· · · A.· ·That's hard to say.· A call could take a
16· fact, if their voter registration record did not have           16· minute.· Another call could take ten minutes.· It's hard
17· the Texas Driver's License or ID or Social Security,            17· to say.
18· that they would need to put that on their information --        18· · · Q.· ·Did you have particular staff that would --
19· on their application.· I'm sorry.· We need to put it --         19· that these calls would get transferred to so they could
20· have it on their voter registration record, also have it        20· explain to the voters what the new requirements were?
21· on their ABBM application.· But it was a very rarity            21· · · A.· ·No.· We have -- the way the system works is:
22· that we did get any of those and we had to send those           22· You call into our office.· You can pick who you want to
23· applications out to a voter, because most of the time we        23· speak to:· mail ballot, absent- -- absentee, early
24· will have the information on the voter registration             24· voting, voter registration.· So if they had a absentee
25· file, but it wasn't on the ABBM application.                    25· or mail ballot question, they would click Number 1.· And


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·1· then they'll get a person that's in mail ballot in my            ·1· · · Q.· ·Would --
·2· office section.                                                  ·2· · · A.· ·I have a staff of eight in my office.· All
·3· · · Q.· ·Would you say that you were spending more than          ·3· eight will answer the phone.· All eight would get a
·4· an hour a week responding to voters who were calling             ·4· phone call.
·5· with questions about the new ID requirements?                    ·5· · · Q.· ·Would --
·6· · · A.· ·Yes.                                                    ·6· · · A.· ·So that person may get ten calls in one day.
·7· · · Q.· ·Can you give me a sense of how many hours a             ·7· That person may get 20 calls in one day.· I do not know.
·8· week you spent responding to voter inquiries?                    ·8· · · Q.· ·Would it be fair to say that most of the calls
·9· · · A.· ·You get phone calls every day, all day long,            ·9· that you were getting from voters with questions about
10· so...                                                            10· why their ABBM or mail ballot was rejected were calls
11· · · Q.· ·And specifically --                                     11· that were related to the new ID requirements for SB 1?
12· · · A.· ·That's more than an hour.                               12· · · A.· ·Yes.
13· · · Q.· ·Yes.· And specifically, for these SB 1                  13· · · · · · · · MS. HUNKER:· Objection, form.
14· ID requirements, can you tell me about how many hours            14· · · Q.· ·(By Ms. Perales)· You mentioned there are eight
15· you might have spent either on a daily basis or a weekly         15· people in your office.· Those are -- would that be
16· basis?                                                           16· correct, then, to say that there are eight people whose
17· · · A.· ·It could be first time we sign in the morning,          17· work is primarily dedicated to processing either
18· 8:00 o'clock until we sign out at 4:30, we'll be getting         18· application for ballot by mail or mail ballots?
19· a phone call.· So I don't -- I -- I don't understand the         19· · · A.· ·Yes.
20· question, how you're asking it.                                  20· · · Q.· ·Were there voters who provided a number on
21· · · Q.· ·Uh-huh.· So I'm hoping to get an understanding          21· their ABBM that you were able to match and that you sent
22· of how these new ID number matching requirements under           22· them a mail ballot and then when you got the mail
23· SB 1 affected the workflow of your office.                       23· ballots back, you could not match the ID number that had
24· · · · · ·So you'll agree with me that in elections prior         24· been provided on the mail ballot envelope?
25· to the March primary 2022, you didn't have to answer any         25· · · A.· ·Yes.

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·1· questions from voters about their driver's license or            ·1· · · Q.· ·Okay.· Do you know about how many those were?
·2· Social matching for their ABBM or their ballot, right?           ·2· · · A.· ·I do not know.
·3· · · A.· ·Correct.· We didn't have to answer those                ·3· · · Q.· ·Would we be able to figure it out by -- did
·4· questions before SB 1.                                           ·4· you -- I answered my own question.· Let me start again.
·5· · · Q.· ·And then after SB 1 and for the March 2022              ·5· · · · · ·Did you keep track of the voters for whom you
·6· primary, you did have to answer questions from voters            ·6· received a mail ballot, but you could not verify their
·7· about those requirements, correct?                               ·7· ID number in order to count that mail ballot?
·8· · · A.· ·Yes.                                                    ·8· · · A.· ·Yes.
·9· · · Q.· ·So how much time did it take you to answer              ·9· · · Q.· ·Okay.· And presumably, if they were sending you
10· those types of questions from voters on SB 1-related             10· a mail ballot, they had already managed to get
11· requirements once you started putting them into effect           11· themselves through the ABBM process, right, by giving
12· for the March primary?                                           12· you a number you could match?
13· · · A.· ·Are you asking me how long it took to answer a          13· · · A.· ·Yes.
14· phone call?                                                      14· · · Q.· ·Okay.· But then, we have the number of people
15· · · Q.· ·Answer -- if we add it up, the time that you            15· who were sent mail ballots and then you get these mail
16· spent talking to voters and responding to their                  16· ballot back and you can't verify the number.· That's
17· inquiries about the ID-matching-number requirements, if          17· a -- that's, like, a known -- we could figure that out?
18· we added up those minutes, what would that be like for           18· · · A.· ·Yes.
19· you?                                                             19· · · Q.· ·Okay.· Did you ever advise a voter over the
20· · · A.· ·Again, that's every day, all day.                       20· phone what to do when they received a notice and a new
21· · · Q.· ·Okay.                                                   21· ABBM and maybe also a new Voter Registration
22· · · A.· ·I can't give you a -- a number, specific                22· Application?· Did you ever advise a voter on the phone,
23· number, because I don't have it.                                 23· like, This is what you have to do with these papers and
24· · · Q.· ·Okay.                                                   24· get them back to us so we can send you a mail ballot?
25· · · A.· ·We answer phone calls every day, all day long.          25· · · A.· ·Yes.


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·1· · · Q.· ·Did you ever -- did you ever talk to a voter             ·1· · · A.· ·-- a box, yes.
·2· for whom there wasn't enough time left, either for you            ·2· · · Q.· ·-- on the ABBM?
·3· to send them those new materials or for them to return            ·3· · · A.· ·Yes.
·4· those materials, and did you offer those voters a                 ·4· · · Q.· ·Okay.· And that continues through -- even
·5· different advice?                                                 ·5· through the March primary of 2022?
·6· · · A.· ·Yes.                                                     ·6· · · A.· ·Yes.
·7· · · Q.· ·Okay.· Tell me how that situation would come to          ·7· · · Q.· ·And does that information go into your computer
·8· pass?                                                             ·8· system in any way?
·9· · · A.· ·Let's say if you sent in your information and            ·9· · · A.· ·Yes.
10· we sent you a notice back, and it was past the deadline           10· · · Q.· ·So you could run a report, for example, how
11· or you wouldn't have enough time to get into the mail,            11· many of your mail voters were sent a ballot because they
12· if you received a ABBM, sent a ABBM in and a notice was           12· checked off over 65 versus disabled versus absent; is
13· sent to you, then I would advise that voter to go to an           13· that right?
14· Early Voting location or go to the polls on Election Day          14· · · A.· ·Yes.
15· to vote in person.· And then the ABBM application that I          15· · · Q.· ·What system would produce that report; what's
16· sent back to you, just go ahead -- and I will let them            16· the name of your system?
17· know to fill out everything completely, answer all the            17· · · A.· ·VEMACS.
18· questions, and mail it back to us, and then we'll get             18· · · Q.· ·VEMACS.
19· you ready for the next election.                                  19· · · · · · · · THE WITNESS:· It's V-E-M-A-C-S.
20· · · Q.· ·Okay.· Did you ever have a voter tell you, in            20· · · · · · · · THE REPORTER:· Thank you.
21· response to that advice, that they -- they weren't                21· · · Q.· ·Thank you.· I had completely gotten that wrong.
22· physically able to get to the poll to vote in person?             22· · · A.· ·A lot of people do.· I'm sorry.· And the
23· · · A.· ·Yes.                                                     23· corporation is Votec that owns the VEMACS.
24· · · Q.· ·Do you remember what some of those reasons were          24· · · · · · · · THE REPORTER:· I'm sorry?
25· that the people were describing about themselves that             25· · · · · · · · THE WITNESS:· VOTEC, V-O-T-E-C.

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·1· they weren't physically able to get --                            ·1· · · Q.· ·Did you find yourself unable to process
·2· · · A.· ·They said --                                             ·2· applications for ballot by mail at a greater number
·3· · · Q.· ·-- to the poll?                                          ·3· following SB 1's requirement to match an ID number?
·4· · · A.· ·-- they could not walk or they couldn't --               ·4· · · A.· ·Yes.
·5· didn't have a way or a car to get to the polls.                   ·5· · · Q.· ·And how do you know the numbers are greater
·6· · · Q.· ·Okay.· Were most of the people that you were             ·6· post SB 1?
·7· talking to over age 65?                                           ·7· · · A.· ·Because of the requirements of the driver's
·8· · · A.· ·Yes.                                                     ·8· license and the ID it didn't ask before.
·9· · · Q.· ·Do you have data on what -- let's say for                ·9· · · Q.· ·All right.· How do you know you were rejecting
10· pre-SB 1, what proportion of your mail voters fall into           10· more ABBMs and more mail ballots post SB 1?· Like, how
11· the over-65 category versus disability versus absent              11· do you know the volume was greater?
12· from the jurisdiction on Election Day?                            12· · · · · · · · MS. HUNKER:· Objection, form.
13· · · A.· ·Yes.                                                     13· · · A.· ·How do I know the volume was greater?
14· · · Q.· ·For pre-SB 1?                                            14· · · Q.· ·(Moving head up and down.)
15· · · A.· ·Yes, because, you know, we have the category.            15· · · A.· ·By the numbers that we was putting into the
16· We have -- they have to tell us how they are vot- -- why          16· system of the notice codes, notices that we sending out.
17· they're voting mail ballot, so we have -- we put that             17· · · · · · · · THE REPORTER:· I'm sorry.· Can you repeat
18· into our system, Y65, which is annual 65; YDS, which is           18· your answer, and can you speak up just a little bit --
19· disabled; or REM (phonetics), out of county.                      19· · · · · · · · THE WITNESS:· I'm sorry.
20· · · Q.· ·Okay.                                                    20· · · · · · · · THE REPORTER:· -- please.
21· · · A.· ·Uh-huh.                                                  21· · · · · · · · THE WITNESS:· About how -- the
22· · · Q.· ·And that's because they check a box; isn't               22· applications that we was -- put in the systems, the
23· that --                                                           23· notices that we were generating to the voters.
24· · · A.· ·They check --                                            24· · · · · · · · THE REPORTER:· Thank you.
25· · · Q.· ·-- right --                                              25· · · Q.· ·And I think you said notice codes?


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·1· · · A.· ·Notice codes.                                           ·1· · · Q.· ·I see.· So you would eith- -- you would -- you
·2· · · Q.· ·Were you here when Mr. Lopez testified that, at         ·2· would find that voter as you were entering the
·3· some point, Dallas County received an update from the            ·3· information for the application --
·4· Secretary of State in TEAMS or through TEAMS that gave           ·4· · · A.· ·Yes.
·5· you more ID numbers?                                             ·5· · · Q.· ·-- for ballot by mail?
·6· · · A.· ·Yes.                                                    ·6· · · A.· ·Yes.
·7· · · Q.· ·Were you familiar with that when it happened?           ·7· · · Q.· ·And she would -- Susan Smith, she would appear
·8· · · A.· ·He told me that it happened.                            ·8· with the information that is associated with her voter
·9· · · Q.· ·Okay.· So do you know whether it got any easier         ·9· registration record as maintained by Dallas County; is
10· to find a matching ID number at that point?· Or -- I             10· that right?
11· understand it was February.                                      11· · · A.· ·Yes.
12· · · · · ·Was it too late at that point?· Do you -- do            12· · · Q.· ·Do you know if TEAMS does any automatic updates
13· you have any recollection of that?                               13· into your voter roll at Dallas County?
14· · · A.· ·I do --                                                 14· · · A.· ·That is a question for Rive Lopez.
15· · · · · · · · MS. HUNKER:· Objection, form.                      15· · · Q.· ·Okay.· I have a question about what we call the
16· · · A.· ·-- not know if it got easier or not.                    16· carrier envelope.
17· · · Q.· ·(By Ms. Perales)· Okay.· Let me ask you another         17· · · A.· ·Okay.
18· question about verifying the ID number.                          18· · · Q.· ·Is it fair to say that the mail ballot, itself,
19· · · · · ·Would it be fair to say that when you received          19· goes inside an envelope and then that envelope goes
20· either an ABBM or a mail ballot, that you would take             20· inside a mailing envelope?
21· that number that was provided to you by the voter and            21· · · · · · · · MS. HUNKER:· Objection to form.
22· look it up in the Dallas County voter roll for that              22· · · Q.· ·(By Ms. Perales)· Help me understand because
23· voter?· You would look up that voter in your own voter           23· I've always had a sense that there are two envelopes
24· registration records to see if you could find a matching         24· involved, but I need some help understanding which one
25· number?                                                          25· is the carrier envelope.

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·1· · · A.· ·Repeat that again.                                      ·1· · · A.· ·Okay.· So what we do is we have a mail ballot
·2· · · Q.· ·Okay.· Let's say you get either an ABBM or a            ·2· packet (indicating).· We have -- for the primary 2020
·3· mail ballot from Susan Smith, and there's a -- Susan has         ·3· election, we had to use the white envelope.· So we had a
·4· provided an ID number.· It's either a ABBM or a mail             ·4· white mailing envelope.· Then we had the white secrecy
·5· ballot.                                                          ·5· or ballot envelope.· Then we have a carrier envelope,
·6· · · · · ·What would you go looking at to try to match            ·6· and then we have inserts.
·7· that number?· You -- I think you said it would be Susan          ·7· · · · · ·We put all those in a packet, along with the
·8· Smith's voter registration record; is that correct?              ·8· ballot, to the voter.· The voter is -- are to return
·9· · · A.· ·Yes.                                                    ·9· their voted ballot inside the ballot secrecy envelope,
10· · · Q.· ·And is that Susan Smith's voter registration            10· seal that, and take that and put it inside the carrier
11· record as maintained by Dallas County?                           11· envelope.· Before they close the carrier envelope, they
12· · · A.· ·Yes.                                                    12· are to put their identification there, close
13· · · Q.· ·If you couldn't find a matching number in your          13· (indicating) the carrier envelope and, over the seal,
14· Dallas County voter roll or voter registration record            14· sign their signature, and then mail that to us.
15· for Susan Smith, did you have another part of your               15· · · Q.· ·So the carrier envelope is the envelope that's
16· process where you would try to find that number for              16· handled, for example, by the US mail --
17· Susan Smith maybe by doing an inquiry into TEAM?                 17· · · A.· ·Yes.
18· · · A.· ·No, we wouldn't do a inquiry into TEAM.· It had         18· · · Q.· ·-- is that right?
19· to be on our voter registration record roll.                     19· · · A.· ·Yes.
20· · · · · · · · THE REPORTER:· I'm sorry.· It would have           20· · · Q.· ·And the secrecy envelope is the envelope that
21· to be what?                                                      21· contains the voted ballot?
22· · · A.· ·On our voter registration in VEMACS.· So how we         22· · · A.· ·Yes.
23· look it up is -- how we enter in the absentee                    23· · · Q.· ·Thank you.· Did you have any problems opening
24· application is the same way how we will look up a voter          24· the envelope that had the flap (indicating) with the ID
25· registration, the same way.· So it's on the same screen.         25· number written on it?


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·1· · · A.· ·I do not open the envelope with the flap with           ·1· you sent them the notice and --
·2· the ID number on it.                                             ·2· · · A.· ·Yes.
·3· · · Q.· ·Who does?                                               ·3· · · Q.· ·Okay.· And would that be because you just
·4· · · A.· ·SVC.                                                    ·4· didn't have their ID number that they provided in your
·5· · · Q.· ·Okay.· Did you hear of any problems the                 ·5· system?
·6· Signature Verification Committee had getting those               ·6· · · A.· ·Yes.
·7· envelopes open without destroying the number underneath?         ·7· · · Q.· ·And now I'm going to ask on the mail ballot
·8· · · A.· ·Are you asking about opening the flap, or are           ·8· side, were there people who submitted a mail ballot to
·9· you asking about opening the envelope?                           ·9· you and you weren't able to verify that number and,
10· · · Q.· ·Opening the flap.· Who opens the flap?                  10· thus, you were not able to have that ballot counted?
11· · · A.· ·I do.                                                   11· · · · · · · · MS. HUNKER:· Objection, form.
12· · · Q.· ·Okay.                                                   12· · · A.· ·I -- I don't feel comfortable answering that
13· · · A.· ·I do.                                                   13· question because I don't, you know, make the decisions
14· · · Q.· ·Did you have any problems opening the flap?             14· on that.· Ballot Board does.· Early Voting Ballot Board
15· · · A.· ·I hope not.· I designed that flap --                    15· does.
16· · · Q.· ·Okay.                                                   16· · · · · · · · THE WITNESS:· I'm sorry.· Early Voting
17· · · A.· ·-- helped design it.· No, just kidding.· No.            17· Ballot Board.
18· · · Q.· ·I just -- as we go around this day and we               18· · · · · · · · THE REPORTER:· Okay.
19· talked to all these counties --                                  19· · · Q.· ·Did you or anyone in your office speak to any
20· · · A.· ·Uh-huh.                                                 20· voters who told you that they just hadn't been able to
21· · · Q.· ·-- we get all kinds of stories.                         21· vote in the election because of the voter ID number
22· · · A.· ·We have -- we have -- the way we designed the           22· matching requirements or as a result of the voter ID
23· flap was pre-perf, and we just pull it back.                     23· number matching requirements?
24· · · · · · · · THE REPORTER:· You said pre --                     24· · · · · · · · MS. HUNKER:· Objection, form.
25· · · · · · · · THE WITNESS:· Perf.                                25· · · A.· ·Yes.

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·1· · · · · · · · THE REPORTER:· Pre-perf.                           ·1· · · Q.· ·(By Ms. Perales)· Can you give me an example of
·2· · · · · · · · THE WITNESS:· Uh-huh.                              ·2· a person like that?· Do you recall any specific --
·3· · · · · · · · THE REPORTER:· Thank you.                          ·3· · · A.· ·Of a voter who just could not get to the polls?
·4· · · Q.· ·Pre-perforated?                                         ·4· · · Q.· ·Yes.
·5· · · A.· ·Pre-perforated.· I'm sorry.· Yes.                       ·5· · · A.· ·That's it.· They couldn't -- they couldn't get
·6· · · Q.· ·So you didn't have to use any tools or                  ·6· out of the house to get to the polls and that is their
·7· implements to try to get that open?                              ·7· only way of voting, was voting by mail.
·8· · · A.· ·No.                                                     ·8· · · Q.· ·And a voter who you couldn't match their ID
·9· · · Q.· ·That's probably worth a phone call with some            ·9· number?
10· counties that I can recommend to.                                10· · · A.· ·Yes.· A lot of voters just got frustrated and
11· · · · · ·And so do you think that there are voters in            11· didn't -- wouldn't turn it back in.
12· Dallas County who submitted an ABBM, you couldn't match          12· · · Q.· ·Do you receive mail ballots where another
13· their ID number and you sent them the notice and the new         13· individual has helped the voter, provided assistance to
14· materials, but they were never able to cure the ABBM             14· that voter, and then signed that spot on the envelope
15· and, thus, did not vote?                                         15· where they are supposed to sign?
16· · · · · · · · MS. HUNKER:· Objection, form.                      16· · · A.· ·Do I receive -- ask me that again.
17· · · A.· ·Yes.                                                    17· · · Q.· ·Yeah.· Do you receive mail ballots that come
18· · · Q.· ·(By Ms. Perales)· Okay.· And what would be the          18· back to you and you can see that an assistor has
19· reasons that they couldn't cure the ABBM?                        19· provided assistance to that voter?
20· · · A.· ·What would be the reasons why?                          20· · · A.· ·Are you asking me do I receive the ABBM
21· · · Q.· ·Yes.· So, for example, one reason might be they         21· application or the mail ballot?
22· just didn't have enough time; they just didn't get it            22· · · Q.· ·I was asking just about the mail ballot.
23· done in time.                                                    23· · · A.· ·Do we see receive -- I can see that, yes.
24· · · · · ·But were there people who gave you a number,            24· · · Q.· ·Do you record anywhere that a mail ballot came
25· and you just simply weren't able to match it, even after         25· to you and there's an indication that the voter received

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·1· assistance?                                                     ·1· · · A.· ·Either they can call us on the phone and ask --
·2· · · A.· ·No, I do not.                                          ·2· request -- that person requesting for their ballot, can
·3· · · Q.· ·So the only way we could figure out that number        ·3· request a Spanish version of the ballot; or if it's a
·4· would be to go back through the envelopes; is that              ·4· Vietnamese, they can call and request that; or they can
·5· right?                                                          ·5· submit a court request to us in writing, and they can
·6· · · A.· ·Yes.                                                   ·6· also state that in writing, asking for that.
·7· · · Q.· ·Okay.· That sounds time-consuming.                     ·7· · · Q.· ·If someone calls your -- your mail voting
·8· · · A.· ·Yes.                                                   ·8· group --
·9· · · Q.· ·And now let me ask you about the application           ·9· · · A.· ·Uh-huh.
10· for ballot by mail.· If a voter receives assistance in          10· · · Q.· ·-- and they're just speaking Spanish on the
11· filling out the application for ballot by mail, do you          11· phone --
12· keep track of that number anywhere?                             12· · · A.· ·Uh-huh.
13· · · A.· ·No.                                                    13· · · Q.· ·-- what would -- how would you handle that
14· · · Q.· ·Okay.                                                  14· call?
15· · · A.· ·No, we do not keep track, but what I can say           15· · · A.· ·Well, two ways, through the prompts in the
16· is:· If a application come into our office and the --           16· system they call, we have a Spanish version.· If they
17· they have a witness here (indicating), but they didn't          17· say, I would like to speak to a Spanish speaker, then
18· sign, then we send them that notice to the voter that           18· they can still like that and then the phone call will go
19· it's not signed; or if they signed it down here and             19· to a Spanish-speaker.
20· didn't fill out the information, then we send a notice          20· · · · · ·If not, if we do get that call, then they'll
21· (indicating) to that, but...                                    21· ask us -- either speak to us in English or ask if they
22· · · Q.· ·So only in a situation where you can tell that         22· speak to someone in Spanish, and then we'll transfer
23· somebody provided assistance, but they didn't fill out          23· that call to the person who's speaking Spanish.
24· the paperwork --                                                24· · · Q.· ·Between you and the eight people that work with
25· · · A.· ·If it's --                                             25· you --

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·1· · · Q.· ·-- correctly?                                          ·1· · · A.· ·Uh-huh.
·2· · · A.· ·-- incomplete, yes.                                    ·2· · · Q.· ·-- in the mail-ballot group, do you have any
·3· · · Q.· ·Okay.· Do you send out mail ballots in Spanish?        ·3· Spanish speakers?
·4· · · A.· ·If it's requ- -- if it's requested, yes.               ·4· · · A.· ·Yes.
·5· · · Q.· ·Is your mail ballot bilingual in the sense             ·5· · · Q.· ·Do you have any Vietnamese speakers?
·6· that --                                                         ·6· · · A.· ·In my department, no.· But in the office, yes,
·7· · · A.· ·Well, let me --                                        ·7· we have one.
·8· · · Q.· ·-- it has English and Spanish?                         ·8· · · Q.· ·Are the language prompts in your system yet for
·9· · · A.· ·I'm sorry.· Rephrase that.· Let me say:· Are           ·9· someone to call Dallas County Elections and get a prompt
10· you asking the ballot or the mail ballot?                       10· for -- if you need to speak -- if you need to hear this
11· · · Q.· ·So let me ask you first about the mai- -- the          11· message in Vietnamese, press whatever?
12· ballot, itself.                                                 12· · · A.· ·I do not know.
13· · · A.· ·The ballot, itself?                                    13· · · Q.· ·Because it's new?
14· · · Q.· ·Is the ballot bilingual, or does it kind --            14· · · A.· ·It's new.
15· · · A.· ·Trilingual.                                            15· · · Q.· ·Okay.
16· · · Q.· ·It's trilingual.                                       16· · · A.· ·It may be.· I just don't know.
17· · · A.· ·English, Spanish and Vietnamese now.                   17· · · Q.· ·I want to ask you now about guidance from the
18· · · Q.· ·Okay.· And so the mail ballot has all three of         18· Secretary of State's office during this process,
19· those languages on it?                                          19· starting January 1 of 2022.
20· · · A.· ·The ballot has it, yes.                                20· · · A.· ·Okay.
21· · · Q.· ·Okay.· Now, for application for ballot by mail,        21· · · Q.· ·Was there a time when your office was making
22· if somebody is Spanish-speaking --                              22· decisions about how to implement the new ID number
23· · · A.· ·Yes.                                                   23· matching requirements and you had not yet received
24· · · Q.· ·-- how could they make sure that you send them         24· guidance from the Secretary of State's office?
25· a Spanish language application for ballot by mail?              25· · · A.· ·Yes.


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·1· · · · · · · · MS. HUNKER:· Objection, form.                      ·1· · · Q.· ·And then you also mentioned emails.
·2· · · Q.· ·(By Ms. Perales)· Give me an example of that.           ·2· · · A.· ·Yes.
·3· · · A.· ·How we were going to handle the notices for the         ·3· · · Q.· ·So, in your email account for where you are at
·4· missing or incorrect driver license, Texas ID or Social          ·4· your office, there's going to be emails going back and
·5· Security; that was mostly that there.                            ·5· forth between you and people who work for the Secretary
·6· · · Q.· ·Okay.                                                   ·6· of State about implementing SB 1?
·7· · · A.· ·And then how we was notifying the voters,               ·7· · · A.· ·Yes.· They would send us the elections intranet
·8· sending the notices out.                                         ·8· advisories, emails --
·9· · · Q.· ·So you had to make those decisions as Dallas            ·9· · · Q.· ·Okay.
10· County, correct?                                                 10· · · A.· ·-- letting us know the new notices --
11· · · A.· ·Yes.                                                    11· · · Q.· ·Uh-huh.
12· · · Q.· ·Do you, in your job, ever talk to people at the         12· · · A.· ·-- giving us the webinar dates that they was
13· Secretary of State's office?                                     13· holding to put out --
14· · · A.· ·Yes.                                                    14· · · Q.· ·Okay.
15· · · Q.· ·And did you ask for guidance on some of these           15· · · A.· ·-- and sending out the -- like I said, the
16· ID matching requirements for SB 1 from the Secretary of          16· notices and the dates and the deadlines.
17· State?                                                           17· · · Q.· ·So there are emails from the Secretary of
18· · · A.· ·Did I ask for guidance from the Secretar- --            18· State's office that kind of went to all the counties on
19· no.                                                              19· the same basis with --
20· · · Q.· ·Did you have communications with anyone in the          20· · · A.· ·Yes.
21· Secretary of State's office, from January 1 until the            21· · · Q.· ·-- this new information?
22· March primary date, about the signature -- or not the            22· · · A.· ·Yes.
23· signature, about the ID number matching requirements and         23· · · Q.· ·Did you ever have email or -- or other
24· how to implement them in Dallas County?                          24· communication back and forth with the Secretary of State
25· · · A.· ·Repeat that again.                                      25· between January 1 and the March primary that was just

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·1· · · Q.· ·Did you ever have communication with the                ·1· you and somebody over there, that was not to all the
·2· Secretary of State's office about implementing these ID          ·2· counties?
·3· number matching requirements between January 1 and the           ·3· · · A.· ·Yes.
·4· date of the election?                                            ·4· · · Q.· ·And what -- what were those types of emails
·5· · · A.· ·Yes, emails and web- -- webinars and some --            ·5· that were just specific to you and them?
·6· · · · · · · · THE REPORTER:· I'm sorry.· Emails and              ·6· · · A.· ·One of the -- Emily Harwell (phonetics) -- I
·7· what?                                                            ·7· believe that's her name -- she's the representative for
·8· · · · · · · · THE WITNESS:· Webinar- -- webinars.                ·8· Dallas County.· She would send us back email- --
·9· Webinars.                                                        ·9· actually, me a email to let me know if something needed
10· · · Q.· ·And so at some point, the Secretary of State            10· to be done in TEAMS or I needed to fix something in
11· offered a webinar for implementing SB 1?                         11· TEAMS or fix something with my county to send to TEAMS.
12· · · A.· ·Yes.                                                    12· · · Q.· ·And Emily Harwell is with the Secretary of
13· · · Q.· ·Do you remember about when that was?                    13· State?
14· · · A.· ·No, I do not.                                           14· · · A.· ·Yes.
15· · · Q.· ·Was it already when early voting or mail voting         15· · · Q.· ·Okay.· And she would send you that message
16· was underway for you in Dallas County?                           16· about fixing things in TEAMS?
17· · · A.· ·Mail voting began on January 1st, 2022.· We did         17· · · A.· ·She would send me that message and others in
18· receive a template and guidelines on how to do the               18· the office that message.
19· carrier envelopes, and we received that in December of           19· · · Q.· ·Including Mr. Lopez?
20· 2021, so...                                                      20· · · A.· ·Sometime Mr. Lopez, sometime Mr. Scarpello --
21· · · Q.· ·Okay.· And then from January 1 to the March             21· · · Q.· ·Okay.
22· primary election day, you mentioned a webinar.                   22· · · A.· ·-- and to me, also.
23· · · · · ·Do you remember more or less when that                  23· · · Q.· ·And when you were interacting with TEAMS, this
24· happened?                                                        24· was specific to mail ballots or ABBMs, or it just was --
25· · · A.· ·No, I do not.                                           25· · · A.· ·ABBMs, mail ballots, the ballot tracker, yes --


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·1· · · Q.· ·So --                                                    ·1· · · A.· ·Yes, when we would send the report.· So what --
·2· · · A.· ·-- because we have to send something to the              ·2· what I have to do is anything that we deal with a
·3· TEAMS so it can get submitted to the ballot tracker, on           ·3· particular election.· So let's say we were dealing with
·4· the ballot tracker.                                               ·4· the March primary; we associated that voter to that
·5· · · Q.· ·So she was telling you to put something in               ·5· March primary election.
·6· TEAMS?                                                            ·6· · · Q.· ·Uh-huh.
·7· · · A.· ·She was saying something I had missing, if I --          ·7· · · A.· ·What we did was doing an export out of TEAM- --
·8· if I failed to have something, like, if -- let's say you          ·8· out of VEMACS.
·9· sent in an application for ballot by mail and the                 ·9· · · Q.· ·Uh-huh.
10· request didn't go through first and then it said that I           10· · · A.· ·And then once we created the export out of
11· mailed the ballot out to you, there's a order of steps            11· VEMACS, it captured everything that we did to touch that
12· to send stuff to TEAMS.                                           12· one particular voter.· And then we submit that
13· · · · · ·So first I have to send in that say, Hey, Nina           13· information to TEAMS, through an import through TEAMS.
14· Perales requested a application for ballot by mail.               14· · · Q.· ·And is it fair to say that Emily Harwell --
15· Then the next thing I have to send is that I sent Nina            15· · · A.· ·Uh-huh.
16· her ballot.· And then -- then I have to send something            16· · · Q.· ·-- would contact you because there was
17· back that's saying that Nina did, in fact, send her               17· something missing with respect to just one individual
18· ballot to us.                                                     18· voter?
19· · · Q.· ·Uh-huh.                                                  19· · · A.· ·It was -- there was one or a group.
20· · · A.· ·Or I had one of the situations where, when we            20· · · Q.· ·Okay.· And there would be a step missing, for
21· was trying to get a clear understanding of our voter              21· example, in their process towards getting a mail ballot?
22· registration system cancel -- like, say -- let's say if           22· · · A.· ·Yes.
23· you did receive a request for a ballot by mail and you            23· · · Q.· ·Okay.· Did you ever have a situation where a
24· decided to go to polls to vote, we had to clear you out           24· voter or an individual was trying to request an
25· the system.                                                       25· application for ballot by mail on behalf of another

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·1· · · Q.· ·Uh-huh.                                                  ·1· person?
·2· · · A.· ·Well, our voter registration system at the time          ·2· · · A.· ·Yes.
·3· wouldn't -- didn't send that information to TEAMS                 ·3· · · · · · · · MS. HUNKER:· Objection to form.
·4· because it didn't have to.· But now -- now with the SB 1          ·4· · · Q.· ·(By Ms. Perales)· And how did you handle that
·5· law, you have to; so she let us know about that, told us          ·5· situation when you would get contacted by someone who
·6· about that.                                                       ·6· says, I need to request an application for ballot by
·7· · · Q.· ·And would you have to do that in TEAMS voter by          ·7· mail for this other individual?
·8· voter, individually?                                              ·8· · · A.· ·I'll tell them, Unfortunately, I wouldn't be
·9· · · A.· ·Oh, no, no.                                              ·9· able to do that; I will need to speak with the voter
10· · · Q.· ·Okay.                                                    10· that -- who needs the mail ballot.
11· · · A.· ·No, we would just have to send an export to              11· · · Q.· ·And would sometimes, then, the voter who needs
12· TEAMS.                                                            12· the ballot get on the phone?
13· · · Q.· ·Okay.· So there was some point at which the              13· · · A.· ·Yes.
14· export would be sent out to TEAMS?                                14· · · Q.· ·Was there ever an instance where the person who
15· · · A.· ·Yes.                                                     15· needed the ballot could not get on the phone and tell
16· · · Q.· ·And you could do more than one voter at a time?          16· you, themselves?
17· · · A.· ·We could -- yes.                                         17· · · A.· ·Yes.
18· · · Q.· ·So when you were -- is it correct to say that            18· · · Q.· ·Give me that instance, if you could --
19· you were using VEMACS to record, for example, when you            19· · · A.· ·Husband and wife --
20· received a request for application for ballot by mail or          20· · · · · · · · THE REPORTER:· I'm sorry.
21· that you sent out an application for ballot by mail, you          21· · · · · · · · THE WITNESS:· I'm sorry.
22· would be using VEMACS; is that --                                 22· · · A.· ·With the husband --
23· · · A.· ·Yes.                                                     23· · · · · · · · THE REPORTER:· Wait just a second.
24· · · Q.· ·-- right?                                                24· · · · · · · · THE WITNESS:· Uh-huh.
25· · · · · ·So VEMACS wasn't automatically talking to TEAM?          25· · · · · · · · THE REPORTER:· I'm still -- okay.· Go


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·1· ahead.· Now start.· Thank you.                                   ·1· last four of the Social in order for the voter to get
·2· · · A.· ·With the husband and wife situation, husband            ·2· into the system?
·3· calls, requests for a ballot by mail.· He wants to               ·3· · · A.· ·Yes.
·4· request one for his wife.· We would tell him, no, we             ·4· · · Q.· ·Okay.· And so if the voter put in their
·5· have to speak to the wife.· Wife -- and he would say,            ·5· driver's license number and the last four of their
·6· "The wife is at work."                                           ·6· Social, but one of those numbers was missing from their
·7· · · · · ·And I said, "Well, she'll have to call us back          ·7· voter registration record, is it correct to say, then,
·8· later."                                                          ·8· that they could not access the ballot tracker?
·9· · · Q.· ·Okay.· Was there ever an instance where the             ·9· · · A.· ·Yes.
10· person could not tell you over the phone -- that they            10· · · Q.· ·Did you have anybody contact your office to
11· were there, but they could not communicate to you?               11· tell you about that?
12· · · A.· ·No, not -- not to my knowledge (indicating).            12· · · A.· ·Yes.
13· · · Q.· ·Okay.· And then have you heard from anybody             13· · · Q.· ·More than ten people?
14· else in your staff that they had a situation where the           14· · · A.· ·Yes.
15· voter could not communicate that they needed the ballot          15· · · Q.· ·Did you offer any advice to those voters about
16· and that's why this other person was calling on their            16· how to access the ballot tracker system when they were
17· behalf?                                                          17· providing their ID numbers, but it -- it just wasn't
18· · · · · · · · MS. HUNKER:· Objection, form.                      18· letting them in?
19· · · A.· ·Not to my knowledge.                                    19· · · A.· ·Yes.
20· · · Q.· ·(By Ms. Perales)· Okay.· Let me ask you about           20· · · Q.· ·And what did you tell them?
21· the ballot tracker because that's --                             21· · · A.· ·Well, if I was speaking to the voter, then I
22· · · A.· ·Okay.                                                   22· would look up their voter registration information, and
23· · · Q.· ·-- the next thing on my list.                           23· I advised them what they had in the system.
24· · · · · ·To the best of your knowledge, when did the             24· · · Q.· ·And did you ever look up a voter and find that
25· ballot tracker become available for Dallas County people         25· there was a driver's license number, but no last four of

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·1· to use to track their ballots?                                   ·1· the Social?
·2· · · A.· ·I do not know.                                          ·2· · · A.· ·Yes.
·3· · · Q.· ·Okay.· Did you ever advise a voter to try to            ·3· · · Q.· ·Did you ever look up a voter and see that there
·4· use the ballot tracker to put ID number information in           ·4· was the last four of the Social, but no driver's license
·5· there so that they could vote by mail?                           ·5· number?
·6· · · A.· ·From my knowledge, you cannot put ID                    ·6· · · A.· ·I don't recall doing that, remember that one.
·7· information in the ballot tracker.                               ·7· · · Q.· ·Was it more the -- more often the case that a
·8· · · Q.· ·So what do you know about the ballot tracker?           ·8· voter's driver's license number was in their
·9· What is --                                                       ·9· registration record, but not the last four of their
10· · · A.· ·The ballot tracker is a device that the voter           10· Social?
11· can look up to track their ballot to see if their                11· · · A.· ·Yes.
12· application was accepted, if their ballot was mailed to          12· · · Q.· ·Do you know, when a person fills out a voter
13· them and when the ballot was returned -- when they               13· registration application, whether they have to provide
14· mailed the ballot back to the county, and if the ballot          14· both the driver's license number and the last four of
15· was received.                                                    15· the Social or if they can just provide the driver's
16· · · Q.· ·Do you know what information the voter has to           16· license number and be accepted for voter registration?
17· put into the ballot tracker to access that information?          17· · · · · · · · MS. HUNKER:· Objection, form.
18· · · A.· ·Yes.                                                    18· · · A.· ·On the voter registration application, it
19· · · Q.· ·What is that information?                               19· does -- it has the question for both, but it says "or,"
20· · · A.· ·They have to put their name -- first name, last         20· either-or.
21· name, date of birth, driver's license, Social Security,          21· · · Q.· ·Is it also the case that you have voters
22· address, the county that they live in.                           22· registered to vote in Dallas County who registered to
23· · · Q.· ·Uh-huh.· Do you know if, in order to get into           23· vote before the voter registration application asked for
24· the ballot tracker, that the system, the ballot tracker          24· either the driver's license number or the last four of
25· system, had to match the voter's driver's license and            25· the Social?

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·1· · · A.· ·Yes.                                                 ·1· gives a lot of ways for you to cure.· So I couldn't
·2· · · Q.· ·And do you know when the voter registration          ·2· really tell you more about the ballot tracker because I
·3· form started asking for that information?                     ·3· didn't design it or --
·4· · · A.· ·No.                                                  ·4· · · Q.· ·Okay.
·5· · · Q.· ·And so did you ever hear that somebody could         ·5· · · A.· ·-- work on it that much.
·6· access the ballot tracker to try to cure their                ·6· · · Q.· ·Would you say that Dallas County experienced
·7· application for a ballot by mail or cure the ID number        ·7· problems associated with the new voter ID number
·8· information for a mail ballot?                                ·8· matching requirements in SB 1?
·9· · · A.· ·Say that again, please.                              ·9· · · · · · · · MS. HUNKER:· Objection to form.
10· · · Q.· ·Did you ever hear that somebody could access         10· · · A.· ·What type of problems?
11· the ballot tracker and then provide ID number                 11· · · Q.· ·(By Ms. Perales)· Well, really, any kind of
12· information that would allow them to, essentially, cure       12· problem.· So the topic on which you've been designated
13· either an ABBM or a mail ballot for which you could not       13· is, quote, any issues, problems, concerns, or
14· match (indicating) the ID number?                             14· difficulties you experienced because of the challenged
15· · · A.· ·No --                                                15· provisions of the SB 1, unquote.
16· · · · · · · · MS. HUNKER:· Objection, form.                   16· · · · · ·So there's a lot of SB 1 that's at issue in
17· · · A.· ·-- I did not hear anyone be able to access the       17· this lawsuit, but I wanted to ask specifically for
18· ballot tracker to cure.                                       18· mail -- just for now, mail ballot ID matching
19· · · Q.· ·(By Ms. Perales)· I see.· So you received            19· requirements, whether your office experienced any
20· information from voters saying they could not get into        20· issues, problems, concerns with that?
21· the ballot tracker?                                           21· · · A.· ·I would say educating the voters that call on a
22· · · A.· ·Yes.                                                 22· telephone, explaining to them why they have to have
23· · · · · · · · MS. HUNKER:· Objection, form.                   23· their Texas Driver's License or their Social Security on
24· · · Q.· ·(By Ms. Perales)· Did you ever talk to a voter       24· their application now in order to vote by mail.
25· who said, Yes, I am in the ballot tracker, but had some       25· · · · · ·I would say talking to them about -- talking to

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·1· other question for you --                                     ·1· the voter on the telephone, trying to get them to -- on
·2· · · A.· ·Yes.                                                 ·2· the ballot tracker, how to access the ballot tracker,
·3· · · Q.· ·-- that they -- okay.                                ·3· what information to put on the ballot tracker, that
·4· · · · · ·So some people you did hear from were able to        ·4· concern.· The longer hours that we probably worked for
·5· get into the ballot tracker?                                  ·5· filling -- doing the -- doing the notices, putting in
·6· · · A.· ·Yes.                                                 ·6· the notices, that right there.· I'd -- I'd -- I would
·7· · · Q.· ·And why would they be calling you at that point      ·7· say something like that.
·8· if they were already in?                                      ·8· · · Q.· ·Did you ever try -- well, let me ask you this.
·9· · · A.· ·They wanted to know why their ballot or their        ·9· · · · · ·Was Dallas County receiving inquiries from
10· application was in question.                                  10· either the public or the media about the impact of SB
11· · · Q.· ·Okay.· And when you say "in question," do you        11· 1's ID matching requirements on mail voting?
12· know how they would see that in the ballot tracker?           12· · · · · · · · MS. HUNKER:· Objection, form.
13· · · A.· ·It would say, I believe, it was under review.        13· · · A.· ·Yes.
14· · · Q.· ·Under review.· Okay.· And what were -- was the       14· · · Q.· ·(By Ms. Perales)· And were you responsible for
15· ID number mismatch a reason why it would be under             15· pulling together some of the information to respond to
16· review, or what would typically be a reason that it           16· these inquiries?
17· would be under review?                                        17· · · A.· ·Yes.
18· · · A.· ·With the new SB law, it gives a lot of options       18· · · Q.· ·Did you ever pull together information that
19· to cure your absentee ballot by mail --                       19· would allow you to understand how many people ended up
20· · · Q.· ·Uh-huh.                                              20· not voting as a result of your inability to match their
21· · · A.· ·-- or your -- I mean, your application or your       21· ID number?
22· ballot by mail.· No driver license, no Social Security,       22· · · A.· ·No.
23· mismatched driver license and mismatched Social               23· · · Q.· ·Okay.· What were the sorts of requests that
24· Security, no signature.· If no signature, then -- if it       24· were coming from either the media or the public?
25· was a mismatched signature, a witness statement.· It          25· · · A.· ·They just wanted to know how many people were


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·1· being rejected for -- they wanted to know the rates and        ·1· license number?
·2· the number of how many people were being rejected for --       ·2· · · A.· ·That would be for the Voter Registration
·3· because of the SB 1.                                           ·3· Manager, Rivelino Lopez.
·4· · · Q.· ·Okay.· And you put that information together          ·4· · · Q.· ·And then finally, do you know if it's possible
·5· for them when they would ask?                                  ·5· to identify the number of voters who lack both numbers
·6· · · A.· ·I ran the report, yes.                                ·6· in your voter registration records?
·7· · · Q.· ·But on those rejections, is it fair to say that       ·7· · · A.· ·Voter Registration Manager, Rivelino Lopez.
·8· some of those people would have gotten something from          ·8· · · Q.· ·Are you taking any steps, looking forward to
·9· you in the mail and may or may not have been able to,          ·9· the November 2022 election and these SB 1 requirements
10· for example, submit an ABBM that you could process?            10· for mail voting, to try to prepare your office for what
11· · · A.· ·Yes.                                                  11· you are anticipating will happen in November?· So, for
12· · · Q.· ·Okay.· Looking forward to the November 2022           12· example, are you doing anything different, in terms of
13· election, do you anticipate that there are going to be         13· either training or who -- how many people you're
14· voters who submit ABBMs and you cannot match the number        14· planning to hire, either for temp or permanent because
15· that they provide on the ABBM to the voter registration        15· of what you anticipate will be happening with mail
16· record?                                                        16· voting and this ID number matching requirement?
17· · · A.· ·Yes.                                                  17· · · A.· ·We always prepare for the election the same
18· · · Q.· ·Is it true that more voters vote in the general       18· steps.· So if it's for the November '22 or for this
19· than in the primary?                                           19· upcoming primary election, March runoff --
20· · · A.· ·Yes.                                                  20· · · Q.· ·Uh-huh.
21· · · Q.· ·So there might be people who haven't even             21· · · A.· ·-- the same steps.
22· encountered these SB 1 requirements yet because they           22· · · Q.· ·Do you have local elections on May 7?
23· chose not to vote in the primary, but they plan to vote        23· · · A.· ·May 7, yes.
24· in the general?                                                24· · · Q.· ·Are you in --
25· · · · · · · · MS. HUNKER:· Objection --                        25· · · A.· ·Like, it's a May -- it's a local and a state

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·1· · · A.· ·There might --                                        ·1· election.
·2· · · · · · · · MS. HUNKER:· -- form.                            ·2· · · Q.· ·Yes, local and state for May 7.
·3· · · A.· ·There might be.                                       ·3· · · · · ·Are you currently rejecting ABBMs for the May 7
·4· · · Q.· ·(By Ms. Perales)· And similarly, do you               ·4· election?
·5· anticipate that you're going to receive mail ballots           ·5· · · A.· ·ABBM applications?
·6· from voters that you cannot count because you can't            ·6· · · Q.· ·Yes, ABBM applications.
·7· match their ID number?                                         ·7· · · A.· ·That would have already occurred.· The deadline
·8· · · · · · · · MS. HUNKER:· Objection, form.                    ·8· for that cutoff was April the 26th.
·9· · · A.· ·Are you asking me about the ballots?                  ·9· · · Q.· ·Okay.· So about three days ago?
10· · · Q.· ·(By Ms. Perales)· Yes.· Do you anticipate --          10· · · A.· ·Yes.
11· · · A.· ·Ma'am, I -- I'm not Early Voting Ballot Board,        11· · · Q.· ·Did you find yourself rejecting applications
12· so I don't count ballots.                                      12· for ballot by mail because you were unable to match the
13· · · Q.· ·Okay.· Do you have a sense right now of how           13· ID number?
14· many voters in Dallas County for whom you have a               14· · · A.· ·Maybe so.· I do not know.
15· driver's license number, but no last four of the Social?       15· · · Q.· ·Okay.
16· · · A.· ·No.                                                   16· · · A.· ·I didn't run the numbers on that.
17· · · Q.· ·Is there a way to run a report that shows you         17· · · Q.· ·All right.· Do you know if your office was
18· the voters for whom you have a driver's license number,        18· sending out any notices with new application for ballot
19· but no last four of the Social?                                19· by mail forms on the basis of being unable to match the
20· · · A.· ·That would be for the Voter Registration              20· ID number?
21· Manager, Rivelino Lopez.                                       21· · · A.· ·Maybe.· Probably so.
22· · · Q.· ·And then I just have to ask this question vice        22· · · Q.· ·Okay.· And have you received any mail ballots
23· versa.· Do you -- do you know whether it's possible to         23· that you know were not counted because of an inability
24· figure out how many voters in Dallas County for whom you       24· to match the ID number for the May 7 election?
25· have the last four of the Social, but no driver's              25· · · A.· ·For the mail ballots?

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·1· · · Q.· ·Yes.· If any mail ballots have not been able to      ·1· for example, changes to how someone provides assistance
·2· get counted because of the inability to match the ID          ·2· to a voter in the polling place?
·3· number.                                                       ·3· · · A.· ·I do not --
·4· · · A.· ·Technically --                                       ·4· · · · · · · · MS. HUNKER:· Objection --
·5· · · · · · · · MS. HUNKER:· Objection, form.                   ·5· · · A.· ·-- know.
·6· · · A.· ·-- we cannot count the ballots yet.· And also        ·6· · · · · · · · MS. HUNKER:· -- form.
·7· we -- they have a cure period, so there's no final            ·7· · · Q.· ·(By Ms. Perales)· Okay.· Would you say, then,
·8· rejection until after the cure period.                        ·8· that your knowledge of any issues, problems or concerns
·9· · · Q.· ·(By Ms. Perales)· Thank you for that.                ·9· your department has experienced or Dallas County
10· · · A.· ·Uh-huh.                                              10· Elections has experienced because of the challenge
11· · · · · · · · THE REPORTER:· Now, you said there's no         11· provisions of SB 1 are limited to mail voting?
12· final -- there's no --                                        12· · · A.· ·Can you repeat that, please?
13· · · · · · · · THE WITNESS:· No final rejection until          13· · · Q.· ·Uh-huh.· Would you say that your knowledge of
14· after the cure period.                                        14· issues, problems or concerns, experienced by Dallas
15· · · Q.· ·And the cure period is a certain number of days      15· County Elections because of SB 1 is limited to mail
16· after --                                                      16· voting?
17· · · A.· ·Six days after the election.                         17· · · A.· ·I don't know if I can say that.
18· · · · · · · · THE REPORTER:· I'm sorry.                       18· · · Q.· ·Are you aware of any issues, problems or
19· · · · · · · · THE WITNESS:· I'm sorry.                        19· concerns that Dallas County Elections has with SB 1
20· · · · · · · · THE REPORTER:· If you'll please let her         20· beyond mail voting?
21· get the whole question out -- thank you -- before you         21· · · A.· ·No, I'm not aware.
22· start your answer.                                            22· · · Q.· ·Would you -- would you necessarily know, for
23· · · · · · · · THE WITNESS:· Do you need me to say --          23· example, if Dallas County Elections was having problems,
24· · · · · · · · THE REPORTER:· It's okay, I think.              24· for example, with implementing SB 1's new requirements
25· · · · · · · · THE WITNESS:· You got it.                       25· on providing assistance to voters inside the polling

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·1· · · Q.· ·Are you receiving any applications for ballot        ·1· place?· Would you be the person that would know if there
·2· by mail for the May 24 election?                              ·2· were problems --
·3· · · A.· ·Yes.                                                 ·3· · · A.· ·No --
·4· · · Q.· ·All right.· Do you know if you've had any            ·4· · · Q.· ·-- with that?
·5· applications for ballot by mail for May 24 that you were      ·5· · · A.· ·-- I would not be.
·6· unable to process because you couldn't match the ID           ·6· · · Q.· ·Okay.
·7· number?                                                       ·7· · · · · · · · MS. PERALES:· I need to go off the record
·8· · · A.· ·Yes.                                                 ·8· for a couple of minutes.
·9· · · Q.· ·And have you been sending out notices and new        ·9· · · · · · · · THE WITNESS:· Okay.
10· application for ballot by mail forms to those voters?         10· · · · · · · · THE VIDEOGRAPHER:· Okay.· We're going off
11· · · A.· ·Yes.                                                 11· the record.· The time is 2:02 p.m.
12· · · Q.· ·And could you run a report, for example, today       12· · · · · · · · · · · ·(Break taken.)
13· that tells you how many of these voters you've sent that      13· · · · · · · · THE VIDEOGRAPHER:· All right.· We're back
14· notice to?                                                    14· on the record.· The time is 12 -- 2:12 p.m.
15· · · A.· ·Yes.                                                 15· · · · · · · · MS. PERALES:· I pass the witness.
16· · · Q.· ·And the reason code would be there for not           16· · · · · · · · MR. WHITE:· I don't have any questions for
17· being able to match that ID number?                           17· Ms. Phillips.
18· · · A.· ·Yes.                                                 18· · · · · · · · MS. HUNKER:· Does anybody on the Zoom call
19· · · Q.· ·Okay.                                                19· have any questions for Ms. Phillips?
20· · · A.· ·But I couldn't give you that information until       20· · · · · · · · MS. BENDER:· I would like to ask a few
21· after the election.                                           21· questions on behalf of the United States.
22· · · Q.· ·Oh, okay.· Good to know.                             22· · · · · · · · MS. PERALES:· Would you mind flipping it
23· · · · · ·Do you have any knowledge about any issues or        23· around (to the Videographer)?
24· problems or concerns that your office would have had          24· · · · · · · · · · ·(Laptop adjusted.)
25· related to other parts of SB 1 besides mail voting?· So,      25· · · · · · · · · · · · EXAMINATION


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·1· BY MS. BENDER:                                                 ·1· would you look them up using different information?
·2· · · Q.· ·Okay.· Ms. Phillips, thank you for being here         ·2· · · A.· ·With the mail ballot carrier envelope, with the
·3· today.· I just had a few follow-up questions for you           ·3· VEMACS voter reg- -- VEMAC system, it creates a label;
·4· based upon your conversation earlier.                          ·4· and the label has a bar code on there.· Also it has the
·5· · · · · ·So you talked earlier about looking up an             ·5· voter's -- voter's certificate, which is in-house in
·6· individual --                                                  ·6· V- -- in VR system.
·7· · · · · · · ·(Lights went off in the room.)                    ·7· · · Q.· ·Okay.· And you said you would use the label
·8· · · · · · · · THE REPORTER:· Do y'all want to go off the       ·8· information --
·9· record?                                                        ·9· · · A.· ·Yes.
10· · · · · · · · MR. BENDER:· Yeah.                               10· · · Q.· ·-- to look them up?
11· · · · · · · · MS. PERALES:· Yeah.                              11· · · A.· ·Yes.
12· · · · · · · · THE REPORTER:· Can we go off the record?         12· · · Q.· ·Before SB 1, how long, on average, would you
13· · · · · · · · THE VIDEOGRAPHER:· Okay.· We're going off        13· estimate that it took your office to process an ABBM?
14· record at 2:13.                                                14· · · A.· ·Maybe a minute or less.
15· · · · · · · · (Discussion off the record.)                     15· · · Q.· ·And after SB 1, how long would you estimate for
16· · · · · · · · THE VIDEOGRAPHER:· Okay.· We are back on         16· your office to process an ABBM?
17· the record at 2:15 p.m.                                        17· · · A.· ·Maybe a minute or less.· About the same time.
18· · · · · · · · MS. PERALES:· Brady, we need you to start        18· It's actually --
19· again, but also to start by saying who you are.                19· · · Q.· ·Okay.
20· · · · · · · · MS. BENDER:· Yes.· Hi.· So this is Brady         20· · · A.· ·-- verifying, looking up the voter.
21· Bender.· I represent the United States.                        21· · · Q.· ·Okay.· Before SB 1, how long would you estimate
22· · · Q.· ·(By Ms. Bender)· So I just have a few questions       22· it took to process a mail ballot carrier en- --
23· to follow up on the conversation from earlier.· You had        23· · · A.· ·I --
24· talked earlier about looking up an individual voter in         24· · · · · · · · MS. HUNKER:· Objection, form.
25· VEMAC when you were -- received an ABBM or carrier             25· · · A.· ·-- could not guess on that because I do not

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·1· envelope.                                                      ·1· verify the carrier envelope.· Signature verification
·2· · · · · ·When you received an application for ballot by        ·2· does.
·3· mail or a carrier envelope before SB 1, how would you          ·3· · · Q.· ·(By Ms. Bender)· Okay.· Okay.· During the March
·4· find the voter in your database to confirm eligibility         ·4· 2022 primary, if mail ballot materials did not list a
·5· and registration?                                              ·5· driver's license number that appeared in the database,
·6· · · A.· ·By looking them up in VEMACS, the same way --         ·6· but it had the last four digits of the social security
·7· · · Q.· ·So what do you confirm --                             ·7· number and it matched the database, would you accept it?
·8· · · A.· ·We will use the voter's last name, first name.        ·8· · · A.· ·Yes.
·9· The application always asks for a date of birth.· It           ·9· · · Q.· ·And is this always your interpretation of the
10· wasn't required, but they can put it on there, or we           10· law?
11· will look up through their address.                            11· · · · · · · · MS. HUNKER:· Objection to form.
12· · · Q.· ·Okay.· And when you receive an ABBM or mail           12· · · A.· ·Yes, either-or, whichever they put on there.
13· ballot carrier envelope after SB 1, how do you find the        13· And if it's in our voter registration system, we -- we
14· voter in your database?                                        14· picked either-or, either one.
15· · · A.· ·Are you asking for the ABBM or the carrier            15· · · Q.· ·(By Ms. Bender)· Okay.· So throughou- -- so
16· envelope?                                                      16· throughout the time that you were processing ballots for
17· · · Q.· ·Either one.· If they are different, then let's        17· March '22 -- '22 primary, you would accept if it had
18· start with the ABBM.                                           18· either a driver's license number or a Social Security
19· · · A.· ·Okay.· If we are looking up for ABB- -- ABBM          19· number?
20· application, we would still look them up by the first          20· · · A.· ·Yes.
21· name, last name, date of birth.· Since they did provide        21· · · Q.· ·Okay.· And if it listed an incorrect driver's
22· a driver's license or the last four digits of Social           22· license number compared to what you had in the database,
23· Security, we can also look that voter up by their              23· but it had the last four digits of the Social Security
24· driver's license.                                              24· number that matched the database, would you accept that?
25· · · Q.· ·And for the -- if mail ballot carrier envelope,       25· · · A.· ·Yes.


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·1· · · Q.· ·And is this always the way that you interpreted           ·1· · · · · · · · MS. HUNKER:· Objection, form.
·2· the law?                                                           ·2· · · A.· ·Yes, it was greater.
·3· · · · · · · · MS. HUNKER:· Objection, form.                        ·3· · · Q.· ·(By Ms. Cai)· What accounts for that greater
·4· · · A.· ·Yes.                                                      ·4· number of rejections?
·5· · · Q.· ·(By Ms. Bender)· Okay.· So, again, throughout             ·5· · · · · · · · MS. HUNKER:· Objection, form.
·6· the entire time that you were processing ballots for the           ·6· · · A.· ·The new requirements, the missing driver's
·7· March 2022 primary --                                              ·7· license or the missing Social Security numbers.
·8· · · A.· ·(Witness moves head up and down.)                         ·8· · · Q.· ·(By Ms. Cai)· Do you have reason to believe
·9· · · Q.· ·-- you would accept it if the driver's license            ·9· that some individuals whose applications for ballot by
10· number was incorrect, but the Social Security number was           10· mail or mail ballots are being rejected -- excuse me --
11· correct?                                                           11· that have been rejected are, in fact, eligible voters
12· · · A.· ·Yes.                                                      12· who made errors while filing -- filling out their ID
13· · · · · · · · MS. BENDER:· Okay.· That's all of my                 13· numbers?
14· questions.· Thank you.                                             14· · · · · · · · MS. HUNKER:· Objection, form.
15· · · · · · · · THE WITNESS:· Thank you.                             15· · · A.· ·Yes.
16· · · · · · · · THE REPORTER:· Just a second.                        16· · · Q.· ·(By Ms. Cai)· Are you or your office concerned
17· · · · · · · · · · · · EXAMINATION                                  17· by the greater number of rejected applications for
18· BY MS. CAI:                                                        18· ballot by mail or mail ballots in the March primary?
19· · · Q.· ·Hello, Ms. Phillips.                                      19· · · · · · · · MS. HUNKER:· Objection, form.
20· · · · · · · · MS. CAI:· Oh.· Go ahead.                             20· · · A.· ·Yes.
21· · · A.· ·Hi.                                                       21· · · Q.· ·(By Ms. Cai)· Why are you concerned?
22· · · · · · · · MS. PERALES:· One second, please.· One               22· · · A.· ·Because voters before the SB 1 law were able to
23· second, please.                                                    23· vote and cast their ballots, and ballots counted.
24· · · · · · · · THE REPORTER:· Okay.· And who is this,               24· · · Q.· ·Have you or your office conveyed that concern
25· please?                                                            25· to the Secretary of State?

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·1· · · · · · · · MS. CAI:· My name is Sophia Cai, and I'm             ·1· · · A.· ·I have not; but my office -- some people in my
·2· representing the OCA Plaintiffs.                                   ·2· office probably have, yes.
·3· · · · · · · · MS. PERALES:· Slow down for one second.              ·3· · · Q.· ·Do you know what they have said?
·4· Can you just say that more slowly?                                 ·4· · · A.· ·No, I don't.
·5· · · · · · · · MS. CAI:· Of course.· My name is Sophia              ·5· · · Q.· ·Have you or your office conveyed that same
·6· Cai, spelled S-o-p-h-i-a.· Last name, Cai, C-a-i.                  ·6· concern to other election officials?
·7· · · · · · · · THE REPORTER:· Okay.· And you're                     ·7· · · · · · · · MS. HUNKER:· Objection, form.
·8· representing who?                                                  ·8· · · A.· ·Probably so.· I do not know.
·9· · · · · · · · MS. CAI:· The OCA-Greater Houston                    ·9· · · Q.· ·(By Ms. Cai)· Have you personally conveyed that
10· Plaintiffs.                                                        10· concern to anyone?
11· · · · · · · · THE REPORTER:· Okay.· Thank you.                     11· · · A.· ·No.
12· · · · · · · · Okay.· Thank you.                                    12· · · Q.· ·Turning to SB 1 requirements next, are you
13· · · · · · · · MS. CAI:· Great.                                     13· aware that SB 1 adds additional requirements in order to
14· · · Q.· ·(By Ms. Cai)· Hi, Ms. Phillips.· Thank you --             14· register to vote by mail or to actually vote by mail?
15· · · A.· ·Hi.                                                       15· · · · · · · · MS. HUNKER:· Objection, form.
16· · · Q.· ·-- for bearing with us.· I just have a few                16· · · A.· ·Repeat that again.
17· questions for you.                                                 17· · · Q.· ·(By Ms. Cai)· This has probably been covered,
18· · · · · ·You testified earlier that you didn't know off            18· but is it correct that you are aware that SB 1 adds
19· the top of your head the number of people who submitted            19· requirements to register to vote by mail or to actually
20· an application for ballot by mail that was incomplete              20· vote by mail?
21· because you could not verify their ID number.                      21· · · A.· ·Yes.
22· · · · · ·Even without that exact number off the top of             22· · · · · · · · MS. HUNKER:· Objection, form.
23· your head, do you know whether the number of ABBMs that            23· · · Q.· ·(By Ms. Cai)· Is a registered voter with a
24· were rejected in the March primary was greater than in             24· disability able to get a modification or accommodation
25· past years?                                                        25· to the ID requirement for voting by mail?


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·1· · · · · · · · MS. HUNKER:· Objection, form.                       ·1· · · · · · · · Hearing none.
·2· · · A.· ·No.                                                      ·2· · · · · · · · · · · · EXAMINATION
·3· · · Q.· ·(By Ms. Cai)· So even if they request an                 ·3· BY MS. HUNKER:
·4· accommodation or a modification, a voter with disability          ·4· · · Q.· ·Hi, Ms. Phillips.· How with you?
·5· would not be able to have any different rules apply to            ·5· · · A.· ·I'm okay.· How are you?
·6· them for the ID requirement?                                      ·6· · · Q.· ·My name is Kathleen Hunker.· I represent the
·7· · · · · · · · MS. HUNKER:· Objection, form.                       ·7· State Defendants in this matter.· I'm going to ask a few
·8· · · A.· ·No, not to my knowledge.                                 ·8· questions, mostly in response to what Plaintiffs have
·9· · · Q.· ·(By Ms. Cai)· Have you received any requests             ·9· asked.· Because of that, I'm going to be jumping around
10· from voters with disabilities for any sort of                     10· a little bit with respect to topics.· If at any point
11· accommodation or modification to the ID requirement in            11· you're confused or you don't follow when I transition to
12· the March primary?                                                12· topics, will you please let me know?
13· · · A.· ·No, not to my kno- -- not to my knowledge.               13· · · A.· ·Okay.
14· · · Q.· ·Who would a voter with a disability go to                14· · · Q.· ·And I will be more than willing to either lay a
15· to make such a request for their application for vote by          15· greater foundation or to rephrase the question.· Okay?
16· mail or their mail ballot?                                        16· · · A.· ·Okay.
17· · · A.· ·They would request the application from my               17· · · Q.· ·Also if you don't understand any of my
18· office, the Mail Ballot Office with Dallas County.                18· questions or you think you need additional
19· · · Q.· ·If they wanted some sort of accommodation or             19· clarification, please let me know; and I'm happy to do
20· modification so that they could vote by mail, would they          20· so.· Okay?
21· be able to ask somebody in your office for such                   21· · · A.· ·Okay.
22· accommodation or modification?                                    22· · · Q.· ·Excellent.· So I'm going to start with the last
23· · · A.· ·What type of accommodation or modification are           23· topic of conversation, which was regarding the ADA
24· we asking about?                                                  24· accommodation.· I believe Plaintiffs' Counsel for
25· · · Q.· ·Any type.· It might vary by the type of                  25· OCA-Greater Houston, asked you a few questions on that,

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·1· disability a person has.· Would they be able to ask for,          ·1· correct?
·2· for instance, assistance filling out their ID number?             ·2· · · A.· ·Yes.
·3· · · A.· ·If a voter is in our office, come to our office          ·3· · · Q.· ·And you had mentioned that no one had come into
·4· at the counter and asks for help with assisting with              ·4· your office asking a -- for assistance or an
·5· filling out their application, yes, we can help them              ·5· accommodation with respect to the ID requirements; is
·6· fill out their application.                                       ·6· that correct?
·7· · · Q.· ·Would they be able to request any other sorts            ·7· · · A.· ·Correct, not to my knowledge.
·8· of modifications or accommodations?                               ·8· · · Q.· ·Okay.· So when she was asking about whether or
·9· · · A.· ·What modification are we asking about?                   ·9· not your office would accommodate, you don't have a
10· · · Q.· ·It would likely depend on the voter, but can             10· policy in place about the accommodation; is that
11· you think of any examples of people who have asked for            11· correct?
12· any assistance?                                                   12· · · A.· ·That is correct.
13· · · A.· ·No one has asked for any assistance or                   13· · · Q.· ·And that would only be decided once you
14· modifications in our office, so I wouldn't know which             14· actually received a request; is that right?
15· one you are referring to.                                         15· · · A.· ·Yes.
16· · · Q.· ·Have they called in or written in for any such           16· · · Q.· ·And I think you had mentioned that if somebody
17· modifications?                                                    17· came in requesting assistance, you would do your best to
18· · · A.· ·I have not received any, not to my knowledge.            18· aid them; is that correct?
19· · · · · · · · MS. CAI:· Okay.· Thank you very much,               19· · · A.· ·Yes.
20· Ms. Phillips.· That's all my questions.                           20· · · Q.· ·You also spoke with Counsel regarding
21· · · · · · · · THE WITNESS:· Thank you.                            21· communications with the Secretary of State's office, and
22· · · · · · · · THE REPORTER:· Just a second, please.               22· so let me get a little bit of clarification there.
23· Okay.· Thank you.                                                 23· · · · · ·You have not contacted the Secretary of State's
24· · · · · · · · MS. HUNKER:· Does any other Plaintiff               24· office regarding SB 1, is that right?· And when I say
25· group want to ask questions before I begin?                       25· "you" in this case, I'm referring to you as an


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·1· individual.                                                  ·1· questions also referred to election officials.
·2· · · A.· ·No.                                                 ·2· · · · · ·Now, how did you interpret the word election
·3· · · Q.· ·Okay.· And what about your particular division,     ·3· officials in that question?
·4· have they contacted the Secretary of State's office          ·4· · · A.· ·In what question, and where at?
·5· regarding SB 1?                                              ·5· · · Q.· ·She had asked if you had communicated your
·6· · · A.· ·Possible.                                           ·6· concerns or problems about SB 1 to election officials.
·7· · · Q.· ·But not to your knowledge?                          ·7· And I believe she asked that question.· I might have put
·8· · · A.· ·Not to my knowledge.                                ·8· that down wrong in my notes.
·9· · · Q.· ·And so you don't know if you're division            ·9· · · · · ·But do you remember her discussing about your
10· contacted the Secretary of State's office to request         10· communication with election officials?
11· clarifications about maybe a provision of SB 1; is that      11· · · A.· ·I don't remember --
12· right?                                                       12· · · Q.· ·Okay.
13· · · A.· ·That's correct.                                     13· · · A.· ·-- if she said election officials or if she
14· · · Q.· ·And you wouldn't know if they contacted             14· said concerns that we had.
15· Secretary of State's office on a complaint or a              15· · · Q.· ·Okay.· Then let me ask the question
16· criticism of SB 1; is that correct?                          16· differently.
17· · · A.· ·That is correct.                                    17· · · · · ·To your knowledge -- and let's start with you
18· · · Q.· ·And you wouldn't know if they communicated any      18· as an individual --
19· problems that they had to the Secretary of State's           19· · · A.· ·Uh-huh.
20· office; is that right?                                       20· · · Q.· ·-- have you contacted any election official
21· · · A.· ·That's correct.                                     21· regarding SB 1?
22· · · Q.· ·Now let's talk about the Elections Department       22· · · A.· ·And when you say an "election official," are
23· as a whole.                                                  23· you saying -- who's an election official?
24· · · · · ·Are you aware of the Elections Department           24· · · Q.· ·Well, that was actually --
25· contacting the Secretary of State's office regarding a       25· · · A.· ·What's the meaning of the election official?

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·1· provision about SB 1?                                        ·1· · · Q.· ·That was one of the reasons I was asking for
·2· · · A.· ·I am not aware.                                     ·2· clarification, when I thought she had asked that
·3· · · Q.· ·And what about SB 1 as a general matter, not        ·3· question.
·4· necessarily talking about a specific provision?              ·4· · · A.· ·So what's the meaning of the election official?
·5· · · A.· ·Contacting the --                                   ·5· · · Q.· ·Okay.· So I'll ask:· Have you contacted the
·6· · · Q.· ·Secretary of State's office.                        ·6· Legislature?
·7· · · A.· ·I'm not aware.                                      ·7· · · A.· ·No.
·8· · · Q.· ·And so you wouldn't know the contents of any        ·8· · · Q.· ·Have you contacted another member of an
·9· communications or even if those communications existed       ·9· Elections Department in a different county?
10· by the Elections Department contacting Secretary of          10· · · A.· ·Yes.
11· State's office about problems implementing SB 1; is that     11· · · Q.· ·In what capacity?
12· correct?                                                     12· · · A.· ·Asking how did they handle the situation,
13· · · A.· ·That's correct.                                     13· handle something.
14· · · Q.· ·And you also wouldn't know the contents of any      14· · · Q.· ·And so you've contacted other counties, and
15· communications of them -- of the Elections Department        15· you've gotten a sense of best practices?
16· expressing concerns about SB 1; is that correct?             16· · · A.· ·Yes.
17· · · A.· ·That's correct.                                     17· · · Q.· ·And what was that over, specifically?
18· · · Q.· ·Or complaints about SB 1; is that correct?          18· · · A.· ·How they handle the notice codes or the codings
19· · · A.· ·That's correct.· I don't have any knowledge of      19· of the SB 1 laws on sending information to the ballot
20· it.                                                          20· tracker.
21· · · Q.· ·Okay.· And you have no knowledge about any          21· · · Q.· ·So it was a data entry question?
22· communications about questions about interpretation of       22· · · A.· ·Yes.
23· specific provisions; is that right?                          23· · · Q.· ·So you also spoke with the DOJ Counsel about
24· · · A.· ·That's correct.                                     24· VEMAC, correct?
25· · · Q.· ·When you were speaking with Counsel, one of the     25· · · A.· ·DOJ Counsel?

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·1· · · Q.· ·Yes, Brady.                                          ·1· · · A.· ·Yes.
·2· · · A.· ·Oh, Brady.· Okay.· Yes.                              ·2· · · Q.· ·And with SB 1, you now have a Social Security
·3· · · Q.· ·And you talked about the verification once a         ·3· number or driver's license; is that right?
·4· application to vote by mail was received --                   ·4· · · A.· ·Yes.
·5· · · A.· ·Yes.                                                 ·5· · · Q.· ·Have you found it easier to do the verification
·6· · · Q.· ·-- correct?                                          ·6· with that number?
·7· · · A.· ·Yes.                                                 ·7· · · A.· ·Yes, I have.
·8· · · Q.· ·And I believe you had said that you, when            ·8· · · Q.· ·In your experience, do voters typically call
·9· verifying, would look at:· first name, last name,             ·9· with questions about changes to voting laws?
10· address, and, if available, date of birth?                    10· · · A.· ·When?
11· · · A.· ·Yes.                                                 11· · · Q.· ·Okay.· So I'm shifting topics.· I'm talking
12· · · Q.· ·So date of birth was not required on the form;       12· about the calls that you receive from voters, either
13· it was simply --                                              13· with questions or concerns --
14· · · A.· ·Optional, yeah --                                    14· · · A.· ·(Witness moves head up and down.)
15· · · Q.· ·-- optional?                                         15· · · Q.· ·-- or about how to submit an application to
16· · · A.· ·-- yes.                                              16· vote by mail or how to submit their ballot, and I'm
17· · · Q.· ·So some had it, and some did not?                    17· curious -- let me put it this way:· Have you implemented
18· · · A.· ·Yes.                                                 18· previous legislation before?
19· · · Q.· ·When you were doing it that way, did you have        19· · · A.· ·A voter will call.· They request an ABBM
20· problems with the verification, let's say, having a           20· application, and we will ask to mail it out to a voter.
21· false positive?                                               21· · · Q.· ·So when I -- let me rephrase that.
22· · · A.· ·Can you rephrase that question, please?              22· · · · · ·I'm talking about new legislation coming from
23· · · Q.· ·Sure.· When you were using the old format,           23· the Legislature.· So you have a new law on the books.
24· looking at first name, last name --                           24· · · A.· ·Uh-huh.
25· · · A.· ·Uh-huh.                                              25· · · Q.· ·Have you ever had to implement a new law that

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·1· · · Q.· ·-- and address --                                    ·1· was recently passed by the Legislature outside of SB 1?
·2· · · A.· ·Uh-huh.                                              ·2· · · A.· ·Probably so, just don't recall which law that
·3· · · Q.· ·-- did you have false positives?· Let's say you      ·3· was.
·4· had found there were two people with the same name.           ·4· · · Q.· ·Okay.· None that were as, we'll say,
·5· · · A.· ·(Witness moves head up and down.)· Yes.· We          ·5· significant or multifaceted as SB 1?· Would that be
·6· would find two people with the same name, yes.                ·6· right?
·7· · · Q.· ·And if they did not provide a date of birth,         ·7· · · A.· ·Yes.· I will say that, yes.
·8· how would you distinguish between the two?                    ·8· · · Q.· ·So SB 1 had a lot of changes to it --
·9· · · A.· ·The address.                                         ·9· · · A.· ·Yes --
10· · · Q.· ·The address.· And so let's say about a father        10· · · Q.· ·-- is that right?
11· and son.· I know my brother and father share the same         11· · · A.· ·-- it did.
12· name.                                                         12· · · Q.· ·So when I asked, in your experience, do voters
13· · · A.· ·(Witness moves head up and down.)                    13· typically call with questions about changes to the laws,
14· · · Q.· ·What about in that type of a situation, how          14· do you know if you have, let's say, a change of
15· would you verify?                                             15· requirement that voters would contact you with questions
16· · · A.· ·Well, it -- we would look at the application         16· about, outside of the context of SB 1?
17· and if they put down over 65, then we would look at the       17· · · A.· ·No, no.
18· date of birth on the voter registration system.· If the       18· · · Q.· ·And is that because you don't -- you don't
19· voter -- if one of the voters was over 65 with the same       19· remember a change in the requirements?
20· name, same address, then we knew that that was that           20· · · A.· ·I don't remember a change in the requirements
21· voter there.                                                  21· nor do I remember a voter calling and asking about the
22· · · Q.· ·Okay.· So you had to look at optional                22· changes of the laws, of a new law.
23· information in order to make a distinction; is --             23· · · Q.· ·Okay.· And so you don't have a point of
24· · · A.· ·Yes.                                                 24· comparison to note whether or not it's common practice
25· · · Q.· ·-- that correct?                                     25· for voters to call frequently with questions when you


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·1· have a dramatic change in the law regarding voting; is           ·1· · · A.· ·Yes.
·2· that correct?                                                    ·2· · · Q.· ·And I think you had mentioned earlier that the
·3· · · · · · · · MR. WHITE:· Objection, form.                       ·3· application to vote by mail has passed, correct?
·4· · · A.· ·Repeat that again, please.                              ·4· · · A.· ·Yes.
·5· · · Q.· ·(By Ms. Hunker)· You don't have a point of              ·5· · · Q.· ·Okay.· And so you've already, at this point,
·6· reference when it comes to the number of voters who              ·6· processed all the applications to vote by mail that you
·7· would call about a cha- -- a dramatic change in the law;         ·7· have -- you will receive or, ultimately, receive for the
·8· is that correct?                                                 ·8· May 7th election; is that right?
·9· · · A.· ·That's correct.                                         ·9· · · A.· ·Yes.
10· · · Q.· ·But you had also said, during the March                 10· · · Q.· ·So I want to compare your experience in March
11· primary, that you were receiving phone calls all day             11· 2022 with the May 7th election.
12· every day; is that right?                                        12· · · · · ·In your experience, did you receive fewer
13· · · A.· ·Yes.                                                    13· rejections of applications this round?
14· · · Q.· ·Is that typical in an election?                         14· · · · · · · · MR. WHITE:· Objection, form.
15· · · A.· ·Yes.                                                    15· · · A.· ·I do not know if I can talk about that yet
16· · · Q.· ·And so for, like, the November constitutional           16· because the election is not over with.
17· election in 2021, you would have been receiving phone            17· · · Q.· ·(By Ms. Hunker)· Okay.· When you say you can't
18· calls all day every day?                                         18· talk about that --
19· · · A.· ·Well, I got phone calls from voters who                 19· · · A.· ·Well, legally, normally, we cannot give out any
20· actually were voting or concerned about voting.                  20· information until after the election, like, say, if it's
21· · · Q.· ·You also spoke with Ms. Perales about comparing         21· a PIA and a person asks for how many -- who requested
22· the list of individuals who did not list their voter ID          22· ABBMs --
23· number to a list of individuals who ultimately                   23· · · Q.· ·Uh-huh.
24· resubmitted their application and had it accepted; is            24· · · A.· ·-- we can't give that out, or who has already
25· that correct?                                                    25· asked for a ballot by mail, we can't give that out.· So

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·1· · · · · · · · MS. PERALES:· Objection, form.                     ·1· if we can't give that information out, I don't think we
·2· · · A.· ·Did we speak about it?                                  ·2· can talk about that information either right now.
·3· · · Q.· ·(By Ms. Hunker)· Yes.                                   ·3· · · Q.· ·Okay.· So I understand maybe that you won't
·4· · · A.· ·Yes.                                                    ·4· feel comfortable giving specific numbers.
·5· · · Q.· ·That's what I was asking, if you spoke about            ·5· · · · · ·Would you be able to give impressions about the
·6· it.                                                              ·6· numbers, like fewer or lessor, greater?
·7· · · · · ·And you had said that if you do a comparison,           ·7· · · A.· ·Will that be the same thing, on the same level?
·8· that would help get at the number of individuals who --          ·8· · · Q.· ·I do not view it the same, but you're the one
·9· who had their application rejected or at least a notice          ·9· who's answering the questions.
10· was sent; is that correct?                                       10· · · A.· ·I view it the same.· So, obviously, I can't.
11· · · A.· ·I believe she -- I believe she asked was there          11· But you can ask me on May the 8th.
12· a way for the comparison, yes.                                   12· · · Q.· ·You probably don't want to sit down for another
13· · · Q.· ·Okay.· For voters who chose not to resubmit             13· deposition.
14· their ABBM application or who chose -- you don't                 14· · · A.· ·No, I do not.
15· personally know why they did not do so; is that correct?         15· · · Q.· ·What about phone calls?
16· · · A.· ·That's correct.                                         16· · · A.· ·Okay.
17· · · Q.· ·And you also do not -- let me take that -- let          17· · · Q.· ·Okay.· So you had talked about receiving
18· me strike that question.                                         18· concerns from voters or questions from voters about the
19· · · · · ·And for voters who chose to vote by personal            19· new ID requirements in the March primary, correct?
20· appearance as opposed to resubmitting their ABBM, you do         20· · · A.· ·Yes.
21· not personally know why they did not do so, why they             21· · · Q.· ·Okay.· And so I assume you also received phone
22· chose that option; is that correct?                              22· calls in the May 7th election, correct?
23· · · A.· ·I don't know why.                                       23· · · A.· ·Yes.
24· · · Q.· ·So we are in the midst of Early Voting for the          24· · · Q.· ·Did you receive fewer phone calls about the ID
25· May 7th election, correct?                                       25· requirements in the May 7th election?


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·1· · · A.· ·At the present moment, I don't recall receiving       ·1· · · Q.· ·(By Ms. Hunker)· Ms. Phillips, over the break,
·2· phone calls about the identification.· I'm receiving a         ·2· I believe you spoke to your Counsel; is that correct?
·3· lot of phone calls about why I receiv- -- receiving --         ·3· · · A.· ·Yes.
·4· Where is my second ballot?                                     ·4· · · Q.· ·Okay.· And we're not going to get into the
·5· · · Q.· ·Is it --                                              ·5· substance of that, but after your communications, you're
·6· · · A.· ·Because we have two elections in May.                 ·6· now -- feel comfortable answering some of my questions
·7· · · Q.· ·Yes.· So for the March primary, you clearly           ·7· comparing the March primary with the May 7th election;
·8· remembered receiving phone calls about the ID                  ·8· is that correct?
·9· requirements; is that correct?                                 ·9· · · A.· ·Yes.
10· · · A.· ·Yes.                                                  10· · · Q.· ·And for some of these questions, I know that
11· · · Q.· ·And you do not, for the May 7th, remember phone       11· you are going to be answering more your personal
12· calls --                                                       12· observations as opposed to a official pronouncement from
13· · · A.· ·I do not recall --                                    13· the Dallas County Election Administrator's Office. I
14· · · Q.· ·Okay.                                                 14· simply ask that if I'm not clear in my question, that
15· · · A.· ·-- if we received any.· We might have.· I just        15· when you're speaking in your individual capacity, simply
16· don't know yet that --                                         16· let me know.
17· · · Q.· ·That's fair.                                          17· · · A.· ·Okay.
18· · · A.· ·Uh-huh.                                               18· · · Q.· ·Does that make sense?
19· · · Q.· ·Based on your observations, are voters having         19· · · A.· ·Yes, it does.
20· an easier time in the May 7th election with the voter ID       20· · · Q.· ·Okay.· So we had already spoken that May 7th
21· number requirement than they did in the March primary?         21· election early voting has begun, correct?
22· · · A.· ·I don't feel comfortable asking that question         22· · · A.· ·That's correct.
23· until after the election.                                      23· · · Q.· ·And the deadline in which you -- in which
24· · · Q.· ·Okay.· I believe you also had spoken to Counsel       24· voters may send applications to vote by mail has already
25· about phone calls of people who couldn't vote in person;       25· passed, correct?

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·1· is that right?                                                 ·1· · · A.· ·Yes.
·2· · · A.· ·Yes.                                                  ·2· · · Q.· ·And so your office has processed all the
·3· · · Q.· ·You do not know whether those individuals             ·3· applications it will have received for the May 7th
·4· ultimately voted; is that right?                               ·4· election, correct, to vote by mail?
·5· · · A.· ·That is correct.                                      ·5· · · A.· ·To -- to vote by mail in order to be qualified
·6· · · Q.· ·Now, I believe you made a distinction between         ·6· to vote in the May 7th election, yes.
·7· your role and the Early Voting Ballot Board, correct?          ·7· · · Q.· ·Okay.· So based on your personal observations
·8· · · A.· ·Yes.                                                  ·8· in your office, have you received -- have you issued
·9· · · Q.· ·And so you focus on the application side, the         ·9· fewer rejections for vote by mail applications?
10· Early Voting Board focuses on the mail ballot side?            10· · · A.· ·Yes.
11· · · A.· ·They focus on the verification of the                 11· · · Q.· ·And you've issued fewer notices as compared,
12· signatures and also the rejection of the bal- -- the           12· again, to the March primary; is that correct?
13· mail ballots.                                                  13· · · A.· ·Repeat that again.
14· · · Q.· ·Okay.· So you wouldn't have a sense on whether        14· · · Q.· ·Fewer notices.· You sent fewer notices that --
15· ID number comparison is a more accurate identification         15· let me -- let me start over from the beginning.
16· verification mechanism than signature match?                   16· · · A.· ·Okay.
17· · · · · · · · MR. WHITE:· Objection, form.                     17· · · Q.· ·The May 7th election compared to the March
18· · · A.· ·I wouldn't know.                                      18· primary, you have issued fewer rejection applications,
19· · · · · · · · MS. HUNKER:· If we can go off record and         19· to your knowledge, based on voters having a mismatch or
20· let me just consult my notes for a few minutes.                20· not putting their voter ID number; is that correct?
21· · · · · · · · THE VIDEOGRAPHER:· Okay.· We're going off        21· · · A.· ·Yes.
22· the record.· The time is 2:43 p.m.                             22· · · Q.· ·And so you've issued fewer notices to voters
23· · · · · · · · · · · ·(Break taken.)                            23· stating that the reason that their ballot -- I'm
24· · · · · · · · THE VIDEOGRAPHER:· We're back on the             24· sorry -- that their application has been rejected is
25· record.· The time is 2:58 p.m.                                 25· because of their failure to either put a voter ID, an ID


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·1· number net down or to match correctly their ID number;        ·1· · · Q.· ·I have just three small areas -- two small
·2· is that correct?                                              ·2· areas.
·3· · · A.· ·Yes.                                                 ·3· · · · · ·Earlier, when you and I were speaking, you
·4· · · Q.· ·And you do not work on the ballot verification       ·4· mentioned that there were voters who had given up -- and
·5· process, correct?                                             ·5· I think you used the words "given up" --
·6· · · A.· ·That is correct.                                     ·6· · · A.· ·Yes.
·7· · · Q.· ·And so you don't have any personal knowledge if      ·7· · · Q.· ·-- trying to get a mail ballot for the March
·8· there have been fewer rejections of vote by mail              ·8· primary election.
·9· ballots; is that right?                                       ·9· · · A.· ·Yes.
10· · · A.· ·There hasn't been any rejections yet because         10· · · Q.· ·And I just want to make clear that this was
11· the rejections are not till after the cure period.            11· because of the ID number matching requirements that you
12· · · Q.· ·Thank you for that clarification.                    12· were newly implementing for this election; is that
13· · · A.· ·Uh-huh.                                              13· correct?
14· · · Q.· ·So based on your personal experience, in the         14· · · · · · · · MS. HUNKER:· Objection to form.
15· March primary and in the May 7th election, have voters        15· · · A.· ·I would say so, yes.
16· become more accustomed to the rules for voter ID, for         16· · · Q.· ·(By Ms. Perales)· Okay.· And did you ever speak
17· voter ID numbers?                                             17· to a voter or have a staff member tell you they spoke to
18· · · · · · · · MR. WHITE:· Objection, form.                    18· a voter who indicated that it was -- that they were
19· · · Q.· ·(By Ms. Hunker)· On their application.               19· going to stop trying to get the information to you that
20· · · A.· ·I wouldn't say that.                                 20· would allow you to send them a mail ballot?
21· · · Q.· ·What would you say?                                  21· · · A.· ·Yes.
22· · · A.· ·One of the reasons -- the main reason why we         22· · · Q.· ·And then, finally, I just want to return to the
23· have fewer rejections, I mean -- yeah, fewer rejection        23· hypothetical of the father and son with the same name.
24· notices going out is because we pull annual voters 65         24· · · A.· ·Okay.
25· years of age or the disabled.· So the majority of our         25· · · Q.· ·You mentioned that you would look to see

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·1· voters now are people who have already submitted their        ·1· whether the voter had indicated they were requesting the
·2· applications beginning of the year.                           ·2· mail ballot because they were over age 65; is that
·3· · · Q.· ·Okay.· And you don't have any knowledge, with        ·3· correct?
·4· respect to individuals who have not submitted an annual       ·4· · · A.· ·Yes.
·5· vote by mail application, whether or not they are             ·5· · · Q.· ·And then you would look at the voter's date of
·6· receiving --                                                  ·6· birth in the voter registration record to confirm that
·7· · · A.· ·Say that again, please.· I'm sorry.                  ·7· person's over 65, yes?
·8· · · Q.· ·Yeah.· So with respect to individuals who have       ·8· · · A.· ·Yes.
·9· not submitted --                                              ·9· · · Q.· ·And in that instance you would be fairly
10· · · A.· ·Okay.                                                10· confident that the voter is over 65, right?
11· · · Q.· ·-- an annual vote by mail application --             11· · · A.· ·Yes.
12· · · A.· ·Uh-huh.                                              12· · · Q.· ·And the over 65 reason to request a mail
13· · · Q.· ·-- do you have any knowledge on whether there        13· ballot, that's -- that's required information on the
14· are fewer rejections for that group?                          14· ABBM, correct?
15· · · A.· ·I have not ran the numbers, no.                      15· · · A.· ·Yes, they have to let us know why they are
16· · · Q.· ·Okay.· That's fine.· And so you don't know one       16· voting, the reason why they are voting ballot by mail.
17· way or the other of whether voters are becoming more          17· · · Q.· ·And the app- -- and the voter registration
18· familiar or accustomed to the rules; is that correct?         18· record that you have also has the date of birth in it as
19· · · A.· ·That is correct.                                     19· mandatory with voter registration, correct?
20· · · · · · · · MS. HUNKER:· No further questions.              20· · · A.· ·Yes.· You have to -- you have -- that's a
21· · · · · · · · THE WITNESS:· Thank you.                        21· requirement on the voter registration application in
22· · · · · · · · MR. STOOL:· No, I don't have any                22· order to get registered to vote.
23· questions.· Pardon me.                                        23· · · · · · · · MS. PERALES:· Okay.· Thank you.
24· · · · · · · · · · · ·REEXAMINATION                            24· · · · · · · · I have no further questions.
25· BY MS. PERALES:                                               25· · · · · · · · MR. WHITE:· None for me.


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·1· · · · · · · · THE REPORTER:· Wait just a second, please.        ·1· · · · · · · · MS. HUNKER:· That's all.
·2· Okay.· Thank you.                                               ·2· · · · · · · · MS. PERALES:· Let's go off the record.
·3· · · · · · · · MS. HUNKER:· Okay.                                ·3· · · · · · · · MR. SCHUETTE:· Do we need to ask the
·4· · · · · · · · · · · ·REEXAMINATION                              ·4· assembled --
·5· BY MS. HUNKER:                                                  ·5· · · · · · · · MS. PERALES:· Assembled people on Zoom,
·6· · · Q.· ·Going back to that scenario, the father and the        ·6· are we ready to go off the record?
·7· son --                                                          ·7· · · · · · · · MS. BENDER:· No questions.· Thank you.
·8· · · A.· ·Uh-huh.                                                ·8· · · · · · · · MS. PERALES:· That was Brady.
·9· · · Q.· ·-- the father may not be over 65, correct?             ·9· · · · · · · · THE VIDEOGRAPHER:· We're going off the
10· · · A.· ·Uh-huh.                                                10· record.· The time is 3:07 p.m.
11· · · · · · · · THE REPORTER:· Was that a "yes"?                  11· · · · · · · · · · · (Lunch recess.)
12· · · · · · · · THE WITNESS:· I'm sorry.· I'm sorry.              12· · · · · · · · THE VIDEOGRAPHER:· Okay.· We are back on
13· "Yes."                                                          13· the record.· The time is 4:17 p.m.
14· · · Q.· ·And so if the father were not over 65, he would        14· · · · · · · · MS. PERALES:· I think we are ready to
15· not have to put his date of birth, correct?                     15· swear the witness.
16· · · · · · · · MS. PERALES:· Objection.                          16· · · · · · · · THE REPORTER:· Okay.
17· · · A.· ·That --                                                17· · · · · · · · Sir, would you raise your right hand,
18· · · Q.· ·(By Ms. Hunker)· I can rephrase the question.          18· please?
19· · · A.· ·Yes, please.                                           19· · · · · ·(Witness sworn by the court reporter.)
20· · · Q.· ·You had mentioned earlier that date of birth           20· · · · · · · · THE REPORTER:· Thank you.
21· was not required on the application form, correct?              21· · · · · · · · · · ·MICHAEL SCARPELLO,
22· · · A.· ·Beforehand, yes.                                       22· having being first duly sworn, testified as follows:
23· · · Q.· ·Yes.· And so if the father was not over 65,            23· · · · · · · · · · · · EXAMINATION
24· there would be no requirement for him to put -- put his         24· BY MS. PERALES:
25· date of birth on the application; is that correct?              25· · · Q.· ·Good afternoon.

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·1· · · A.· ·I believe there's no requirement on the                ·1· · · A.· ·Good afternoon.
·2· application now.· I believe it's optional.· I'm not             ·2· · · Q.· ·Will you state your name for the record,
·3· quite sure.· I have to look at a application.                   ·3· please?
·4· · · Q.· ·Pre-SB 1?                                              ·4· · · A.· ·Michael Scarpello.
·5· · · A.· ·I believe on pre -- I believe SB 1 is optional.        ·5· · · Q.· ·Thank you.· I'll introduce myself to you
·6· I have to look at the application.· I -- to my                  ·6· because you weren't here before.
·7· recollection, I don't remember; but I believe it's not a        ·7· · · A.· ·Okay.
·8· requirement.                                                    ·8· · · Q.· ·My name is Nina Perales.· I'm with the Mexican
·9· · · Q.· ·Okay.· And so you had spoken about voters who          ·9· American Legal Defense and Educational Fund, and I
10· you thought had given up and would not be requesting a          10· represent the LUPE group of Plaintiffs --
11· mail in ballot; is that correct?                                11· · · A.· ·Okay.
12· · · A.· ·That's correct.                                        12· · · Q.· ·-- in this matter.
13· · · Q.· ·You don't know if those individuals decided to         13· · · · · ·Have you ever had your deposition taken before?
14· vote by personal appearance?                                    14· · · A.· ·Yes.
15· · · A.· ·I do not know.                                         15· · · Q.· ·Have you ever taken a deposition before?
16· · · Q.· ·How do you know that they, first, gave up?             16· · · A.· ·Yes.
17· · · A.· ·They said so.                                          17· · · Q.· ·Okay.· Let's start with:· Have you had your
18· · · Q.· ·Okay.· And second, that it was connected to the        18· deposition taken before.
19· ID requirement?                                                 19· · · · · ·Can you tell me the most recent time you had
20· · · A.· ·They said so.                                          20· your deposition taken?
21· · · Q.· ·Okay.· Do you know if they, in fact, decided to        21· · · A.· ·Two -- two weeks ago or something.
22· resubmit --                                                     22· · · Q.· ·Okay.
23· · · A.· ·I do not know.                                         23· · · A.· ·Two or three weeks -- I'm not sure --
24· · · Q.· ·-- their application to vote by mail?                  24· · · Q.· ·All right.
25· · · A.· ·I don't know.                                          25· · · A.· ·-- but in there.

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·1· · · Q.· ·So I'm sure that you remember the rules of the          ·1· · · · · · · · MS. PERALES:· If you wouldn't mind handing
·2· road.                                                            ·2· Exhibit 1 to the witness.
·3· · · A.· ·Uh-huh.                                                 ·3· · · · · · ·(Document handed to the witness.)
·4· · · Q.· ·I'm only going to ask you a condensed version           ·4· · · Q.· ·Mr. Scarpello, do you recognize Exhibit 1 as
·5· of questions related to that.                                    ·5· the Notice of Deposition for today's deposition?
·6· · · A.· ·(Witness moves head up and down.)                       ·6· · · A.· ·Yes.
·7· · · Q.· ·First of all, do you understand that you are            ·7· · · Q.· ·And if you flip forward, you'll see around Page
·8· under oath today?                                                ·8· 9, there is an Attachment A; and then on Page 12 begins
·9· · · A.· ·I do.                                                   ·9· a list of topics?
10· · · Q.· ·And is there anything that would prevent you            10· · · A.· ·Yes.
11· from giving me your full attention or responding                 11· · · Q.· ·Have you seen these topics before?
12· accurately today, such as a medication --                        12· · · A.· ·Yes.
13· · · A.· ·No.                                                     13· · · Q.· ·Do you understand that you are testifying
14· · · Q.· ·-- or a medical condition?                              14· pursuant to this Notice today?
15· · · A.· ·No, ma'am                                               15· · · A.· ·Yes.
16· · · Q.· ·Okay.· As I'm sure you know, this is your               16· · · · · · · · MS. PERALES:· And if you wouldn't mind
17· deposition.· You can take a break at any time.· I would          17· handing the witness Exhibit 2.
18· only ask that you answer a question if it's out there on         18· · · · · · ·(Document handed to the witness.)
19· the table before asking for the break.· Is that all              19· · · Q.· ·Have you seen this document, Exhibit 2?
20· right?                                                           20· · · A.· ·Yes.
21· · · A.· ·That's all right.                                       21· · · Q.· ·And do you see your name on the chart as being
22· · · Q.· ·Thank you.· What steps did you take to prepare          22· the witness designated for certain topics?
23· for this deposition today?                                       23· · · A.· ·Yes.
24· · · A.· ·Reviewed briefly -- very briefly reviewed some          24· · · Q.· ·Are you prepared to talk about those topics --
25· of the discovery documents that were produced some time          25· · · A.· ·Yes.

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·1· ago and did a quick read through SB 1.                           ·1· · · Q.· ·-- today?
·2· · · Q.· ·I'm not sure it's even possible to do a quick           ·2· · · · · ·Do you understand that because this is a
·3· read of such --                                                  ·3· 30(b)(6) deposition --
·4· · · A.· ·Right.                                                  ·4· · · A.· ·Uh-huh.
·5· · · Q.· ·-- a long document.                                     ·5· · · Q.· ·-- as we call it --
·6· · · A.· ·Uh-huh.                                                 ·6· · · A.· ·(Witness moves head up and down.)
·7· · · Q.· ·But let me promise you that if we talk about            ·7· · · Q.· ·-- that when you're testifying that you are
·8· any part of SB 1 today, we'll mark the bill and --               ·8· speaking on behalf of the Elections Department?
·9· · · A.· ·Okay.                                                   ·9· · · A.· ·Yes.
10· · · Q.· ·-- go through it together.                              10· · · Q.· ·Okay.· And so if I say "you" or "yours," will
11· · · · · ·Did you meet with your attorneys in order to            11· you understand that I'm referring to your department?
12· prepare for this deposition?                                     12· · · A.· ·Yes.
13· · · A.· ·Yes.                                                    13· · · Q.· ·Are you from Dallas County originally?
14· · · Q.· ·And did you meet with or talk to anybody from           14· · · A.· ·No.
15· the Attorney General's Office of Texas to prepare for            15· · · Q.· ·Where were you -- where did you grow up?
16· this --                                                          16· · · A.· ·Omaha, Nebraska.
17· · · A.· ·No.                                                     17· · · Q.· ·When did you come to Dallas County?
18· · · Q.· ·-- deposition?                                          18· · · A.· ·December of 2020.
19· · · · · ·Did you have an opportunity to review documents         19· · · Q.· ·Did you graduate high school in Omaha?
20· that were produced to us this morning?                           20· · · A.· ·Yes, Cathedral High School.
21· · · A.· ·I did not get a chance to review those.                 21· · · Q.· ·Sounds Catholic.
22· · · Q.· ·Okay.· If we discuss any of them, we'll be sure         22· · · A.· ·Yes.
23· to mark it so you can have it in front of you before we          23· · · Q.· ·And did you do any schooling after you
24· ask questions.                                                   24· graduated from high school?
25· · · A.· ·You bet.                                                25· · · A.· ·I went to the University of Nebraska at Omaha

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·1· and graduated there in 1991 and then the University of         ·1· · · Q.· ·Where are most of Runbeck's clients, then,
·2· Nebraska, College of Law in Lincoln in 1995.                   ·2· physically located?
·3· · · Q.· ·The same year my husband graduated from law           ·3· · · A.· ·Throughout the country,
·4· school.                                                        ·4· · · Q.· ·Okay.
·5· · · · · ·Did you do any other degrees or other study           ·5· · · A.· ·All around the country.
·6· besides what you've described to me?                           ·6· · · Q.· ·How long did you serve as VP of Election
·7· · · A.· ·Only things related to elections, cer- --             ·7· Management for Runbeck?
·8· certificates --                                                ·8· · · A.· ·About a year and a half.
·9· · · Q.· ·Okay.                                                 ·9· · · Q.· ·And what did you do before that?
10· · · A.· ·Certified Election & Registration Administrator       10· · · A.· ·I was the Registrar of Voters for San
11· from Election Center.                                          11· Bernardino, California.
12· · · Q.· ·And before you came to Dallas -- oh, so you           12· · · Q.· ·How long did you do that job?
13· came to Dallas County in December 2020.                        13· · · A.· ·About seven years, three -- seven years, four
14· · · · · ·Was that when you took the job as Election            14· months, something like that.
15· Administrator?                                                 15· · · Q.· ·And what job did you have before that?
16· · · A.· ·Yes.                                                  16· · · A.· ·I was the Director of Elections for the City
17· · · Q.· ·Okay.· So prior to that, December 2020, what          17· and County of Denver, Colorado.
18· job did you have?                                              18· · · Q.· ·How long did you do that job?
19· · · A.· ·Prior to that, I was the Vice-President of            19· · · A.· ·About four years.
20· Voter -- of Election Management Systems for Runbeck            20· · · Q.· ·That's a beautiful place to live.
21· Election Services.                                             21· · · A.· ·It sure is.
22· · · Q.· ·And tell me what Runbeck Election Services            22· · · Q.· ·And before that job, what were you doing?
23· does.                                                          23· · · A.· ·I was the Elections Manager for Douglas County,
24· · · A.· ·The majority of their business is they're an          24· Nebraska.· Omaha, Nebraska.
25· election ballot printer, and then they're -- they delve        25· · · Q.· ·Douglas County produces a disproportionately

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·1· into certain areas like voter registration or election         ·1· high number of really good elections people because I
·2· management systems.                                            ·2· took the deposition of Lisa Wise a couple --
·3· · · Q.· ·Would they be considered, for example, a vendor       ·3· · · A.· ·Uh-huh.
·4· for a county to maintain its voter registration rolls?         ·4· · · Q.· ·-- of weeks ago.· She's also from Douglas
·5· · · A.· ·They aren't -- currently have no accounts to do       ·5· County.
·6· that.· They are trying to become that.                         ·6· · · A.· ·Uh-huh.· She worked with me.
·7· · · Q.· ·Okay.· And you are the VP of Election --              ·7· · · Q.· ·Oh, so you were --
·8· · · A.· ·Election Management --                                ·8· · · A.· ·Uh-huh.
·9· · · Q.· ·Management.                                           ·9· · · Q.· ·You were at that office at the same time?
10· · · A.· ·-- Systems.· It's, basically, a voter                 10· · · A.· ·For a brief time, yeah.
11· registration system.                                           11· · · Q.· ·Okay.· So if we were to sort of add up the
12· · · Q.· ·And is Runbeck a -- like, would you call it a         12· years that you've been involved in administration of
13· software company or it's software plus kind of                 13· either elections or voter registration, what would the
14· management?                                                    14· sum total number of years be?
15· · · A.· ·I'd say they are a mail ballot -- mail ballot         15· · · A.· ·Twenty-two and a half years.
16· service provider that dabbles in other areas of election       16· · · Q.· ·And it's fair to say that prior to December
17· services.                                                      17· 2020, when you came here to Dallas, that you had
18· · · Q.· ·Does Runbeck have contracts in Texas or did at        18· experience, hands-on experience, administering both
19· the time you were there?                                       19· registration and voting; is that right?
20· · · A.· ·The only ones that I know of is there -- they         20· · · A.· ·That's correct.
21· have -- in Harris County and in Dallas County, they            21· · · Q.· ·What is your current title?
22· have -- they sold a mail ballot sorter, an Agilis mail         22· · · A.· ·I'm the Elections Administrator for Dallas
23· ballot sorter.                                                 23· County.
24· · · Q.· ·Was that a piece of hardware?                         24· · · Q.· ·Is Dallas County the largest jurisdiction where
25· · · A.· ·Yes.                                                  25· you've worked on election administration?

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·1· · · A.· ·It has the largest number of registered voters,      ·1· recently in Harris County and in the 2020 Presidential
·2· yes, not the largest in physical area.                        ·2· Election, was a method for people to, without excuse, to
·3· · · Q.· ·So having lived in Dallas County for about a         ·3· be able to drive through and vote from their vehicle.
·4· year and a half --                                            ·4· · · Q.· ·So similar to curbside voting, but without any
·5· · · A.· ·Uh-huh.                                              ·5· eligibility criteria?
·6· · · Q.· ·-- would you agree with me that Dallas County        ·6· · · A.· ·Correct.
·7· has a substantial Latino or Hispanic population?              ·7· · · Q.· ·Okay.
·8· · · A.· ·Yes.                                                 ·8· · · · · · · · MS. HUNKER:· Objection, form.
·9· · · Q.· ·And would you agree with me that Dallas County       ·9· · · Q.· ·(By Ms. Perales)· Has Dallas County, in the
10· has a substantial black or African-American population?       10· past, allowed voters to drop off mail ballots at
11· · · A.· ·Yes.                                                 11· locations other than your Elections Administration
12· · · Q.· ·And would you agree with me that Dallas County       12· Office?
13· has a substantial number of voters who are -- for whom        13· · · A.· ·I don't believe so.
14· English is not their first language and who might             14· · · Q.· ·To your knowledge, has Dallas County used
15· experience some barriers communicating in English?            15· movable structures for polling places?· And by "movable
16· · · · · · · · MS. HUNKER:· Objection, form.                   16· structure," I mean, nonpermanent such as a tent or
17· · · A.· ·I don't know.· It depends on how you define          17· something else that can be put up and then taken back
18· "substantial."· They are certainly large enough to            18· down?
19· re- -- trigger the SO- -- or the Department of Labor's        19· · · · · · · · MS. HUNKER:· Objection, form.
20· five-percent rule, to require us to provide alternate         20· · · A.· ·I don't know, but I believe they may have.
21· language services to Vietnamese and Spanish speakers.         21· · · Q.· ·(By Ms. Perales)· Okay.
22· · · Q.· ·(By Ms. Perales)· And we talked a little bit         22· · · A.· ·But I don't know.
23· earlier today -- I don't think you were here -- that          23· · · Q.· ·Who would be the best person to testify on
24· Dallas County is newly covered for Vietnamese.                24· that?
25· · · A.· ·That's correct.                                      25· · · A.· ·Someone who's been around for a while.· I --

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·1· · · Q.· ·Would you say, just based on your observations,      ·1· I -- probably Robert Heard.· He's in our office right
·2· that Dallas County has a substantial portion of               ·2· now working as a contractor, and he was previously the
·3· residents who are low income?                                 ·3· Assistant Elections Administrator.
·4· · · A.· ·I don't know that I -- I don't know.                 ·4· · · Q.· ·Okay.· I'm going to ask you some questions
·5· · · Q.· ·Okay.                                                ·5· about voters who use assistants when they vote.
·6· · · A.· ·I mean, that's in comparison to what, right,         ·6· · · A.· ·Okay.
·7· so...                                                         ·7· · · Q.· ·If -- if we get to something where you just
·8· · · Q.· ·Uh-huh.· Well, let's not compare Dallas County       ·8· don't know the answer, I -- I want to make sure you
·9· to anywhere else.· Dallas County is a big County.             ·9· don't guess.
10· · · · · ·Would you say you also happen to contain a           10· · · A.· ·(Witness moves head up and down.)
11· large number of people who are low income?                    11· · · Q.· ·And just let me know if you don't know the
12· · · A.· ·Yes.                                                 12· answer.
13· · · Q.· ·When I'm quiet, I'm skipping questions --            13· · · A.· ·Okay.
14· · · A.· ·It's okay.                                           14· · · Q.· ·I'll probably ask you, then, like, who would be
15· · · Q.· ·-- because I have covered them already earlier       15· the best person --
16· today.                                                        16· · · A.· ·Sure.
17· · · · · ·Is it correct to say that Dallas County has not      17· · · Q.· ·-- to talk about that; but we'll get there.
18· used what's called drive-thru voting in the past?             18· Okay?
19· · · · · · · · MS. HUNKER:· Object --                          19· · · · · ·Would you agree with me that voters who use
20· · · A.· ·It's my --                                           20· assistance include those voters who are disabled?
21· · · · · · · · MS. HUNKER:· -- to form.                        21· · · · · · · · MS. HUNKER:· Objection to form.
22· · · A.· ·It's my understanding that they have not.            22· · · A.· ·Yes.
23· · · Q.· ·(By Ms. Perales)· Okay.· And tell me what your       23· · · Q.· ·(By Ms. Perales)· Okay.· And would you agree
24· understanding is of drive-thru voting.                        24· with me that voters who use assistance include voters
25· · · A.· ·Drive-thru voting as employed in Texas, most         25· who are illiterate in any language?

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·1· · · · · · · · MS. HUNKER:· Objection, form.                     ·1· would use assistance of another individual in order to
·2· · · A.· ·Yes.                                                   ·2· interact with poll workers, to exchange information with
·3· · · Q.· ·(By Ms. Perales)· And would you agree with me          ·3· poll workers?
·4· that voters who use assistance also include those who we        ·4· · · A.· ·Yes.
·5· call "limited English proficient"?                              ·5· · · Q.· ·Would you agree with me that a voter could use
·6· · · · · · · · MS. HUNKER:· Objection --                         ·6· an assistor to help explain to the voter how to use the
·7· · · A.· ·Yes.                                                   ·7· voting machine equipment?
·8· · · · · · · · MS. HUNKER:· -- form.                             ·8· · · · · · · · MS. HUNKER:· Objection to form.
·9· · · Q.· ·(By Ms. Perales)· Can you describe for me the          ·9· · · A.· ·I believe there's people that would want that
10· sort of people who would go with a voter to help them           10· sort of assistance, yes.
11· vote, to provide assistance?                                    11· · · Q.· ·(By Ms. Perales)· And I do understand from
12· · · A.· ·I would -- I don't have any statistics to say          12· taking other depositions in other counties that there
13· this; but generally speaking, I think friends, family,          13· might be a disabled voter who wants to do it all on
14· et cetera.                                                      14· their own --
15· · · Q.· ·A neighbor maybe?                                      15· · · A.· ·Uh-huh.
16· · · A.· ·Maybe.                                                 16· · · Q.· ·-- right, and might use, for example, special
17· · · Q.· ·Okay.· And then also are you aware whether any         17· equipment to do that?
18· community-based nonprofit organizations might provide           18· · · A.· ·That's correct.
19· assistors for voters?                                           19· · · Q.· ·But you will agree with me that there might be
20· · · A.· ·I'm not aware.                                         20· a voter who isn't -- you know, who isn't insisting on
21· · · Q.· ·Would you agree with me that assistors in the          21· doing it all themselves and who might bring a trusted
22· polling place provide assistance to voters in physically        22· assistor with them to help them vote?
23· navigating the space of the polling place?                      23· · · A.· ·I believe that there's most likely people that
24· · · · · · · · MS. HUNKER:· Objection, form.                     24· do that, yes.
25· · · A.· ·I don't think that -- probably doesn't meet the        25· · · Q.· ·Okay.· Would you agree with me that a voter

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·1· legal definition of what an "assistor" is --                    ·1· might also rely on an assistor to help the voter
·2· · · Q.· ·(By Ms. Perales)· Uh-huh.                              ·2· understand the questions on the ballot?
·3· · · A.· ·-- by Texas laws.                                      ·3· · · · · · · · MS. HUNKER:· Objection to form.
·4· · · Q.· ·Okay.· So let me ask it in a less legal way.           ·4· · · A.· ·Can you repeat the question, because I want to
·5· · · A.· ·Okay.                                                  ·5· make sure I understand?
·6· · · Q.· ·Are you aware whether a voter, for example, who        ·6· · · Q.· ·(By Ms. Perales)· Would you agree with me that
·7· might be elderly or just not great at walking around --         ·7· a voter might use an assistor to help the voter
·8· · · A.· ·Uh-huh.                                                ·8· understand the questions on the ballot?
·9· · · Q.· ·-- could come with a friend or a relative and          ·9· · · · · · · · MS. HUNKER:· Objection, form.
10· lean on that person while they're entering the polling          10· · · A.· ·Well, I believe that current law would prevent
11· place and moving up to the table with the poll workers          11· them from doing that.
12· or moving over to the voting machine?                           12· · · Q.· ·(By Ms. Perales)· Current law under SB 1?
13· · · · · · · · MS. HUNKER:· Objection to form.                   13· · · A.· ·Yes.
14· · · A.· ·Can you repeat the question?                           14· · · Q.· ·Okay.· So let me ask that question in the
15· · · Q.· ·(By Ms. Perales)· Yes.· Would you agree with me        15· setting of prior to SB 1.
16· that a voter could come to the polling place and this           16· · · A.· ·Okay.
17· voter could be either elderly or, otherwise, not very           17· · · Q.· ·Do you imagine there would be a voter who would
18· good at walking steadily --                                     18· use an assistor to help that voter understand the
19· · · A.· ·Uh-huh.                                                19· questions on the ballot?
20· · · Q.· ·-- and the voter would lean on or use the              20· · (Mr. Stool and Mr. Schuette confer off the record.)
21· assistance of their helper to physically move through           21· · · A.· ·I be- --
22· the polling place, to walk up to approach the table and         22· · · · · · · · MS. HUNKER:· Objection, form.
23· also the voting machine?                                        23· · · A.· ·I -- I believe the language be- -- prior to
24· · · A.· ·I would imagine that happens, yes.                     24· SB 1 would have allowed that.
25· · · Q.· ·Okay.· Would you agree with me that some voters        25· · (Mr. Stool and Mr. Schuette confer off the record.)


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·1· · · · · · · · MS. PERALES:· Let's mark this.                       ·1· language to the assistor oath, quote, the voter I am
·2· · · · · · · · THE REPORTER:· Okay.                                 ·2· assisting represented to me they are eligible to receive
·3· · · · · · · · MS. PERALES:· Can you tell me what number            ·3· assistance --
·4· this is?                                                           ·4· · · A.· ·Yes.
·5· · · · · · · · THE REPORTER:· Number 4.                             ·5· · · Q.· ·-- unquote?
·6· · · · · ·(Deposition Exhibit Number 4 marked.)                     ·6· · · A.· ·Yes.
·7· · · ·(Document handed to the witness and Counsel.)                 ·7· · · Q.· ·And then on Line 2, there is some new language
·8· · · Q.· ·(By Ms. Perales)· Turn with -- oh, you have               ·8· added related to the assistor confining assistance.
·9· been handed what has been marked Deposition Exhibit                ·9· · · · · ·Do you see that?
10· Number 4, and I will represent to you that this is SB 1            10· · · A.· ·Yes.
11· as passed by the Legislature.                                      11· · · Q.· ·And would you agree with me that SB 1 adds the
12· · · A.· ·(Witness moves head up and down.)                         12· following language to confining assistance:· quote,
13· · · Q.· ·And I'm going to ask you to turn with me first            13· reading the ballot to the voter, directing the voter to
14· to Page 52.                                                        14· read the ballot, marking the voter's ballot, or
15· · · A.· ·Okay.                                                     15· directing the voter to mark the ballot, unquote?
16· · · Q.· ·You will see, beginning on Line 22, the bill --           16· · · A.· ·Yes.
17· actually, Line 20 -- the bill Section 6.04.                        17· · · Q.· ·All right.· And will you agree with me that
18· · · · · ·Do you see that there?                                    18· those are four specific acts?
19· · · A.· ·Yes.                                                      19· · · A.· ·Yes.
20· · · Q.· ·And then a couple of lines down, you see                  20· · · Q.· ·Now, will you agree with me on Line 5 -- and I
21· Sections 64.034.· Do --                                            21· think you may have been talking about this a little
22· · · A.· ·Yes.                                                      22· while ago -- that SB 1 removes from the assistor oath
23· · · Q.· ·-- you see that?                                          23· that the assistor will confine assistance to, quote,
24· · · A.· ·Uh-huh.                                                   24· answering the voter's questions, unquote?
25· · · Q.· ·Okay.· So as we get started on this, will                 25· · · A.· ·Yes.

                                                            Page 203                                                           Page 205
·1· you -- will you understand with me that if text is                 ·1· · · Q.· ·Okay.· And then there's some additional
·2· underlined, it's being added to the statute --                     ·2· language that's also coming out of the assistor oath,
·3· · · A.· ·Yes.                                                      ·3· such as stating propositions on the ballot, naming
·4· · · Q.· ·-- and if text is struck out, it's being taken            ·4· candidates and their political parties?
·5· out of the statute?                                                ·5· · · A.· ·Yes.
·6· · · A.· ·Yes.                                                      ·6· · · Q.· ·Okay.· Will you agree with me that, starting on
·7· · · Q.· ·Okay.· Now we're ready to go.                             ·7· Line 7, that the SB 1 adds to the assistor oath, quote,
·8· · · · · ·If you will look with me, starting sort of                ·8· I did not pressure or coerce the voter into choosing me
·9· close to the bottom of the page, would you agree with me           ·9· to provide assistance, unquote?
10· that SB 1 is adding language to the Oath of Assistance?            10· · · A.· ·Yes.
11· · · A.· ·Yes.                                                      11· · · Q.· ·And then, finally, on Line 12, do you agree
12· · · Q.· ·Okay.· And that language includes, quote, under           12· with me that SB 1 adds the language after the semicolon,
13· penalty of perjury --                                              13· quote, and I understand that if assistance is provided
14· · · A.· ·Yes.                                                      14· to a voter who is not eligible for assistance, the
15· · · Q.· ·-- unquote?                                               15· voter's ballot may not be counted, unquote?
16· · · A.· ·Yes.                                                      16· · · A.· ·Yes.
17· · · Q.· ·And then also the language includes, quote, the           17· · · Q.· ·Would you agree with me that, now that the
18· voter I am assisting represented to me they are eligible           18· assistor is signing the oath under penalty of perjury,
19· to receive assistance, unquote?                                    19· that the assistor would face a perjury prosecution for
20· · · A.· ·I'm sorry.· I lost where you're at.                       20· lying or not doing what the oath says a person will do?
21· · · Q.· ·Oh, okay.                                                 21· · · · · · · · MS. HUNKER:· Objection to form.
22· · · A.· ·What line are you on?                                     22· · · A.· ·Can you repeat the question?
23· · · Q.· ·I'm on Line 26.                                           23· · · Q.· ·(By Ms. Perales)· Sure.· I'll ask a better
24· · · A.· ·Yes.· Okay.· Got it.                                      24· question.
25· · · Q.· ·And I'll ask the question again.· SB 1 adds               25· · · A.· ·Okay.


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·1· · · Q.· ·Do you think that an assistor, looking at this          ·1· · · A.· ·Yes.
·2· new oath, would want to make sure, because the assistor          ·2· · · Q.· ·So will you understand with me this is what
·3· is signing under penal of perjury, that they follow              ·3· we'll call the old oath --
·4· the -- the commands of the oath very closely?                    ·4· · · A.· ·Yes.
·5· · · A.· ·Yes.· I think it --                                     ·5· · · Q.· ·-- the pre-SB 1 oath?
·6· · · · · · · · MS. HUNKER:· Objection, form.                      ·6· · · A.· ·Yeah.
·7· · · A.· ·I think anyone who signs under penalty of               ·7· · · · · · · · MS. HUNKER:· Objection, form.
·8· perjury considers they're -- that -- that it's a serious         ·8· · · Q.· ·(By Ms. Perales)· And then on Exhibit 6, do you
·9· business, so...                                                  ·9· see, in the upper left-hand corner, it says Prescribed
10· · · Q.· ·And perjury is a crime, is it not?                      10· by the Secretary of State?
11· · · A.· ·Yes.                                                    11· · · A.· ·Yes.
12· · · Q.· ·So taking the first language that I reviewed            12· · · Q.· ·And then, at the very bottom of that, it has a
13· with you, if an assistor wants to make sure they comply          13· 1, slash, 2022?
14· with the oath closely, how will the assistor obtain a            14· · · A.· ·Yes.
15· representation from the voter that the voter is eligible         15· · · Q.· ·And do you see where it says "Oath of Person
16· to receive assistance?                                           16· Assisting Voter," and then, if you follow along, it has
17· · · A.· ·Give me a second.· I'm not sure, other than the         17· that language "under penalty of perjury"?
18· oral representation -- oral or written representation            18· · · A.· ·Yes.
19· from the voter that they qualify.                                19· · · Q.· ·Will you understand with me that this is the
20· · · Q.· ·Okay.· So to secure an oral representation, the         20· new post SB 1 oath?
21· assistor would ask the voter; and then the voter would           21· · · A.· ·That's --
22· have to make that representation, correct?                       22· · · · · · · · MS. HUNKER:· Objection --
23· · · A.· ·Yes.                                                    23· · · A.· ·-- correct?
24· · · Q.· ·Okay.                                                   24· · · · · · · · MS. HUNKER:· -- form.
25· · · · · · · · MS. PERALES:· I'm going to mark two more           25· · · Q.· ·(By Ms. Perales)· Okay.· So let's stick with

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·1· exhibits.                                                        ·1· Exhibit 6 so that we can go through the oath together.
·2· · · · · · · · What number is this?                               ·2· · · A.· ·Okay.
·3· · · · · · · · THE REPORTER:· It's 5.                             ·3· · · Q.· ·There's the -- the language about confining
·4· · · · · ·(Deposition Exhibit Number 5 marked.)                   ·4· assistance.· It now is specific to four things.
·5· · · · · · · · MS. PERALES:· This will be 6 (handing).            ·5· · · · · ·Do you understand the removal of the language
·6· · · · · · · · THE REPORTER:· Okay.                               ·6· answering questions of the voter --
·7· · · · · ·(Deposition Exhibit Number 6 marked.)                   ·7· · · A.· ·Yes.
·8· · · ·(Documents handed to the witness and Counsel.)              ·8· · · Q.· ·-- and the replacement with these four specific
·9· · · · · · · · MR. SCHUETTE:· Thank you.                          ·9· actions?
10· · · · · · · · MS. HUNKER:· Thank you.                            10· · · A.· ·Yes.· That's my memory of it, yes.
11· · · Q.· ·(By Ms. Perales)· The court reporter has handed         11· · · Q.· ·Okay.· And do you understand that, then, to
12· you what has been marked Deposition Exhibit Number 5 and         12· mean that the assistor may not answer questions of the
13· Deposition Exhibit Number 6, and I thought it might just         13· voter beyond directing the voter to read the ballot or
14· be a little bit easier for us to go through the oaths.           14· reading the ballot to the voter?
15· · · · · ·So I will ask you first, with respect to                15· · · A.· ·Yes.
16· Exhibit 5, do you see in the upper left-hand corner, the         16· · · · · · · · MS. HUNKER:· Objection, form.
17· language prescribed by the Secretary of State?                   17· · · Q.· ·(By Ms. Perales)· Can you tell me the machines
18· · · A.· ·Yes.                                                    18· that you use here in Dallas County, if you use machines
19· · · Q.· ·And then, in that little section there at the           19· to vote?
20· bottom, 9, slash, 13 --                                          20· · · A.· ·There's multiple machines and to -- which --
21· · · A.· ·Yes.                                                    21· which piece of the -- there- -- do you want me to
22· · · Q.· ·Okay.· Now, if you look at the oath, you'll             22· describe all the machinery?
23· notice it does not have the language about penalty of            23· · · Q.· ·No.
24· perjury or securing a representation from the voter.             24· · · A.· ·Okay.
25· · · · · ·Do you see that?                                        25· · · Q.· ·I want to ask:· When the voter is marking and

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·1· casting the ballot --                                         ·1· reviewed and taken over and placed inside the tabulator?
·2· · · A.· ·Uh-huh.                                              ·2· · · A.· ·I'm sorry.· This is really difficult to read;
·3· · · Q.· ·-- here in Dallas County, whether that is done       ·3· it's so small.
·4· on a machine.                                                 ·4· · · Q.· ·(Moving head up and down.)
·5· · · A.· ·Yes.· That's the ES&S ExpressVote ballot             ·5· · · A.· ·I would agree that the language could be
·6· marking device.                                               ·6· interpretated -- interpreted to be so narrow in -- in
·7· · · Q.· ·Now, does that device -- scratch that.               ·7· its scope, that it would foreclose letting some -- you
·8· · · · · ·When a voter is marking the ballot on that           ·8· know, telling -- assisting someone in dropping that into
·9· device here in Dallas County, is the voter using a            ·9· the vote tabulator.
10· touchscreen or a wheel or something else?                     10· · · Q.· ·With an explanation about what to do?
11· · · A.· ·They can use a touchscreen, or they can use          11· · · A.· ·Yes.
12· a -- an assistive device for hearing impaired or              12· · · Q.· ·Okay.· Would you agree with me that the Oath of
13· alternate languages.                                          13· Assistance does not include the criteria for who is
14· · · Q.· ·Okay.· And when the voter has cast the ballot,       14· eligible for assistance?
15· does the machine in Dallas County spit out a piece of         15· · · · · · · · MS. HUNKER:· Objection, form.
16· paper?                                                        16· · · A.· ·Yes.
17· · · A.· ·It -- it does.· It marks the voter's choices on      17· · · Q.· ·(By Ms. Perales)· I want to ask you about the
18· that piece of paper for that voter to be able to review.      18· language on Line 3.· I did not pressure -- use of the
19· · · Q.· ·And then does the voter take that piece of           19· term "pressure" -- the voter into choosing.
20· paper and drop it into a separate machine called the          20· · · · · ·Would you agree with me that the Oath of
21· tabulator?                                                    21· Assistance does not include a definition of "pressure"?
22· · · A.· ·They drop it into a separate machine called the      22· · · A.· ·Yes.
23· ES&S Dallas -- I mean, ES&S DS200 vote tabulator.             23· · · · · · · · MS. HUNKER:· Objection, form.
24· · · Q.· ·Wonderful.· And not called a trash can?              24· · · Q.· ·(By Ms. Perales)· If a -- if someone called
25· · · A.· ·That's right.                                        25· your office and asked you if it was okay to remind his

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·1· · · Q.· ·I have seen some alarmed expressions, so I want      ·1· neighbor for three days in a row, during Early Voting,
·2· to explore with you more the confining of assistance.         ·2· that it was coming up and he was available to assist --
·3· · · · · ·Do you -- do you understand the oath now to          ·3· if someone called and asked you, "If I remind that voter
·4· foreclose an assistor from explaining to the voter how        ·4· three times that I'm available to assist them, is that
·5· to use the voting machine aside from pointing out             ·5· pressuring," how would you answer that question?
·6· anything that might be on the screen, itself, in terms        ·6· · · · · · · · MS. HUNKER:· Objection to form.
·7· of instructions?                                              ·7· · · A.· ·We don't provide legal advice.· But I would
·8· · · · · · · · MS. HUNKER:· Objection to form.                 ·8· state -- I'll just leave it at that.· We don't provide
·9· · · A.· ·I believe the -- I believe the language would        ·9· legal advice.
10· be liberal enough to allow them to assist that voter in       10· · · Q.· ·(By Ms. Perales)· Okay.· Would it also be fair
11· how to mark that because it says "marking the voter's         11· to say that you wouldn't have a definition of "pressure"
12· ballot," one of them.                                         12· in this context to fall back on?
13· · · Q.· ·(By Ms. Perales)· So if the -- the assistor          13· · · A.· ·That's correct.
14· could mark the ballot for the voter at the voter's            14· · · Q.· ·One more question about confining assistance to
15· request?                                                      15· the four specific actions.
16· · · A.· ·(Witness moves head up and down.)· That's my         16· · · A.· ·Uh-huh.
17· interpretation in reading the -- the plain language of        17· · · Q.· ·If a voter wants -- okay.· Let me -- let me ask
18· this, this oath.                                              18· it this way.
19· · · Q.· ·Okay.· If the voter had a question of the            19· · · · · ·Do you have a Spanish-speaking poll worker at
20· assistor about what to do with the piece of paper, in         20· every single polling place in Dallas County?
21· terms of putting it in the tabulator and that question        21· · · A.· ·That is our goal, to have one.· We don't always
22· was not answered by reading the ballot, do you                22· have one, but we have a substantial number.
23· understand the oath to foreclose the assistor's               23· · · Q.· ·And then let me ask the same question for your
24· explanation of the fact that this piece of paper is           24· new language, Vietnamese.
25· going to come out of the machine and then must be             25· · · A.· ·Uh-huh.

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·1· · · Q.· ·Are you aiming to try to have a Vietnamese                ·1· · · Q.· ·(By Ms. Perales)· Okay.· And you would also
·2· speaker in every polling place or certain polling                  ·2· agree with me that voting, more generally, encompasses
·3· places?                                                            ·3· actions that go beyond reading and marking the ballot?
·4· · · A.· ·It usually takes a while to establish a network           ·4· For example, checking in and signing in to vote, yes?
·5· of poll workers to be in every location.· So what we               ·5· · · A.· ·Yes.
·6· will do, initially, is to -- to focus on those areas of            ·6· · · Q.· ·And being accepted to vote by the poll workers?
·7· the county where there's high concentrations of                    ·7· · · A.· ·Yes.
·8· Vietnamese speakers and then grow that; but the goal --            ·8· · · Q.· ·And also includes being shown how to use the
·9· with the goal to have one in every location.                       ·9· voting machine and understanding how to use the voting
10· · · Q.· ·Okay.· Thank you.· So let's pick a situation in           10· machine?
11· which the voter speaks a language and only that                    11· · · A.· ·Yes.· It depends on which machine we're talking
12· language --                                                        12· about.· I mean, the marking the ballot, it's clear that
13· · · A.· ·Uh-huh.                                                   13· the -- the vote, the ExpressVote, would be marking the
14· · · Q.· ·-- and it's not English, so the voter is                  14· ballot, as opposed to using the vote tabulator, dropping
15· limited English proficient and this particular polling             15· the ballot in, and confirming your choices.
16· place does not have an election judge or a poll worker             16· · · Q.· ·And you would agree with me that the act of
17· who speaks this language --                                        17· voting also includes moving around the polling place,
18· · · A.· ·Uh-huh.                                                   18· going from one, kind of, spot to another?
19· · · Q.· ·-- so the voter comes in with an assistor to              19· · · A.· ·There's three distinct stations in our method
20· help -- help the voter.                                            20· of voting -- actually, four:· checking in, potentially
21· · · A.· ·Uh-huh.                                                   21· further dealing with exceptions to the standard voting
22· · · Q.· ·Would you agree with me that helping the voter            22· procedure at the -- at the judge's table, marking your
23· communicate with the poll workers and the election judge           23· ballot, and depositing your ballot.
24· is outside the scope of the four specific actions:· read           24· · · Q.· ·And would it be fair to say that, while moving
25· the ballot, mark the ballot, direct the voter to read              25· through those four stages of voters, typically moving

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·1· the ballot, direct the voter to mark the ballot?                   ·1· through space in the polling place, itself?
·2· · · · · · · · MS. HUNKER:· Objection, form.                        ·2· · · A.· ·That's correct.
·3· · · A.· ·I think -- I think that you could -- you could            ·3· · · Q.· ·This is a dumb question --
·4· interpret that -- that some of the language of those               ·4· · · A.· ·Uh-huh.
·5· four pieces, in a very narrow way; and that would                  ·5· · · Q.· ·-- but would it be fair to say that you would
·6· prevent that.· And I think you could read it in a more             ·6· not be aware of what a voter and an assistor would say
·7· liberal way that would allow that and, in particular, or           ·7· to each other, prior to coming to vote, about whether
·8· you know -- or directing the voter to mark the ballot.             ·8· the assistor is willing to vote?
·9· · · · · ·I mean, in a practical -- from a practical                ·9· · · A.· ·Fair.
10· perspective, it would be the more liberal interpretation           10· · · Q.· ·To --
11· to -- you know, common sense would tell you we've got to           11· · · A.· ·That's fair to say.
12· try to assist voters.                                              12· · · Q.· ·Okay.· Thank you.· Have you done any training
13· · · Q.· ·(By Ms. Perales)· Understood.· You would agree            13· of poll workers on the changes created by SB 1 with
14· with me that these four specific acts, that the assistor           14· respect to the Oath of Assistance?
15· confines assistance to, all involve interaction with the           15· · · A.· ·I believe we direct -- we point out the fact
16· ballot?                                                            16· that there is a new Oath of Assistance in that -- and
17· · · · · · · · MS. HUNKER:· Objection, form.                        17· how to use that, that oath.
18· · · A.· ·Well, in -- on Number 4, or directing the voter           18· · · Q.· ·And -- okay.· And would those training
19· to mark the ballot, yes.                                           19· materials have been produced in this case?· So, for
20· · · Q.· ·(By Ms. Perales)· But -- and you would agree              20· example, you said you had reviewed some material prior
21· with me that in all four of these actions, someone is              21· to this deposition --
22· interacting with the ballot, either the assistor or the            22· · · A.· ·Uh-huh.
23· voter; is that right?                                              23· · · Q.· ·-- that you think was disclosed in the first
24· · · · · · · · MS. HUNKER:· Objection, form.                        24· round of disclosures.
25· · · A.· ·Yes.                                                      25· · · A.· ·Uh-huh.


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·1· · · Q.· ·Do you recall whether any of your training                 ·1· · · Q.· ·So that's what you're referring to?
·2· materials were in there?                                            ·2· · · A.· ·Yes.
·3· · · A.· ·I don't recall.                                            ·3· · · Q.· ·Okay.· Who's --
·4· · · Q.· ·Okay.                                                      ·4· · · A.· ·And I -- I believe there's new software that's
·5· · · A.· ·I will point out, though, that there is also --            ·5· been -- that's pending approval by the Secretary of
·6· the reference materials that we have at a polling place             ·6· State before we can use it.
·7· include, not only our materials (indicating), but also              ·7· · · Q.· ·Okay.· So you would have to get approval from
·8· the Secretary of State's guide on how to conduct -- it's            ·8· the Secretary of State before implementing that new
·9· a little bit thicker, more detailed, guide for those                ·9· software?
10· activities at the polling place.                                    10· · · A.· ·I believe so, yes.
11· · · · · ·(Ms. Perales confers with Mr. White.)                      11· · · Q.· ·Do you have a sense of the timeline for that
12· · · Q.· ·So SB 1 also created a new form for assistors              12· new software getting approved?
13· to provide additional information, and I'm going to ask             13· · · A.· ·I wish I knew because that new software has
14· you about that separately.                                          14· other features that we're very anxious to use.
15· · · A.· ·(Witness moves head up and down.)                          15· · · Q.· ·Turning back to SB 1, I'm going to ask you now
16· · · Q.· ·But do you recall, specifically, having                    16· about this new form.· If you will turn again with me to
17· training for your poll workers on the changes in the                17· Page 52 of the bill.
18· language of the oath?                                               18· · · A.· ·Okay.
19· · · A.· ·I -- I don't know.                                         19· · · Q.· ·You'll see that starting on Line 2, there is a
20· · · Q.· ·Okay.· Do you recall receiving any specific                20· new section, because it's all underlined, titled
21· training or guidance from the Texas Secretary of State              21· "Submission of Form by Assistant."
22· about how to implement the changes in the assistor oath?            22· · · · · ·Do you see that?
23· · · A.· ·The Secretary of State provides various                    23· · · A.· ·Uh-huh.
24· election advisories, webinars, et cetera.· I don't                  24· · · Q.· ·And would you agree with me that this is a new
25· recall if there was one, in particular, that covered                25· provision that says that an assistor who is not an

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·1· this (indicating) area.                                             ·1· election official is required to complete a form stating
·2· · · Q.· ·(Moving head up and down.)· Are you aware of               ·2· certain information about the assistor?
·3· any incidents of voter fraud associated with in-person              ·3· · · · · · · · MS. HUNKER:· Objection to form.
·4· assistance of voters at the polling place?                          ·4· · · A.· ·Yes.
·5· · · A.· ·No.                                                        ·5· · · Q.· ·(By Ms. Perales)· Okay.· At this point in time,
·6· · · Q.· ·Are you aware whether Texas has other laws that            ·6· are you using the new form required under this section
·7· existed prior to SB 1 that criminalize unlawful voter               ·7· in hard copy at the polling place?· Are -- do you know?
·8· assistance?                                                         ·8· · · A.· ·I believe so, but I can't -- I'd have to
·9· · · A.· ·In the context of an assistant (indicating)                ·9· confirm that.
10· providing assistance at a polling place?                            10· · · Q.· ·So if that were the case, help me understand,
11· · · Q.· ·Yeah.· So, for example, do you know if it was              11· given the stages that you were describing before, at
12· illegal before SB 1 to mark the ballot on behalf of the             12· what point the assistor signs the Oath of Assistance and
13· voter, not the way the voter is -- is intending?                    13· fills out the new form.
14· · · · · · · · MS. HUNKER:· Objection, form.                         14· · · · · ·Is it after the voter checks in?
15· · · A.· ·I -- I don't know.                                         15· · · A.· ·It would be at the check-in table during
16· · · Q.· ·(By Ms. Perales)· Okay.· Looking at the new                16· that -- that point in time.
17· assistor oath, (indicating) do you know whether Dallas              17· · · Q.· ·And would you agree with me that filling out a
18· County uses a hard copy form or whether Dallas County               18· new form is going to take additional time compared to
19· uses the Poll Pad to collect the information?                       19· the time period when the form was not required?
20· · · A.· ·I believe we use both because the Poll Pad                 20· · · A.· ·Yes.
21· software was not able to be updated in a timely fashion             21· · · Q.· ·Would you agree with me that at a polling place
22· to cha- -- have the -- the modified language.                       22· where there are more voters voting with assistors, the
23· · · Q.· ·And there's a -- there's an additional                     23· new requirement of a form is going to take more time for
24· requirement to state the relationship and --                        24· each instance in which an assistor has to fill out that
25· · · A.· ·Uh-huh.                                                    25· form?


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·1· · · A.· ·Yes.                                                    ·1· where an assistor has provided transportation to seven
·2· · · · · · · · MS. HUNKER:· Objection, form.                      ·2· or more curbside voters at a ti- -- at one time?
·3· · · Q.· ·(By Ms. Perales)· And you would understand with         ·3· · · · · · · · MS. HUNKER:· Objection, form.
·4· me, wouldn't you, that this form has to be completed by          ·4· · · A.· ·I'm not aware of any that have taken place
·5· the assistor for each instance of assistance?                    ·5· since the enactment of SB 1.
·6· · · A.· ·Yes.                                                    ·6· · · Q.· ·(By Ms. Perales)· How about before the
·7· · · Q.· ·All right.· So if I come to the polls and I'm           ·7· enactment of SB 1?· Are you familiar with any instances
·8· helping my mother and my aunt, I'm going to have to fill         ·8· where an assistor or a person brings seven or more
·9· out this information twice, correct?                             ·9· curbside voters at one time to vote curbside?
10· · · A.· ·Yes.                                                    10· · · · · · · · MS. HUNKER:· Same objection.
11· · · Q.· ·And I will have to take the oath twice?                 11· · · A.· ·To vote curbside?
12· · · A.· ·Yes.                                                    12· · · Q.· ·(By Ms. Perales)· Yes.
13· · · Q.· ·Have you ever assisted a voter at the polling           13· · · A.· ·No.
14· place?                                                           14· · · Q.· ·Okay.· Turn with me, if you would, to Page 54.
15· · · A.· ·Many, many, many years ago.· Probably 2001.             15· · · A.· ·Okay.
16· · · Q.· ·Okay.· Tell me what assistance you provided.            16· · · Q.· ·Page 54, Line 20, the beginning, Section 6.06.
17· · · A.· ·I -- I don't recall.· This was in Nebraska --           17· · · · · ·Do you see that?
18· · · Q.· ·Uh-huh.                                                 18· · · A.· ·Yes.
19· · · A.· ·-- when I was working a polling place. I                19· · · Q.· ·Are you familiar with this provision which
20· couldn't -- it's a vague memory.                                 20· creates an offense for compensating or accepting
21· · · Q.· ·Were you a poll worker at that time?                    21· compensation to assist a voter to vote by mail?
22· · · A.· ·I was the Chief Deputy Election Commissioner,           22· · · A.· ·Yes.
23· but I made my whole staff go work a polling place so we          23· · · Q.· ·And would you agree with me that, at the bottom
24· could experience what it was like.                               24· of Page 54, the language that is coming out of the
25· · · Q.· ·So, in that moment, you were fulfilling the             25· statute is language related to a performance-based

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·1· roll of a poll worker?                                           ·1· compensation scheme?· Do you see that?
·2· · · A.· ·That's correct.                                         ·2· · · A.· ·Yes.
·3· · · Q.· ·Okay.· Do you happen to recall whether the --           ·3· · · Q.· ·So would you agree with me that the -- the
·4· whether the voter was elderly or disabled --                     ·4· prohibition on compensating or accepting compensation to
·5· · · A.· ·I believe --                                            ·5· assist mail voters is being broadened beyond the
·6· · · Q.· ·-- or --                                                ·6· compensation for performance-based activity?
·7· · · A.· ·-- elderly.                                             ·7· · · · · · · · MS. HUNKER:· Objection --
·8· · · Q.· ·Okay.· Do you -- and you don't -- I don't want          ·8· · · A.· ·I --
·9· to put words in your mouth about what assistance you             ·9· · · · · · · · MS. HUNKER:· -- form.
10· might have offered the elderly voter, but do you recall          10· · · A.· ·-- don't understand the question.
11· any details about it?                                            11· · · Q.· ·(By Ms. Perales)· Okay.· So would you
12· · · A.· ·I don't.                                                12· understand with me that before SB 1, if we look at the
13· · · Q.· ·Turn with me, if you would, to Page 50 --               13· bottom of Page 54, this prohibition on paying people --
14· · · A.· ·Okay.                                                   14· · · A.· ·Uh-huh.
15· · · Q.· ·-- where it starts on Line 19 with Section 6.01         15· · · Q.· ·-- to help voters vote by mail was limited to
16· and then Line 27 where it says f, in parentheses --              16· performance-based compensation schemes?
17· · · A.· ·(Witness moves head up and down.)                       17· · · · · · · · MS. HUNKER:· Objection, form.
18· · · Q.· ·-- then, quote, A person who simultaneously             18· · · A.· ·Yes.
19· assists seven or more voters voting under this section           19· · · Q.· ·(By Ms. Perales)· Okay.· And do you understand
20· by providing the voters with transportation to the               20· with me a performance-based compensation scheme is where
21· polling place must complete and sign a form, unquote.            21· you're going to pay somebody by the head to provide
22· And it continues from there.                                     22· assistance?
23· · · · · ·Do you see that?                                        23· · · A.· ·Yes.
24· · · A.· ·Yes.                                                    24· · · Q.· ·So now with the -- with this language coming
25· · · Q.· ·Are you aware of any instances in Dallas County         25· out of the statute on the bottom of Page 54, do you now


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·1· understand that the prohibition to either pay someone or       ·1· specific to that.
·2· to accept payment to assist a voter vote by mail is now        ·2· · · A.· ·Okay.
·3· expanded to all people who are either paying or getting        ·3· · · Q.· ·Somebody is going door-to-door canvassing
·4· paid to assist a voter to vote by mail, regardless of          ·4· voters to encourage them to vote for the bond for the
·5· whether it is a performance-based scheme?                      ·5· school district.
·6· · · · · · · · MS. HUNKER:· Objection to form.                  ·6· · · A.· ·Uh-huh.
·7· · · A.· ·Yes.                                                  ·7· · · Q.· ·Their intent is to convince the voter to vote
·8· · · Q.· ·(By Ms. Perales)· Okay.· And we see on Page 55,       ·8· for the bond because it means new schools, better
·9· on Line 18, there's an exception here for an attendant         ·9· facilities.· And the voter says, Sure, I'll talk with
10· or a caregiver who is known to the voter?                      10· you; I have my mail ballot right here; it's right --
11· · · A.· ·(Witness moves head up and down.)· Yes.               11· it's right here inside the door.· It's right here on the
12· · · Q.· ·Do you see that?                                      12· kitchen table.
13· · · A.· ·Uh-huh.                                               13· · · · · ·Would you agree with me that that would be an
14· · · Q.· ·Would you agree with me, though, that beyond --       14· in-person interaction with the voter, that -- that
15· well, would you agree with me, then, that somebody who         15· canvassing, that conversation?
16· is paid by a nonprofit community engagement organization       16· · · A.· ·Yes.
17· to assist voters to vote by mail would fall under the          17· · · Q.· ·And would you agree with me that if the voter
18· prohibitions of this statute?                                  18· said the ballot was right there, that that would mean in
19· · · · · · · · MS. HUNKER:· Objection, form.                    19· the physical presence of the ballot?
20· · · A.· ·It appears so, yes.                                   20· · · A.· ·I guess it --
21· · · Q.· ·(By Ms. Perales)· Going to turn forward now to        21· · · · · · · · MS. HUNKER:· Objection, form.
22· Section 7.04 on Page Fif- -- well, it starts on Page 58,       22· · · A.· ·-- depends on how you define physical presence.
23· and then it flows over onto Page 59.                           23· · · Q.· ·(By Ms. Perales)· And would you agree with me
24· · · · · ·If you look with me, starting on Line 7,              24· that the canvasser, who's urging to voter to vote for
25· there's a definition of "vote harvesting services" on          25· the school bond, is intending to get the voter to vote

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·1· Page 59.                                                       ·1· for the school bond?
·2· · · A.· ·Oh, okay.· Here we go.· Yes.                          ·2· · · A.· ·Yes.
·3· · · Q.· ·And would you agree with me that the definition       ·3· · · Q.· ·Okay.· And if the -- if the voter says, "Well,
·4· of "vote harvesting services" requires an in-person            ·4· I have -- I have the ballot right here," and it's let's
·5· interaction with the voter?                                    ·5· say within a foot or two of the voter, that would be in
·6· · · A.· ·Yes.                                                  ·6· the presence of the ballot?
·7· · · Q.· ·And that interaction has to be in the physical        ·7· · · · · · · · MS. HUNKER:· Objection, form.
·8· presence of an official ballot or a ballot voted by            ·8· · · A.· ·I don't think that the statute defines -- and,
·9· mail?                                                          ·9· I mean, it could be in the same house, could be in the
10· · · A.· ·Yes.                                                  10· same block.
11· · · Q.· ·And then there has to be the intent to deliver        11· · · Q.· ·(By Ms. Perales)· Uh-huh.
12· votes for a specific candidate or measure?                     12· · · A.· ·I mean, it's -- it's vague, so I -- I don't
13· · · A.· ·Yes.                                                  13· know how to answer that question with specificity.
14· · · Q.· ·Would you agree with me that if a canvasser           14· · · Q.· ·Okay.· Since we're very close to there, I would
15· who's going house-to-house to encourage people to vote         15· like you to flip forward to Page 60, Line 15, which is a
16· for -- well, before I ask my question, I want to know          16· section titled "Unlawful Solicitation and Distribution
17· whether you have any bond issues on the ballot for             17· of Application to Vote by Mail."
18· Dallas County for this May 7 election.                         18· · · · · ·Do you see that there?
19· · · A.· ·There's no Dallas County bond issues.· There's        19· · · A.· ·Yes.
20· city bond issues, and I think there's some school --           20· · · Q.· ·Do you understand this to be a prohibition on
21· · · Q.· ·Some school --                                        21· you to send out to voters application for ballot by
22· · · A.· ·-- district bond issues.                              22· mail --
23· · · Q.· ·-- or city?                                           23· · · A.· ·Ye- --
24· · · A.· ·Yeah.                                                 24· · · Q.· ·-- when they are not requested?
25· · · Q.· ·Okay.· So I want to make my hypothetical              25· · · A.· ·Yes.

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·1· · · Q.· ·And when the language says "commits an                 ·1· · · · · · · · THE REPORTER:· That's Number 7.
·2· offense," do you understand that to be a criminal act?          ·2· · · · · · · · MS. PERALES:· 7.
·3· · · A.· ·Yes.· I believe they go on to say the State            ·3· · · · · ·(Deposition Exhibit Number 7 marked.)
·4· Jail Felony.                                                    ·4· · · · · · · · MS. HUNKER:· Since I can't see it, can you
·5· · · Q.· ·Ye- -- and I imagine you -- you've become aware        ·5· describe what it is?
·6· of that language?                                               ·6· · · · · · · · MS. PERALES:· Yes, or maybe I'll ask the
·7· · · A.· ·Yes.· Uh-huh.                                          ·7· witness to do that.
·8· · · Q.· ·Are you -- are you concerned that certain              ·8· · · · · · · · MS. HUNKER:· That's fine.
·9· things that your office might do or might have done in          ·9· · · · · · ·(Document handed to the witness.)
10· the past would run afoul of this provision and possibly         10· · · Q.· ·(By Ms. Perales)· And I'll represent to you
11· create criminal liability for you?                              11· that this is a couple of emails that were provided to us
12· · · · · · · · MS. HUNKER:· Objection --                         12· today in the supplemental production, and they don't
13· · · A.· ·Yes.                                                   13· have Bates stamp numbers on them yet.
14· · · · · · · · MS. HUNKER:· -- form.                             14· · · · · ·But would it be -- would it be correct to say
15· · · Q.· ·(By Ms. Perales)· Can you describe that for me?        15· that this is an exchange of emails in which you are
16· · · A.· ·We have, historically, distributed                     16· inquiring about prepaying the postage for applications
17· applications, you know, when someone comes in and says,         17· for ballot by mail?
18· "Hey, I want to provide application; you know, I want to        18· · · A.· ·If you can give me a moment to review it.
19· distribute applications for vote by mail," we provide           19· · · Q.· ·Please take your time.
20· those to them.                                                  20· · · A.· ·(Witness reviews document.)· Okay.
21· · · Q.· ·Uh-huh.                                                21· · · · · ·(Ms. Perales confers with Mr. White.)
22· · · A.· ·And we no longer can do that.                          22· · · Q.· ·Okay.· So would it be correct to say that this
23· · · Q.· ·Uh-huh.· So if someone came to your office and         23· is an exchange of emails in which you are inquiring
24· said, "I regularly go to church on Sundays, and we have         24· about paying the postage or putting the -- Dallas County
25· a great group of congregants; I'd love to bring 25              25· putting the postage on an application for a ballot by

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·1· applications for ballot by mail to my next church               ·1· mail so that the voter doesn't have to pay the postage
·2· service, give them to the old folks, the folks over 65,"        ·2· to send it to you?
·3· in that situation, would you give the individual the 25         ·3· · · A.· ·Yes.
·4· applications for ballot by mail?                                ·4· · · Q.· ·Okay.· And are you expressing a concern, in
·5· · · A.· ·Not since the passage of SB 1.                         ·5· these emails, about whether paying that postage could,
·6· · · Q.· ·And in fact, you would require a voter to              ·6· potentially, get you too close to the prohibited
·7· request of you the application for ballot by mail before        ·7· practice under SB 1?
·8· you would send it out, correct?                                 ·8· · · A.· ·Yes.
·9· · · A.· ·That's correct.                                        ·9· · · Q.· ·Okay.· So would it be fair to say that this
10· · · Q.· ·Are you aware of voters who may have, in the           10· communication is an expression of your concern that
11· past, gotten their application for ballot by mail               11· paying the postage on an application for ballot by mail
12· without having to ask for it from you?                          12· to come back to you is now prohibited?
13· · · A.· ·Yes.                                                   13· · · A.· ·Yes.
14· · · Q.· ·Do you know of any specific instances like             14· · · Q.· ·Okay.· So you may have resolved your concern?
15· that?                                                           15· · · A.· ·(Witness moves head up and down.)
16· · · A.· ·No.                                                    16· · · Q.· ·But would it be fair to say that, because of
17· · · Q.· ·Okay.· But you're familiar with individuals            17· the criminal offenses and heavy penalties associated
18· having come for, let's say, batches of application for          18· with SB 1, that it caused you to doubt whether some of
19· ballot by mail because they intend to deliver those to          19· the practices in Dallas County were going to expose you
20· voters who are eligible so that the voter can submit it?        20· to criminal prosecution or cause you to worry that some
21· · · A.· ·Yes.                                                   21· of the practices in Dallas County might expose you to
22· · · Q.· ·So I only have one copy of this, so we're going        22· criminal prosecution?
23· to mark it; and then I'm going to do my best to remember        23· · · · · · · · MS. HUNKER:· Objection to form.
24· what it says.                                                   24· · · A.· ·I would say that it caused us to question the
25· · · A.· ·Okay.                                                  25· practices to make sure that we weren't getting our --


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·1· any of our staff in trouble.                                    ·1· · · Q.· ·-- the law?
·2· · · Q.· ·(By Ms. Perales)· And so besides refraining            ·2· · · A.· ·Interesting enough.
·3· from handing out multiple applications for ballot by            ·3· · · Q.· ·Do you think that political party officials are
·4· mail, can you tell me if you changed any of your other          ·4· more likely to -- are more likely to send out
·5· practices at Dallas County?                                     ·5· application for ballot by mail unsolicited in a way
·6· · · A.· ·Well, we were very concerned about anything            ·6· that's fair and responsible, more likely than you, to do
·7· having to do with vote by mail applications.· For               ·7· that function?
·8· instance, I, specifically, remember a candidate wanted          ·8· · · · · · · · MS. HUNKER:· Objection, form.
·9· us to review their application for a vote by mail.· And         ·9· · · A.· ·I've always found the restrictions on election
10· it's something that we would normally do, to make sure          10· officials as compared to other individuals to be very
11· that they've got the right information, dates, et               11· strange.
12· cetera.· And I said, "Well, even something as simple as         12· · · Q.· ·(By Ms. Perales)· Okay.· Do you think political
13· that, does that put us in legal jeopardy?"                      13· party officials are better equipped than you to send out
14· · · Q.· ·Uh-huh.                                                14· applications for ballot by mail?
15· · · A.· ·And so, you know, when it comes to state jail          15· · · · · · · · MS. HUNKER:· Objection, form.
16· penalties, you know, I -- I need to try to do as much as        16· · · A.· ·Apparently, the Legislature thinks so.
17· I can to protect my staff.                                      17· · · Q.· ·(By Ms. Perales)· If you turn with me to Page
18· · · Q.· ·Understood.· And I believe this came out               18· 62 --
19· January 12th.· This was before we pro- -- we got                19· · · A.· ·(Witness complies.)
20· guidance from the Secretary of State in their election          20· · · Q.· ·-- and with the -- beginning on Line 26,
21· advisory on SB 1.                                               21· Section 31.129, you'll see a "Civil Penalty" provision
22· · · · · ·Okay.· And so, as you received guidance from           22· there.
23· the Secretary of State, you are understanding better            23· · · A.· ·Yes.
24· kind of what you can do and -- and what you can't do; is        24· · · Q.· ·And then if we turn to the next page, it
25· that right?                                                     25· says -- and I'm starting on Line 1 -- quote, An election

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·1· · · A.· ·As time went on, we -- we got a better                 ·1· official may be liable to this State for a civil penalty
·2· understanding as more election advisories and webinars,         ·2· if the official -- and then it continues on to Sub 2 --
·3· et cetera, came out.                                            ·3· violates a provision of this code, unquote?
·4· · · Q.· ·Is there still guidance that you've requested          ·4· · · A.· ·(Witness moves head up and down.)
·5· that you're still waiting to come from the Secretary of         ·5· · · Q.· ·Do you understand that to create a new civil
·6· State's office related to SB 1 implementation?                  ·6· penalty, meaning money penalties against you as an
·7· · · A.· ·Off the top of my head, no.                            ·7· election official for violating the Election Code?
·8· · · Q.· ·Okay.· You're waiting for approval of new              ·8· · · A.· ·Yes.
·9· software that incorporates some of the SB 1                     ·9· · · Q.· ·Are -- are you concerned about liability for
10· requirements, correct?                                          10· civil penalties for mistakenly violating the election
11· · · A.· ·Correct.                                               11· code?
12· · · Q.· ·All right.                                             12· · · · · · · · MS. HUNKER:· Objection, form.
13· · · A.· ·And I believe, in this particular case, with           13· · · A.· ·Yes.· Every election official I know is
14· the solicitation and distribution, there's a pending            14· concerned about that provision.
15· court case on that also, so...                                  15· · · Q.· ·(By Ms. Perales)· And are you aware of an
16· · · Q.· ·And you might get more guidance from the               16· Elections Administrator who got sued during the November
17· Secretary of State, also, depending on how litigation           17· 2020 election for election procedures that she
18· unfolds?                                                        18· implemented?
19· · · A.· ·Correct.                                               19· · · A.· ·I'm not aware.
20· · · Q.· ·Okay.· And then on -- oh, let me ask you this.         20· · · Q.· ·Okay.· Are you -- okay.· Not sued.
21· · · · · ·Would you agree with me that, although you're          21· · · · · ·Are you aware of an Election Administrator who
22· not allowed to send out unsolicited applications for            22· was indicted for actions that she took as an Election
23· ballot by mail, that political party officials can still        23· Administrator?· And particularly, I'll point your
24· do that under --                                                24· attention to the Travis County Elections Administrator
25· · · A.· ·That is correct.                                       25· Dana DeBeauvoir?


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·1· · · · · · · · MS. HUNKER:· Objection to form.                   ·1· · · Q.· ·-- of that?
·2· · · A.· ·I'm not aware of the details of that.                  ·2· · · A.· ·-- a series of Senate and House bills that were
·3· · · Q.· ·(By Ms. Perales)· Okay.· Do you know if an             ·3· introduced and, subsequently, died; and SB 1 was the --
·4· indictment was sought against her, if she wasn't                ·4· kind of the culmination of all of those, yes.
·5· indicted?                                                       ·5· · · Q.· ·All right.· Thank you.
·6· · · · · · · · MS. HUNKER:· Objection to form.                   ·6· · · · · ·So during that process, including the regular
·7· · · A.· ·I'm not aware of the details of that.                  ·7· session and the special sessions, did you communicate
·8· · · Q.· ·(By Ms. Perales)· Would it concern you if you          ·8· with any members of the Texas Legislature regarding SB 1
·9· knew that the Attorney General's Office had sought to           ·9· or its predecessors?
10· bring criminal charges against the Travis County                10· · · A.· ·Yes.
11· Elections Administrator in the past?                            11· · · Q.· ·Do you remember who in the Texas Legislature
12· · · A.· ·Yes, it would.                                         12· you communicated with?
13· · · · · · · · MS. HUNKER:· Objection, form.                     13· · · A.· ·I do not.· I know that we had -- there was
14· · · Q.· ·(By Ms. Perales)· Do you happen to know -- and         14· multiple sessions with multiple legislators and multiple
15· I know you haven't been here that long.· But do you             15· election officials.· So there was at least two -- two or
16· happen to know if -- if there are circumstances under           16· three of those.
17· which a voter could be excused from jury duty because           17· · · Q.· ·Were those sessions in person or --
18· they are not physically present in the county, for              18· · · A.· ·No.
19· example, if they are away taking care of a family member        19· · · Q.· ·Okay.· So, like, a Zoom meeting?
20· or doing some work out in the oil fields, whether that          20· · · A.· ·Yes.
21· voter could still consider Dallas County their domicile         21· · · Q.· ·And do you know if this was facilitated by the
22· and their intended place of return?                             22· Association of Elections Administrators?
23· · · A.· ·I think that's a bit of a compound question.           23· · · A.· ·I don't know who the organizers were, but I
24· I'm not sure I understand which part --                         24· know that there was participants from that.· And there
25· · · Q.· ·So there are parts of SB 1 that have to do with        25· was also -- yeah, so -- so participants from TAEA.

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·1· registered voters who are excused from jury duty because        ·1· · · Q.· ·TAEA.
·2· of nonresidence.                                                ·2· · · A.· ·Texas Association of Elections Administrators.
·3· · · A.· ·Uh-huh.                                                ·3· · · Q.· ·How quickly I've forgotten because we were just
·4· · · Q.· ·And I'm wondering whether you think it's               ·4· talking about this in a previous -- you are not the
·5· possible that a registered voter in Dallas County               ·5· first county.
·6· considers Dallas County to be their actual home, where          ·6· · · A.· ·Okay.
·7· they live, could also be excused from jury duty for not         ·7· · · Q.· ·So do you remember sharing, personally sharing,
·8· being in the county when they are called up, besides a          ·8· any concerns that you might have about this legislation
·9· college student.· Put away the college students because         ·9· with the legislators on that Zoom call?
10· we can think of that scenario right away.                       10· · · A.· ·Yes.· And I -- I believe -- yes.
11· · · A.· ·I'm not familiar with the -- the laws around           11· · · Q.· ·Do you recall the Tarrant County Elections
12· jury duty.                                                      12· Administrator talking about specific numbers of voters
13· · · Q.· ·Okay.· Were you aware of either SB 1 or similar        13· on his voter roll that he was saying lacked either a
14· predecessor legislation moving through the Texas                14· driver's license number or the last four of the Social?
15· Legislature in the -- in the spring of 2021 during the          15· · · A.· ·I recall conversations about that subject. I
16· regular session?· Did you become aware?                         16· don't recall who said what.
17· · · A.· ·Yes.                                                   17· · · Q.· ·Okay.· And -- okay.· So I just want to put that
18· · · Q.· ·And then, of course, we know that similar              18· aside for a second because I don't want to forget about
19· legislation, then, was considered in the first special          19· the legislators.
20· session in the summer.                                          20· · · · · ·Do you remember which -- the legislators on the
21· · · A.· ·Uh-huh.                                                21· Zoom call, were they from all over the state or just
22· · · Q.· ·And then finally SB 1 passes in the second             22· from Dallas County?
23· special session.                                                23· · · A.· ·I don't recall.
24· · · · · ·Are you sort of generally aware --                     24· · · Q.· ·Do you remember ever sharing any concerns about
25· · · A.· ·And there was --                                       25· SB 1 with any local legislators, ones that represent


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·1· Dallas County?                                                   ·1· Keith Ingram or Christina Adkins were present and you
·2· · · A.· ·Yes.                                                    ·2· were expressing these types of concerns about SB 1?
·3· · · Q.· ·And do you remember who those legislators were?         ·3· · · A.· ·I know that Christina always leads those
·4· · · A.· ·I don't recall.                                         ·4· meetings.· I believe Keith is on sometimes.· I don't --
·5· · · Q.· ·Okay.· Do you remember whether they were State          ·5· he never typically leads those meetings.· He'll chime in
·6· House members or State Senator or some combi- --                 ·6· every so often.
·7· · · A.· ·I believe --                                            ·7· · · Q.· ·And so do -- do you recall whether you were
·8· · · Q.· ·-- nation?                                              ·8· ever expressing a concern about SB 1, either with
·9· · · A.· ·-- some combination.                                    ·9· respect to penalties on election officials, the
10· · · Q.· ·Okay.· And can you give me a sense of the type          10· poll-watcher issue or the matching-the-ID-number issue
11· of concern that you were sharing with the elected                11· when Christina Adkins was on the call?
12· officials when you spoke with them?                              12· · · A.· ·Most likely, yes.
13· · · A.· ·I think there was a series of concerns                  13· · · Q.· ·All right.
14· considering that -- what we (indicating) just talked             14· · · A.· ·I don't remember the exact specific instance,
15· about, criminal penalties for election -- election               15· but most likely.
16· officials, penalties for poll workers for their                  16· · · Q.· ·And would it be fair to say that Elections
17· interactions with poll watchers.· We were very concerned         17· Administrators on the advisory committee were largely
18· that it would have a chilling effect on being able to            18· expressing similar concerns about SB 1 to Ms. Adkins
19· recruit and retain poll workers, as well as election             19· and, to the extent he was there, Mr. Ingram?
20· officials, themselves.                                           20· · · · · · · · MS. HUNKER:· Objection --
21· · · Q.· ·Did you --                                              21· · · A.· ·Ye- --
22· · · A.· ·As well as other subject- -- I mean, it's --            22· · · · · · · · MS. HUNKER:· Objection, form.
23· it's a big bill, right.                                          23· · · A.· ·Yes.
24· · · Q.· ·Did you express any concerns about not being            24· · · Q.· ·(By Ms. Perales)· Did you ever have
25· able to process applications for ballot by mail or mail          25· communications with Governor Greg Abbott or his office

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·1· ballots because of the new requirements to match ID              ·1· or staff regarding SB 1 or its predecessors?
·2· number?                                                          ·2· · · A.· ·No.
·3· · · A.· ·Yes.                                                    ·3· · · Q.· ·Did you ever have communications with the
·4· · · Q.· ·Did you ever express any of the concerns that           ·4· Attorney General, Ken Paxton, or his staff regarding SB
·5· we were just talking about a moment ago to anybody in            ·5· 1 or its predecessors?
·6· the office of the Secretary of State?                            ·6· · · A.· ·No.
·7· · · A.· ·I believe -- we have biweekly meetings.                 ·7· · · Q.· ·All right.· You never called them up and said,
·8· There's an elections advisory group of election                  ·8· Okay, so if I did this, are you going to prosecutor me?
·9· officials.· And I believe, on more than one occasion, we         ·9· · · A.· ·No.
10· shared our concerns --                                           10· · · Q.· ·Okay.· Have you, personally, had communications
11· · · Q.· ·Are you --                                              11· with Dallas County voters regarding any problems that
12· · · A.· ·-- with them.                                           12· have come up in the implementa- -- problems for them
13· · · Q.· ·Are you a member of the Election Advisory               13· that have come up in the implementation of SB 1?
14· Committee?                                                       14· · · · · · · · MS. HUNKER:· Objection, form.
15· · · A.· ·Yes.                                                    15· · · A.· ·Yes.
16· · · Q.· ·We were talking to Yvonne Ramon a week or so            16· · · Q.· ·(By Ms. Perales)· Okay.· Tell me about those
17· ago, and she said she was also a member.                         17· communications.
18· · · A.· ·Okay.                                                   18· · · A.· ·Well, I think -- you know, we interact with a
19· · · Q.· ·She's also on there, do you know?                       19· lot of voter groups, Dallas Votes, Legal Women Voters,
20· · · A.· ·I don't know who --                                     20· et cetera.· And through those groups -- or in our
21· · · Q.· ·From Hidalgo County.                                    21· Citizen Election Advisory Committee, through those
22· · · A.· ·I believe so, but I don't know the whole list           22· groups, we've had discussions about the problematic
23· of people on that committee.· It varies, depends on who          23· aspects of SB 1.
24· makes the meeting.                                               24· · · Q.· ·And would it be fair to say that, in those
25· · · Q.· ·So do you recall any meetings in which either           25· meetings, the -- the groups that you're talking about


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·1· have expressed to you concerns about people -- voters      ·1· turnout in the general election?
·2· having a harder time voting under SB 1?                    ·2· · · A.· ·Yes.
·3· · · A.· ·Yes.                                              ·3· · · Q.· ·And would you say, as a general matter, that
·4· · · · · · · · MS. HUNKER:· Objection, form.                ·4· voter turnout in a spring election, like the one that
·5· · · Q.· ·(By Ms. Perales)· Have you spoken to any          ·5· will happen in May, on May 7th, would typically be lower
·6· individual voters who had problems voting under SB 1?      ·6· than the turnout in a primary election?
·7· · · A.· ·I have to think.· I'm not sure.· Yes, yes.· Now   ·7· · · A.· ·Yes.
·8· that I'm thinking about it, yes.                           ·8· · · Q.· ·Do you have any concerns about the impact of SB
·9· · · Q.· ·Tell me about what you can remember of those      ·9· 1 on the upcoming November 2022 midterm election?
10· communications.                                            10· · · · · · · · MS. HUNKER:· Objection, form.
11· · · A.· ·I was trying to remember.· This one had to do     11· · · A.· ·Yes.
12· with a particular constituent's mother not being able to   12· · · Q.· ·(By Ms. Perales)· Okay.· And can you list what
13· get a replacement mail ballot.· Gosh, I'm -- I'm trying    13· those concerns are?
14· to remember the details, but having to do with the --      14· · · A.· ·I have continuing concerns about the provisions
15· the mail ballot aspects, as far as providing the IDs, et   15· of the -- the ID requirements for mail ballots, in that
16· cetera.                                                    16· the high rejection rate for applications and the
17· · · Q.· ·So this was a voter who was trying to fulfill     17· ballots, themselves.· I have concerns about the chilling
18· the ID number requirement --                               18· effect that the poll watcher provisions have on poll
19· · · A.· ·Yes.                                              19· worker recruitment and retention.· I'd have to kind of
20· · · Q.· ·-- that was created by SB 1 --                    20· think a little bit deeper about some of the other
21· · · A.· ·Uh-huh.                                           21· provisions of SB 1, but those are my main ones.
22· · · Q.· ·-- and through -- using the mail ballot and was   22· · · Q.· ·Do you believe that there are voters who will
23· having a hard time --                                      23· attempt to vote by mail in the November general election
24· · · A.· ·Yes.                                              24· who have not yet encountered the ID matching
25· · · Q.· ·-- voting?                                        25· requirements of SB 1 because they didn't vote in the

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·1· · · A.· ·Uh-huh.                                           ·1· primary?
·2· · · Q.· ·Do you know if that voter ever successfully       ·2· · · A.· ·Absolutely.
·3· voted?                                                     ·3· · · Q.· ·All right.· And do you anticipate that, at
·4· · · A.· ·Yes.                                              ·4· least for some of those voters, for the first time, they
·5· · · Q.· ·You do know?                                      ·5· are going to have either their application for ballot by
·6· · · A.· ·This one I'm thinking of, yes.                    ·6· mail or their mail ballot rejected because there is not
·7· · · Q.· ·And did that voter successfully vote?             ·7· a matching ID number in your records?
·8· · · A.· ·Yes.                                              ·8· · · A.· ·Yes.
·9· · · Q.· ·Okay.· Do you know how the voter voted, like,     ·9· · · · · · · · MS. PERALES:· Can we go off the record for
10· did the -- did the voter, for example, end up having to    10· a few minutes?
11· go to the polling place and vote in person?                11· · · · · · (Mr. Stool moves head up and down.)
12· · · A.· ·No.· I think they got a replacement -- a          12· · · · · · · · THE VIDEOGRAPHER:· Going off the record.
13· replacement ballot, I believe.                             13· The time is 5:53.
14· · · Q.· ·Okay.· So you -- you were not getting all the     14· · · · · · · · · · · ·(Break taken.)
15· phone calls that Tacoma Phillips was getting?              15· · · · · ·(Deposition Exhibit Number 8 marked.)
16· · · A.· ·I typically don't.· I mean, that's why Tacoma's   16· · · · · · · · THE VIDEOGRAPHER:· We are back on the
17· there.                                                     17· record.· The time is 6:08.
18· · · Q.· ·Right.· Would it be correct to say that you did   18· · · Q.· ·(By Ms. Perales)· I'm handing you what has been
19· not work for Dallas County Elections in the November       19· marked Deposition Exhibit Number 8.
20· 2020 election?                                             20· · · ·(Document handed to the witness and Counsel.)
21· · · A.· ·That's correct.                                   21· · · Q.· ·Do you -- do you recognize this document?
22· · · Q.· ·That saves us a few questions.                    22· · · A.· ·Yes.
23· · · A.· ·Uh-huh.                                           23· · · Q.· ·And do you -- do you see it's got some Bates
24· · · Q.· ·Would you say that, as a general matter, voter    24· stamp numbers on it starting with "MS" in the bottom
25· turnout in the partisan primary is lower than voter        25· right-hand -- oh, the -- yes, the Bates stamp MS, and


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·1· the first page is many zeros and then the --                    ·1· · · A.· ·Uh-huh.· Yes.
·2· · · A.· ·Yes.                                                   ·2· · · Q.· ·And will you read with me in the box on the
·3· · · Q.· ·-- number, 2?                                          ·3· right, at the first dot?· Tell me if I'm reading this
·4· · · A.· ·Yes.                                                   ·4· correctly, quote, need clarity on whether this law guts
·5· · · Q.· ·And is "MS," is that for your initials?                ·5· cognitive disabilities, if any, unquote.
·6· · · A.· ·I don't know.                                          ·6· · · A.· ·Yes.
·7· · · Q.· ·Okay.· Do you -- do you, generally, know what          ·7· · · Q.· ·Do you recall having a conversation with
·8· this document is?                                               ·8· anybody in your department about whether the
·9· · · A.· ·Yes.                                                   ·9· restrictions on assistance were going to make it
10· · · Q.· ·And do you know who prepared it?                       10· difficult to assist a voter with cognitive disabilities?
11· · · A.· ·Yes.                                                   11· · · A.· ·If you give me a moment, I want to read the --
12· · · Q.· ·Who prepared it?                                       12· the left-hand side and then see if I can refresh my
13· · · A.· ·We -- I hired a -- created a position called an        13· memory here.
14· Elections Analyst, hired a young attorney to fill that          14· · · Q.· ·(Moving head up and down.)
15· position.· And one of her roles is to monitor                   15· · · A.· ·(Witness reviewing document.)· I don't have any
16· legislation and to assist our managers in interpreting          16· specific memories of this particular section, just of
17· or being aware of that legislation and incorporating the        17· the document overall and covering the various subjects
18· changes into their procedures.                                  18· with various department heads.
19· · · Q.· ·Okay.· And --                                          19· · · Q.· ·Do you know who the preparer of the document
20· · · A.· ·And this is a document (indicating) that she           20· might have spoken to that would have caused her to
21· produced to help with that.                                     21· write, in the comments section, needing clarity about
22· · · Q.· ·And when she was preparing comments for the            22· whether the law guts cognitive disabilities?
23· column titled, quote, Possible Impacts, slash, Changes,         23· · · A.· ·In addition to reading the legislation, she was
24· slash, Comments, unquote, was she also receiving some           24· also keeping abreast of other analysis of the law.· And
25· input from staff in the Elections Department --                 25· it could have come from that.· It could have come from

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·1· · · A.· ·Ye- --                                                 ·1· her own mind.· It could have come from conversations
·2· · · Q.· ·-- in order to do that?                                ·2· with staff.· I don't know.
·3· · · A.· ·Yes.· She would meet with each department and          ·3· · · Q.· ·My last question to you is whether you've done
·4· kind of go over these changes and get their feedback, et        ·4· any examination of Dallas County's practices with
·5· cetera.                                                         ·5· respect to voters who need assistance, specifically with
·6· · · Q.· ·I'm going to draw your attention to the very           ·6· the goal of making sure that you are providing
·7· last page of this document (indicating).                        ·7· assistance to voters who need it?
·8· · · A.· ·Okay.                                                  ·8· · · A.· ·Since I've come here, my MO as an Elections
·9· · · Q.· ·Now, I'll represent to you that, when I                ·9· Administrator, is -- is to -- is someone who rebuilds an
10· received this document -- it's been produced more than          10· organization, and so we have looked at the practices in
11· once, but the one that has the Bates stamp on it from           11· Dallas County and -- from A to Z and are retaking a look
12· before --                                                       12· at all of those practices and starting with the ones
13· · · A.· ·(Witness moves head up and down.)                      13· that -- where we're most vulnerable and have made
14· · · Q.· ·-- also had legislation attached to the back --        14· significant changes to the -- the practices in the
15· · · A.· ·(Witness moves head up and down.)                      15· county.· But we're not -- it takes a long time to do
16· · · Q.· ·-- but I only copied the slide's portion.              16· that.· It takes years.
17· · · A.· ·Okay.                                                  17· · · · · ·And so, it certainly -- that is one of the many
18· · · Q.· ·So I'm going to refer you to the back page.· It        18· things that's on our list of things to do that we
19· doesn't have a Bates stamp number, but it -- it has             19· haven't been able to do yet.· So until we get there,
20· Assistance of Voters (pointing) across the top.· And            20· it's status quo from the county's previous practices.
21· then I'm going to point your attention to the -- one,           21· But it's certainly something that's high on our priority
22· two -- third row down, which is in gray and is talking          22· to do in the future.
23· about the changes (pointing) related to Section 64.031.         23· · · Q.· ·Thank you.
24· · · A.· ·(Witness moves head up and down.)                      24· · · · · · · · MS. PERALES:· And I want to thank you for
25· · · Q.· ·Do you see that there?                                 25· your time and your patience today.


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·1· · · · · · · · I'm going to pass the witness to               ·1· election irregularities and reported those
·2· Mr. White.                                                   ·2· irregularities to poll -- poll officials?
·3· · · · · · · · MR. WHITE:· Thank you.                         ·3· · · A.· ·Not that I'm aware of.
·4· · · · · · · · · · · · EXAMINATION                            ·4· · · Q.· ·Okay.· Did you train election workers about
·5· BY MR. WHITE:                                                ·5· SB 1's provisions relating to poll watchers?
·6· · · Q.· ·Mr. Scarpello, thank you for your patience. I       ·6· · · A.· ·Yes.
·7· wanted to ask a few questions about SB 1's provisions        ·7· · · Q.· ·You trained them, personally --
·8· relating to poll watchers.                                   ·8· · · A.· ·No.
·9· · · A.· ·Yes.                                                ·9· · · Q.· ·-- or your office?
10· · · Q.· ·But before we even turn to SB 1, did poll           10· · · A.· ·No.
11· watchers serve at Dallas County polling sites before         11· · · Q.· ·At home?
12· SB 1 took effect?                                            12· · · A.· ·We have a training program.
13· · · A.· ·Yes.                                                13· · · Q.· ·Okay.· Who in your office conducted the
14· · · Q.· ·Does your office track the amount of poll           14· training?
15· watchers who report to polling sites?                        15· · · A.· ·We have a -- we have a training staff -- that
16· · · A.· ·I believe we have documentation, from those         16· was two people until recently; a third person was just
17· poll watcher certificates, that are collected in -- in       17· added -- of full-time staff members.· But the people
18· the elections, yes.                                          18· that actually do the training, for the most part, are
19· · · Q.· ·And when you refer to the "poll watcher             19· temporary workers that were -- I think we hired about
20· certificates," are you referring to the training             20· eight or nine temporary staff that facilitate our
21· certificates that they are required to --                    21· training classes.· For the most part, though, our
22· · · A.· ·Yes --                                              22· training is recorded so that we have a consistence --
23· · · Q.· ·-- complete?                                        23· consistency between classes.
24· · · A.· ·-- the documents that they turn in to us.           24· · · Q.· ·Okay.· And when did this training occur?· I'm
25· · · Q.· ·Okay.· And the certificates that you're             25· sorry.· When did this training of election workers about

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·1· referring to, that was -- poll watchers were required to     ·1· the SB 1's provisions relating to poll watchers occur?
·2· present those as a result of SB 1, right?                    ·2· · · A.· ·I believe -- so we revised a lot of our
·3· · · A.· ·Yes.                                                ·3· training materials, a significant amount of our training
·4· · · Q.· ·And so before SB 1 was enacted, did your office     ·4· materials, going into the November election and -- and
·5· have any way of tracking how poll watchers --                ·5· made further modifications in preparations for the March
·6· · · A.· ·I --                                                ·6· elections because of SB 1.
·7· · · Q.· ·-- how many poll watchers reported for service?     ·7· · · Q.· ·Okay.· And what was covered -- can you describe
·8· · · A.· ·I don't know that we have reliable information      ·8· what was covered during the most recent training that
·9· on the number of poll watchers that we had in the past.      ·9· you conducted?
10· · · Q.· ·Okay.· Are you aware of any instance of poll        10· · · A.· ·I -- I don't know -- I can't tell you that -- I
11· watchers harassing voters at Dallas County polling sites     11· can't quote verbatim what was said, but I can tell you
12· prior to SB 1 being enacted?                                 12· the -- the gist of it was that -- to warn poll workers
13· · · A.· ·None that I'm aware -- no specific ones that        13· not to interfere with the movement of poll watchers;
14· I'm aware of.                                                14· otherwise, they could face legal jeopardy.
15· · · Q.· ·Is that because -- I'm sorry.· Can you remind       15· · · Q.· ·Okay.· I want to talk about some of those
16· me when you first started working at the Dallas              16· specific provisions.
17· County --                                                    17· · · · · ·Do you have the exhibit that -- like, Holly
18· · · A.· ·December 7th, 2020.                                 18· gave you a copy of SB 1 --
19· · · Q.· ·Okay.· Are you aware of any incidents of poll       19· · · A.· ·Uh-huh.
20· watchers harassing election workers at Dallas County         20· · · Q.· ·-- in front of you?
21· polling sites before SB 1?                                   21· · · · · ·Can you turn to Page 27 of that?
22· · · · · · · · MS. HUNKER:· Objection, form.                  22· · · A.· ·(Witness complies.)· Okay.
23· · · A.· ·Not that I'm aware of.                              23· · · Q.· ·And let's take a look at Lines 12 through 15,
24· · · Q.· ·(By Mr. White)· Are you aware of any instances      24· which I believe is Subsection g, and you can read it to
25· prior to Senate Bill 1 where poll watchers discovered        25· yourself and just let me know when you're finished.

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·1· · · A.· ·(Witness reviewing document.)· Okay.                     ·1· machine where voters cast their ballot?
·2· · · Q.· ·What is your understanding of what this -- or            ·2· · · · · · · · MS. HUNKER:· Objection, form.
·3· sorry.· Strike that.                                              ·3· · · A.· ·That is something that we would not allow.
·4· · · · · ·Are you familiar with this provision?                    ·4· · · Q.· ·(By Mr. White)· And why wouldn't you allow
·5· · · A.· ·Yes.                                                     ·5· that?
·6· · · Q.· ·And what is your understanding of what it                ·6· · · A.· ·The privacy of a voter, being able to cast a
·7· requires?                                                         ·7· ballot in privacy.
·8· · · A.· ·That -- that interfering -- you know, that an            ·8· · · Q.· ·Is there anything in SB 1, that you're aware
·9· election officer commits an offense if they interfere             ·9· of, that would prohibit that?
10· with a poll -- a poll watcher and it's a Class A                  10· · · A.· ·No.
11· misdemeanor and that there's certain paperwork and oaths          11· · · Q.· ·And let me also ask you if you could flip
12· that need to be taken by that poll watcher.                       12· back -- backwards to Page 25, Lines 3 through 7.
13· · · Q.· ·Did your office adopt any new policies or                13· · · A.· ·(Witness complies.)
14· procedures to address this provision?                             14· · · Q.· ·Maybe you can just take a second to read that.
15· · · A.· ·I believe so, yes.                                       15· · · · · · · · MS. HUNKER:· What page?
16· · · Q.· ·And what were those?                                     16· · · · · · · · MR. WHITE:· Page 25.
17· · · A.· ·To accept that -- to be aware of this new                17· · · · · · · · MS. HUNKER:· Thank you.
18· provision and to -- to accept that certificate, et                18· · · A.· ·(Witness reviews document.)· Okay.
19· cetera.                                                           19· · · Q.· ·(By Mr. White)· Have you seen this provision
20· · · Q.· ·Okay.· Let me ask you about other provisions,            20· before?
21· and that's one relating to poll watchers.                         21· · · A.· ·Yes.
22· · · · · ·Can you flip to the next page, Page 28; and              22· · · Q.· ·Is it fair to say that this provision requires
23· look at Lines 3 through 5?                                        23· poll workers to report suspected irregularities to
24· · · A.· ·(Witness complies.)· Okay.                               24· election officials?
25· · · Q.· ·Have you seen this provision before?                     25· · · A.· ·Yes.

                                                         Page 259                                                              Page 261
·1· · · A.· ·Yes.                                                     ·1· · · Q.· ·Who are the election officials to whom poll
·2· · · Q.· ·And what does it mean?                                   ·2· watchers are obligated to report irregularities?
·3· · · A.· ·That a poll watcher cannot be limited in where           ·3· · · A.· ·We encourage them to talk to the election
·4· they -- their activities as a watcher.                            ·4· judge, the presiding judge --
·5· · · Q.· ·What is your understanding of what the phrase            ·5· · · Q.· ·And to --
·6· "free movement" means?                                            ·6· · · A.· ·-- and to not -- not interact with the clerks.
·7· · · A.· ·I think kind of what I just said, where they --          ·7· · · Q.· ·And why -- why do you encourage them to not
·8· they can go where they want in order to observe election          ·8· interact with the clerks?
·9· activities.                                                       ·9· · · A.· ·Because the judge has more thorough training
10· · · Q.· ·Did you receive guidance from the Secretary of           10· and knowledge of what is allowed and what is not
11· State's office about the meaning of "free movement" or            11· allowed, whereas the clerks do not.
12· the lengths to which poll watchers are allowed to                 12· · · Q.· ·And --
13· operate within polling places?                                    13· · · A.· ·As well as just the general procedures; they
14· · · A.· ·I believe --                                             14· have a deeper understanding of how the conduct -- and
15· · · · · · · · MS. HUNKER:· Objection, form.                       15· they are responsible for the conduct of the election at
16· · · A.· ·I believe there's an elections advisory,                 16· that polling place.
17· that -- if I remember correctly, that there's an                  17· · · Q.· ·And do election judges and clerks have
18· elections advisory that kind of outlines this particular          18· responsibilities on Election Day apart from waiting to
19· section.                                                          19· hear complaints from poll watchers?
20· · · Q.· ·(By Mr. White)· Okay.· Is it your understanding          20· · · A.· ·Yes.
21· that -- under this provision of Senate Bill 1, can a              21· · · Q.· ·And what are some of those responsibilities?
22· poll watcher follow a voter through a polling place?              22· · · A.· ·Generally speaking, the judge is responsible
23· · · · · · · · MS. HUNKER:· Objection, form.                       23· for all activities within that polling place, including
24· · · A.· ·I believe so.                                            24· directing the activities to open it, close it, to run
25· · · Q.· ·(By Mr. White)· Can poll watchers stand by the           25· it, as well as the specific responsibilities to handle

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·1· what we call exceptions to the standard voting                 ·1· · · · · · ·(Document handed to the witness.)
·2· procedure.· Clerks handle the 80 percent that are easy.        ·2· · · Q.· ·So I'll just represent to you this is a news
·3· judges handle the 20 percent that are difficult.               ·3· article about some of, like, the wait times and worker
·4· · · Q.· ·Okay.· So when a poll watcher is reporting a          ·4· shortages during the March primary in Dallas County,
·5· suspected irregularity to an election official, is it          ·5· which I'm sure you're familiar with.
·6· fair to say that the election official will be unable to       ·6· · · · · ·And if I could ask you to turn to Page 5 of
·7· handle their other responsibilities while they are             ·7· this article.
·8· dealing with the -- a watcher.                                 ·8· · · A.· ·(Witness complies.)
·9· · · · · · · · MS. HUNKER:· Objection, form.                    ·9· · · Q.· ·And the last full paragraph on Page 5 -- I'll
10· · · A.· ·I don't know that that's -- I mean, being a           10· just read it aloud -- says:· "Scarpello also said some
11· judge is difficult, and they have to juggle.· And -- and       11· election judges were afraid of being prosecuted under a
12· so that's just another piece of their job that they have       12· provision of the law related to partisan poll watchers."
13· to juggle, as well as dealing with difficult voters and        13· · · · · ·Did I read that correctly?
14· dealing with signs and, you know, dealing with the --          14· · · A.· ·Yes.
15· all the other things that someone who's running a              15· · · Q.· ·And then it goes on to say:· (Reading)· SB 1
16· polling place has to deal with.                                16· makes it a misdemeanor offense for a worker to knowingly
17· · · Q.· ·(By Mr. White)· Well, would you agree that            17· prevent (sic) a watcher from observing an activity or
18· while an election official is talking to or interacting        18· procedure the person knows the watcher is entitled to
19· with a poll watcher, they are not able to do any of the        19· observe.
20· other tasks they're assigned to do?                            20· · · · · ·Did I read that correctly?
21· · · · · · · · MS. HUNKER:· Objection, form.                    21· · · A.· ·Yes.
22· · · A.· ·I would agree that most people can -- they have       22· · · Q.· ·How did you become aware that election judges
23· to deal with one thing at a time.                              23· were afraid of being prosecuted under this provision?
24· · · Q.· ·(By Mr. White)· Okay.· During the March primary       24· · · A.· ·We had several judges tell us that.
25· of this year, did Dallas County experience a shortage of       25· · · Q.· ·How many judges?

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·1· poll workers at polling sites?                                 ·1· · · A.· ·I don't know.
·2· · · A.· ·Yes.                                                  ·2· · · Q.· ·And who did they speak to about these concerns?
·3· · · Q.· ·How significant of a shortage?                        ·3· · · A.· ·Staff -- county -- our staff -- voting site
·4· · · A.· ·It was very significant.                              ·4· staff.
·5· · · Q.· ·Can you explain more what you mean by that?           ·5· · · Q.· ·And so is it fair to say that this provision
·6· · · A.· ·We had a big shortage of judges, in particular,       ·6· was a cause of election judges not reporting for duty --
·7· where judges had committed to working and then didn't          ·7· or, sorry.· Strike that.
·8· show up two days prior to the election to pick up their        ·8· · · · · ·Is it fair to say that this provision was a
·9· supplies.· I think we had 71 no-shows on the Sunday            ·9· cause of the poll worker shortages that we were just
10· before the election, then some more on Election Day.           10· discussing?
11· · · Q.· ·Okay.· I want to pass you exhibits.· I'm not          11· · · · · · · · MS. HUNKER:· Objection, form.
12· sure what exhibit number we are up to, but --                  12· · · A.· ·My speculation is that it was a contributing
13· · · · · · · · THE REPORTER:· 9.                                13· factor.
14· · · · · · · · MR. WHITE:· 9.                                   14· · · Q.· ·(By Mr. White)· And what other factors do you
15· · · Q.· ·Okay.· I'll pass you what I would ask the court       15· believe led to the poll shortage, poll worker shortage?
16· reporter to mark as Exhibit 9.                                 16· · · A.· ·There's a general -- there's a general degree
17· · · · · · (Document handed to the court reporter.)             17· of people not wanting to volunteer or not wanting to
18· · · Q.· ·And I'll represent to you this is a news              18· work.· We have difficulties getting temporary workers,
19· article about some of the --                                   19· full time workers, poll workers.· And so I think that,
20· · · · · · · · MR. WHITE:· Oh, I'm sorry.· Could you --         20· you know, there's a -- wherever you go, we see that,
21· · · · · · · · THE REPORTER:· I've got -- you've got to         21· right?· You go to McDonald's.· You can't -- they don't
22· quit talking for me to mark it.· I'm sorry.                    22· have workers.
23· · · · · ·(Deposition Exhibit Number 9 marked.)                 23· · · · · ·And so I think that's a contributing factor. I
24· · · · · · · · THE REPORTER:· Okay.· Thank you.                 24· think this -- this legislation's a contributing factor.
25· · · · · · · · MR. WHITE:· Thanks.                              25· I think there's lots of factors.


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·1· · · Q.· ·Did you have to close polling sites as a result          ·1· you -- what is your basis for saying that's impossible
·2· of the shortage of poll workers?                                  ·2· as someone, personally, who has not worked at an
·3· · · A.· ·Yes.                                                     ·3· election -- an election site.
·4· · · Q.· ·How many?                                                ·4· · · A.· ·Given the time it takes to process a voter and
·5· · · A.· ·I believe it was -- gosh, don't -- I think it            ·5· for a voter to cast a vote and that the potential line,
·6· was nine, and then we ended up open -- opening one of             ·6· physical area, for the line to -- to, actually, line
·7· those nine later in the -- the morning.                           ·7· up --
·8· · · Q.· ·Where, in Dallas County, were these nine poll            ·8· · · Q.· ·Uh-huh.
·9· sites --                                                          ·9· · · A.· ·-- it's unlikely.· And that's why we're
10· · · A.· ·Scattered throughout the county.                         10· investigating.
11· · · Q.· ·Scattered throughout.· Who decided to close              11· · · Q.· ·Okay.
12· them?                                                             12· · · A.· ·Yeah.· People -- people have their own
13· · · A.· ·I did.                                                   13· perception of reality --
14· · · Q.· ·Did you attempt to recruit other poll workers            14· · · Q.· ·Sure.
15· or election judges before making that decision?                   15· · · A.· ·-- many times.
16· · · A.· ·Yes.· I mean, remember, I said 71 didn't show            16· · · Q.· ·Did you -- are you aware of -- sorry.· Strike
17· up on Sunday to pick up their supplies.· So, on Monday,           17· that.
18· we scrambled and reassigned people and moved alternate            18· · · · · ·Did you talk to other voters about wait times
19· judges and successfully patched most of those holes               19· during the March 2022 primary?
20· except for those eight or nine.                                   20· · · A.· ·Yes.
21· · · Q.· ·Did the shortage of poll workers cause longer            21· · · Q.· ·And what is your understanding of how much
22· wait times for voters at polling sites?                           22· longer than usual wait times were during the primary
23· · · A.· ·Yes.                                                     23· election?
24· · · · · · · · MS. HUNKER:· Objection, form.                       24· · · A.· ·I think that, in some instances when we had
25· · · Q.· ·(By Mr. White)· If you could turn to Page 2 of           25· poll worker shortages, that there were less people to

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·1· the article that I just gave you.                                 ·1· check in workers.· And at those locations, they had to
·2· · · A.· ·Uh-huh.                                                  ·2· wait longer to check in.· And so then there -- there
·3· · · Q.· ·At the bottom, there are a couple of paragraphs          ·3· would be waits at those locations.· But generally
·4· talking about a voter named Gladys Ivy who says that she          ·4· speaking, there were -- when -- when we had a compliment
·5· waited for four hours to vote at the Disciple Central             ·5· of voter -- poll workers, there were no waits.
·6· Community Church in DeSoto.                                       ·6· · · Q.· ·Okay.· So when there were poll worker
·7· · · · · ·Are you aware of that polling site?                      ·7· shortages, the wait times were longer, if I'm --
·8· · · A.· ·I am.                                                    ·8· · · A.· ·Correct.
·9· · · Q.· ·And are you familiar with -- oh, strike that.            ·9· · · Q.· ·-- understanding you correctly.· Okay.
10· · · · · ·Are you familiar with this story about Gladys            10· · · · · ·And do you have a sense of how much longer
11· Ivy having to wait four hours?                                    11· people typically had to wait because of these poll
12· · · A.· ·I am familiar with it, and I have my doubts              12· worker shortages?
13· about it.· We're investigating that.· It's highly                 13· · · A.· ·No.
14· unlikely someone waited four hours.                               14· · · Q.· ·Okay.· Is there anyone in your office that
15· · · Q.· ·Okay.· Why do you have your doubts?                      15· would know that --
16· · · A.· ·Because it's highly unlikely someone waited              16· · · A.· ·No.
17· four hours.· It's -- the math just doesn't add up.                17· · · Q.· ·-- answer?
18· · · Q.· ·Okay.· What do you -- were there other -- I'm            18· · · A.· ·We don't have metrics on that.
19· sorry.· Strike that.                                              19· · · Q.· ·Okay.· Did your office receive complaints about
20· · · · · ·Why -- why do you think the math doesn't add             20· wait times following the March 2022 primary election?
21· up?                                                               21· · · A.· ·A handful.
22· · · A.· ·Because it's -- it would be nearly impossible            22· · · Q.· ·And when you say "a handful" (indicating), how
23· for someone to wait four hours for that curbside voting           23· many are you thinking?
24· that she claims.                                                  24· · · A.· ·I don't -- I couldn't quantify.
25· · · Q.· ·I guess I'm just trying to understand why                25· · · Q.· ·More than five?


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·1· · · A.· ·Yes.                                                     ·1· that location.
·2· · · Q.· ·More than 20?                                            ·2· · · Q.· ·And when the Sheriff Deputies arrived at the
·3· · · A.· ·Probably not.                                            ·3· location, what happened next?
·4· · · Q.· ·Okay.· In the March 2022 primary, did poll               ·4· · · A.· ·I -- I don't know the specifics of who did what
·5· watchers appear at Dallas County polling locations?               ·5· at that point.· I know the Sheriff's Deputies worked
·6· · · A.· ·Poll watchers?                                           ·6· with the judge to -- to make sure that she felt safe
·7· · · Q.· ·Yeah.                                                    ·7· and -- and that there weren't any further problems.
·8· · · A.· ·Yes.                                                     ·8· · · Q.· ·Do you know if the poll watcher was removed
·9· · · Q.· ·And I think I asked you this before, but do you          ·9· from the polling site?
10· know how many appeared during the March 2022 primary?             10· · · A.· ·I don't think -- I think some of this conflict
11· · · A.· ·I don't have that information.· I don't know             11· happened after the polling place was already closed.
12· that information.                                                 12· · · Q.· ·Okay.· Before the polling place was closed, did
13· · · Q.· ·Okay.· Were there particular precincts where             13· this conflict lead to any disruptions in the
14· poll watchers were more likely to report for service in           14· administration of the election at the polling site?
15· Dallas County?                                                    15· · · · · · · · MS. HUNKER:· Objection, form.
16· · · · · · · · MS. HUNKER:· Objection, form.                       16· · · A.· ·I don't believe so.
17· · · A.· ·I -- I'm not aware of any particular location            17· · · Q.· ·(By Mr. White)· And you said that this conflict
18· where there was a significant amount of -- of poll                18· arose from the Republican co-judge giving potentially
19· watchers.                                                         19· unwarranted access to the poll watcher.
20· · · Q.· ·(By Mr. White)· Okay.· In the March 2022                 20· · · · · ·Am I describing your testimony correctly?
21· primary, are you aware of any instance where poll                 21· · · A.· ·That's correct.
22· watchers intimidated voters?                                      22· · · Q.· ·And what kind of access was being given to the
23· · · · · · · · MS. HUNKER:· Objection, form.                       23· poll watcher?
24· · · A.· ·We had one location where we had a conflict              24· · · A.· ·I believe they were -- they were attempting to
25· between a poll watcher and a judge.· I don't know that            25· open up the ballot box on the vote tabulator.

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·1· there was a conflict between the poll watcher and any             ·1· · · Q.· ·Did the poll watcher succeed in opening up the
·2· voters.                                                           ·2· ballot box?
·3· · · Q.· ·(By Mr. White)· Okay.· And what was -- what              ·3· · · A.· ·I don't believe so.
·4· location was this?                                                ·4· · · Q.· ·Okay.· Are you aware of any other problems
·5· · · A.· ·Early voting site.· The -- the name escapes me           ·5· caused by poll watchers during the March 2022 primary?
·6· right now, but it's on the tip of my tongue.· I can't             ·6· · · A.· ·No.
·7· remember.                                                         ·7· · · Q.· ·Do you recall testifying earlier that one of
·8· · · Q.· ·Okay.· What was the nature of the conflict               ·8· your biggest concerns with SB 1 was the deterrent effect
·9· between the poll watcher and the judge?                           ·9· that poll watchers would potentially have on poll worker
10· · · A.· ·There's -- they were co-judges for this                  10· recruitment?
11· election because it was a joint election.· There was a            11· · · A.· ·Yes.
12· Republican co-judge and a Democratic co-judge.· The               12· · · Q.· ·Are you taking any steps to sort of address
13· Republican co-judge and the poll watcher were -- the              13· that going forward?
14· Republican co-judge was letting the poll watcher have             14· · · A.· ·In the March election, we -- we actually hired
15· access to things that she should not have, and the                15· a firm to produce a video that we put -- that we show
16· Democratic co-judge had a problem with that.· And so              16· during our training, to talk about the importance of
17· there was a conflict there.                                       17· teamwork, the importance of getting along with
18· · · Q.· ·Okay.· And when you say the Democratic co-judge          18· co-workers, the importance of getting along with poll
19· had a problem with it, how did the situation resolve              19· watchers and -- and with voters, as well as, you know,
20· itself?                                                           20· having discussions during training about that importance
21· · · A.· ·They called our office.· We sent a -- a                  21· of not -- of de-escalating conflict.
22· technician to try to calm -- to negotiate -- mediate, if          22· · · · · ·We're going to continue to do that going into
23· you will.· The conflict just kept going until, I think,           23· the -- to the November election where -- where it's
24· later on.· One of the two parties called the Sheriff's            24· contested, races where there's most likely going to be
25· Office, and the Sheriff's Deputies, actually, went to             25· more poll watchers and the potential for more conflict.


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·1· · · Q.· ·This video that you just mentioned that you          ·1· Dallas County?
·2· produced, is this something for -- is this part of your       ·2· · · A.· ·There are certain specified requirements.
·3· training materials?                                           ·3· Generally speaking, the disabled people not able to
·4· · · A.· ·Yes.                                                 ·4· readily get into a polling place.
·5· · · Q.· ·Okay.· When Senate Bill 1 was being debated in       ·5· · · Q.· ·Can you walk me through the steps of how a
·6· the Legislature, did you take a position supporting or        ·6· voter casts a ballot when they vote using curbside
·7· opposing these provisions relating to poll watchers?          ·7· voting?
·8· · · A.· ·As an Elections Administrator, I don't really        ·8· · · A.· ·We have a sign out on the -- on the outside of
·9· take positions on legislation.· I do add my expertise as      ·9· the polling place that has a phone number.· When someone
10· an administrator to -- to advise legislators on what I        10· pulls up, if there's not voter- -- if there's not
11· think the effects of that legislation might -- it might       11· workers already outside, they call that number, which
12· have.                                                         12· rings into the judge's cell phone.· And they say, "Hey,
13· · · Q.· ·And did you advise legislators about the             13· I'm here to vote curbside."
14· provisions relating to poll watchers?                         14· · · · · ·And so the judge sends a worker out with an
15· · · A.· ·Yes.                                                 15· electronic poll book.· The voter -- they -- they find
16· · · Q.· ·And what did you advise them, or how did you         16· the voter, and the voter signs the Epollbook.· They go
17· advise them?                                                  17· back inside; and they get the voting machine, bring that
18· · · A.· ·I thought it would have a chilling effect on         18· out to the voter.· They -- they cast their ballot on
19· the recruitment and retention of poll workers.· I said        19· that voting machine.
20· that I thought that it could create conflict at -- at         20· · · Q.· ·Do you think there's an increased risk of fraud
21· polling places between poll watchers and poll workers         21· with respect to the curbside voting?
22· and, potentially, voters.                                     22· · · A.· ·No.
23· · · Q.· ·Okay.· And you mentioned that you didn't start       23· · · Q.· ·Why not?
24· working at the Dallas County Election Administrator's         24· · · A.· ·It's the same procedure that takes place inside
25· office until November of 2020, right?                         25· the building as outside the building.

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·1· · · A.· ·Yes.· December 7th of 2020.                          ·1· · · Q.· ·And are you familiar with the provisions in
·2· · · Q.· ·December 7th.· And so what was your basis for        ·2· SB 1 relating to drive-thru voting?
·3· believing that these poll watching provisions would have      ·3· · · A.· ·Yes.
·4· a chilling effect on recruitment?                             ·4· · · Q.· ·What is the difference between curbside voting
·5· · · A.· ·Just my experience in the industry.                  ·5· and drive-thru voting?
·6· · · Q.· ·Okay.· Have you had experiences prior to your        ·6· · · A.· ·Curbside voting, there is certain requirements
·7· service here in Dallas with the poll watchers that sort       ·7· that allows someone to be a curbside voter as opposed to
·8· of informed that opinion?                                     ·8· drive-thru voting where there would not be those
·9· · · A.· ·Yes.                                                 ·9· requirements.
10· · · Q.· ·And what were those experiences?                     10· · · Q.· ·Requirements on who is eligible?
11· · · A.· ·22 years of dealing with poll workers and poll       11· · · A.· ·Yes.
12· watchers and knowing the nature of elections, especially      12· · · Q.· ·Has Dallas County ever offered drive-thru
13· as they've gotten more partisan and a little less polite      13· voting?
14· as the years have gone on.                                    14· · · A.· ·Not that I'm aware of.
15· · · Q.· ·Okay.· I'm going to shift gears and ask              15· · · Q.· ·Have you ever considered implementing it?
16· about -- a few questions about curbside voting and            16· · · A.· ·I would say if SB 1 hadn't been implemented, we
17· drive-thru voting.                                            17· would have aggressively had drive-thru voting.
18· · · A.· ·Uh-huh.                                              18· · · Q.· ·And why -- why is that?
19· · · Q.· ·Does Dallas County offer curbside voting?            19· · · A.· ·I've got a long history of making voter --
20· · · A.· ·Yes.                                                 20· voting more accessible to voters, including the
21· · · Q.· ·And how long has Dallas County offered curbside      21· introduction of drop boxes, vote center voting, allowing
22· voting?                                                       22· mail ballots to be dropped off at polling places, et
23· · · A.· ·I don't know that answer.· For as long as Texas      23· cetera, et cetera.· And so when I saw what Harris County
24· state law has allowed it, I'm sure.                           24· was doing in 2020, I really applauded that.· I thought
25· · · Q.· ·Sure.· Who's eligible to vote curbside in            25· it was great.· And I -- when I got to Texas, I thought


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·1· we're going to do that in Dallas.                               ·1· voting in the 2020 election.
·2· · · Q.· ·And so is it your opinion that drive-thru              ·2· · · · · ·During the 2020 election, did voters ever call
·3· voting would make voting more accessible?                       ·3· your office to ask about drive-thru voting?
·4· · · · · · · · MS. HUNKER:· Objection, form.                     ·4· · · A.· ·I wasn't there.
·5· · · A.· ·Absolutely.                                            ·5· · · Q.· ·Oh, that's right.
·6· · · Q.· ·(By Mr. White)· I meant to ask this earlier.           ·6· · · A.· ·But I believe that -- my staff has told me that
·7· So I had asked you earlier about whether you thought            ·7· there was lots of questions:· Why was Dallas not doing
·8· there was an increased risk of fraud with respect to            ·8· it when Harris was?
·9· curbside voting.                                                ·9· · · Q.· ·And so is it fair to say that, just of those
10· · · · · ·Are you aware of any instances of voter fraud          10· complaints, were that Dallas County voters wanted to
11· in Dallas County that have happened with respect to             11· have drive-thru voting in Dallas County?
12· curbside voting?                                                12· · · · · · · · MS. HUNKER:· Objection, form.
13· · · A.· ·No.                                                    13· · · A.· ·That is my understanding.
14· · · Q.· ·I also want to turn your attention back to this        14· · · Q.· ·(By Mr. White)· Did the availability -- I'm
15· article that I gave you.                                        15· sorry.· Strike that.
16· · · A.· ·Uh-huh.                                                16· · · · · ·Apart from those calls that you received that
17· · · Q.· ·If you could flip to Page 4.                           17· we just -- that I just asked you about, did the
18· · · A.· ·(Witness complies.)                                    18· availability of drive-thru voting in Harris County cause
19· · · Q.· ·The middle of the page, there's a paragraph            19· other administrative difficulties for your office?
20· that says -- and I'll just read it aloud -- "Noble" --          20· · · · · · · · MS. HUNKER:· Objection, form.
21· who appears to be a Democratic party official -- "noted         21· · · A.· ·Not that I'm aware of.
22· over 6 percent of mail-in ballots in the county were            22· · · Q.· ·(By Mr. White)· And earlier we were talking
23· rejected because of the new identification requirements.        23· about the poll watcher provisions.· I had asked you
24· Those voters, she said, had to show up in person if they        24· whether you had any conversations with legislators, you
25· wanted to vote, leading to longer queues to vote                25· know, supporting or opposing or advising with respect to

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·1· curbside."                                                      ·1· those provisions.
·2· · · · · ·Did I read that correctly?                             ·2· · · A.· ·Uh-huh.
·3· · · A.· ·Yes.                                                   ·3· · · Q.· ·Did you have any communications with
·4· · · Q.· ·Are you aware of any voters who showed up to           ·4· legislators about the prohibition of drive-thru voting
·5· vote curbside because of SB 1's identification                  ·5· while SB 1 was being enacted?
·6· requirements for mail-in ballots?                               ·6· · · A.· ·I don't recall, but I -- if -- the timing of it
·7· · · A.· ·I --                                                   ·7· was during the legislative session, but I always -- I
·8· · · · · · · · MS. HUNKER:· Objection, form.                     ·8· always spoke fondly of -- of the concept.
·9· · · A.· ·I speculate, just like Kristy Noble, that              ·9· · · · · · · · MR. WHITE:· Can we go off the record just
10· that -- that was the case.                                      10· for a minute?· Thanks.
11· · · Q.· ·(By Mr. White)· And what is the reason for you         11· · · · · · · · THE VIDEOGRAPHER:· Going off the record.
12· speculating in that way?                                        12· The time is 6:48 p.m.
13· · · A.· ·Because a disabled voter or someone who is not         13· · · · · · · · (Discussion off the record.)
14· likely to -- less likely to be able to go in to a               14· · · · · · · · THE VIDEOGRAPHER:· Back on the record.
15· polling place, is going to look for an alternative to           15· The time is 6:49 p.m.
16· vote.· And one of those would be mail ballot, but               16· · · · · · · · MR. WHITE:· Mr. Scarpello, thank you. I
17· because of the provisions of SB 1 making mail ballots           17· don't have any further questions for you.· So I will
18· that much more difficult in the high rejection rate, I          18· pass the witness first, I think, to any other attorneys
19· think that more people said, "Well, what are my --              19· for the Plaintiffs who are appearing over Zoom, who'd
20· what's my next alternative?"                                    20· like to ask questions.
21· · · · · ·And that would be drive-thru voting or curbside        21· · · · · · · · MS. BENDER:· No questions from the United
22· voting.· I have no evidence of that, but I'm                    22· States.· Thank you.
23· speculating.                                                    23· · · · · · · · THE REPORTER:· I'm sorry.· What was the
24· · · Q.· ·Yeah.· Now, a moment ago you mentioned that you        24· name again?
25· were aware that Harris County implemented drive-thru            25· · · · · · · · MS. PERALES:· Brady.

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·1· · · · · · · · MS. BENDER:· This is --                         ·1· voter registration system.
·2· · · · · · · · THE REPORTER:· Okay.· Thank you.                ·2· · · Q.· ·And was that system meant to ensure that the
·3· · · · · · · · MS. BENDER:· This is Brady.· No questions       ·3· individuals were already registered?
·4· at this time.· Thank you.                                     ·4· · · A.· ·Yes.
·5· · · · · · · · · · · · EXAMINATION                             ·5· · · Q.· ·Prior to SB 1 being granted an application for
·6· BY MS. CAI:                                                   ·6· ballot by mail, what would happen next?
·7· · · Q.· ·Hello, Ms. Scarpello.· This is Sophia Cai on         ·7· · · A.· ·The vote by mail ballot would be sent.
·8· behalf of the OC Plaintiffs                                   ·8· · · Q.· ·Would the voter be assigned a unique
·9· · · A.· ·I'm sorry.· I can't hear.                            ·9· identification number?
10· · · Q.· ·I was just going to ask you if you could hear        10· · · A.· ·Yes.
11· me okay.                                                      11· · · Q.· ·And would that identification number be
12· · · · · ·How is this?                                         12· associated with the ballot sent to the voter?
13· · · A.· ·That's better.                                       13· · · A.· ·Yes.· Not --
14· · · Q.· ·Great.· I'll just reintroduce myself.· My name       14· · · Q.· ·So --
15· is Sophia Cai on behalf of the OCA Plaintiffs.                15· · · A.· ·-- to the -- not to the ballot, but to the
16· · · · · ·First I just wanted to ask you a few questions       16· ballot carrier envelope.
17· about matching voters who apply for a ballot by mail.         17· · · Q.· ·Okay.· I see.· Thank you for that
18· · · A.· ·Okay.                                                18· clarification.
19· · · Q.· ·If an individual applies to vote by mail, but        19· · · · · ·So someone who successfully voted by mail would
20· is not a registered voter, will their application for         20· then have to return that specific ballot envelope issue
21· ballot by mail be approved?                                   21· to them, not any ballot envelope?
22· · · A.· ·If they apply to vote by mail, but they are not      22· · · A.· ·That's correct.
23· a registered voter, no.                                       23· · · Q.· ·Prior to SB 1, what information was the voter
24· · · Q.· ·And that was also true prior to SB 1; is that        24· required to include on the carrier envelope or ballot
25· correct?                                                      25· envelope?

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·1· · · A.· ·That's correct.                                      ·1· · · A.· ·I believe their name, address.· I can't recall
·2· · · Q.· ·Put another way, everyone who successfully           ·2· all the specifics, but most likely, the name, address.
·3· applies for a ballot by mail has already registered to        ·3· · · Q.· ·Okay.· And was the voter required to sign the
·4· vote in the county; is that right?                            ·4· carrier envelope?
·5· · · · · · · · MS. HUNKER:· Objection, form.                   ·5· · · A.· ·Yes.
·6· · · · · · · (The lights go out in the room.)                  ·6· · · Q.· ·Was there a process in place to make sure that
·7· · · · · · · · THE REPORTER:· Can we go --                     ·7· the signature matched the voter signature on file?
·8· · · A.· ·I think we might pause.                              ·8· · · A.· ·Yes.· There's the Signature Verification
·9· · · · · · · · THE REPORTER:· -- off the record, please?       ·9· Committee that compares the signature of the -- on the
10· Can we go off the record for a second, please?                10· carrier envelope to the signature on the application, as
11· · · · · · · · THE VIDEOGRAPHER:· Going off the record at      11· well as they -- they have the ability to check other
12· 6:51 p.m.                                                     12· signatures within the voter registration system.
13· · · · · · · · (Discussion off the record.)                    13· · · Q.· ·And just to clarify, that answer also applies
14· · · · · · · · THE VIDEOGRAPHER:· Okay.· We're back on         14· prior to SB 1 --
15· the record.· The time is 6:52 p.m.                            15· · · A.· ·Yes.
16· · · Q.· ·I'll just reask my most recent question.· How's      16· · · Q.· ·-- is that correct?
17· that?                                                         17· · · A.· ·Yes.
18· · · · · ·Everyone who successfully applies for a ballot       18· · · Q.· ·Thank you.· Okay.· Next I want to ask you some
19· by mail has already registered to vote in the county?         19· questions about voters with disabilities.
20· · · · · · · · MS. HUNKER:· Objection, form.                   20· · · · · ·Are you familiar with your office's obligations
21· · · A.· ·That -- that's correct.                              21· under the Americans with Disabilities Act or ADA?
22· · · Q.· ·Prior to SB 1, how did your office check to see      22· · · A.· ·I'm -- I'm vaguely familiar, yes.
23· if an individual applying to vote by mail was a               23· · · Q.· ·And what do you understand those obligations to
24· registered voter?                                             24· be?
25· · · A.· ·They checked the voter registration, the VEMACS      25· · · A.· ·Most importantly, it's to provide voting

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·1· locations that have been -- that are ADA compliant,             ·1· individuals with disabilities can, within reason, ask
·2· basically.                                                      ·2· for modifications or accommodations so that they can
·3· · · Q.· ·Does your office have written ADA policies or          ·3· vote?
·4· procedures?                                                     ·4· · · A.· ·Yes.
·5· · · A.· ·No, we don't.                                          ·5· · · Q.· ·And does your office have policies for sort of
·6· · · Q.· ·So these are -- how are they communicated to           ·6· changing the typical voting procedures, if needed, for
·7· your employees or poll watchers?                                ·7· voters with disabilities to vote?
·8· · · A.· ·The -- the polling places, the county has              ·8· · · A.· ·Yes.· But I mean, number one, there's curbside
·9· traditional polling places (indicating) that they've            ·9· voting for people with disabilities; but there's also
10· been using for years, and those polling places, we -- in        10· certain procedures prescribed by the State that allow
11· earlier testimony, someone testified -- Revi testified          11· preferential treatment to those who come into a polling
12· that those polling places were, when we moved to                12· place (indicating), you know.· They get to cut the line,
13· countywide vote centers, they used those same polling           13· if you will.· And so that's -- that's also allowed.
14· places.                                                         14· · · Q.· ·And so aside from this sort of cutting-the-line
15· · · · · ·In August of 2021, I proposed that we take a           15· feature, who has the authority to decide whether or not
16· look at those polling places in an effort to reinspect          16· to grant a voter's request for a reasonable modification
17· them and to get the votes in our advisory committee to          17· based on their disability?
18· look at the official locations of the county so that we         18· · · A.· ·I believe Texas law gives that authority to the
19· could modernize or be more compliant with ADA, as well          19· presiding judge at a location.
20· as other practical locations, you know, aspects of              20· · · Q.· ·And so would a person with a disability just
21· those -- how many we have, where they're located and do         21· sort of ask at the location and then it would go to the
22· a deep dive in -- in the placement and quality of our           22· judge; how would that procedure work?
23· polling places.· But because of redistricting that was          23· · · A.· ·Yes, they would ask at the location.
24· taking place at the time, that effort was delayed; and          24· · · Q.· ·And that's the final say whether or not they
25· we will take that up again in June of this year.                25· can have that modification?

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·1· · · Q.· ·And when you say "accessible polling places,"          ·1· · · A.· ·Yes.· That's --
·2· what do you mean by that?                                       ·2· · · · · · · · MS. HUNKER:· Objection, form.
·3· · · A.· ·There's -- when there's -- when a polling place        ·3· · · A.· ·That's the -- in Texas, the presiding judge has
·4· is contemplated for use, there are checklists that we go        ·4· the last say as opposed to the Elections Administrator,
·5· through where you -- you know, best practices call for a        ·5· like in other states that I've been in.
·6· checklist to inspect a location.· You -- you're --              ·6· · · Q.· ·(By Ms. Cai)· So how are either the election
·7· there's a whole laundry list of things that make a              ·7· judge you speak of or any of the employees or poll
·8· location ADA compliant:· ramps, pressure on the doors           ·8· workers who might be asked on a modification, what are
·9· (indicating), the types of knobs, access to drinking            ·9· they trained to do when deciding whether that
10· fountains.· I mean, it's a very comprehensive list that,        10· modification is reasonable?
11· basically, gives a grade to a location for ADA                  11· · · A.· ·We provide them with the language, as it's laid
12· compliance.                                                     12· out in the Texas Election Code; and there's certain
13· · · Q.· ·It sounds like you're very familiar with this          13· signage that's required.· And then we provide them with
14· list, but if it's not written down anywhere, how do the         14· that mater- -- the training materials and signage that
15· various locations go through this checklist?                    15· tell them if and when someone should have that
16· · · A.· ·There -- there were the -- there were                  16· preferential treatment.
17· inspections in 2019, and so we do have records of those         17· · · Q.· ·What are some of the asked-for modification
18· locations.· I just think that -- that we need to pay a          18· that's not on this list?
19· little bit better attention to the results of those             19· · · · · · · · MS. HUNKER:· Objection, form.
20· inspections and upgrade or eliminate those that are not         20· · · A.· ·I'm not sure I understand the question.
21· in compliance because I think we have some that are not         21· · · Q.· ·(By Ms. Cai)· Let me rephrase.· What kinds of
22· as compliant as they need to be.                                22· modifications or changes to the typical voting
23· · · Q.· ·That makes a lot of sense.· Thank you for that         23· procedures would be allowed to be provided?
24· on an accessibility point.                                      24· · · A.· ·The curbside voting, as well as the
25· · · · · ·Broadly speaking, is your understanding that           25· preferential treatment when it comes to lines inside the

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·1· polling place.                                                     ·1· modification so that their ballot could be cured in a
·2· · · Q.· ·Okay.· And those are the only two you can think           ·2· different way than is specifically, provided for by
·3· of --                                                              ·3· SB 1?
·4· · · A.· ·That's the only --                                        ·4· · · · · · · · MS. HUNKER:· Objection, form.
·5· · · Q.· ·-- off the top of your head?                              ·5· · · A.· ·I think that it's hard for me to speculate on,
·6· · · A.· ·Off the top of my head, yes.                              ·6· you know, a vague hypothetical.· You know, I -- these --
·7· · · Q.· ·So to give a sort of comparable                           ·7· these -- like I said before, this would be handled on a
·8· example of something different, earlier today you                  ·8· case-by-case basis with, you know, true, you know,
·9· discussed the oath requirement of SB 1.                            ·9· facts.· And it would be a fact-based decision.
10· · · A.· ·(Witness moves head up and down.)                         10· · · Q.· ·That makes a lot of sense.· Thank you.
11· · · Q.· ·So what would you do if a voter with a                    11· · · A.· ·Uh-huh.
12· disability asked for their assistor to answer questions            12· · · Q.· ·Has -- so moving away from hypotheticals,
13· or provide assistance beyond what the vote allows?                 13· then --
14· · · · · · · · MS. HUNKER:· Objection, form.                        14· · · A.· ·Okay.
15· · · A.· ·I think that -- that's a situational question.            15· · · Q.· ·-- has your office received requests for
16· I mean, if on Election Day we got a call from a -- an              16· regional (phonetics) modifications for changes in voting
17· election judge asking for, you know, telling us that               17· procedures from voters with disabilities post enactment
18· someone was asking for an accommodation, we would look             18· of SB 1?
19· and see what that -- what they are asking for and we               19· · · A.· ·No, I don't believe so.
20· would provide our recommendation and we'd do our                   20· · · Q.· ·Okay.· I have one last set of questions about
21· research, talk to our attorneys, talk to the Secretary             21· the voter identification requirements.
22· of State, et cetera, and find out what our -- what our             22· · · · · ·After SB 1, does your office advise mail ballot
23· options are, if any, to offer to that voter.                       23· voters to provide both their Social Security number and
24· · · Q.· ·(By Ms. Cai)· So would you do that procedure              24· driver's license numbers?
25· for any question that an election judge called you with?           25· · · A.· ·Yes.· After -- in February of 2022, as we were

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·1· · · A.· ·Yes.                                                      ·1· having a high rejection rate, we went to extraordinary
·2· · · Q.· ·So, for instance, if a voter with a disability            ·2· measures to try to educate the public, and we got -- I
·3· can't see where to put their ID on a mail ballot and you           ·3· think we got an allotment of $87,000 from the
·4· got a call about that, you would then do the same                  ·4· Commissioners Court where we reached out directly to
·5· procedure?                                                         ·5· voters who had rejected mail ballot applications.
·6· · · A.· ·If -- if the -- I mean, it's kind of a                    ·6· · · · · ·We did some radio ads.· We did some Facebook
·7· hypothetical, you know, a very generic --                          ·7· educational efforts to try to, number one, help people
·8· · · Q.· ·Of course.                                                ·8· who had already had rejected mail ballots or rejected
·9· · · A.· ·-- hypothetical.· I mean, if -- if the -- if              ·9· applications, as well as preventing those problems from
10· the law is not clear, if the election's advisories that            10· happening.· So, yes, you know, we do what we can to try
11· have been promulgated by the Secretary of State are not            11· to prevent and solve the problem once it occurs.
12· clear, then we would do that escalation procedure to               12· · · Q.· ·So, to be clear, the recommendation to put both
13· see, you know, what our options are.                               13· the Social Security number and driver's license number
14· · · Q.· ·Okay.· So the general sense is if there's not a           14· began around February; is that correct?
15· clear-cut answer, you would talk to your attorneys or              15· · · A.· ·Yes.
16· the Secretary of State to see whether that modification            16· · · Q.· ·And you may have already answered this, but why
17· could be provided for a voter with a disability in real            17· did you start advising to put both numbers?
18· time?                                                              18· · · A.· ·We kind of used the tag line, "When in doubt,
19· · · A.· ·Yes.                                                      19· fill them both out," and -- because it's just, you know,
20· · · Q.· ·And same question for the care procedure.                 20· to be as safe as possible to try to get both of those
21· Let's say somebody with a disability has their ballot or           21· numbers down with the idea that someone is -- is likely
22· ballot -- final application rejected, but they can't               22· to have one of those two numbers on their voter
23· drive and, therefore, cannot go in person to carry their           23· registration record.
24· ballot.                                                            24· · · Q.· ·So, in the circumstances where an individual
25· · · · · ·Would you consider granting a request for a               25· puts down only their driver's license number on their


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·1· mail ballot, but you only have their Social Security             ·1· · · A.· ·Okay.
·2· numbers on file, what would happen?                              ·2· · · Q.· ·So I believe you testified that you started
·3· · · A.· ·That would be rejected, and they would -- they          ·3· this position December 7th, 2020; is that correct?
·4· would get a reject letter asking for more information;           ·4· · · A.· ·That's correct.
·5· or the form provided by the Secretary of State, we would         ·5· · · Q.· ·How many elections have transpired since that
·6· send them that form.                                             ·6· date, if you know?
·7· · · Q.· ·So they would get a reject letter, but the law          ·7· · · A.· ·I can count.· I believe six.
·8· does not require that an individual write down both              ·8· · · Q.· ·And so that would include the November
·9· numbers; is that correct?                                        ·9· constitutional --
10· · · A.· ·No.                                                     10· · · A.· ·Yes.
11· · · Q.· ·So is it fair to say that, under the new                11· · · Q.· ·-- is that correct?
12· system, many people who put down a correct identifying           12· · · · · ·And that would include the primary, correct?
13· number for themselves are still at risk of having their          13· · · A.· ·Yes.
14· application for ballot by mail or mail ballot rejected?          14· · · Q.· ·Did you include in that number the May 7th
15· · · · · · · · MS. HUNKER:· Objection, form.                      15· election that's --
16· · · A.· ·That would be the case.· If they have -- if we          16· · · A.· ·Yes.
17· have a voter registra- -- or a driver's license on file,         17· · · Q.· ·-- ongoing?
18· but they send in a correct Social Security number, if            18· · · A.· ·No, no.· The upcoming May 7th?
19· the two don't match, then we can't accept.                       19· · · Q.· ·The upcoming.
20· · · · · · · · MS. CAI:· Thank you.· That's all my                20· · · A.· ·No.
21· questions.                                                       21· · · Q.· ·Okay.· And what about the May 24th? I
22· · · · · · · · THE REPORTER:· Just a second, please.              22· assume --
23· Okay.· Thank you.                                                23· · · A.· ·No.
24· · · · · · · · MS. HUNKER:· How much time for the                 24· · · Q.· ·-- no.
25· Plaintiffs.                                                      25· · · · · ·Did the other elections consist of special

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·1· · · · · · · · THE REPORTER:· I couldn't tell you right           ·1· elections?
·2· this second.                                                     ·2· · · A.· ·Yeah.· I think there was a couple of special
·3· · · · · · · · MR. WHITE:· Should we go off record for a          ·3· elections in February and March, then a May-joint-June,
·4· second?                                                          ·4· runoff, November constitutional and --
·5· · · · · · · · THE VIDEOGRAPHER:· Off the record.· Time           ·5· · · Q.· ·Okay.
·6· is 7:08 p.m.                                                     ·6· · · A.· ·-- March election primary.
·7· · · · · · · · (Discussion off the record.)                       ·7· · · Q.· ·And so would the March 2022 election be the
·8· · · · · · · · THE VIDEOGRAPHER:· Okay.· We're back on            ·8· first federal election in which you are administrator
·9· the record.· The time is 7:09 p.m.                               ·9· of?
10· · · · · · · · · · · · EXAMINATION                                10· · · A.· ·Yes.
11· BY MS. HUNKER:                                                   11· · · Q.· ·Did you assess voting assistance laws prior to
12· · · Q.· ·Good evening, Mr. Scarpello.· How are you               12· the enactment of SB 1?
13· today?                                                           13· · · A.· ·Assistance in what form?· At curbside, inside
14· · · A.· ·Very good.                                              14· the polling place?· Could you be more specific?
15· · · Q.· ·My name is Kathleen Hunker.· I represent the            15· · · Q.· ·So I was referring to generally.· If you
16· State Defendants.· I am going to be asking you a series          16· remember very early in your testimony, you were talking
17· of questions mostly in response to what Plaintiffs'              17· with Ms. -- Ms. Perales about voter assistance.
18· Counsel had asked you, so I'm going to be jumping around         18· · · A.· ·Uh-huh.
19· a little bit with respect to topics.                             19· · · Q.· ·In that sense, she wasn't specifically limiting
20· · · · · ·If at any point, my switch of topics confuses           20· it to in-person voting or curbside voting.· And so I'm
21· you or you don't understand the switch, would you please         21· just trying to get a sense of what your familiarity was
22· let me know?                                                     22· with voting assistance law in Texas, generally, prior to
23· · · A.· ·Sure.                                                   23· the enactment of SB 1.
24· · · Q.· ·If you do, I'll be happy to provide additional          24· · · A.· ·I think I mentioned earlier that elections in
25· foundation or to restate the question as needed.· Okay?          25· Dallas needed a lot of work and -- and so when -- when


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·1· evaluating where we needed to spend our time, I don't           ·1· · · A.· ·I don't know.
·2· think that the assistance piece was a high priority.            ·2· · · Q.· ·But Dallas County does, correct?
·3· · · Q.· ·So is it fair to say -- and please correct me          ·3· · · A.· ·That's our general approach.
·4· if I'm wrong -- the first time that you really inquired         ·4· · · Q.· ·And when you're interpreting this particular
·5· into voting assistance law in Texas was post the                ·5· provision, how did you come to your interpretation?
·6· enactment of SB 1?                                              ·6· · · A.· ·My general approach, my philosophy, if you
·7· · · A.· ·I think that's probably fair to say.                   ·7· will, is to try to make voting as easy as possible, as
·8· · · Q.· ·And so I want you to turn to the copy of SB 1          ·8· long as we're following the law.
·9· that Ms. Perales had given you.                                 ·9· · · Q.· ·So, in the case of, let's say, applying Section
10· · · A.· ·(Witness complies.)· Okay.                             10· 6.04, would you contact Dallas County attorneys?
11· · · Q.· ·I, unfortunately, don't remember the exact             11· · · A.· ·If -- if posed with a question, we would
12· exhibit number, but I think it might have been 4.               12· consult with our attorneys.· We would -- well, first off
13· · · A.· ·7.                                                     13· we would check the law.
14· · · Q.· ·Oh.· 7?                                                14· · · Q.· ·Uh-huh.
15· · · A.· ·No.· I'm sorry.· It's -- no, that's not it.· 4.        15· · · A.· ·We would check the elections advisories.· We
16· · · Q.· ·4.· And if you can please turn to Page 52 and          16· would consult with our attorneys, and we would consult
17· 53, and it's specifically Section 6.04.                         17· with the Secretary of State.
18· · · A.· ·Do you have a line number?                             18· · · Q.· ·With respect to Section 6.04 and, specifically,
19· · · Q.· ·Yes.· The section starts on Line 20.                   19· these provisions regarding the oath, have you had a need
20· · · A.· ·Got it.                                                20· to go to the county attorneys?
21· · · Q.· ·Okay.· And so this section relates to the oath,        21· · · A.· ·No.
22· correct?                                                        22· · · Q.· ·Have you had a need to go to the Secretary of
23· · · A.· ·Yes.                                                   23· State's office?
24· · · Q.· ·Okay.· Now, let's look to Page 53, Line 2,             24· · · A.· ·Not that I can recall.
25· where it says:· "I will confine my assistance to reading        25· · · Q.· ·Okay.· And would you agree with me that not

                                                         Page 299                                                         Page 301
·1· the ballot to the voter, directing the voter to read the        ·1· every assistance provided to a voter actually falls
·2· ballot, marking the voter's ballot, or directing the            ·2· under the term "assistor" in the -- the context of Texas
·3· voter to mark the ballot."                                      ·3· election laws?
·4· · · · · ·Do you see that section?                               ·4· · · A.· ·I don't understand the question.
·5· · · A.· ·Yes.                                                   ·5· · · Q.· ·Let me give you an example.· So if I were to
·6· · · Q.· ·Okay.· I believe you had testified to                  ·6· come to the polling location with my grandmother --
·7· Mrs. -- Ms. Perales that you interpreted this language          ·7· · · A.· ·Uh-huh.
·8· as limiting the assistor to the four actions stipulated;        ·8· · · Q.· ·-- who's confined to a wheelchair --
·9· is that correct?                                                ·9· · · A.· ·Uh-huh.
10· · · A.· ·I believe I actually said that -- as she asked         10· · · Q.· ·-- and I helped wheel her in into the
11· further, I said that -- that you could read those four          11· location --
12· confinements in a liberal way or a very conservative way        12· · · A.· ·Uh-huh.
13· and that, depending on how -- the situation, you could          13· · · Q.· ·-- and then brought her to the polling site, to
14· interpret it to be very broad or very narrow.                   14· the place where the polling machine is, but then I left
15· · · Q.· ·Okay.· Does Dallas County take the liberal             15· and she handled voting herself --
16· approach to this language?                                      16· · · A.· ·Uh-huh.
17· · · A.· ·I would say that Dallas County has a policy            17· · · Q.· ·-- would that constitute -- or would I be
18· that we're always going to be as voter-friendly as              18· constituted as an assistor?
19· possible.                                                       19· · · · · · · · MR. WHITE:· Objection, form.
20· · · Q.· ·And do you know if the Secretary of State's            20· · · A.· ·Well, I think that that -- keep in mind that
21· office, for example, also has a policy of being as              21· that is up to the presiding judge, to make that
22· friendly to the voter as possible?                              22· interpretation.· They're the boss --
23· · · A.· ·I don't know.                                          23· · · Q.· ·(By Ms. Hunker)· Okay.
24· · · Q.· ·Do you know if other counties have that policy         24· · · A.· ·-- in the state of Texas.· I'm not.· If asked
25· of being as friendly to the voter as possible?                  25· by a presiding judge my opinion, my opinion would be

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·1· that that would not fall into the category of an             ·1· · · Q.· ·And would you agree with me that sometimes
·2· assistor.                                                    ·2· statutes are clarifying a preexisting rule as opposed to
·3· · · Q.· ·Thank you.· And so when I was asking you the        ·3· introducing a new rule?
·4· question before, I was trying to get at that, but there      ·4· · · A.· ·Sometimes they are codifying rules, yes.
·5· are actions that people might take to aid voters that        ·5· · · Q.· ·And you had spoken that the eligibility
·6· you would not necessarily characterize as voting             ·6· criteria is not included within this oath.
·7· assistance under Texas Election Code?                        ·7· · · · · ·Do you remember that testimony with
·8· · · A.· ·Yes.                                                ·8· Ms. Perales?
·9· · · Q.· ·You also spoke with Ms. Perales regarding how       ·9· · · A.· ·Refresh my memory.
10· bills work.                                                  10· · · Q.· ·Let's turn the page to 53.
11· · · · · ·You had talked about that language that is          11· · · A.· ·(Witness complies.)
12· underlined is new text, correct?                             12· · · Q.· ·And so you see on Line 12 where it says:· "and
13· · · A.· ·Yes.                                                13· I understand that if assistance is provided to a voter
14· · · Q.· ·And that language that is stricken -- I'm           14· who is not eligible for assistance, the voter's ballot
15· sorry -- that has a line through it, has been stricken       15· may not be counted"?
16· from the statute; is that correct?                           16· · · A.· ·Yes.
17· · · A.· ·Yes.· That's correct.                               17· · · Q.· ·During your conversation with Ms. Perales, she
18· · · Q.· ·All right.· Bills only show the sections that       18· had asked you whether or not the eligibility criteria
19· were changed; is that right?                                 19· was included within this particular section, and you had
20· · · A.· ·That's correct.                                     20· replied that it was not?
21· · · Q.· ·And so they don't show other provisions in the      21· · · A.· ·That's correct.
22· Election Code; is that correct?                              22· · · Q.· ·Would you agree that the previous oath also did
23· · · A.· ·Most of the time, yes.                              23· not include eligibility criteria?
24· · · Q.· ·And so you would have to consult with the           24· · · A.· ·Yes.
25· Election Code to see how they interact with the other        25· · · Q.· ·And would you agree with me that eligibility

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·1· provisions; is that right?                                   ·1· criteria could be listed in another provision of the
·2· · · A.· ·Yes.· When we -- when we interpret a new bill,      ·2· Texas Election Code?
·3· we don't just look at the bill; we look at the Election      ·3· · · A.· ·Absolutely.
·4· Code, itself.· In fact, what we have done is                 ·4· · · Q.· ·Let's jump to Page 54, and let me know if you
·5· incorporated strike and add language into a different        ·5· need to refresh your recollection by rereading the
·6· version where we see the full context, the full Election     ·6· section.· But I'm particularly looking at Section 6.06,
·7· Code, itself.                                                ·7· Line 20.
·8· · · Q.· ·Okay.· And to continue with this line of            ·8· · · A.· ·Okay.
·9· questioning, the bills also don't show any Court Opinion     ·9· · · Q.· ·And if you notice on Line 24, it says:
10· that interprets the language?                                10· "compensates or offers to compensate another person for
11· · · A.· ·That's correct.                                     11· assisting voters as provided by Section 86.010."
12· · · Q.· ·And so it's a very narrow snapshot of what          12· · · A.· ·(Witness moves head up and down.)
13· Texas law is; is that correct?                               13· · · Q.· ·Do you see that on the --
14· · · A.· ·That's correct.· Neither does -- it doesn't         14· · · A.· ·Yes.
15· show legislation.· I mean, we all know there's --            15· · · Q.· ·And so this has to do with compensation for
16· there's certain layers that you have to go through to --     16· assisting voters; is that correct?
17· to interpret legislation or their laws.                      17· · · A.· ·Yes.
18· · · Q.· ·No objection there.                                 18· · · Q.· ·Okay.· Do you remember speaking with
19· · · A.· ·Right.                                              19· Ms. Perales about nonprofits assisting voters?
20· · · Q.· ·So if we go to Page 52, Line 26.· And you see       20· · · A.· ·Yes.
21· where it says:· under the penalty of perjury?                21· · · Q.· ·Okay.· And I believe you stated that you
22· · · A.· ·Yes.                                                22· thought the statute would apply to a nonprofit assisting
23· · · Q.· ·Do you know whether assistors who took the,         23· voters; is that correct?
24· oath prior to SB 1, were subject to perjury?                 24· · · A.· ·I believe so, if I'm -- if I'm remembering
25· · · A.· ·I don't know.                                       25· correctly.· I don't remember the context of her


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·1· question, but I remember the discussion about              ·1· · · A.· ·Go ahead.
·2· nonprofits.                                                ·2· · · Q.· ·Okay.· Do you know if voters need to use the
·3· · · Q.· ·You do not enforce criminal laws as the Dallas    ·3· Dallas application -- sorry -- the application provided
·4· County Election Administrator; is that --                  ·4· by Dallas County to vote by mail?
·5· · · A.· ·That's --                                         ·5· · · A.· ·No.
·6· · · Q.· ·-- correct?                                       ·6· · · Q.· ·And so a nonprofit can create their own
·7· · · A.· ·-- correct.                                       ·7· application form; is that correct?
·8· · · Q.· ·And so your office does not enforce this          ·8· · · A.· ·Yes.
·9· particular provision; is that correct?                     ·9· · · Q.· ·And a voter can also create their own
10· · · A.· ·That's correct.                                   10· application form, if needed; is that correct?
11· · · Q.· ·And I don't believe the election judges enforce   11· · · A.· ·Yes.
12· this provision either, correct?                            12· · · Q.· ·And so I believe you had spoken with Ms. --
13· · · A.· ·That's correct.                                   13· Ms. Perales regarding nonprofits that used to come to
14· · · Q.· ·And so this would be left to the Dallas County    14· Dallas County and would take copies of the Dallas County
15· DA's Office; is that --                                    15· application; is that right?
16· · · A.· ·That's correct.                                   16· · · A.· ·That's correct.
17· · · Q.· ·-- right?                                         17· · · Q.· ·Okay.· These nonprofits have the option of
18· · · A.· ·Correct.                                          18· creating their own application; is that correct?
19· · · Q.· ·And you're not aware of how they would            19· · · A.· ·That's correct -- correct.
20· interpret this provision, correct?                         20· · · Q.· ·You also discussed a little bit about your
21· · · A.· ·Correct.                                          21· confusion, for lack of a better term, about the
22· · · Q.· ·And you wouldn't be aware if they have            22· Legislature's decision to bar Election Administrators
23· contacted the Secretary of State's office to seek          23· from issuing the applications unsolicited as opposed to
24· clarification on how to interpret this provision; is       24· private parties; is that right?
25· that correct?                                              25· · · A.· ·I don't know if "confusion" is the right word.

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·1· · · A.· ·That's correct.                                   ·1· I think uncertainty about the language used and the
·2· · · Q.· ·And you wouldn't know if they contacted the       ·2· uncertainty of the meaning of their words.
·3· Office of Attorney General in order to seek                ·3· · · Q.· ·Okay.· Have you checked the legislative record
·4· clarification on how to interpret this provision; is       ·4· to learn the Legislature's reasoning for permitting
·5· that correct?                                              ·5· private parties to distribute applications to vote by
·6· · · A.· ·I'm not aware of them contacting them.            ·6· mail and not election officials?
·7· · · Q.· ·And are you aware of the DA pursuing any          ·7· · · A.· ·No.
·8· charges related to the specific provision against a        ·8· · · Q.· ·And so, therefore, you're not aware of any
·9· nonprofit?                                                 ·9· incidence that would have instigated the change in the
10· · · A.· ·I'm not aware of any.                             10· provision; is that right?
11· · · Q.· ·Thank you.· Let's jump to Page 60.                11· · · A.· ·That's correct.
12· Specifically, I'm looking at the section that begins on    12· · · Q.· ·Under your conversation with Ms. Perales, she
13· Line 15, which states:· "Unlawful solicitation and         13· had raised an incident regarding of Travis County Clerk,
14· Distribution of Application to Vote by Mail."              14· Dana DeBeauvoir; is that right?
15· · · · · · · · THE REPORTER:· I'm sorry.· Could you read    15· · · A.· ·Yes.
16· the very last few words again, please?                     16· · · Q.· ·Okay.· And she had mentioned that the Office of
17· · · · · · · · MS. HUNKER:· Of course.                      17· Attorney General had pursued an indictment against her;
18· · · Q.· ·Specifically, I am looking at Section -- on       18· is that correct?
19· Line 15 where it reads:· "Unlawful Solicitation and        19· · · A.· ·Yes.
20· Distribution of Application to Vote by Mail."              20· · · Q.· ·Okay.· You do not know the reason for Office of
21· · · · · ·Do you see that?                                  21· Attorney General to pursue the indictment, correct?
22· · · A.· ·Yes.                                              22· · · A.· ·No.
23· · · Q.· ·If you need any time to reread the section,       23· · · Q.· ·And you do not know what provision of the
24· please let me know.· Otherwise, I'm going to proceed       24· Election Code that she would have violated; is that
25· with asking some questions.                                25· right?


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·1· · · A.· ·That's correct.                                       ·1· · · Q.· ·And if you were uncertain of interpretation of
·2· · · Q.· ·And you don't know if it was even about               ·2· a provision, you would engage in this type of
·3· applications to vote by mail?                                  ·3· conversation with your staff to try to ascertain the
·4· · · A.· ·That's correct.                                       ·4· meaning of a provision?
·5· · · Q.· ·I am going to turn to what I believe is Exhibit       ·5· · · A.· ·Yes.
·6· 7, and this were the emails that were distributed to           ·6· · · Q.· ·And so the discussion you had here was not very
·7· myself and private Plaintiffs earlier this morning. I          ·7· different from any other conversation you would have
·8· have mine on the laptop, but I believe you have a hard         ·8· about a new provision of which you were uncertain?
·9· copy in front of you.                                          ·9· · · A.· ·This is one of the many methods in which we
10· · · A.· ·Okay.· Got it.· Exhibit 7?                            10· would communicate:· orally, through email, through
11· · · Q.· ·Yes.· This is the emails?                             11· TEAMS, through all sorts of communications, yes.
12· · · A.· ·Yes.                                                  12· · · Q.· ·Okay.· I am going to shift our conversation to
13· · · Q.· ·And so this says an email dated Wednesday,            13· talk about poll workers.
14· January 12th, 2022; is that correct?                           14· · · A.· ·Okay.
15· · · A.· ·Yes.                                                  15· · · Q.· ·Were you aware of the rights of poll workers to
16· · · · · · · · MS. HUNKER:· The correct Bates number for        16· observe election activities prior to SB 1?
17· this?                                                          17· · · A.· ·Poll workers or poll watchers?
18· · · · · · · · MR. STOOL:· Number 7.                            18· · · Q.· ·Sorry.· That is -- that is correct.· I make
19· · · · · · · · MS. HUNKER:· Yes.                                19· this mistake very often when speaking, so my apologies.
20· · · · · · · · MR. STOOL:· Uh-huh.                              20· · · · · ·Were you aware of the rights of poll watchers
21· · · Q.· ·(By Ms. Hunker)· And so based on -- my -- the         21· to observe election activities prior to SB 1?
22· form I have in front of me does not have a Bates number.       22· · · A.· ·Yes.
23· However, that was provided later.· And I believe the           23· · · Q.· ·And were you aware of the rights of poll
24· Bates number is MS015753 for the first page and MS015754       24· watchers to move around the polling place prior to SB 1?
25· on the second page, and that's just to clarify, for the        25· · · A.· ·Yes.

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·1· record.                                                        ·1· · · Q.· ·And were you aware of the limits that election
·2· · · A.· ·(Witness moves head up and down.)                     ·2· judges had to obstruct the view of poll watchers prior
·3· · · Q.· ·Now, this had to do with a conversation you had       ·3· to SB 1?
·4· with your staff on whether or not you could provide            ·4· · · A.· ·I don't know that that terminology was -- is
·5· return postage for both ballots and mail ballot                ·5· used any -- was used in the prior code, so I -- I don't
·6· applications; is that correct?                                 ·6· know if I agree with that statement.
·7· · · A.· ·Yes.                                                  ·7· · · Q.· ·Okay.· Do you know what authority election
·8· · · Q.· ·And you -- I think in the bottom, it says:            ·8· judges had -- let me put it this way, then.
·9· (Reading)· Malissa, did the Secretary of State weigh in        ·9· · · · · ·Do you know what the limits were for the right
10· on this at the conference?· Or were the new restrictions       10· of a poll watcher to observe an election activity?
11· only limited to solicitation aspects like providing            11· · · A.· ·I bele- -- I believe it was -- oh, gosh, I'd
12· applications to those who did not ask for an                   12· have to look at the Election Code before SB 1, but I
13· application?                                                   13· believe it was something along the lines of, you know,
14· · · · · ·Did I read that correctly?                            14· to maintain the orderly conduct- -- conducting of
15· · · A.· ·Yes.                                                  15· business at a polling place.
16· · · Q.· ·Okay.· Did your office make a determination           16· · · Q.· ·And so had you done a comparison of the
17· that you were permitted to send return postage for             17· language between SB 1, these sections, versus prior to
18· applications?                                                  18· SB 1?
19· · · A.· ·I believe so.                                         19· · · A.· ·I'm sure I did at some point, yes.
20· · · Q.· ·Do you try to comply with state law in your           20· · · Q.· ·Are you aware -- strike that.· Let me ask a
21· capacity as the Dallas County Election Administrator?          21· different question.
22· · · A.· ·Yes.                                                  22· · · · · ·Is it your opinion that the rights of poll
23· · · Q.· ·And do you try to comply with state law even          23· workers to observe election activities changed post
24· when it doesn't have a criminal penalty connected to it?       24· SB 1?
25· · · A.· ·Yes.                                                  25· · · · · · · · MR. WHITE:· Objection, form.

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·1· · · A.· ·There was -- let's put it this way.· As we             ·1· · · A.· ·Yes.
·2· talked about this process, there were various iterations        ·2· · · Q.· ·-- while voting is ongoing?
·3· of SB 1, some of which had more -- the line in the sand         ·3· · · A.· ·Yeah.
·4· was moving.· And we ended up with -- and so there was a         ·4· · · Q.· ·And are you aware if any poll watcher utilized
·5· lot of concerns about some of that previous language.           ·5· the hotline this last election?
·6· And in the end, the language was better, but it was             ·6· · · A.· ·I don't think so.· I'd have to check the
·7· still problematic.                                              ·7· records, but not off the top of my head, I don't think
·8· · · Q.· ·(By Ms. Hunker)· Okay.· But you would view             ·8· so.· Parties did, the parties.· You know, sometimes the
·9· SB 1 as -- let's -- looking in the context of the               ·9· poll watchers talked to the parties, and the parties
10· legislation that was proposed --                                10· talked to us.
11· · · A.· ·Uh-huh.                                                11· · · Q.· ·So the parties utilized the hotline, but you're
12· · · Q.· ·-- you would view the language in SB 1 as an           12· not aware of any specific poll watcher that would have?
13· improvement from the predecessor bills?                         13· · · A.· ·Correct.
14· · · A.· ·Yes.                                                   14· · · Q.· ·And it's possible that the parties contacted
15· · · · · · · · MR. WHITE:· Objection, form.                      15· the hotline in response to an observation of a poll
16· · · Q.· ·(By Ms. Hunker)· Do you know if poll workers --        16· watcher?
17· do you know if poll watchers reported irregularities            17· · · A.· ·Correct.
18· prior to SB 1?                                                  18· · · · · · · · MR. WHITE:· Objection, form.
19· · · A.· ·I have no specific knowledge of any complaints.        19· · · Q.· ·(By Ms. Hunker)· I believe you had spoken to
20· I know that -- well, I take that back.· I know that             20· Mr. -- Graham about a poll watcher standing close to the
21· there was ongoing litigation in Dallas County from years        21· voter while casting their ballot.
22· ago with complaints from poll watchers, mostly in               22· · · · · ·Do you remember that part of the --
23· central account rather than as opposed to at polling            23· · · A.· ·Yes.
24· places.                                                         24· · · Q.· ·-- conversation?
25· · · Q.· ·And do you know if they would -- if poll               25· · · · · ·I believe you said that was prohibited; is that

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·1· watchers would have reported irregularities that they           ·1· right?
·2· saw to the election judge that was on hand?                     ·2· · · A.· ·In my eyes, that would be prohibited.
·3· · · A.· ·I believe they would.                                  ·3· · · Q.· ·And I believe you said that was not included in
·4· · · Q.· ·And so SB 1 didn't change that, to your                ·4· SB 1; is that correct?
·5· knowledge?                                                      ·5· · · A.· ·I don't know that SB 1 provides guidance for
·6· · · A.· ·No -- well, I know that our implementation of          ·6· that situation.
·7· SB 1, what we have done, is:· We've reached out to the          ·7· · · Q.· ·My next question kind of connects to what you
·8· political parties to activists, et cetera, to try to            ·8· just said.
·9· give them more avenues to report problems.· It can be to        ·9· · · · · ·Are you aware if that prohibition or the
10· the judge; it can be to what we call a VIP hotline,             10· restrictions would be in other provisions of the
11· which is given to the parties, poll watchers, et cetera,        11· Election Code that were not changed by SB 1?
12· for them to report those, as well as there's also               12· · · A.· ·That -- it may be.· I don't know.
13· certain signage at a polling place that provides                13· · · Q.· ·So you haven't looked to determine whether or
14· different numbers to the Attorney General, Secretary of         14· not there are other provisions in SB 1 -- sorry -- other
15· States in Federal elections, another DOJ number, et             15· provisions in the election --
16· cetera.                                                         16· · · A.· ·I don't recall.
17· · · Q.· ·So I just wanted to talk about the hotline             17· · · Q.· ·You don't recall.· And I want to turn to
18· because this is the first time you've raised it.                18· Exhibit 9, which was the news article --
19· · · · · ·If a poll watcher saw an irregularity --               19· · · A.· ·Uh-huh.
20· · · A.· ·Uh-huh.                                                20· · · Q.· ·-- specifically turning to Page 5.· So there's
21· · · Q.· ·-- they would be able to call the hotline; is          21· a paragraph that reads:· "Scarpello also said some
22· that right?                                                     22· election judges were afraid of being prosecuted under a
23· · · A.· ·Correct.                                               23· provision of the law related to partisan poll watchers."
24· · · Q.· ·And so there are other avenues besides                 24· · · · · ·Did I read that correctly?
25· interrupting the election judge during the election --          25· · · A.· ·Yes.

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·1· · · Q.· ·It then continues:· (Reading)· "SB 1 makes it a          ·1· · · Q.· ·And if we continue to the -- not the next
·2· misdemeanor offense for a worker to" -- in quotation              ·2· paragraph, but the one after where it begins with
·3· marks -- "knowingly prevents a watcher from observing an          ·3· "Farrell."
·4· activity or procedure the person knows the watcher is             ·4· · · · · ·Do you see that?
·5· entitled to observe," end quote.                                  ·5· · · A.· ·Yes.
·6· · · · · ·Did I read that correctly?                               ·6· · · Q.· ·The last sentence reads:· "But long hours and
·7· · · A.· ·Yes.                                                     ·7· bad weather at the end of February also contributed to a
·8· · · Q.· ·Okay.· My question is actually going to be               ·8· shortage of workers."
·9· about -- actually, I'm going to ask a question about              ·9· · · · · ·Is that your experience, as well, with respect
10· that particularly.                                                10· to the shortage?· You had -- let me take that back.
11· · · · · ·What was your basis for this observation?                11· · · · · ·You had mentioned, during your testimony, there
12· · · A.· ·I don't think that -- that's not a quote from            12· were other factors that led to the shortage of poll
13· me.                                                               13· workers; is that correct?
14· · · Q.· ·Oh, it's not?                                            14· · · A.· ·Yes.
15· · · A.· ·No.                                                      15· · · Q.· ·Okay.· Were long hours and bad weather part of
16· · · Q.· ·So the only statement attributed to you, then,           16· those factors?
17· is the first sentence; is that right?                             17· · · A.· ·Well, I can't -- I can't get in the head of
18· · · A.· ·Yes.                                                     18· this writer, the person who wrote this article.· So I'm
19· · · Q.· ·Okay.· And so we go to the next paragraph.· It           19· not sure where that -- that particular information came
20· reads:· "Election judge Kris Farrell said some of her             20· from.· I can tell you that "long hours," he may be
21· colleagues had heard about an earlier bill consequences           21· referring to the fact that poll workers work long hours
22· for election workers."                                            22· and that they -- you know, it's a grueling 15-, 16-hour
23· · · · · ·Did I read that correctly?                               23· day and that -- that, certainly, has an effect.
24· · · A.· ·Yes.                                                     24· · · · · ·As far as the bad weather, the bad weather,
25· · · Q.· ·And so she was in this case, it sounds like,             25· having to do with our election, is that we lost three

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·1· talking about the predecessor bills; is that right?               ·1· days of preparation because of ice days.· And so that
·2· · · A.· ·That's what it sounds like, yes.                         ·2· affected the recruitment, the paperwork involved in --
·3· · · Q.· ·Okay.· When you had mentioned that you thought           ·3· in obtaining and retaining poll workers.
·4· some of the election judges were afraid of being                  ·4· · · Q.· ·The next sentence -- sorry -- next paragraph
·5· prosecuted under a provision of the law, do you know if           ·5· reads:· "Plus, there was a lack of familiar faces -- the
·6· they were basing it off of the old language that was not          ·6· people who poll workers used to call directly to ask for
·7· included in SB 1, so the language that would have come            ·7· help or clarification."
·8· from the predecessor bills?                                       ·8· · · · · ·Did I read that correctly?
·9· · · A.· ·I don't think I can get in the head of the               ·9· · · A.· ·Yes.
10· poll -- of the poll workers.                                      10· · · Q.· ·And then it continues:· (Reading)· There was a
11· · · Q.· ·Okay.· So when you were talking, then, about             11· new TEAM at the elections department.· There was a new
12· poll workers who chose not to become a poll worker --             12· TEAM at the Democratic office.· There was a new TEAM at
13· · · A.· ·Uh-huh.                                                  13· the Republican office, Farrell said.· These were not
14· · · Q.· ·-- because of this provision SB 1, how, then,            14· people that you knew.· You didn't have a relationship
15· did you know what their motivation was if you can't be            15· with them.
16· in the head of the poll worker?                                   16· · · · · ·Did I read that correctly?
17· · · A.· ·When I said couldn't get in -- be in the head,           17· · · A.· ·Yes.
18· I don't know which version of SB 1 that they were                 18· · · Q.· ·To your knowledge, was there, in fact, new
19· worried about.· I know that they were worried about               19· TEAMS at the elections department?
20· being prosecuted.                                                 20· · · A.· ·There is -- yes.· The Voting Sites Manager, who
21· · · Q.· ·Okay.· So you don't know if it was based on the          21· was here until September of last year, she became the
22· language that actually passed the Legislature versus the          22· Elections Administrator for a different county.· And so
23· language that was discussed in the immediate and                  23· there was a new -- and then there was a couple of
24· predecessor bills?                                                24· retirements out of that department, so there was new --
25· · · A.· ·I do not know.                                           25· new people within that department.


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·1· · · Q.· ·And you may not know this, but are you aware if       ·1· reasons, including the fact that it's a Saturday in May
·2· there was a new TEAM at the Democratic Party office?           ·2· and the day before Mother's Day and that -- Texas
·3· · · A.· ·There's a new Republican Party Chair and a new        ·3· still -- or Dallas still has an extraordinarily high
·4· Democratic Party Chair.                                        ·4· number of polling places compared to other jurisdictions
·5· · · Q.· ·And so poll workers would have been interacting       ·5· and -- and because of SB 1.
·6· with new individuals as opposed to established faces; is       ·6· · · Q.· ·Okay.· And have you had to close polling
·7· that correct?                                                  ·7· locations for the May 7th election?
·8· · · A.· ·Yes.                                                  ·8· · · A.· ·We went to Commissioners Court, and we talked
·9· · · Q.· ·And based on your conversations with poll             ·9· about the issues with poll workers.· And we brought to
10· workers in Dallas County or, perhaps, the individuals          10· them several suggestions on what we might be able to do
11· who were recruiting and training poll workers, do you          11· about that, including increasing poll worker pay, which
12· know if this was a concern expressed by any poll               12· we did, about recruiting more -- you know, that rather
13· workers?                                                       13· than relying solely on the parties to recruit poll
14· · · A.· ·What's "this"?                                        14· workers, for our elections office to recruit poll
15· · · Q.· ·"This" was just referring to the fact that they       15· workers, which we -- we started to do.
16· were new faces, and they wouldn't be interacting with          16· · · · · ·We've talked about using county workers more
17· established personnel.                                         17· aggressively, adding some financial incentive to use
18· · · A.· ·I don't recall that being an issue.                   18· county poll workers as backup poll workers, which we're
19· · · Q.· ·Okay.· We can put this aside.                         19· doing.· And then we talked about reducing the number of
20· · · · · · · · THE REPORTER:· And if you're at a breaking       20· polling places because Dallas has so many compared to
21· point, I really need a break.· I'm sorry --                    21· other jurisdictions of similar size.
22· · · · · · · · MS. HUNKER:· Yeah, we can take --                22· · · · · ·And -- and so we -- we got together with our
23· · · · · · · · THE REPORTER:· -- but we've been going for       23· Citizen Election Advisory Committee, our Vote Center
24· a good while.                                                  24· Advisory Committee, and we got a consensus amongst all
25· · · · · · · · MS. HUNKER:· -- a five-minute break --           25· those organizations to reduce the number by -- of

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·1· · · · · · · · THE REPORTER:· Thank you.                        ·1· polling places by 40.· Having said that, we still have
·2· · · · · · · · MS. HUNKER:· -- or a ten-minute break.           ·2· an extraordinarily high number of polling places for an
·3· · · · · · · · THE WITNESS:· Okay.                              ·3· election of this predict- -- projected turnout, so we're
·4· · · · · · · · THE VIDEOGRAPHER:· We're going off the           ·4· still concerned.
·5· record.· The time is 7:43 p.m.                                 ·5· · · Q.· ·And was this also in relation to the transfer
·6· · · · · · · · · · · ·(Break taken.)                            ·6· to countywide polling places?· If you need me to provide
·7· · · · · · · · THE VIDEOGRAPHER:· We're back on the             ·7· some foundation, I'm happy to do so.
·8· record.· The time is 7:50 p.m.                                 ·8· · · A.· ·Could you, please?
·9· · · Q.· ·(By Ms. Hunker)· Mr. Scarpello, before the            ·9· · · Q.· ·So when Mr. Lopez was testifying, he was
10· break, we were talking about poll watchers.                    10· explaining that, in 2019, Dallas County started
11· Specifically, we were looking at a news article that was       11· countywide polling locations on Election Day.
12· talking about possible poll worker shortage.                   12· · · A.· ·Correct.
13· · · · · ·Do you remember that part of the con- --              13· · · Q.· ·He also said that, attendant to that decision,
14· · · A.· ·Yes.                                                  14· Dallas County intended to reduce, on Election Day,
15· · · Q.· ·-- -versation?                                        15· polling locations at certain precincts and rely instead
16· · · · · ·So that was in reference to the March primary         16· on the ability of individuals to vote wherever they were
17· in 2022, correct?                                              17· in the county.
18· · · A.· ·Correct.                                              18· · · A.· ·Texas law allows a county that moves from
19· · · Q.· ·So we are actually in Early Voting for the May        19· precinct polling places to countywide polling places,
20· 7th election; is that correct?                                 20· otherwise known as vote centers, to reduce the number of
21· · · A.· ·That's correct.                                       21· locations because that's kind of the intent of vote
22· · · Q.· ·Is there still a poll worker shortage in              22· centers.· You have less locations, but better quality,
23· Dallas?                                                        23· larger locations.
24· · · A.· ·We're very worried about a poll worker shortage       24· · · · · ·In 2019, Dallas County chose not to reduce the
25· for the May 7th and May 24th election for various              25· simply -- every location that was a precinct polling


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·1· place, they made a countywide vote center.· In fact,              ·1· who was on -- on the Zoom call --
·2· they increased the number.· Instead of just having the            ·2· · · A.· ·Yes.
·3· same number, they had even more, which led to too                 ·3· · · Q.· ·-- where --
·4· many -- too many vote centers.· And so that's why we're           ·4· · · A.· ·Okay.· Yes.
·5· where we're at today with this very large number of vote          ·5· · · Q.· ·Where she had asked you if everyone who
·6· centers because, like I said in my earlier testimony,             ·6· successfully applied to vote by mail was registered to
·7· after that two-year period from 2019 to 2021, we tried            ·7· vote.· Do you remember that?
·8· to reform the Vote Center Advisory Committee and to               ·8· · · A.· ·Yes.
·9· bring a new proposal to study the use of vote centers             ·9· · · Q.· ·And do you remember you had said "yes"?
10· and either keep the number the same, increase the number          10· · · A.· ·Yes.
11· or decrease the number.                                           11· · · Q.· ·That assumes it was the voter who submitted the
12· · · · · ·It -- we were going to go where the facts led            12· application; is that correct?
13· us and where the Vote Center Advisory Committee led us.           13· · · A.· ·Yes.
14· But unfortunately, we never got that committee together           14· · · Q.· ·You also had discussed drive-thru voting
15· because the county chose not to because we're in the              15· earlier in your testimony.
16· middle of redistricting.                                          16· · · · · ·Do you remember that?
17· · · Q.· ·Okay.· And so are you not reducing, for                  17· · · A.· ·Yes.
18· November 2022, the number of vote centers on Election             18· · · Q.· ·And you said you would have pursued drive-thru
19· Day?                                                              19· voting --
20· · · A.· ·We have no plans to reduce for November.· The            20· · · A.· ·(Witness moves head up and down.)
21· proposal that was passed by Commissioners Court recently          21· · · Q.· ·-- the option, but for SB 1; is that correct?
22· was to reduce by 40 for the May elections only.                   22· · · A.· ·Correct.
23· · · Q.· ·Do you know if you usually have a harder time            23· · · Q.· ·How far had you gotten into looking at
24· recruiting poll workers for the May election than you             24· drive-thru voting before the enactment of SB 1?
25· would for a November election?                                    25· · · A.· ·Not too far because we had heard rumblings in

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·1· · · A.· ·Recruiting poll workers usually mirrors -- the           ·1· the Legislature that they were going to get rid of
·2· interest in being a poll worker usually mirrors the               ·2· drive-thru voting.
·3· interest in participation of an election.· So a                   ·3· · · Q.· ·Had you looked at the logistics of drive-thru
·4· Presidential election, a lot of voters, a lot of poll             ·4· voting?
·5· workers.· A May election in -- in -- on a Saturday, not           ·5· · · A.· ·Not necessarily, no.
·6· a lot of voters, not a lot of poll workers.                       ·6· · · Q.· ·And did you inquire into the logistics of how
·7· · · Q.· ·And are you aware if the May local tends to              ·7· Harris County implemented their drive-thru voting
·8· have the lowest interest of voters compared to the other          ·8· turnout?
·9· elections held?                                                   ·9· · · A.· ·I read about it.· I didn't talk to anyone
10· · · A.· ·I'd have to kind of consult the -- the history,          10· firsthand in Harris.
11· but I -- generally speaking, yes, the May joint                   11· · · Q.· ·Did you inquire about any irregularities that
12· election; or the May 24th election, for instance, the             12· occurred in Harris County related to drive-thru voting?
13· joint runoff election for the primary, that's going to            13· · · A.· ·No.
14· be extraordinarily low turnout.                                   14· · · Q.· ·And did you -- did you inquire about any
15· · · Q.· ·So the May 7th election has low interest for             15· possible vote discrepancies that occurred during
16· individuals becoming a poll worker, is that correct,              16· drive-thru voting?
17· lower?                                                            17· · · A.· ·I don't imagine -- I'm trying to imagine why
18· · · A.· ·Yes, lower than -- than, say, the primary,               18· there would be any vote discrepancies.· Drive-thru
19· which would be lower than a general.                              19· voting is no different than -- you're just sitting in
20· · · Q.· ·And the same is true of the primary runoff;              20· your car instead of standing up, walking into a
21· there will be a lower interest in becoming a poll worker          21· building.· So that -- that wouldn't be at the top of my
22· for the May 20 -- May runoff in '24?                              22· list of -- the logistics, of course, are the bigger
23· · · A.· ·That's correct.                                          23· concern.
24· · · Q.· ·Do you remember your conversation with                   24· · · Q.· ·Okay.· So you wouldn't know about any vote
25· OCA-Greater Houston's Counsel?· She was the individual            25· discrepancies that would have occurred in Harris County


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·1· in relation to --                                               ·1· sign.
·2· · · A.· ·No.                                                    ·2· · · · · · · · THE REPORTER:· Okay.· Thank you.· That's
·3· · · Q.· ·-- drive-thru voting?                                  ·3· all.
·4· · · · · ·And you hadn't troubleshooted whether or not           ·4· · · · · · · · THE VIDEOGRAPHER:· Okay.· We're going off
·5· there would be difficulties in implementing it through          ·5· record at 8:02 p.m.
·6· logistics with drive-thru voting?                               ·6
·7· · · A.· ·We had not gotten that deep into it, no.               ·7· · · · · · ·(Deposition concluded at 8:02 p.m.)
·8· · · Q.· ·You also had discussed communications that your        ·8
·9· office had received from voters about drive-thru voting.        ·9
10· · · · · ·Do you remember this part of your testimony?           10
11· · · A.· ·Yes.                                                   11
12· · · Q.· ·And I believe you said voters had questions            12
13· about drive-thru voting.                                        13
14· · · A.· ·That's my memory, is that people were asking:          14
15· If Harris is doing it, how come Dallas is not doing it?         15
16· · · Q.· ·You were not in Dallas County at the time this         16
17· occurred, correct?                                              17
18· · · A.· ·That's correct.                                        18
19· · · Q.· ·And so you would have only heard about these           19
20· conversations second-hand; is that right?                       20
21· · · A.· ·That's correct.                                        21
22· · · Q.· ·And this would have been months after those            22
23· conversations took place, correct?                              23
24· · · A.· ·That's correct.                                        24
25· · · · · · · · MS. HUNKER:· I do not believe I have              25

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·1· anymore questions for you.                                      ·1· · · · · · · · · · · · CORRIGENDUM
·2· · · · · · · · MR. WHITE:· I have no further questions.          ·2· WITNESS NAME:· RIVELINO LOPEZ· · · · · · · · · · 4/29/22
·3· · · · · · · · MR. STOOL:· I have no questions.                  ·3· PAGE· ·LINE· ·CHANGE· · · · · · · · · · REASON
·4· · · · · · · · MS. HUNKER:· Does anybody on the Zoom call        ·4· ________________________________________________________
·5· have anymore questions for the witness?                         ·5· ________________________________________________________
·6· · · · · · · · MS. CAI:· None here.· Thank you.                  ·6· ________________________________________________________
·7· · · · · · · · MS. BENDER:· No.· Thank you.                      ·7· ________________________________________________________
·8· · · · · · · · THE REPORTER:· Let's see.· And which order        ·8· ________________________________________________________
·9· was that in just now for the --                                 ·9· ________________________________________________________
10· · · · · · · · MS. CAI:· That was Ms. Cai followed by            10· ________________________________________________________
11· Brady.                                                          11· ________________________________________________________
12· · · · · · · · THE REPORTER:· You were first and then            12· ________________________________________________________
13· Ms. Brady?                                                      13· ________________________________________________________
14· · · · · · · · MS. CAI:· Yeah.                                   14· ________________________________________________________
15· · · · · · · · THE REPORTER:· Okay.· Thank you.                  15· ________________________________________________________
16· · · · · · · · THE VIDEOGRAPHER:· Okay.· We're going off         16· ________________________________________________________
17· the record.· The time is 8:00 o'clock p.m.                      17· ________________________________________________________
18· · · · · · · · (Discussion off the record.)                      18· ________________________________________________________
19· · · · · · · · THE VIDEOGRAPHER:· Okay.· We're on record         19· ________________________________________________________
20· at 8:02 p.m.                                                    20· ________________________________________________________
21· · · · · · · · THE REPORTER:· Okay.· Would Counsel please        21· ________________________________________________________
22· state any stipulations about custody of the original,           22· ________________________________________________________
23· the exhibits or any other pertinent matters, on the             23· ________________________________________________________
24· record?                                                         24· ________________________________________________________
25· · · · · · · · MR. STOOL:· Opportunity to review and             25· ________________________________________________________


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·1· · · · · ·I, RIVELINO LOPEZ, have read the foregoing                   ·1· · · · · ·I, TACOMA PHILLIPS, have read the foregoing
·2· deposition and hereby affix my signature that same is                 ·2· deposition and hereby affix my signature that same is
·3· true and correct, except as noted above.                              ·3· true and correct, except as noted above.
·4                                                                        ·4
·5                                                                        ·5
· · · · · · · · · · · · · · ________________________________              · · · · · · · · · · · · · · ________________________________
·6· · · · · · · · · · · · · RIVELINO LOPEZ                                ·6· · · · · · · · · · · · · TACOMA PHILLIPS
·7                                                                        ·7
·8· THE STATE OF TEXAS· · · · · · )                                       ·8· THE STATE OF TEXAS· · · · · · )
·9· COUNTY OF ____________________)                                       ·9· COUNTY OF ____________________)
10                                                                        10
· · · · · · ·Before me, ____________________________, on                  · · · · · · ·Before me, ____________________________, on
11· this day personally appeared RIVELINO LOPEZ, known to me              11· this day personally appeared TACOMA PHILLIPS, known to
· · (or proved to me under oath or through _________________              · · me (or proved to me under oath or through
12· _____________________________) (description of identity               12· ______________________________________________)
· · card or other document) to be the person whose name is                · · (description of identity card or other document) to be
                                                                          13· the person whose name is subscribed to the foregoing
13· subscribed to the foregoing instrument and acknowledged
                                                                          · · instrument and acknowledged to me that they executed the
· · to me that they executed the same for the purposes and
                                                                          14· same for the purposes and consideration therein
14· consideration therein expressed.
                                                                          · · expressed.
15· · · Given under my hand and seal of office, this _____
                                                                          15
· · day of ______________________, 2022.                                  · · · · Given under my hand and seal of office, this _____
16                                                                        16· day of ______________________, 2022.
17                                                                        17
· · · · · · · · · · · · · · ______________________________                18· · · · · · · · · · · · · ______________________________
18· · · · · · · · · · · · · NOTARY PUBLIC IN AND FOR                      · · · · · · · · · · · · · · NOTARY PUBLIC IN AND FOR
· · · · · · · · · · · · · · THE STATE OF _________________                19· · · · · · · · · · · · · THE STATE OF _________________
19                                                                        20
20· My commision expires:· _______________________________                · · My commision expires:· _______________________________
21                                                                        21
22                                                                        22
23                                                                        23
24                                                                        24
25                                                                        25

                                                               Page 335                                                        Page 337
·1· · · · · · · · · · · · CORRIGENDUM                                     ·1
·2· WITNESS NAME:· TACOMA PHILLIPS· · · · · · · · · ·4/29/22              ·2· · · · · · · · · · · · CORRIGENDUM
·3· PAGE· ·LINE· ·CHANGE· · · · · · · · · · REASON                        ·3· WITNESS NAME:· MICHAEL SCARPELLO· · · · · · · · ·4/29/22
·4· ________________________________________________________              ·4· PAGE· ·LINE· ·CHANGE· · · · · · · · · · REASON
·5· ________________________________________________________              ·5· ________________________________________________________
·6· ________________________________________________________              ·6· ________________________________________________________
·7· ________________________________________________________              ·7· ________________________________________________________
·8· ________________________________________________________              ·8· ________________________________________________________
·9· ________________________________________________________              ·9· ________________________________________________________
10· ________________________________________________________ 10· ________________________________________________________
11· ________________________________________________________ 11· ________________________________________________________
12· ________________________________________________________ 12· ________________________________________________________
13· ________________________________________________________ 13· ________________________________________________________
14· ________________________________________________________ 14· ________________________________________________________
15· ________________________________________________________ 15· ________________________________________________________
16· ________________________________________________________ 16· ________________________________________________________
17· ________________________________________________________ 17· ________________________________________________________
18· ________________________________________________________ 18· ________________________________________________________
19· ________________________________________________________ 19· ________________________________________________________
20· ________________________________________________________ 20· ________________________________________________________
21· ________________________________________________________ 21· ________________________________________________________
22· ________________________________________________________ 22· ________________________________________________________
23· ________________________________________________________ 23· ________________________________________________________
24· ________________________________________________________ 24· ________________________________________________________
25· ________________________________________________________ 25· ________________________________________________________


Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900                                           San Antonio, Texas 78232
210-697-3400                                                                                                     210-697-3408             YVer1f
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                                                                                                     Pages 338 to 341
                                                   Page 338                                                        Page 340
·1· ________________________________________________________   ·1· record of the testimony given by the witnesses.
·2· · · · · ·I, MICHAEL SCARPELLO, have read the foregoing     ·2· · · · · ·I further certify that pursuant to Federal
·3· deposition and hereby affix my signature that same is      ·3· Rules of Civil Procedure, Rule 30(e)(1)(A) and (B) as
·4· true and correct, except as noted above.                   ·4· well as Rule 30(e)(2), that review of the transcript and
·5
                                                               ·5· signature of the deponent:
·6
                                                               ·6· · · · · ·______ was requested by the deponent and/or a
· · · · · · · · · · · · · · ________________________________
                                                               ·7· party before completion of the deposition.
·7· · · · · · · · · · · · · MICHAEL SCARPELLO
·8                                                             ·8· · · · · ·______ was not requested by the deponent and/or
·9· THE STATE OF TEXAS· · · · · · )                            ·9· a party before the completion of the deposition.
10· COUNTY OF ____________________)                            10· · · · · ·I further certify that I am neither attorney or
11                                                             11· counsel for, nor related to or employed by any of the
· · · · · · ·Before me, ____________________________, on       12· parties to the action in which this deposition is taken
12· this day personally appeared MICHAEL SCARPELLO, known to   13· and further that I am not a relative or employee of any
· · me (or proved to me under oath or through                  14· attorney of record in this cause, nor am I financially
13· ______________________________________________)            15· or otherwise interested in the outcome of the action.
· · (description of identity card or other document) to be
                                                               16· · · · · ·The amount of time used by each party at the
14· the person whose name is subscribed to the foregoing
                                                               17· deposition is as follows.
· · instrument and acknowledged to me that they executed the
                                                               18
15· same for the purposes and consideration therein
· · expressed.                                                 19· · ·1.· · MS. NINA PERALES
16                                                             · · · · · · ·TIME:· 04:16
· · · · Given under my hand and seal of office, this _____     20· · ·2.· · MR. GRAHAM W. WHITE
17· day of ______________________, 2022.                       · · · · · · ·TIME:· 00:37
18                                                             21· · ·3.· · MS. KATHLEEN HUNKER
19· · · · · · · · · · · · · ______________________________     · · · · · · ·TIME:· 01:23
· · · · · · · · · · · · · · NOTARY PUBLIC IN AND FOR           22· · ·4.· · BEN L. STOOL
20· · · · · · · · · · · · · THE STATE OF _________________
                                                               · · · · · · ·TIME:· 00:00
21
                                                               23· · ·5.· · MS. BRADY BENDER
· · My commision expires:· _______________________________
                                                               · · · · · · ·TIME:· 00:06
22
23                                                             24· · ·6.· · MS. SOPHIA CAI
24                                                             · · · · · · ·TIME:· 00:24
25                                                             25· · ·7.· · MS. JACQUELINE VILLAREAL

                                                   Page 339                                                        Page 341
·1                                                             ·1· · · · · ·TIME:· ·00:00
·2                                                             ·2· · · · · ·Subscribed and sworn to on the ____ day
· · · · · · · · · · REPORTER'S_CERTIFICATION
                                                               ·3· of May, 2022.
· · · · · · · · · · __________ _____________
                                                               ·4
·3
· · · · · · · · · UNITED STATES DISTRICT COURT                 ·5· · · · · · · · __________________________________
·4· · · · · · · · ·WESTERN DISTRICT OF TEXAS                   · · · · · · · · · Holly R. Swinford
· · · · · · · · · · · SAN ANTONIO DIVISION                     ·6· · · · · · · · Texas CSR 3356
·5
                                                               · · · · · · · · · Expiration:· 2/1/2024
· · LA UNION DEL PUEBLO ENTERO,)(
·6· ET AL.,· · · · · · · · · · )(                              ·7· · · · · · · · Magna Legal Services
· · · · · · · · · · · · · · · ·)(                              · · · · · · · · · Firm Registration No. 633
·7· · · PLAINTIFFS,· · · · · · )(                              ·8· · · · · · · · 16414 San Pedro Ave., Suite 900
· · · · · · · · · · · · · · · ·)(· ·CIVIL ACTION               · · · · · · · · · San Antonio, Texas· 78232
·8· VS.· · · · · · · · · · · · )(· ·NO. SA-21-CV-00844-XR
                                                               ·9· · · · · · · · (866) 672-7880
· · · · · · · · · · · · · · · ·)(
·9· GREGORY W. ABBOTT, ET AL., )(                              10
· · · · · · · · · · · · · · · ·)(                              11
10· · · · · · · · · · · · · · ·)(                              12
· · · · DEFENDANTS.· · · · · · )(                              13
11· --------------------------------------------------------
                                                               14
12
13                                                             15
14                                                             16
15· · · · · · ·ORAL DEPOSITION OF RIVELINO LOPEZ,              17
16· · · · · ·TACOMA PHILLIPS AND MICHAEL SCARPELLO             18
17· · · · · · · · · · · ·APRIL 29, 2022
                                                               19
18
19                                                             20
20· · · · · ·I, Holly R. Swinford, Certified Shorthand         21
21· Reporter in and for the State of Texas, do hereby          22
22· certify to the following:                                  23
23· · · · · ·That the witnesses, Rivelino Lopez, Tacoma
                                                               24
24· Phillips and Michael Scarpello, were by me duly sworn
25· and that the transcript of the oral deposition is a true   25


Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900                                  San Antonio, Texas 78232
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